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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                                   ENTERED
                                                                                                                        01/22/2019
                                                                        §
    In re:                                                              § Chapter 11
                                                                        §
    IHEARTMEDIA, INC., et al.,1                                         § Case No. 18-31274 (MI)
                                                                        §
                               Debtors.                                 § (Jointly Administered)
                                                                        §

               FINDINGS OF FACT, CONCLUSIONS OF LAW,
    AND ORDER CONFIRMING THE MODIFIED FIFTH AMENDED JOINT
  CHAPTER 11 PLAN OF REORGANIZATION OF IHEARTMEDIA, INC. AND ITS
DEBTOR AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”),

having:2

             a.     commenced the above-captioned chapter 11 cases (the “Chapter 11 Cases”) by
                    filing voluntary petitions for relief under chapter 11 of title 11 of the United States
                    Code (the “Bankruptcy Code”) on March 14, 2018 (the “Petition Date”);

             b.     continued to operate their businesses and manage their properties as debtors in
                    possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code;

             c.     filed, on April 28, 2018, (i) the Joint Chapter 11 Plan of Reorganization of
                    iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
                    Bankruptcy Code [Docket No. 551], which plan and related documents were
                    subsequently amended; and (ii) the Disclosure Statement Relating to the Joint
                    Chapter 11 Plan of Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates
                    Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 552], which disclosure
                    statement and related documents were subsequently amended;

             d.     filed, on June 21, 2018, an amended Disclosure Statement Relating to the Joint
                    Chapter 11 Plan of Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates
                    Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 982];



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      Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
      complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims,
      noticing, and solicitation agent at https://cases.primeclerk.com/iheartmedia. The location of Debtor iHeartMedia,
      Inc.’s principal place of business and the Debtors’ service address is: 20880 Stone Oak Parkway, San Antonio,
      Texas 78258.
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 e.    filed, on June 22, 2018, the Debtors’ Motion for Entry of an Order (I) Approving
       the Adequacy of the Disclosure Statement, (II) Approving the Solicitation and
       Notice Procedures With Respect to Confirmation of the Debtors’ Proposed Joint
       Plan of Reorganization, (III) Approving the Forms of Ballots and Notices in
       Connection Therewith, (IV) Scheduling Certain Dates With Respect Thereto, and
       (V) Granting Related Relief [Docket No. 997];

 f.    filed, on August 5, 2018, the Amended Joint Chapter 11 Plan of Reorganization of
       iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
       Bankruptcy Code [Docket No. 1213];

 g.    filed, on August 23, 2018, (i) the Second Amended Joint Chapter 11 Plan of
       Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter
       11 of the Bankruptcy Code [Docket No. 1301]; (ii) a proposed Order (I) Approving
       the Adequacy of the Disclosure Statement, (II) Approving the Solicitation and
       Notice Procedures With Respect to Confirmation of the Debtors’ Proposed Joint
       Plan of Reorganization, (III) Approving the Forms of Ballots and Notices in
       Connection Therewith, (IV) Scheduling Certain Dates With Respect Thereto, and
       (V) Granting Related Relief [Docket No. 1302]; and (iii) the Disclosure Statement
       Relating to the Second Amended Joint Chapter 11 Plan of Reorganization of
       iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
       Bankruptcy Code [Docket No. 1304];

 h.    filed, on August 28, 2018, (i) the Disclosure Statement Relating to the Third
       Amended Joint Chapter 11 Plan of Reorganization of iHeartMedia, Inc. and Its
       Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
       [Docket No. 1347]; (ii) the Third Amended Joint Chapter 11 Plan of
       Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter
       11 of the Bankruptcy Code [Docket No. 1348]; and (iii) Exhibit H of the Disclosure
       Statement Relating to the Third Amended Joint Chapter 11 Plan of Reorganization
       of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
       Bankruptcy Code [Docket No. 1349];

 i.    filed, on September 12, 2018, (i) the Fourth Amended Joint Chapter 11 Plan of
       Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter
       11 of the Bankruptcy Code [Docket No. 1441]; and (ii) the Disclosure Statement
       Relating to the Fourth Amended Joint Chapter 11 Plan of Reorganization of
       iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
       Bankruptcy Code [Docket No. 1445];

 j.    filed, on September 13, 2018, the proposed Order (I) Approving the Adequacy of
       the Disclosure Statement, (II) Approving the Solicitation and Notice Procedures
       With Respect to Confirmation of the Debtors’ Proposed Joint Plan of
       Reorganization, (III) Approving the Forms of Ballots and Notices in Connection
       Therewith, (IV) Scheduling Certain Dates With Respect Thereto, and (V) Granting
       Related Relief [Docket No. 1452];



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 k.    filed, on September 18, 2018, (i) an amended Disclosure Statement Relating to the
       Fourth Amended Joint Chapter 11 Plan of Reorganization of iHeartMedia, Inc. and
       Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
       1467]; (ii) the proposed Order (I) Approving the Adequacy of the Disclosure
       Statement, (II) Approving the Solicitation and Notice Procedures With Respect to
       Confirmation of the Debtors’ Proposed Joint Plan of Reorganization, (III)
       Approving the Forms of Ballots and Notices in Connection Therewith,
       (IV) Scheduling Certain Dates With Respect Thereto, and (V) Granting Related
       Relief [Docket No. 1468]; and (iii) an amended Fourth Amended Joint Chapter 11
       Plan of Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to
       Chapter 11 of the Bankruptcy Code [Docket No. 1469].

 l.    filed, on September 20, 2018, (i) a further amended Disclosure Statement Relating
       to the Fourth Amended Joint Chapter 11 Plan of Reorganization of iHeartMedia,
       Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
       [Docket No. 1474]; and (ii) a proposed Order (I) Approving the Adequacy of the
       Disclosure Statement, (II) Approving the Solicitation and Notice Procedures With
       Respect to Confirmation of the Debtors’ Proposed Joint Plan of Reorganization,
       (III) Approving the Forms of Ballots and Notices in Connection Therewith,
       (IV) Scheduling Certain Dates With Respect Thereto, and (V) Granting Related
       Relief [Docket No. 1476];

 m.    filed, on September 20, 2018, (i) a proposed Order (I) Approving the Adequacy of
       the Disclosure Statement, (II) Approving the Solicitation and Notice Procedures
       With Respect to Confirmation of the Debtors’ Proposed Joint Plan of
       Reorganization, (III) Approving the Forms of Ballots and Notices in Connection
       Therewith, (IV) Scheduling Certain Dates With Respect Thereto, and (V) Granting
       Related Relief [Docket No. 1478]; (ii) the solicitation version of the Fourth
       Amended Joint Chapter 11 Plan of Reorganization of iHeartMedia, Inc. and Its
       Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
       1482]; and (iii) the solicitation version of the Disclosure Statement Relating to the
       Fourth Amended Joint Chapter 11 Plan of Reorganization of iHeartMedia, Inc. and
       Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
       1484] (the “Disclosure Statement”);

 n.    filed, on October 10, 2018, (i) the Fifth Amended Joint Chapter 11 Plan of
       Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter
       11 of the Bankruptcy Code [Docket No. 1605]; (ii) the Disclosure Statement
       Supplement Relating to the Fifth Amended Joint Chapter 11 Plan of Reorganization
       of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
       Bankruptcy Code [Docket No. 1606]; and (iii) the Debtors’ Emergency Motion for
       Entry of an Order (I) Approving the Debtors’ Continued Solicitation of the Fifth
       Amended Plan and the Adequacy of the Supplemental Disclosure in Connection
       Therewith, (II) Modifying Certain Deadlines and Procedures in Connection with
       Plan Confirmation, (III) Approving the Form of Ballot in Connection Therewith,
       and (IV) Granting Related Relief [Docket No. 1607];



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 o.    filed, on October 17, 2018, (i) an amended Fifth Amended Joint Chapter 11 Plan
       of Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to
       Chapter 11 of the Bankruptcy Code [Docket No. 1626]; and (ii) an amended
       Disclosure Statement Supplement Relating to the Fifth Amended Joint Chapter 11
       Plan of Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to
       Chapter 11 of the Bankruptcy Code [Docket No. 1627];

 p.    filed, on October 18, 2018, (i) the solicitation version of the Fifth Amended Joint
       Chapter 11 Plan of Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates
       Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 1632]; and (ii) the
       solicitation version of the Disclosure Statement Supplement Relating to the Fifth
       Amended Joint Chapter 11 Plan of Reorganization of iHeartMedia, Inc. and Its
       Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
       [Docket No. 1633] (the “Disclosure Statement Supplement”);

 q.    caused solicitation materials and notice of the deadline for objecting to
       confirmation of the Plan to be distributed by September 28, 2018, and continuing
       thereafter, consistent with the Bankruptcy Code, the Federal Rules of Bankruptcy
       Procedure (the “Bankruptcy Rules”), the Disclosure Statement Order (as defined
       herein), and the Disclosure Statement Supplement Order (as defined herein), which
       orders also approved, among other things, solicitation procedures (the “Solicitation
       Procedures”) and related notices, forms, ballots, and master ballots (collectively,
       the “Solicitation Packages”), as evidenced by, among other things, the Affidavits of
       Service for Mailings for the Period from September 22, 2018 through September
       28, 2018, filed on October 5, 2018 [Docket No. 1582] and the Affidavits of Service
       for Mailings for the Period from October 20, 2018 through October 26, 2018, filed
       on October 31, 2018 [Docket No. 1728];

 r.    caused notice of the Confirmation Hearing (the “Confirmation Hearing Notice”) to
       be published on October 4, 2018 in USA Today, as evidenced by the Affidavits of
       Service for Mailings for the Period from September 24, 2018 through October 5,
       2018, filed on October 10, 2018 [Docket No. 1600];

 s.    filed, on November 2, 2018, the Plan Supplement for the Fifth Amended Joint
       Chapter 11 Plan of Reorganization of iHeartMedia, Inc. And Its Debtor Affiliates
       Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 1781], which included
       the following documents: (a) the Restructuring Transactions Memorandum; (b) the
       New ABL Credit Agreement Term Sheet; (c) the Assumed Executory Contract and
       Unexpired Lease List; (d) the Rejected Executory Contract and Unexpired Lease
       List; and (e) the Schedule of Retained Causes of Action (collectively, the “First
       Plan Supplement”);

 t.    filed, on November 16, 2018, the Amended Plan Supplement for the Fifth Amended
       Joint Chapter 11 Plan of Reorganization of iHeartMedia, Inc. And Its Debtor
       Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 1929],
       which included the following documents: (a) the New Corporate Governance
       Documents; (b) the New Debt Agreements; (c) the Assumed Executory Contract


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       and Unexpired Lease List; (d) the Preferred Stock Term Sheet; (e) the Post-
       Emergence Equity Incentive Program Term Sheet; and (f) the New Boards
       (collectively, the “Second Plan Supplement”);

 u.    filed, on December 4, 2018, the Declaration of Christina Pullo of Prime Clerk LLC
       Regarding the Solicitation of Votes and Tabulation of Ballots Cast on the Fifth
       Amended Joint Chapter 11 Plan of Reorganization of iHeartMedia, Inc. and Its
       Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
       [Docket No. 2116] (the “Original Voting Certification”);

 v.    filed, on December 17, 2018, the Modified Fifth Amended Joint Chapter 11 Plan
       of Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to
       Chapter 11 of the Bankruptcy Code [Docket No. 2207];

 w.    filed, on December 17, 2018, the Settlement Agreement Among the Debtors,
       CCOH, the Sponsor Entities, the Delaware Individual Defendants, and the Settling
       Plaintiffs [Docket No. 2212] (the “CCOH Separation Settlement Agreement”);

 x.    filed, on December 20, 2018, the Second Amended Plan Supplement for the
       Modified Fifth Amended Joint Chapter 11 Plan of Reorganization of iHeartMedia,
       Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
       [Docket No. 2245], which included the Assumed Executory Contract and
       Unexpired Lease List (the “Third Plan Supplement”);

 y.    filed, on December 20, 2018, the Supplemental Declaration of Christina Pullo of
       Prime Clerk LLC Regarding the Solicitation of Votes and Tabulation of Ballots
       Cast on the Modified Fifth Amended Joint Chapter 11 Plan of Reorganization of
       iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
       Bankruptcy Code [Docket No. 2246] (together with the Original Voting
       Certification, the “Voting Certifications”);

 z.    filed, on January 7, 2019, the Debtors’ Memorandum of Law In Support of
       Confirmation of the Joint Chapter 11 Plan [Docket No. 2365]
       (the “Confirmation Brief”);

 aa.   filed, on January 7, 2019, the Declaration of Charles H. Cremens in Support of
       Confirmation of the Modified Fifth Amended Joint Chapter 11 Plan of
       Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter
       11 of the Bankruptcy Code [Docket No. 2367];

 bb.   filed, on January 7, 2019, the proposed Findings of Fact, Conclusions of Law, and
       Order Confirming the Modified Fifth Amended Joint Chapter 11 Plan of
       Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter
       11 of the Bankruptcy Code [Docket No. 2371];

 cc.   filed, on January 17, 2019, the Notice of Filing of Legacy Notes Settlement Term
       Sheet [Docket No. 2476];



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 dd.    filed, on January 21, 2019, the Third Amended Plan Supplement for the Modified
        Fifth Amended Joint Chapter 11 Plan of Reorganization of iHeartMedia, Inc. and
        Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
        [Docket No. 2515], which included the Special Warrant Agreement (together with
        the     First,  Second,     and    Third   Plan   Supplements,     collectively,
        the “Plan Supplement”)

 ee.    filed, on January 21, 2019, the revised Modified Fifth Amended Joint Chapter 11
        Plan of Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to
        Chapter 11 of the Bankruptcy Code [Docket No. 2516];

 ff.    filed, on January 21, 2019, the revised proposed Findings of Fact, Conclusions of
        Law, and Order Confirming the Modified Fifth Amended Joint Chapter 11 Plan of
        Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter
        11 of the Bankruptcy Code [Docket No. 2517] (the “Proposed Confirmation
        Order”);

 gg.    filed, on January 22, 2019, the further revised Modified Fifth Amended Joint
        Chapter 11 Plan of Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates
        Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 2521] (the “Plan”);

 and this Bankruptcy Court having:

 a.     entered an order authorizing the joint administration of the Chapter 11 Cases in
        accordance with Bankruptcy Rule 1015(b) [Docket No. 76];

 b.     entered the Order (I) Approving the Adequacy of the Disclosure Statement,
        (II) Approving the Solicitation and Notice Procedures With Respect to
        Confirmation of the Debtors’ Proposed Joint Plan of Reorganization,
        (III) Approving the Forms of Ballots and Notices in Connection Therewith,
        (IV) Scheduling Certain Dates With Respect Thereto, and (V) Granting Related
        Relief [Docket No. 1481] (the “Disclosure Statement Order”);

 c.     entered the Order (I) Approving the Debtors’ Continued Solicitation of the Fifth
        Amended Plan and the Adequacy of the Supplemental Disclosure in Connection
        Therewith, (II) Modifying Certain Deadlines and Procedures in Connection with
        Plan Confirmation, (III) Approving the Form of Ballots in Connection Therewith,
        and      (IV)    Granting     Related     Relief     [Docket     No.      1631]
        (the “Disclosure Statement Supplement Order”);

 d.     set November 16, 2018, at 5:00 p.m., prevailing Central Time, as the deadline for
        voting on the Plan;

 e.     set November 28, 2018, at 5:00 p.m., prevailing Central Time, as the deadline for
        filing objections to the Plan (the “Plan Objection Deadline”);




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       f.      set January 9, 2019, as the date by which the Legacy Notes Trustee must file any
               supplemental confirmation objection related to the CCOH Plan and Separation
               Settlement;

       g.      set December 11, 2018, at 9:00 a.m.; December 17, 2018 at 2:30 p.m.;
               January 10, 2019 at 9:00 a.m.; January 17, 2019 at 9:00 a.m.; and January 22, 2019
               at 8:30 a.m. (all times prevailing Central Time) as the dates and times for the
               Confirmation Hearing pursuant to Bankruptcy Rules 3017 and 3018 and sections
               1126, 1128, and 1129 of the Bankruptcy Code;

       h.      published the Memorandum Opinion in the Springing Lien Adversary Proceeding
               holding that the springing lien has not been triggered and denying the relief sought
               by the Legacy Notes Trustee [Docket No. 263] (the “Springing Lien Opinion”);

       i.      entered the Judgment on January 15, 2019, denying all relief sought by the Legacy
               Notes Trustee in the Springing Lien Adversary Proceeding [Docket No. 264] (the
               “Springing Lien Judgment”);

       j.      reviewed the Plan, the Plan Supplement, the Disclosure Statement, the Disclosure
               Statement Supplement, the Confirmation Brief, the Voting Certifications, and all
               pleadings, exhibits, statements, responses, and comments regarding Confirmation,
               including all objections, statements, and reservations of rights filed by parties in
               interest on the docket of the Chapter 11 Cases;

       k.      held the Confirmation Hearing;

       l.      heard the statements, arguments, and objections made by counsel in respect of
               Confirmation;

       m.      considered all testimony, documents, filings, and other evidence admitted at
               Confirmation; and

       n.      overruled any and all objections to the Plan and to Confirmation and all statements
               and reservations of rights not consensually resolved or withdrawn unless otherwise
               indicated herein.

       NOW, THEREFORE, the Bankruptcy Court having found that notice of the Confirmation

Hearing and the opportunity for any party in interest to object to Confirmation has been adequate

and appropriate as to all parties affected or to be affected by the Plan and the transactions

contemplated thereby, and the legal and factual bases set forth in the documents filed in support

of Confirmation and all evidence proffered or adduced by counsel at the Confirmation Hearing

establish just cause for the relief granted herein; and after due deliberation thereon and good cause



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appearing therefor, the Bankruptcy Court hereby makes and issues the following Findings of Fact

and Conclusions of Law and Orders:

                  I. FINDINGS OF FACT AND CONCLUSIONS OF LAW

IT IS HEREBY DETERMINED FOUND, ADJUDGED, DECREED, AND ORDERED THAT:

A.     Findings and Conclusions.

       1.      The findings and conclusions set forth herein and on the record of the Confirmation

Hearing constitute the Bankruptcy Court’s findings of fact and conclusions of law pursuant to

Bankruptcy Rule 7052, made applicable to this proceeding by Bankruptcy Rule 9014. To the

extent any of the following findings of fact constitute conclusions of law, they are adopted as such.

To the extent any of the following conclusions of law constitute findings of fact, they are adopted

as such.

B.     Jurisdiction, Venue, Core Proceeding (28 U.S.C. §§ 157(b) and 1334).

       2.      The Bankruptcy Court has jurisdiction over the Chapter 11 Cases pursuant to

28 U.S.C. § 1334. Confirmation of the Plan is a core proceeding pursuant to 28 U.S.C. § 157(b),

and the Bankruptcy Court has jurisdiction to enter a Final Order determining that the Plan complies

with the applicable provisions of the Bankruptcy Code and should be confirmed. Venue is proper

before the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and 1409.

C.     Eligibility for Relief.

       3.      The Debtors are entities eligible for relief under section 109 of the

Bankruptcy Code.

D.     No Appointment of a Trustee or Examiner.

       4.      No request for the appointment of a trustee or examiner has been made in the

Chapter 11 Cases.




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E.     Appointment of the Committee.

       5.      On March 21, 2018, the U.S. Trustee appointed the Committee to represent the

interests of the unsecured creditors of the Debtors in the Chapter 11 Cases [Docket No. 244].

F.     Judicial Notice.

       6.      This Bankruptcy Court takes judicial notice of all orders entered, and all evidence

and arguments made, proffered, or adduced at the hearings held before this Bankruptcy Court

during the pendency of the Chapter 11 Cases.

G.     Notice and Transmittal of Solicitation Materials; Adequacy of Solicitation Notices.

       7.      The Plan, the Disclosure Statement, the Disclosure Statement Order, the Disclosure

Statement Supplement, the Disclosure Statement Supplement Order, the ballots for voting on the

Plan (the “Ballots”), the Confirmation Hearing Notice, the Plan Supplement, and the other

materials distributed by the Debtors in connection with Confirmation of the Plan (collectively, the

“Confirmation Materials”) were transmitted and served in compliance with the Bankruptcy Rules,

including Bankruptcy Rules 3017 and 3018, with the Bankruptcy Local Rules for the Southern

District of Texas (the “Bankruptcy Local Rules”), with the procedures set forth in the Disclosure

Statement Order and Disclosure Statement Supplement Order, and with all other applicable rules,

laws, and regulations. Notice of the Confirmation Hearing was appropriate and satisfactory based

upon the circumstances of the Debtors’ Chapter 11 Cases. The transmittal and service of the

Confirmation Materials complied with the approved Solicitation Procedures, was appropriate and

satisfactory based upon the circumstances of the Chapter 11 Cases, was conducted in good faith,

and was in compliance with the provisions of the Bankruptcy Code, the Bankruptcy Rules, the

Bankruptcy Local Rules, and any other applicable rules, laws, and regulations. Because such

transmittal and service were adequate and sufficient, no other or further notice is necessary or shall

be required.


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H.     Voting.

       8.      On December 4, 2018 and December 20, 2018, the Debtors filed the Claims,

Noticing, and Solicitation Agent’s Voting Certifications with the Bankruptcy Court. As evidenced

by the Voting Certifications, votes to accept or reject the Plan have been solicited and tabulated

fairly, in good faith, and in a manner consistent with the Bankruptcy Code, the Bankruptcy Rules,

the Bankruptcy Local Rules, and the Solicitation Procedures.

I.     Good Faith Solicitation (11 U.S.C. § 1125(e)).

       9.      Based on the record before the Bankruptcy Court in the Chapter 11 Cases,

(a) the Debtors, (b) the Consenting Stakeholders, (c) the Consenting Legacy Noteholders, (d) with

respect to each of the foregoing Entities in clauses (a) through (c), the manager, management

company, or investment advisor of any of the foregoing, and each of such Entities’ respective

current and former Affiliates, predecessors, successors, assigns, subsidiaries, managed accounts

or funds, and (e) with respect to each of the foregoing Entities (a) through (d), such Entities’ current

and former directors, managers, officers, equity holders (regardless of whether such interests are

held directly or indirectly), principals, members, employees, independent contractors,

management companies, fund advisors, advisory board members, partners, representatives,

attorneys, accountants, financial advisors, investment bankers, consultants, agents, restructuring

advisors, and other professionals, each in their capacity as such, have acted in “good faith” within

the meaning of section 1125(e) of the Bankruptcy Code and in compliance with the applicable

provisions of the Solicitation Procedures, the Bankruptcy Code, the Bankruptcy Rules, and the

Bankruptcy Local Rules in connection with all of their respective activities relating to the

solicitation of acceptances to the Plan, their participation in the Chapter 11 Cases, and the activities

described in section 1125 of the Bankruptcy Code and therefore are entitled to the protections

afforded by section 1125(e) of the Bankruptcy Code.


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J.     Plan Supplement.

       10.     The filing and notice of the Plan Supplement were proper and in accordance with

the Plan, the Bankruptcy Code, the Bankruptcy Rules, the Disclosure Statement Order, and the

Disclosure Statement Supplement Order, and no other or further notice is or shall be required.

K.     Modifications to the Plan.

       11.     Pursuant to section 1127 of the Bankruptcy Code, any modifications to the Plan

since the commencement or continuation of solicitation described or set forth herein, including

with respect to the CCOH Plan and Separation Settlement and the Legacy Notes Plan Settlement,

constitute technical changes or changes with respect to particular Claims made pursuant to the

agreement of the Holders of such Claims and do not materially affect the treatment of any other

Claims or Interests. Pursuant to Bankruptcy Rule 3019, these modifications do not require

additional disclosure under section 1125 of the Bankruptcy Code or the resolicitation of votes

under section 1126 of the Bankruptcy Code, nor do they require that the Holders of Claims or

Interests be afforded an opportunity to change previously cast acceptances or rejections of the Plan.

       12.     This Confirmation Order contains modifications to the Plan that were made to

address objections and informal comments received from various parties in interest. Modifications

to the Plan since the entry of the Disclosure Statement Order and the Disclosure Statement

Supplement Order are consistent with the provisions of the Bankruptcy Code. The disclosure of

any Plan modifications prior to or on the record at the Confirmation Hearing constitutes due and

sufficient notice of any and all Plan modifications. The Plan as modified shall constitute the Plan

submitted for Confirmation.

L.     Objections.

       13.     To the extent that any objections, reservations of rights, statements, or joinders to

Confirmation have not been resolved, withdrawn, waived, or settled prior to entry of this


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Confirmation Order or otherwise resolved herein or as stated on the record of the Confirmation

Hearing, they are hereby overruled on the merits based on the record before this Bankruptcy Court.

M.     Burden of Proof.

       14.     The Debtors, as the proponents of the Plan, have met their burden of proving the

elements of section 1129(a) of the Bankruptcy Code by a preponderance of the evidence.

N.     Bankruptcy Rule 3016.

       15.     The Plan is dated and identifies the Debtors as the Plan proponents, thereby

satisfying Bankruptcy Rule 3016(a). The filing of the Disclosure Statement and the Disclosure

Statement Supplement satisfied Bankruptcy Rule 3016(b).             The injunction, release, and

exculpation provisions in the Plan and Disclosure Statement describe, in bold font and with

specific and conspicuous language, all acts to be enjoined and identify the Entities that will be

subject to the injunction, thereby satisfying Bankruptcy Rule 3016(c).

O.     Plan Compliance with the Bankruptcy Code (11 U.S.C. § 1129(a)(1)).

       16.     The Plan complies with the applicable provisions of the Bankruptcy Code, thereby

satisfying section 1129(a)(1) of the Bankruptcy Code.

       a.      Proper Classification (11 U.S.C. §§ 1122, 1123(a)(1)). As required by section
               1123(a)(1), in addition to Administrative Claims, Professional Fee Claims, DIP
               Claims, and Priority Tax Claims, which need not be classified, Article III of the
               Plan designates 19 Classes of Claims and Interests. As required by section 1122(a)
               of the Bankruptcy Code, the Claims and Interests placed in each Class are
               substantially similar to other Claims and Interests, as the case may be, in each such
               Class. Valid business, factual, and legal reasons exist for separately classifying the
               various Classes of Claims and Interests created under the Plan, the classifications
               were not implemented for any improper purpose, and such Classes do not unfairly
               discriminate between Holders of Claims and Interests. Thus, the Plan satisfies
               sections 1122 and 1123(a)(1) of the Bankruptcy Code.

       b.      Specified Unimpaired Classes (11 U.S.C. § 1123(a)(2)). Article III of the Plan
               specifies that Classes 1, 2, 3, 7A, and 7B are Unimpaired under the Plan, thereby
               satisfying section 1123(a)(2) of the Bankruptcy Code. Classes 11 and 12 are either
               Unimpaired or Impaired.



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 c.    Specified Treatment of Impaired Classes (11 U.S.C. § 1123(a)(3)). Article III of
       the Plan sets forth the treatment of Classes 4, 5A, 5B, 6, 7C, 7D, 7E, 7F, 7G, 8, 9,
       and 10, which are the Impaired Classes, thereby satisfying section 1123(a)(3) of the
       Bankruptcy Code. Class 10 does not have any Holders of Allowed Claims, and is
       therefore vacant and deemed eliminated from the Plan pursuant to Article III.E of
       the Plan. Classes 11 and 12 are either Unimpaired or Impaired.

 d.    No Discrimination (11 U.S.C. § 1123(a)(4)). Article III of the Plan provides for
       the same treatment by the Debtors for each Claim or Interest in each respective
       Class except to the extent that a Holder of a particular Claim or Interest has agreed
       to a less favorable treatment of such Claim or Interest, thereby satisfying section
       1123(a)(4) of the Bankruptcy Code.

 e.    Implementation of the Plan (11 U.S.C. § 1123(a)(5)). The Plan and the various
       documents included in the Plan Supplement provide adequate and proper means for
       implementation of the Plan, including, without limitation: (i) the consummation of
       the Restructuring Transactions; (ii) the New Corporate Governance Documents;
       (iii) the New Debt Agreements; (iv) the New ABL Credit Agreement Documents;
       (v) the issuance of the New iHeart Common Stock and Special Warrants; (vi) the
       CCOH Separation Documents; (vii) the cancellation of certain existing agreements,
       obligations, instruments, and Interests; (viii) the continued vesting of the assets of
       the Debtors’ Estates in the Reorganized Debtors; and (ix) the execution, delivery,
       filing, or recording of all contracts, instruments, releases, and other agreements or
       documents in furtherance of the Plan, thereby satisfying section 1123(a)(5) of the
       Bankruptcy Code.

 f.    Non-Voting Equity Securities (11 U.S.C. § 1123(a)(6)). The New Corporate
       Governance Documents prohibit the issuance of non-voting securities to the extent
       required to comply with section 1123(a)(6) of the Bankruptcy Code. As such, the
       Plan satisfies the requirements of section 1123(a)(6) of the Bankruptcy Code.

 g.    Directors and Officers (11 U.S.C. § 1123(a)(7)). The Plan satisfies the
       requirements of section 1123(a)(7) of the Bankruptcy Code. The Plan provides for
       the selection of the Reorganized Debtors’ officers, directors, members, and
       managers, as applicable, and the selected parties, including those identified in the
       Plan Supplement, shall take office effective as of the Issuance Date without any
       further action. Such provisions are consistent with the interests of creditors and
       equity holders and with public policy. Accordingly, the Plan satisfies the
       requirements of section 1123(a)(7) of the Bankruptcy Code.

 h.    Additional Plan Provisions (11 U.S.C. § 1123(b)). The additional provisions of the
       Plan are appropriate and consistent with the applicable provisions of the
       Bankruptcy Code and, therefore, are consistent with section 1123(b) of the
       Bankruptcy Code.

       (i)    Impairment/Unimpairment of Any Class of Claims or Interests (11 U.S.C.
              § 1123(b)(1)). Pursuant to the Plan, Classes 1, 2, 3, 7A, and 7B are


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               Unimpaired, and Classes 4, 5A, 5B, 6, 7C, 7D, 7E, 7F, 7G, 8, 9, and 10 are
               Impaired, as contemplated by section 1123(b)(1) of the Bankruptcy Code.
               Classes 11 and 12 are either Unimpaired or Impaired. Accordingly, the Plan
               satisfies the requirements of section 1123(b)(1) of the Bankruptcy Code.

       (ii)    Assumption and Rejection of Executory Contracts and Unexpired Leases
               (11 U.S.C. § 1123(b)(2)). Article V of the Plan provides for the assumption
               of the Debtors’ Executory Contracts and Unexpired Leases unless such
               Executory Contract or Unexpired Lease: (1) was previously assumed,
               assumed and assigned, or rejected by the Debtors; (2) previously expired or
               terminated pursuant to its own terms; (3) is identified on the Rejected
               Executory Contract and Unexpired Lease List; or (4) is the subject of a
               motion to reject that is pending on the Effective Date.

       (iii)   Retention of Claims (11 U.S.C. § 1123(b)(3)). In accordance with
               section 1123(b)(3) of the Bankruptcy Code, Article IV.W provides that,
               subject to Article VIII of the Plan, the Reorganized Debtors shall retain and
               may enforce all rights to commence and pursue, as appropriate, any and all
               Causes of Action, whether arising before or after the Petition Date,
               including any actions specifically enumerated in the Schedule of Retained
               Causes of Action, and the Reorganized Debtors’ rights to commence,
               prosecute, or settle such Causes of Action shall be preserved
               notwithstanding the occurrence of the Effective Date, other than the Causes
               of Action released by the Debtors pursuant to the releases and exculpations
               contained in the Plan, including in Article VIII. The Plan is sufficiently
               specific with respect to the Causes of Action to be retained by the Debtors,
               and the Plan and Plan Supplement provide meaningful disclosure with
               respect to the potential Causes of Action that the Debtors may retain, and
               all parties in interest received adequate notice with respect to such retained
               Causes of Action. The provisions regarding Causes of Action in the Plan
               are appropriate and in the best interests of the Debtors, their respective
               Estates, and holders of Claims or Interests.

       (iv)    Compromise and Settlement (11 U.S.C. § 1123(b)(3)). In accordance with
               section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019,
               and in consideration for the distributions and other benefits provided under
               or in connection with the Plan, the provisions of the Plan, including the Plan
               Settlement, the Committee Plan Settlement, the CCOH Plan and Separation
               Settlement, the Legacy Notes Plan Settlement, and the release, exculpation,
               and indemnity provisions, constitute a good faith compromise of all Claims,
               Interests, and controversies relating to the contractual, legal, and
               subordination rights that all Holders of Claims or Interests may have with
               respect to any Allowed Claim or Allowed Interest or any distribution to be
               made on account of such Allowed Claim or Allowed Interest. Such
               compromises and settlements are fair, equitable, and reasonable and in the
               best interests of the Debtors and their Estates and, with respect to the CCOH
               Plan and Separation Settlement, CCOH and the Settlement Class.


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               (v)    Other Appropriate Provisions (11 U.S.C. § 1123(b)(6)). The Plan’s other
                      provisions are also appropriate and consistent with the applicable provisions
                      of the Bankruptcy Code, including, without limitation, provisions for
                      (1) distributions to Holders of Claims and Interests, (2) resolution of
                      Disputed Claims, (3) allowance of certain Claims, (4) assumption of the
                      Indemnification Provisions, (5) releases by the Debtors of certain parties,
                      (6) releases by certain third parties, (7) exculpation of certain parties, and
                      (8) retention of Bankruptcy Court jurisdiction, thereby satisfying the
                      requirements of section 1123(b)(6).

       i.      Cure of Defaults (11 U.S.C. § 1123(d)). Article V.D of the Plan provides for the
               satisfaction of monetary defaults under each Executory Contract and Unexpired
               Lease to be assumed (or assumed and assigned) pursuant to the Plan. The Debtors
               have provided notice of such assumption (or assumption and assignment) and
               proposed cure amounts to the applicable third parties. As such, the Plan provides
               that the Debtors will cure, or provide adequate assurance that the Debtors will
               promptly cure, defaults with respect to assumed Executory Contracts and
               Unexpired Leases in compliance with section 365(b)(1) of the Bankruptcy Code.
               Thus, the Plan complies with section 1123(d) of the Bankruptcy Code.

P.     The Debtors’ Compliance with the Bankruptcy Code (11 U.S.C. § 1129(a)(2)).

       17.     The Debtors have complied with the applicable provisions of the Bankruptcy Code,

as required by section 1129(a)(2) of the Bankruptcy Code. Specifically:

       a.      the Debtors are eligible debtors under section 109 of the Bankruptcy Code and are
               proper proponents of the Plan under section 1121(a) of the Bankruptcy Code;

       b.      the Debtors have complied with applicable provisions of the Bankruptcy Code,
               except as otherwise provided or permitted by orders of the Bankruptcy Court; and

       c.      the Debtors have complied with the applicable provisions of the Bankruptcy Code,
               the Bankruptcy Rules, and the Bankruptcy Local Rules in transmitting the
               Confirmation Materials and related notices and in soliciting and tabulating the votes
               on the Plan.

Q.     Payment for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4)).

       18.     Any payment made or to be made by the Debtors, or by a person issuing securities

or acquiring property under the Plan, for services or for costs and expenses of Professionals in or

in connection with the Chapter 11 Cases, or in connection with the Plan and incident to the Chapter




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11 Cases, has been approved by, or is subject to the approval of, the Bankruptcy Court as

reasonable, thereby satisfying section 1129(a)(4) of the Bankruptcy Code.

R.     Directors, Officers, and Insiders (11 U.S.C. § 1129(a)(5)).

       19.     The Debtors have satisfied the requirements of section 1129(a)(5) of the

Bankruptcy Code. The identities and affiliations of the Reorganized Debtors’ directors and

officers were disclosed in the Plan Supplement. To the extent that such directors and officers are

insiders, the nature of their compensation has been disclosed to the extent known and

reasonably practicable. Accordingly, the Debtors have satisfied the requirements of section

1129(a)(5) of the Bankruptcy Code.

S.     No Rate Changes (11 U.S.C. § 1129(a)(6)).

       20.     Section 1129(a)(6) of the Bankruptcy Code is satisfied because the Plan does not

provide for any rate changes over which a governmental regulatory commission has jurisdiction.

T.     Best Interests of Creditors (11 U.S.C. § 1129(a)(7)).

       21.     Each Holder of an Impaired Claim or Interest either has accepted the Plan or will

receive or retain under the Plan, on account of such Claim or Interest, property of a value, as of

the Effective Date, that is not less than the amount that such Holder would receive or retain if the

Debtors were liquidated under chapter 7 of the Bankruptcy Code on such date.

       22.     The liquidation analysis attached as Exhibit E to the Disclosure Statement

(the “Liquidation Analysis”) and the other evidence related thereto in support of the Plan that was

proffered or adduced at or prior to the Confirmation Hearing: (a) are reasonable, persuasive,

credible, and accurate as of the dates such analyses or evidence was prepared, presented, or

proffered; (b) utilize reasonable and appropriate methodologies and assumptions; (c) have not

been controverted by other evidence; and (d) establish that Holders of Allowed Claims or Allowed

Interests in every Class will recover as much or more under the Plan on account of such Claim or


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Interest, as of the Effective Date, than the amount such Holder would receive if the Debtors were

liquidated under chapter 7 of the Bankruptcy Code. Accordingly, the Plan satisfies the “best

interest of creditors” test under section 1129(a)(7) of the Bankruptcy Code.

U.     Acceptance by Certain Classes (11 U.S.C. § 1129(a)(8)).

       23.     Classes 1, 2, 3, 7A, and 7B are Unimpaired by the Plan pursuant to section 1124 of

the Bankruptcy Code and, accordingly, Holders of Claims or Interests in such Classes are

conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy

Code. Classes 4, 5A, 5B, 6, 7C, 7D, 7E, 7F, 7G, 8, 9, and 10 are Impaired by the Plan. All voting

Classes at each Debtor, where such classes exist, as applicable, have voted to accept the Plan, and

no Classes have voted to reject the Plan, as established by the Voting Certifications. Class 10 does

not have any Holders of Allowed Claims, and is therefore vacant and deemed eliminated from the

Plan pursuant to Article III.E of the Plan. Classes 11 and 12 are either Unimpaired, and Holders

of Claims or Interests in such Classes are conclusively deemed to have accepted the Plan pursuant

to section 1126(f) of the Bankruptcy Code, or Impaired, and Holders of Claims or Interests in such

classes are conclusively presumed to have rejected the Plan pursuant to section 1126(g) of the

Bankruptcy Code. Accordingly, the Debtors have satisfied the requirements of section 1129(a)(8)

of the Bankruptcy Code.

V.     Treatment of Administrative Claims, Priority Tax Claims, Secured Tax Claims, and
       Priority Non-Tax Claims (11 U.S.C. § 1129(a)(9)).

       24.     The treatment of Administrative Claims, Professional Fee Claims, DIP Claims,

Priority Tax Claims, Secured Tax Claims, and Priority Non-Tax Claims pursuant to Articles II and

III of the Plan satisfies the requirements of section 1129(a)(9) of the Bankruptcy Code.

Accordingly, the Debtors have satisfied the requirements of section 1129(a)(9) of the

Bankruptcy Code.



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W.     Acceptance By at Least One Impaired Class of Claims (11 U.S.C. § 1129(a)(10)).

       25.     Claims in Classes 4, 5A, 5B, 6, 7C, 7D, 7E, 7F, 7G, 8, and 9 are entitled to vote

under the Plan. All voting Classes at each Debtor have voted to accept the Plan, determined

without including any vote to accept the Plan by any Insider, as established by the Voting

Certifications. Accordingly, the Plan satisfies the requirements of section 1129(a)(10) of the

Bankruptcy Code.

X.     Feasibility (11 U.S.C. § 1129(a)(11)).

       26.     The Plan satisfies the requirements of section 1129(a)(11) of the Bankruptcy Code.

The evidence supporting the Plan proffered or adduced by the Debtors at or before the

Confirmation Hearing: (a) is reasonable, persuasive, credible, and accurate as of the dates such

evidence was prepared, presented, and/or proffered; (b) utilizes reasonable and appropriate

methodologies and assumptions; (c) has not been controverted by other evidence; (d) establishes

that the Plan is feasible and Confirmation of the Plan is not likely to be followed by the liquidation,

or the need for further financial reorganization of the Debtors or the Reorganized Debtors; and

(e) establishes that the Debtors or Reorganized Debtors will have sufficient funds available to meet

their obligations under the Plan.

Y.     Payment of Fees (11 U.S.C. § 1129(a)(12)).

       27.     As set forth in Article XII.C of the Plan, all fees payable pursuant to section 1930(a)

of the Judicial Code shall be paid by each of the Reorganized Debtors (or the Distribution Agent

on behalf of each of the Reorganized Debtors) until the Chapter 11 Cases are converted, dismissed,

or closed, whichever occurs first. Accordingly, the Plan satisfies the requirements of section

1129(a)(12) of the Bankruptcy Code.




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Z.     Retiree Benefits (11 U.S.C. § 1129(a)(13)).

       28.     The Plan satisfies the requirements of section 1129(a)(13) of the Bankruptcy Code.

Article IV.V of the Plan provides that from and after the Effective Date, the payment of all retiree

benefits, as defined in section 1114 of the Bankruptcy Code, will continue in accordance with

applicable law.

AA.    No Domestic Support Obligations (11 U.S.C. § 1129(a)(14)).

       29.     The Debtors are not required by a judicial or administrative order or by statute to

pay a domestic support obligation. Accordingly, section 1129(a)(14) of the Bankruptcy Code is

inapplicable in the Chapter 11 Cases.

BB.    None of the Debtors is an Individual (11 U.S.C. § 1129(a)(15)).

       30.     None of the Debtors is an individual. Accordingly, section 1129(a)(15) of the

Bankruptcy Code is inapplicable in the Chapter 11 Cases.

CC.    No Applicable Nonbankruptcy Law Regarding Transfers (11 U.S.C. § 1129(a)(16)).

       31.     The Debtors are moneyed, business, or commercial entities. Accordingly, section

1129(a)(16) of the Bankruptcy Code is inapplicable in the Chapter 11 Cases.

DD.    Only One Plan (11 U.S.C. § 1129(c)).

       32.     The Plan is the only plan filed in the Chapter 11 Cases, and, accordingly,

section 1129(c) of the Bankruptcy Code is inapplicable in the Chapter 11 Cases.

EE.    Principal Purpose of the Plan (11 U.S.C. § 1129(d)).

       33.     The principal purpose of the Plan is not the avoidance of taxes or the avoidance of

the application of section 5 of the Securities Act of 1933, thereby satisfying section 1129(d) of the

Bankruptcy Code.




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FF.    Not Small Business Cases (11 U.S.C. § 1129(e)).

       34.     None of the Chapter 11 Cases are small business cases, as that term is defined in

the Bankruptcy Code, and accordingly, section 1129(e) of the Bankruptcy Code is inapplicable in

the Chapter 11 Cases.

GG.    Plan Implementation.

       35.     The terms of the Plan, including, without limitation, the Plan Supplement and all

exhibits and schedules thereto, and all other documents filed in connection with the Plan, or

executed or to be executed in connection with the transactions contemplated by the Plan and all

amendments and modifications of any of the foregoing made pursuant to the provisions of the Plan

governing such amendments and modifications (collectively, and as each may be amended,

supplemented, or modified, the “Plan Documents”) are incorporated by reference, are approved in

all respects, and constitute an integral part of this Confirmation Order.

HH.    Binding and Enforceable.

       36.     The Plan and the Plan Documents have been negotiated in good faith and at

arms’-length and, subject to the occurrence of the Effective Date, shall bind any Holder of a Claim

or Interest and such Holder’s respective successors and assigns, whether or not the Claim or

Interest is Impaired under the Plan, whether or not such Holder has accepted the Plan, and whether

or not such Holder is entitled to a distribution under the Plan. The Plan and the Plan Documents

constitute legal, valid, binding, and authorized obligations of the respective parties thereto and

shall be enforceable in accordance with their terms. Pursuant to section 1142(a) of the Bankruptcy

Code, the Plan and the Plan Documents shall apply and be enforceable notwithstanding any

otherwise applicable nonbankruptcy law.




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II.    Vesting of Assets.

       37.     Except as otherwise provided in the Plan, the Plan Documents, this Confirmation

Order, or any agreement, instrument, or other document incorporated therein, on the Effective

Date, all property (including all interests, rights, and privileges related thereto) in each Debtor’s

Estate, all Causes of Action, and any property acquired by any of the Debtors pursuant to the Plan

shall vest in each respective Reorganized Debtor, free and clear of all Liens, Claims, charges,

Causes of Action, or other encumbrances. On and after the Effective Date, except as otherwise

provided in the Plan, the Plan Documents, or this Confirmation Order, each Reorganized Debtor

may operate its business and may use, acquire, or dispose of property and compromise or settle

any Claims, Interests, or Causes of Action without supervision or approval by the Bankruptcy

Court and free of any restrictions of the Bankruptcy Code, the Bankruptcy Rules, or the

Bankruptcy Local Rules. Any state or local business or operating license transferred, sold, vested,

or otherwise conveyed from a Debtor to a Reorganized Debtor shall be deemed valid and

enforceable by the applicable Reorganized Debtor without the need for any corporate action,

governmental authority, or further court approval.

JJ.    Executory Contracts and Unexpired Leases.

       38.     The Debtors have exercised sound business judgment in determining whether to

reject, assume, or assume and assign each of their Executory Contracts and Unexpired Leases

pursuant to sections 365 and 1123(b)(2) of the Bankruptcy Code, Article V of the Plan, and as set

forth in the Plan Supplement. Except as set forth herein and/or in separate orders entered by the

Bankruptcy Court relating to the assumption of Executory Contracts or Unexpired Leases, the

Debtors have cured or provided adequate assurance that the Debtors will cure defaults (if any)

under or relating to each Executory Contract or Unexpired Lease assumed under the Plan and, for

each Executory Contract or Unexpired Lease being assigned under the Plan (if any), such assignee


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has provided adequate assurance of future performance as required under section 365(f)(2)(B) of

the Bankruptcy Code.

       39.     Nothing in the Plan or this Confirmation Order shall prevent a party to an Executory

Contract or Unexpired Lease rejected pursuant to the Plan from filing a Proof of Claim based on

such rejection within thirty days of the later of (a) the date of entry of this Confirmation Order or

(b) the date of entry of any other order of the Bankruptcy Court approving such rejection. Nothing

in the Plan or this Confirmation Order shall prevent a party to an Executory Contract or Unexpired

Lease assumed pursuant to the Plan, or otherwise, from continuing to prosecute an objection to the

cure cost related to such assumed Executory Contract or Unexpired Lease if such objection was

timely filed on or before at least seven days prior to the Confirmation Hearing, but not resolved

before the Effective Date.

KK.    Approval of the New ABL Credit Agreement Documents.

       40.     The New ABL Credit Agreement and the other New ABL Credit Agreement

Documents are an essential element of the Plan, are necessary for Confirmation and

Consummation of the Plan, and are critical to the overall success and feasibility of the Plan.

The incurrence of indebtedness, provision of guarantees, and granting of collateral under the New

ABL Credit Agreement Documents are in the best interests of the Reorganized Debtors,

the Debtors, their Estates, and all Holders of Claims or Interests, and are necessary and appropriate

for Consummation of the Plan and the operations of the Reorganized Debtors. The incurrence of

the obligations under the New ABL Credit Agreement Documents is necessary for the

Consummation of the Plan and the operation of the Reorganized Debtors and constitutes

reasonably equivalent value and fair consideration. The New ABL Credit Agreement Documents

were negotiated and shall be deemed to be negotiated at arms’-length and in good faith, without

the intent to hinder, delay or defraud any creditor of the Debtors. The financial accommodations


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to be extended pursuant to the New ABL Credit Agreement Documents are being extended, and

shall be deemed to have been extended, in good faith, for legitimate business purposes, and on

reasonable terms. The Debtors have exercised reasonable business judgment in determining to

enter into the New ABL Credit Agreement and the other New ABL Credit Agreement Documents

and have provided sufficient and adequate notice of the material terms of the New ABL

Indebtedness to all parties in interest in the Chapter 11 Cases, including, but not limited to, through

their filing of the New ABL Credit Agreement Term Sheet as part of the Plan Supplement. The

terms and conditions of the New ABL Indebtedness, as set forth in the New ABL Credit Agreement

Term Sheet and the New ABL Credit Agreement Documents, are fair and reasonable and reflect

the Debtors’ exercise of sound business judgment consistent with their fiduciary duties and are

approved. The execution, delivery, or performance by the Debtors or the Reorganized Debtors, as

applicable, of any of the New ABL Credit Agreement Documents and compliance by the Debtors

or the Reorganized Debtors, as applicable, with the terms thereof is authorized by, and will not

conflict with, the terms of the Plan or this Confirmation Order.

LL.    Approval of the New Debt Agreements and New Debt Documents.

       41.     Unless otherwise replaced with cash proceeds of third-party market financing that

becomes available on or prior to the Effective Date, the New Debt Agreements are an essential

element of the Plan, necessary for Confirmation and Consummation of the Plan, and critical to the

overall success and feasibility of the Plan. Entry into the New Debt Agreements and the other

New Debt Documents is in the best interests of the Debtors, their Estates, and all Holders of Claims

or Interests. The Debtors have exercised reasonable business judgment in determining to enter

into the New Debt Agreements and the other New Debt Documents and have provided sufficient

and adequate notice of the material terms of the New Debt Agreements, which material terms were

filed as part of the Plan Supplement. The terms and conditions of the New Debt Agreements are


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fair and reasonable, and the New Debt Agreements were negotiated in good faith and at

arms’-length.

MM. Issuance of Securities.

        42.     To the maximum extent provided by section 1145 of the Bankruptcy Code and

applicable nonbankruptcy law, the offering, issuance, and distribution of the 1145 Securities

(whether issued upon the Effective Date, or later, upon the exercise of Special Warrants, or the

exchange of New iHeart Class B Common Stock for New iHeart Class A Common Stock) and any

other securities of a Reorganized Debtor (other than the 4(a)(2) Securities) to be issued and

distributed (including the distributions described in the Restructuring Transactions Memorandum,

the Equity Allocation Mechanism, and the Special Warrant Agreement), whether on the Effective

Date or any other date of a distribution thereafter, pursuant to the terms of the Plan or in accordance

with this Confirmation Order, comply with section 1145 of the Bankruptcy Code and shall be

exempt from the registration requirements of section 5 of the Securities Act and any other

applicable United States, state, or local law requiring registration prior to the offering, issuance,

distribution, or sale of securities.

        43.     In addition, under section 1145 of the Bankruptcy Code, any 1145 Security

contemplated by the Plan and any and all agreements incorporated therein, including the New

iHeart Common Stock and the Special Warrants (whether issued upon the Effective Date, or later,

upon exercise of Special Warrants, or the exchange of New iHeart Class B Common Stock for

New iHeart Class A Common Stock), will be freely tradable and transferable in the United States

by the recipients thereof that (a) are not “affiliates” of the Debtors as defined in Rule 144(a)(1)

under the Securities Act; (b) have not been “affiliates” within 90 days of such transfer; and (c) are

not entities that are “underwriters” as defined in section 1145(b)(1) of the Bankruptcy Code, and

subject to compliance with applicable securities laws and any rules and regulations of the SEC, if


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any, applicable at the time of any future transfer of such 1145 Securities and subject to any

restrictions in the New Corporate Governance Documents and the New CCOH Corporate

Governance Documents; provided that the transfer of the 1145 Securities may be restricted by the

Communications Act, and the rules, regulations, and orders promulgated thereunder by the FCC,

the New Corporate Governance Documents, the New CCOH Corporate Governance Documents,

and the Special Warrant Agreement.

       44.     Each Security issued and distributed pursuant to the Plan and this Confirmation

Order shall be duly authorized, validly issued, fully paid, and non-assessable (in the case of New

iHeart Common Stock issued upon exercise of Special Warrants, upon payment of the exercise

price therefor), as applicable. Each distribution and issuance of the New iHeart Common Stock

and Special Warrants referred to in Article VI of the Plan shall be governed by the terms and

conditions set forth in the Plan and the Equity Allocation Mechanism applicable to such

distribution or issuance and by the terms and conditions of the instruments evidencing or relating

to such distribution or issuance, which terms and conditions shall bind each Entity receiving such

distribution or issuance.

       45.     In respect of the Secured Term Loan / 2019 PGN Supplemental Equity Distribution,

the Remaining Equity Distribution, the iHC 2021 / Legacy Notes Equity Distribution, and the

Exchange 11.25% PGNs Equity Distribution, if the Holder of Allowed Claims entitled to such

distributions holds its Allowed Claim in multiple managed funds and/or investment vehicles (such

entities, the “Funds”), then it will receive its allocation of New iHeart Class A Common Stock,

New iHeart Class B Common Stock, and Special Warrants, as applicable, pro rata across such

Funds and in accordance with the terms of the Plan and the Equity Allocation Mechanism;

provided, however, that, if an allocation other than pro rata across the Funds is requested, such




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Holder shall give notice to the Debtors, the Reorganized Debtors, and/or the Distribution Agent

(or their respective representatives or assigns) no later than five Business Days after the

Confirmation Date specifying its requested allocation of New iHeart Common Stock and Special

Warrants amongst its Funds.       The Distribution Agent (and any other applicable agents or

representatives of the Debtors and the Reorganized Debtors) shall use commercially reasonable

efforts to assist such Holder in allocating its New iHeart Common Stock and Special Warrants

across such Funds in such manner, which allocation shall otherwise be subject to the terms of the

Plan and the Equity Allocation Mechanism.

       46.     The 4(a)(2) Securities will be issued without registration under the Securities Act

in reliance on the exemption from the registration requirements of the Securities Act provided by

section 4(a)(2) of the Securities Act (and/or Regulation D promulgated thereunder) or any similar

registration exemption applicable outside of the United States and will be “restricted securities”

subject to resale restrictions and may be resold, exchanged, assigned, or otherwise transferred only

pursuant to registration, or an applicable exemption from, or in a transaction not subject to,

registration under the Securities Act and other applicable law and subject to any restrictions in the

New Corporate Governance Documents, the New CCOH Corporate Governance Documents, the

Communications Act, and the rules, regulations, and orders promulgated thereunder by the FCC.

       47.     Each Security issued under the Plan is an essential element of the Plan, is necessary

for Confirmation and Consummation of the Plan, and is critical to the overall success and

feasibility of the Plan. Entry into the instruments evidencing or relating to such Securities,

including the New Debt Agreements and other New Debt Documents, the New Corporate

Governance Documents, the New CCOH Corporate Governance Documents, and the Special

Warrant Agreement, is in the best interests of the Debtors, their Estates, and all Holders of Claims




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or Interests. The Debtors have exercised reasonable business judgment in determining to enter

into the instruments evidencing or relating to such Securities, including the New Debt Agreements

and other New Debt Documents, the New Corporate Governance Documents, the Special Warrant

Agreement, and the New CCOH Corporate Governance Documents and have provided sufficient

and adequate notice of the material terms of such instruments, which material terms were filed as

part of the Plan Supplement. The terms and conditions of the instruments evidencing or relating

to such Securities, including the New Debt Agreements and other New Debt Documents, the New

Corporate Governance Documents, the New CCOH Corporate Governance Documents, and the

Special Warrant Agreement are fair and reasonable, and were negotiated in good faith and at

arms’-length.

NN.    Post-Emergence Equity Incentive Program.

       48.      The terms of the Post-Emergence Equity Incentive Plan set forth in the Plan

Supplement have been negotiated at arms’-length and in good faith and are reasonable, consistent

with the market for incentive compensation of similar companies, appropriate, and calculated to

incentivize performance by management after the Effective Date.

OO.    Discharge, Compromise, Settlement, Release, Exculpation, and Injunction
       Provisions.

       49.      The Bankruptcy Court has jurisdiction under sections 1334(a) and (b) of title 28 of

the United States Code to approve the discharge, compromises, settlements, releases, exculpations,

and injunctions set forth in Article VIII of the Plan. Sections 105(a) and 1123(b) of the Bankruptcy

Code permit issuance of the injunctions and approval of the releases, exculpations, and injunctions

set forth in Article VIII of the Plan. Based upon the record of the Chapter 11 Cases and the

evidence proffered or adduced at the Confirmation Hearing, the Bankruptcy Court finds that the

discharge, compromises, settlements, releases, exculpations, and injunctions set forth in



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Article VIII of the Plan are consistent with the Bankruptcy Code and applicable law. Further,

based on the representations and arguments of counsel for the Debtors and parties in interest at the

Confirmation Hearing, the testimony provided by witnesses, both live and proffered, other

evidence admitted at the Confirmation Hearing, and the record of the Chapter 11 Cases, the

discharge, compromises, settlements, releases, exculpations, and injunctions contained in

Article VIII of the Plan are integral components of the Plan, the product of arms’-length

negotiations, supported by good and valuable consideration, and fair, equitable, and in the best

interests of the Debtors, their Estates, and their creditors.       The discharge, compromises,

settlements, releases, exculpations, and injunctions set forth in Article VIII of the Plan are hereby

approved and authorized in their entirety.

PP.    Debtor Release.

       50.     The releases of Claims and Causes of Action by the Debtors described in

Article VIII.B of the Plan in accordance with section 1123(b) of the Bankruptcy Code (the “Debtor

Release”) represent a valid exercise of the Debtors’ business judgment under Bankruptcy Rule

9019. The Debtor Release is fair and equitable.

       51.     The Debtor Release is an integral part of the Plan and is in the best interests of the

Debtors’ Estates as a component of the comprehensive settlement implemented under the Plan.

The probability of success in litigation with respect to the released claims and Causes of Action,

when weighed against the costs, supports the Debtor Release.

       52.     Holders of Claims and Interests entitled to vote have overwhelmingly voted in favor

of the Plan, including the Debtor Release. The Plan, including the Debtor Release, was negotiated

before and after the Petition Date by sophisticated parties represented by able counsel and financial

advisors. The Debtor Release is therefore the result of an arms’-length negotiation process.




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       53.     The Debtor Release appropriately offers protection to parties that participated in

the Debtors’ restructuring process. Specifically, the Released Parties under the Plan made

significant concessions and contributions to the Debtors’ Chapter 11 Cases, including, as

applicable, actively supporting the Plan and these Chapter 11 Cases and waiving substantial rights

and Claims against the Debtors under the Plan. The Debtor Release for the Debtors’ directors and

officers is appropriate because the Debtors’ directors and officers share an identity of interest with

the Debtors, supported the Plan and these Chapter 11 Cases, actively participated in meetings,

negotiations, and implementation during these Chapter 11 Cases, and have provided other valuable

consideration to the Debtors to facilitate the Debtors’ reorganization. The Debtor Release for the

Consenting Sponsors and their Related Parties is appropriate because such Entities share an

identity of interest with the Debtors, supported the Plan and these Chapter 11 Cases, and have

provided other valuable consideration to the Debtors to facilitate the Debtors’ reorganization.

       54.     The scope of the Debtor Release is appropriately tailored under the facts and

circumstances of these Chapter 11 Cases. The Debtor Release is appropriate in light of, among

other things, the value provided by the Released Parties to the Debtors’ Estates, the critical nature

of the Debtor Release to the Plan, and the investigation of Claims and Causes of Action conducted

by the Special Committee (as described and defined herein).

QQ.    Third-Party Release.

       55.     The release by the Releasing Parties (the “Third-Party Release”), set forth in Article

VIII.C of the Plan, is an essential provision of the Plan. The Third-Party Release is: (a) in

exchange for the good and valuable consideration provided by the Released Parties; (b) a good

faith settlement and compromise of the Claims and Causes of Action released by the Third-Party

Release; (c) materially beneficial to, and in the best interests of, the Debtors, their Estates, and

their stakeholders, and is important to the overall objectives of the Plan to finally resolve certain


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Claims among or against certain parties in interest in these Chapter 11 Cases; (d) fair, equitable,

and reasonable; (e) given and made after due notice and opportunity for hearing; (f) a bar to any

of the Releasing Parties asserting any Claim or Cause of Action released by the Third-Party

Release against any of the Released Parties; and (g) consistent with sections 105, 524, 1123, 1129,

and 1141, and other applicable provisions of the Bankruptcy Code.

       56.     The Third-Party Release is an integral part of the Plan. Like the Debtor Release,

the Third-Party Release facilitated participation in both the Debtors’ Plan and the chapter 11

process generally. The Third-Party Release was critical in incentivizing the parties to support the

Plan and preventing potentially significant and time-consuming litigation regarding the parties’

respective rights and interests. The Third-Party Release was a core negotiation point in connection

with the Restructuring Support Agreement and was instrumental in developing a Plan that

maximized value for all of the Debtors’ stakeholders.          As such, the Third-Party Release

appropriately offers certain protections to parties who constructively participated in the Debtors’

restructuring process by, among other things, supporting the Plan.

       57.     The Third-Party Release is consensual as to all parties in interest, including all

Releasing Parties, and such parties in interest were provided notice of the Chapter 11 Cases, the

Plan, the deadline to object to confirmation of the Plan, and the Confirmation Hearing and were

properly informed that all Holders of Claims against or Interests in the Debtors that did not file an

objection with the Bankruptcy Court in the Chapter 11 Cases that included an express objection to

the inclusion of such Holder as a Releasing Party under the provisions contained in Article VIII of

the Plan, or did not otherwise opt out of such provisions pursuant to a Ballot or opt out form, would

be deemed to have conclusively, absolutely, unconditionally, irrevocably, and forever consented

to the release and discharge of all Claims and Causes of Action against the Debtors and the




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Released Parties. Additionally, the release provisions of the Plan were conspicuous, emphasized

with boldface type in the Plan, the Disclosure Statement, the Ballots, and the applicable notices.

       58.     The scope of the Third-Party Release is appropriately tailored under the facts and

circumstances of these Chapter 11 Cases, and parties in interest received due and adequate notice

of the Third-Party Release. Among other things, the Plan, Disclosure Statement, and Disclosure

Statement Supplement provide appropriate and specific disclosures with respect to the Entities,

Claims, and Causes of Action that are subject to the Third-Party Release, and no other disclosure

is necessary. The Debtors provided sufficient notice of the Third-Party Release, and no further or

other notice is necessary. The Third-Party Release is specific in language, integral to the Plan, and

given for adequate consideration. In light of, among other things, the value provided by the

Released Parties to the Debtors’ Estates and the critical nature of the Third-Party Release to the

Plan, the Third-Party Release is appropriate.

RR.    Exculpation.

       59.     The exculpation provisions set forth in Article VIII.D of the Plan were proposed in

good faith and are essential to the Plan. The record in the Chapter 11 Cases fully supports the

exculpation provisions, and the exculpation provisions set forth in Article VIII.D of the Plan are

appropriately tailored to protect the Exculpated Parties from inappropriate litigation and to exclude

actions determined by Final Order to have constituted actual fraud or gross negligence.

SS.    Injunction.

       60.     The injunction provisions set forth in Article VIII.E of the Plan are essential to the

Plan; are necessary to preserve and enforce the releases set forth in Articles VIII.B and VIII.C of

the Plan, the exculpation provisions set forth in Article VIII.D of the Plan, and the compromises

and settlements implemented under the Plan; and are narrowly tailored to achieve that purpose.




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        61.     The injunction provisions set forth in Article VIII.E of the Plan: (a) are within the

jurisdiction of this Bankruptcy Court under 28 U.S.C. §§ 1334(a) and 1334(b); (b) are an essential

means of implementing the Plan pursuant to section 1123(a)(5) of the Bankruptcy Code; (c) are an

integral element of the transactions incorporated into the Plan; (d) confer material benefits on, and

are in the best interests of, the Debtors, the Estates, and their creditors; (e) are important to the

overall objectives of the Plan to finally resolve all Claims or Causes of Action among or against

the parties in interest in the Chapter 11 Cases with respect to the Debtors; and (f) are consistent

with sections 105, 1123, and 1129 of the Bankruptcy Code, other provisions of the Bankruptcy

Code, and other applicable law. The record of the Confirmation Hearing and the Chapter 11 Cases

is sufficient to support the injunction provisions set forth in Article VIII.E of the Plan.

TT.     Retention of Jurisdiction.

        62.     Except as otherwise provided in the Plan, any of the Plan Documents, or this

Confirmation Order, the Bankruptcy Court shall retain jurisdiction over the Chapter 11 Cases and

all matters arising out of, or related to, the Chapter 11 Cases and the Plan, including the matters

set forth in Article XI of the Plan.

UU.     Good Faith.

        63.     The Debtors have proposed the Plan (including the Plan Documents and all other

documents necessary to effectuate the Plan) in good faith and not by any means forbidden by law,

thereby satisfying section 1129(a)(3) of the Bankruptcy Code. In determining that the Plan has

been proposed in good faith, the Bankruptcy Court has examined the totality of the circumstances

surrounding the filing of the Chapter 11 Cases and the formulation of the Plan. The Debtors’ good

faith is evident from the facts and record of the Chapter 11 Cases, the Disclosure Statement, the

Disclosure Statement Supplement, and the record of the Confirmation Hearing. The Plan was

proposed with the legitimate and honest purpose of maximizing the value of the Debtors’ Estates


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and to effectuate a successful restructuring of the Debtors. The Plan was the product of extensive

negotiations conducted at arms’-length among the Debtors and certain of their key stakeholders.

Further, the Plan’s classification, indemnification, settlement, discharge, exculpation, release, and

injunction provisions have been negotiated in good faith and at arms’-length, are consistent with

sections 105, 1122, 1123(b)(6), 1129, and 1142 of the Bankruptcy Code, and are each necessary

for the Debtors to consummate the value-maximizing transactions embodied in the Plan.

Accordingly, the requirements of section 1129(a)(3) of the Bankruptcy Code are satisfied.

       64.     The Plan gives effect to many of the Debtors’ restructuring initiatives, including

implementing value maximizing restructuring transactions. Accordingly, the Debtors (and all of

their respective officers, managers, equity holders, directors, agents, financial advisers, attorneys,

employees, partners, Affiliates, and representatives) have been, are, and will continue to act in

good faith if they proceed to: (a) consummate the Plan, the Restructuring Transactions, and the

agreements, settlements, transactions, and transfers contemplated thereby; and (b) take the actions

authorized and directed or contemplated by this Confirmation Order. Therefore, the Plan has been

proposed in good faith to achieve a result consistent with the objectives and purposes of the

Bankruptcy Code and the aforementioned parties have acted in good faith within the meaning of

sections 1125(e) and 1126(e) the Bankruptcy Code.

VV.    The Debtors’ Prepetition Liability Management Transactions, the Negotiation of the
       RSA, and the Special Committee’s Investigation of Potential Claims.

       a.      The Debtors’ 2011–2015 Debt Refinancing and Repurchasing Efforts.

       65.     The Debtors undertook proactive steps to manage their overall debt structure and

liabilities in the years preceding the Chapter 11 Cases. Between 2011 and 2015, the Debtors

refinanced billions of dollars of indebtedness under the Term Loan Credit Agreement for

newly-issued priority guarantee notes, and also repurchased or redeemed billions of dollars of



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then-outstanding     Legacy      Notes     through     a   combination      of    exchange      offers   and

open-market transactions.

        66.     Included among the Debtors’ prepetition debt repurchases was the 2014 repurchase

by CC Finco, LLC—a non-debtor, wholly-owned direct subsidiary of Debtor CCH and an indirect

wholly-owned subsidiary of Debtor iHC—of $57.1 million of 5.50% Legacy Notes due 2016

issued by Debtor iHC (the “Repurchased 2016 Legacy Notes”). The Debtors did not cancel the

Repurchased 2016 Legacy Notes, and left them outstanding in order to maximize the Debtors’

flexibility with respect to using the Repurchased 2016 Legacy Notes in future transactions.

CC Finco, LLC subsequently transferred the Repurchased 2016 Legacy Notes to Debtor CCH.

        b.      The December 2015 Broader Media Transfer.

        67.     As another part of the Debtors’ prepetition liability management efforts, Debtor

CCH transferred 100,000,000 shares of Class B common stock in non-Debtor CCOH to

non-Debtor Broader Media, LLC (“Broader Media”) on December 3, 2015.

        68.     Certain of the Debtors’ creditors filed a lawsuit against Debtor iHC alleging the

transfer of the CCOH Class B shares to Broader Media violated certain of the Debtors’ debt

documents. The District Court of Bexar County, Texas, 285th Judicial District, ruled in Debtor

iHC’s favor and entered findings of fact and conclusions of law, and the Fourth Court of Appeals

of Texas (San Antonio) affirmed the District Court’s judgment.2

        69.     Based upon the Court’s consideration of those decisions and the related findings of

fact and conclusions of law, and the record established at the Confirmation Hearing, the transfer




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    Franklin Advisers, Inc., et al. v. iHeartCommunications, Inc., No. 04-16-00532-CV (Tex. App.-San Antonio),
    Oct. 10, 2017, available at 2017 WL 4518297.



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of CCOH Class B shares to Broader Media in December 2015 does not provide any grounds for

the equitable subordination of any Claim to any other Claim.

       c.      The Debtors’ Independent Directors, the Creation of the Special Committee,
               and the December 2016 Non-Occurrence of the Collateral Flip.

       70.     In May 2016, Mr. Frederic (“Jake”) F. Brace and Mr. Charles H. Cremens joined

the boards of Debtors iHeart and iHC and became managers of iHeartMedia Capital I, LLC. Mr.

Brace and Mr. Cremens were and are independent, disinterested directors, who did not have and

do not have any financial relationship with Bain Capital, LP, Thomas H. Lee Partners, L.P.,

Abrams Capital, L.P., or Highfields Capital Management LP, or any funds sponsored by or

Affiliates of the foregoing.

       71.     On October 5, 2016, the boards of Debtors iHeart and iHC created a special

committee consisting of Mr. Brace and Mr. Cremens (the “Special Committee”) and delegated to

the Special Committee the exclusive authority to consider and decide whether the Debtors should

continue to keep the Repurchased 2016 Legacy Notes outstanding at the time of their maturity in

December 2016. The Special Committee also retained its own independent financial and legal

advisors to assist the Special Committee with its analysis and consideration of the issues associated

with this decision.

       72.     The members of the Special Committee received extensive advice from their

independent financial and legal advisors concerning this decision, as well as information from the

Debtors’ own legal and financial advisors. The members of the Special Committee had multiple

conversations among themselves, with their advisors, and with other directors and officers of the

Debtors and the Debtors’ financial and legal advisors concerning the potential treatment of the

Repurchased 2016 Legacy Notes.




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         73.     On December 9, 2016, the Special Committee formally resolved to not pay the

Repurchased 2016 Legacy Notes at the time of their maturity on December 15, 2016. This decision

was made by the Special Committee, and was not made at the direction of, or under the influence

or control of, the Consenting Sponsors or their representatives or affiliates.

         74.     Based on the Court’s consideration of the record established at the October 24, 2018

trial in the adversary proceeding brought by the Legacy Notes Trustee, the Springing Lien

Adversary Proceeding, and the record established at the Confirmation Hearing, the decision to not

pay the Repurchased 2016 Legacy Notes at maturity, and parties’ conduct in connection with those

events, do not provide any grounds for the equitable subordination of any Claim to any other

Claim.

         d.      The March 2017 Global Exchange Offer.

         75.     On March 1, 2017, the boards of Debtors iHeart and iHC delegated to the Special

Committee consisting of Mr. Brace and Mr. Cremens the authority to consider and approve the

potential launch of exchange offers to comprehensively address the Debtors’ outstanding debt

structure.     The members of the Special Committee received extensive advice from their

independent financial and legal advisors concerning potential exchange offers, as well as

information from the Debtors’ own legal and financial advisors. The members of the Special

Committee had multiple conversations among themselves, with their advisors, and with other

directors and officers of the Debtors and the Debtors’ financial and legal advisors concerning the

potential exchange offers.

         76.     On March 12, 2017, the Special Committee authorized the launch of a global

exchange offer (the “Global Exchange Offer”), consisting of multiple separate exchange offers for

different types of the Debtors’ debt, which would comprehensively address the Debtors’

outstanding debt structure. The Special Committee’s decision was made in good faith by the


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Special Committee, was made in full compliance with the independent directors’ fiduciary duties,

and was not made at the direction of, or under the influence or control of, the Consenting Sponsors

or their representatives or affiliates.

        77.     Under the Global Exchange Offer as authorized by the Special Committee and

launched by the Debtors on March 15, 2017, the Holders of outstanding Legacy Notes were not

subject to any exchange offer, and under any scenario under the Global Exchange Offer, the

Holders of outstanding Legacy Notes would have been unimpaired and would have not had their

legal rights or the priority of claims impaired in any way. In fact, the Holders of Legacy Notes

would have benefited from a successful Global Exchange Offer because (a) the Legacy Notes’

negative pledge for equal and ratable liens on Principal Property would have resulted in the

granting of equal and ratable liens based on the collateral package offered to creditors participating

in the Global Exchange Offer, and (b) the Debtors’ overall debt profile would have been reduced.

        78.     The Global Exchange Offer was ultimately not successful because it did not garner

sufficient support from the Debtors’ creditors to become effective. The Global Exchange Offer

was extended multiple times throughout 2017 and into early 2018, and in each instance, the Special

Committee authorized the extension of the Global Exchange Offer. These decisions to extend the

Global Exchange Offer were made in good faith by the Special Committee, were made in full

compliance with the independent directors’ fiduciary duties, and were not made at the direction

of, or under the influence or control of, the Consenting Sponsors or their representatives or

affiliates.

        79.     The global exchange offer and its extension through 2017 and into early 2018 and

parties’ conduct in connection with those events do not provide any grounds for the equitable

subordination of any Claim to any other Claim.




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       e.      The Negotiation of the RSA.

       80.     In late 2017, the Debtors engaged in restructuring discussions with multiple

different groups of their creditors, including Holders of Legacy Notes, Holders of the Debtors’

senior debt, and the Consenting Sponsors. Multiple draft settlement term sheets were exchanged

during these discussions, and multiple different potential restructuring support agreements were

proposed by different parties. During these negotiations, all parties engaged in good-faith,

arms’-length negotiations. The draft settlement term sheets the parties exchanged did not amount

to implicit or explicit concessions or acknowledgments as to the legal rights or obligations of any

other party.

       81.     The Debtors ultimately reached agreement on the terms of a Restructuring Support

Agreement with the Consenting Stakeholders. The Holders of Legacy Notes, however, were not

a party to the Restructuring Support Agreement ultimately agreed to by the Debtors and the

Consenting Stakeholders.

       82.     On March 13, 2018, the boards of Debtors iHeart and iHC delegated to the Special

Committee consisting of Mr. Brace and Mr. Cremens the authority to consider and approve the

Debtors’ entry into the Restructuring Support Agreement. The members of the Special Committee

received extensive advice from their independent financial and legal advisors concerning the terms

of the Restructuring Support Agreement, as well as information from the Debtors’ own legal and

financial advisors. The members of the Special Committee had multiple conversations among

themselves, with their advisors, and with other directors and officers of the Debtors and the

Debtors’ financial and legal advisors concerning the Restructuring Support Agreement. On March

14, 2018, the Special Committee approved the Debtors’ entry into the Restructuring Support

Agreement.     The Special Committee’s decision to approve the Debtors’ entry into the

Restructuring Support Agreement was made in good faith by the Special Committee, was made in


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full compliance with the independent directors’ fiduciary duties, and was not made at the direction

of, or under the influence or control of, the Consenting Sponsors or their representatives or

affiliates.

        83.    The Restructuring Support Agreement approved by the Special Committee

contemplates the classification of the 2021 Notes Claims with the Legacy Notes Claims, the

provision of $200 million of New Debt and 5% of Reorganized iHeart’s equity to existing Holders

of 2021 Notes Claims and Legacy Notes Claims, the provision of 1% of Reorganized iHeart’s

equity to existing Holders of iHeart Interests, and mutual third-party releases, including for the

Consenting Sponsors. The Restructuring Support Agreement also contains a “fiduciary out” which

provides the Special Committee with the authority to terminate the Restructuring Support

Agreement if they believe that proceeding with any of the Restructuring Transactions would be

inconsistent with the exercise of their fiduciary duties. The Special Committee’s decision to

approve the Restructuring Support Agreement took into account all of these provisions, as well as

the other provisions of the Restructuring Support Agreement.

        84.    The negotiation and approval of the Restructuring Support Agreement and parties’

conduct in connection with those events do not provide any grounds for the equitable subordination

of any Claim to any other Claim.

        f.     The Special Committee’s Investigation of Claims.

        85.    Pursuant to the “fiduciary out” contained within the Restructuring Support

Agreement, following the execution of the Restructuring Support Agreement and the

commencement of the Chapter 11 Cases, the Special Committee conducted an investigation of

potential Causes of Action the Debtors could potentially pursue against the Consenting Sponsors.

The investigation was conducted by the members of the Special Committee and their legal and

financial advisors.


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       86.     The Special Committee’s investigation included requesting and reviewing

documents from public sources, from the Debtors, and from the Consenting Sponsors, interviewing

company witnesses and representatives of the Consenting Sponsors, discussions with counsel for

the Consenting Sponsors and the Committee, and legal and financial analysis by the Special

Committee’s advisors.

       87.     Among the Causes of Action considered against the Consenting Sponsors were

fraudulent conveyance or fraudulent transfer, breach of fiduciary duty or aiding and abetting the

breach of fiduciary duty, avoidable preferences, and equitable subordination. Following its

investigation, the Special Committee concluded that (a) the Debtors did not hold any viable Causes

of Action against the Consenting Sponsors or their Related Parties in light of the cost and delay to

pursue any Claims and (b) the Consenting Sponsors provided material benefits, compromises, and

contributions in furtherance of the Debtors’ restructuring and confirmation of the Plan. Therefore,

nothing in the investigation caused the Special Committee to believe it should exercise the

“fiduciary out” under the Restructuring Support Agreement, terminate the Restructuring Support

Agreement, or modify the releases contained in Article VIII of the Plan.

       88.     The Plan provides for the allowance, classification, and treatment of all Allowed

Claims against and Allowed Interests in the Debtors and the respective distributions and treatments

under the Plan take into account and conform to the relative priority and rights of the Claims and

Interests in each Class in connection with any contractual, legal, and equitable subordination rights

relating thereto, whether arising under general principles of equitable subordination, section 510(b)

of the Bankruptcy Code, or otherwise.

WW. Alleged Section 510(b) Claims.

       89.     Certain Holders of Legacy Notes Claims have asserted Section 510(b) Claims

(collectively, the “Legacy 510(b) Claimants”), alleging the Debtors committed securities fraud and


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common-law fraud (collectively, the “Legacy 510(b) Proofs of Claim”). On October 24, 2018, the

Bankruptcy Court held a trial in the related Springing Lien Adversary Proceeding. The allegations

of the Legacy Notes Trustee and the Legacy 510(b) Claimants substantially overlap, and the

Bankruptcy Court adopts its findings of facts and conclusions of law set forth in the Springing

Lien Opinion. Specifically, the so-called “springing lien condition” granted by the Debtors does

not fall within the definition of a “Mortgage” as set forth in the Legacy Notes Indenture. Further,

the Debtors disclosed the existence of the “springing lien condition” in multiple public SEC filings,

and never affirmatively stated that the priority guarantee notes were not secured by Principal

Property. In addition, the Legacy 510(b) Claimants have suffered no harm or damages because,

even if the “springing lien” was a “Mortgage” under Section 1006 of the Legacy Notes Indenture,

the Holders of Legacy Notes Claims are not entitled to any lien or actual security interest because

the Springing Lien Trigger Date and Existing Notes Condition (each as defined in the Disclosure

Statement) have not occurred under the Term Loan Credit Agreement or terms of the priority

guarantee notes’ indentures. Finally, pursuant to Stipulation and Order (I) Granting the Legacy

510(b) Claimants Leave to Withdraw and Deeming the Legacy 510(b) Claims Withdrawn; and

(II) Overruling iHeartCommunications, Inc.’s Claim Objections as Moot [Docket No. 2364], the

Legacy 510(b) Claimants have agreed that they will not prosecute the Legacy 510(b) Proofs of

Claim and that the Legacy 510(b) Proofs of Claim shall be deemed withdrawn. The Legacy 510(b)

Proofs of Claim are hereby disallowed and expunged in their entirety.

XX.    The CCOH Separation Settlement Agreement.

       90.     On December 16, 2018, the Debtors signed the CCOH Separation Settlement

Agreement with (a) GAMCO Asset Management, Inc. (“GAMCO”) both individually on behalf

of the putative class of public shareholders (the “Settlement Class”) of Clear Channel Outdoor

Holdings, Inc. (“CCOH”) and derivatively on behalf of CCOH, (b) Norfolk County Retirement


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System (“Norfolk”), both individually and derivatively on behalf of CCOH, (c) CCOH; (d) Bain

Capital Partners, LLC and Bain Capital LP (collectively, “Bain”); (e) Thomas H. Lee

Partners, L.P. (“THL”); and (f) the Delaware Individual Defendants (as defined in the

CCOH Separation Settlement Agreement).

       91.    On December 17, 2018, the Bankruptcy Court entered the Order (I) Directing the

Application of Bankruptcy Rules 7023 and 7023.1, (II) Preliminarily Approving the Settlement,

(III) Approving the Retention of Prime Clerk LLC as Notice Administrator, (IV) Approving the

Form and Manner of Notice, (V) Scheduling a Fairness Hearing to Consider Final Approval of

the Settlement as Part of Confirmation of the Plan, and (VI) Granting Related Relief [Docket No.

2219] and the Order (I) Directing the Application of Bankruptcy Rules 7023 and 7023.1, (II)

Certifying a Class, Designating a Class Representative, and Appointing Class Counsel for

Purposes of Settlement, and (III) Granting Related Relief [Docket No. 2221] (the “GAMCO

Order”).

       92.    Pursuant to the GAMCO Order, the Bankruptcy Court approved the Settlement

Class for settlement purposes only pursuant to Federal Rules of Civil Procedure 23 and 23.1 and

Bankruptcy Rules 7023, 7023.1, and 9014, consisting of all persons or entities who were minority

shareholders of CCOH’s Class A common shares from March 14, 2015 to March 14, 2018.

Further, pursuant to the GAMCO Order, the Bankruptcy Court found, for the purposes of the

CCOH Separation Settlement, that: (i) the Class was so numerous that joinder of all Settlement

Class members was impracticable; (ii) there were questions of law or fact common to the

Settlement Class; (iii) the claims of GAMCO, the Settlement Class representative, were typical of

the claims or defenses of the Settlement Class; (iv) GAMCO, as Settlement Class representative,

and the law firm of Entwistle & Cappucci LLP, as Settlement Class counsel, would fairly and




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adequately represent and protect the interests of the Settlement Class members; (v) prosecuting

separate actions by or against individual Settlement Class members would create a risk of

inconsistent or varying adjudications with respect to individual Settlement Class members that

would establish incompatible standards of conduct for the party opposing the Settlement Class;

and (vi) prosecuting separate actions by or against individual Settlement Class members would

create a risk of adjudications with respect to individual Settlement Class members that, as a

practical matter, would be dispositive of the interests of the other members not parties to the

individual adjudications or would substantially impair or impede their ability to protect their

interests.

        93.    The CCOH Separation Settlement Agreement provided the Debtors with full

releases of all claims, objections and all other causes of action that have been asserted, could have

been asserted, or could ever be asserted by or on behalf of CCOH, GAMCO, Norfolk, and any or

all of the Remaining Minority Shareholders (as defined in the CCOH Separation Settlement

Agreement) of CCOH, individually, derivatively, and/or on a class basis relating in any way to the

subject matter of the Debtors’ Chapter 11 Cases or the Delaware Actions (as defined in the CCOH

Separation Settlement Agreement) or the intercompany agreements between CCOH and the

Debtors, except to the extent set forth in the CCOH Separation Settlement Agreement. The CCOH

Separation Settlement Agreement also facilitates the separation of CCOH from the Debtors, which

is an essential element of the Debtors’ Plan which has the overwhelming support of the Debtors’

voting creditor classes. The CCOH Separation Settlement Agreement also provided that CCOH,

GAMCO, Norfolk, and any or all of the Remaining Minority Shareholders of CCOH would

support the Plan.




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       94.     The CCOH Separation Settlement Agreement is the product of arms’-length

bargaining and extensive negotiations among the parties, and is not the result of fraud or collusion.

The Debtors delegated exclusive authority to approve the CCOH Separation Settlement Agreement

to their independent directors, Mr. Cremens and Mr. Brace. CCOH delegated exclusive authority

to approve the CCOH Separation Settlement Agreement to its independent directors, Mr. Keglevic,

Mr. Tremblay, and Mr. Tepner. Those independent directors, with the assistance of their own

respective financial and legal advisors, evaluated the terms of the CCOH Separation Settlement

Agreement, including the expense and risk of litigating the released claims, with respect to the

Debtors and CCOH, as applicable. Mr. Cremens and Mr. Brace determined that the Debtors’

entry, and Mr. Keglevic, Mr. Tremblay, and Mr. Tepner determined that CCOH’s entry, into the

CCOH Separation Settlement Agreement and the CCOH Separation Documents and the

performance of the transactions contemplated thereby was advisable and in the best interests of

the Debtors and CCOH, as applicable, and their respective stakeholders.

       95.     The terms of the CCOH Separation Settlement Agreement are fair, reasonable,

adequate, and equitable under Federal Rules of Civil Procedure 23 and 23.1, incorporated by

Bankruptcy Rules 7023 and 7023.1, and all applicable case law.

       96.     Given the novelty and complexity of the legal issues involved, the probability of

success, and the expense of continued litigation, the CCOH Separation Settlement Agreement is

in the best interests of the Debtors, their Estates, their creditors, CCOH, and the Settlement Class,

and its terms are appropriate under the circumstances.

       97.     Due notice has been given to the Settlement Class of the CCOH Separation

Settlement Agreement, their ability to object to the CCOH Separation Settlement Agreement, and

their right to appear in person or by counsel at the fairness hearing held on January 22, 2019 to




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consider final approval of the CCOH Separation Settlement Agreement as part of confirmation of

the Plan.

YY.    Good Faith of PGN Trustees and Agents and the 2021 Notes Trustee and Agent.

       98.     Each of the PGN Trustees and Agents and the 2021 Notes Trustee and Agent, at all

times, acted in good faith and as a prudent person in the discharge of its respective duties under

the applicable Notes Indentures and any Security Documents (as that term is defined in the

applicable Notes Indentures).

       99.     Each of the PGN Trustees and Agents and the 2021 Notes Trustee and Agent has

complied with any applicable obligations and duties under the applicable Notes Indentures, any

Security Documents (as that term is defined in the applicable Notes Indentures) and related debt

documents.

       100.    The Plan is consistent with each of the PGN Trustees and Agents’ and the 2021

Notes Trustee and Agents’ duties and powers under the applicable Notes Indentures and any

Security Documents (as that terms is defined in the applicable Notes Indentures).

BASED ON THE FOREGOING, IT IS HEREBY ORDERED THAT:

A.     Confirmation.

       101.    The Plan and the other Plan Documents shall be, and hereby are, confirmed under

section 1129 of the Bankruptcy Code. The terms of the Plan Documents are incorporated by

reference into, and are an integral part of, the Plan and this Confirmation Order and are authorized

and approved, and the Debtors and Reorganized Debtors are authorized to implement their

provisions and consummate the Plan without any further authorization except as expressly required

by the Plan or this Confirmation Order.




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B.     Objections.

       102.    All objections, responses, reservations, statements, and comments in opposition to

the Plan, other than those resolved or withdrawn with prejudice prior to, or on the record at, the

Confirmation Hearing are overruled on the merits in all respects. All withdrawn objections, if any,

are deemed withdrawn with prejudice.

       103.    Notwithstanding the foregoing, the objections filed at docket numbers 2056, 2279,

and 2437, other than any objections related to confirmation of the Plan contained therein, are

hereby adjourned to a later date to be determined, pending resolution of such objections.

C.     Omission of Reference to Particular Plan Provisions.

       104.    The failure to specifically describe or include any particular provision of the Plan

or the Plan Documents in this Confirmation Order shall not diminish or impair the effectiveness

of such provision, and such provision shall have the same validity, binding effect, and

enforceability as every other provision of the Plan and the Plan Documents.

D.     Deemed Acceptance of the Plan as Modified.

       105.    In accordance with section 1127 of the Bankruptcy Code and Bankruptcy Rule

3019, all Holders of Claims who voted to accept the Plan or who are conclusively presumed to

have accepted the Plan are deemed to accept the Plan, subject to modifications, if any. No Holder

of a Claim shall be permitted to change its vote as a consequence of the Plan modifications. All

modifications to the Plan made after the Solicitation Date are hereby approved, pursuant to section

1127 of the Bankruptcy Code and Bankruptcy Rule 3019.

E.     Continued Corporate Existence and Vesting of Assets in the Reorganized Debtors.

       106.    Except as otherwise provided in the Plan, the Plan Documents, or this Confirmation

Order, on the Effective Date, each Debtor shall continue to exist after the Effective Date as a

Reorganized Debtor and as a separate corporation, limited liability company, partnership, or other


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form of entity, as the case may be, with the powers of a corporation, limited liability company,

partnership, or other form of entity, as the case may be, pursuant to the applicable law in the

jurisdiction in which each applicable Debtor is incorporated or formed and pursuant to the

respective certificate of incorporation and by-laws (or other analogous formation or governing

documents) in effect before the Effective Date, except to the extent such certificate of

incorporation and by-laws (or other analogous formation or governing documents) are amended

by the Plan or Plan Documents, or otherwise amended in accordance with applicable law. To the

extent such documents are amended, such documents are deemed to be amended pursuant to the

Plan and require no further action or approval (other than any requisite filings required under

applicable state or federal law).

       107.    On and after the Effective Date, each Reorganized Debtor may operate its business

and may use, acquire, or dispose of property and compromise or settle any Claims, Interests, or

Causes of Action without supervision or approval by the Bankruptcy Court and free of any

restrictions of the Bankruptcy Code or the Bankruptcy Rules, other than those restrictions

expressly imposed by the Plan or this Confirmation Order.

F.     Plan Implementation.

       108.    General Authorization. The transactions described in the Plan, the other Plan

Documents, and this Confirmation Order are hereby approved. On or before the Effective Date,

and after the Effective Date, as necessary, and without any further order of the Bankruptcy Court

or other authority, the Debtors or the Reorganized Debtors, as applicable, and their respective

directors, managers, officers, members, agents, attorneys, financial advisors, and investment

bankers (each, a “Designated Person”) are authorized and empowered pursuant to section 1142(b)

of the Bankruptcy Code and other applicable laws to and shall (a) grant, issue, execute, deliver,

file, or record any agreement, document, or security, and the documents contained in the Plan or


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the Plan Documents (as modified, amended, and supplemented pursuant to the provisions of the

Plan governing such modifications, amendments, and supplements), in substantially the form

included therein, or any other documents related thereto; and (b) take any action necessary or

appropriate to implement, effectuate, and consummate the Plan, the Plan Documents, or this

Confirmation Order in accordance with their terms, including, without limitation: (i) causing (w) a

Debtor or Reorganized Debtor to be merged into another Debtor or Reorganized Debtor, or its

subsidiary or Affiliate; (x) a Debtor or Reorganized Debtor to be dissolved; (y) the legal name

and/or corporate form of a Debtor or Reorganized Debtor to be changed; or (z) the closure of a

Reorganized Debtor’s case on the Effective Date or anytime thereafter; (ii) causing any action set

forth in the Restructuring Transactions Memorandum, and other actions to be taken in accordance

with such Restructuring Transactions Memorandum prior to or following entry of this

Confirmation Order; (iii) taking any action necessary to provide for, implement, or effectuate the

purchase of substantially all the assets of, or Interests in, any of the Debtors or the Reorganized

Debtors by one or more Entities to be wholly-owned by any of the Debtors or the Reorganized

Debtors, including any newly-formed Entities created to effectuate the Plan; and (iv) paying any

taxes owing in respect of distributions and transfers under the Plan and making tax elections in

respect of any of the Debtors or the Reorganized Debtors. Any of the Debtors or the Reorganized

Debtors or their respective Designated Persons, as applicable, shall have the authority to take any

of the actions described in clauses (a) and (b) above on behalf of any Debtor or Reorganized

Debtor, as applicable. All such actions taken or caused to be taken shall be deemed to have been

authorized and approved by the Bankruptcy Court without further approval, act, or action under

any applicable law, order, rule, or regulation, including, among other things, (x) all transfers of

assets that are to occur pursuant to the Plan, the Plan Documents, or this Confirmation Order;




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(y) the incurrence of all obligations contemplated by the Plan, the Plan Documents, or this

Confirmation Order and the making of all distributions under the Plan, the Plan Documents, or this

Confirmation Order; and (z) entering into any and all transactions, contracts, leases, instruments,

releases, and other documents and arrangements permitted by applicable law, order, rule, or

regulation. The approvals and authorizations specifically set forth in this Confirmation Order are

nonexclusive and are not intended to limit the authority of the Debtors, the Reorganized Debtors,

or any Designated Person thereof to take any and all actions necessary or appropriate to implement,

effectuate, and consummate any and all documents or transactions contemplated by the Plan, the

Plan Documents, or this Confirmation Order pursuant to section 1142(b) of the Bankruptcy Code.

Pursuant to section 1142 of the Bankruptcy Code, to the extent that, under applicable

nonbankruptcy law or the rules of any stock exchange, any of the foregoing actions that would

otherwise require approval of the equity holders, directors, or managers (or any equivalent body)

of the Debtors or the Reorganized Debtors, such approval shall be deemed to have occurred and

shall be in effect from and after the Effective Date without any further action by the equity holders,

directors, or managers (or any equivalent body) of the Debtors or the Reorganized Debtors. On

the Effective Date, or as soon thereafter as is practicable, the Debtors or the Reorganized Debtors,

as applicable, shall, if required, file any documents required to be filed in such jurisdictions so as

to effectuate the provisions of the Plan. Any or all documents contemplated herein shall be

accepted by each of the respective filing offices and recorded, if required, in accordance with

applicable law. All counterparties to any documents described in this paragraph are hereby

directed to execute such documents as may be required or provided by such documents, without

any further order of the Bankruptcy Court.




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       109.    No Action. Pursuant to section 303 of the General Corporation Law of the State of

Delaware and any comparable provision of the business corporation laws of any other state, as

applicable, and section 1142(b) of the Bankruptcy Code, this Confirmation Order shall constitute

authorization for the Debtors or the Reorganized Debtors, as applicable, to enter into, execute,

deliver, file, adopt, amend, restate, consummate, or effectuate, as the case may be, the Plan, the

Plan Documents, this Confirmation Order, and any contract, instrument, or other document to be

executed, delivered, adopted, or amended in connection with the implementation of the Plan. The

respective directors, managers, stockholders, managers, or members of the Debtors or the

Reorganized Debtors shall not be required to take any actions in connection with the

implementation of the Plan, the Plan Documents, or this Confirmation Order. The Plan Documents

are hereby approved, adopted, and effective upon the Effective Date.

G.     Binding Effect.

       110.    On the date of and after entry of this Confirmation Order and subject to the

occurrence of the Effective Date, the Plan, the Plan Documents, and this Confirmation Order shall

bind any Holder of a Claim or Interest and such Holder’s respective successors and assigns,

whether or not: (a) the Claim or Interest is Impaired under the Plan; (b) such Holder has accepted

the Plan; (c) such Holder has failed to vote to accept or reject the Plan or voted to reject the Plan;

(d) such Holder is entitled to a distribution under the Plan; (e) such Holder will receive or retain

any property or interests in property under the Plan; and (f) such Holder has filed a Proof of Claim

in the Chapter 11 Cases. The Plan, the Plan Documents, and this Confirmation Order constitute

legal, valid, binding, and authorized obligations of the respective parties thereto and shall be

enforceable in accordance with their terms. Pursuant to section 1142(a) of the Bankruptcy Code,

the Plan, the Plan Documents, and this Confirmation Order shall apply and be enforceable

notwithstanding any otherwise applicable nonbankruptcy law.


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H.     Plan Classification Controlling.

       111.    The terms of the Plan shall solely govern the classification of Claims and Interests

for purposes of the distributions to be made thereunder. The classifications set forth on the Ballots

tendered to or returned by the Holders of Claims or Interests in connection with voting on the Plan:

(a) were set forth on the Ballots solely for purposes of voting to accept or reject the Plan; (b) do

not necessarily represent, and in no event shall be deemed to modify or otherwise affect, the actual

classification of such Claims and Interests under the Plan for distribution purposes; (c) may not be

relied upon by any Holder of a Claim or Interest as representing the actual classification of such

Claim or Interest under the Plan for distribution purposes; and (d) shall not be binding on the

Debtors except for voting purposes. All rights of the Debtors and the Reorganized Debtors to

challenge, object to, or seek to reclassify Claims or Interests are expressly reserved.

I.     Operation as of the Effective Date.

       112.    Upon the occurrence of the Effective Date, the terms of the Plan, the Plan

Documents, and this Confirmation Order shall be immediately effective and enforceable and

deemed binding upon the Debtors, the Reorganized Debtors, and any and all Holders of Claims

against or Interests in the Debtors (irrespective of whether their Claims or Interests are deemed to

have accepted the Plan), all Entities that are parties to or are subject to the settlements (including

the Plan Settlement, the Committee Plan Settlement, the CCOH Plan and Separation Settlement,

and the Legacy Notes Plan Settlement), compromises, releases, discharges, and injunctions

described in the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor

parties to Executory Contracts and Unexpired Leases with the Debtors.

J.     Restructuring Transactions.

       113.    The Debtors and the Reorganized Debtors are authorized to implement and

consummate the Restructuring Transactions pursuant to the Plan, the Restructuring Transactions


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Memorandum (as may be amended), any other Plan Documents (as may be amended), and this

Confirmation Order and are authorized to execute and deliver all necessary documents or

agreements required to perform their obligations thereunder. The Restructuring Transactions set

forth in the Plan, including the release of CCH from its guarantee of iHC’s indebtedness, are

approved and authorized in all respects. The Debtors and the Reorganized Debtors are authorized

and directed to take all actions necessary, appropriate, or desirable to enter into, implement, and

consummate the contracts, instruments, releases (including the release of CCH from its guarantee

of iHC’s indebtedness), agreements, or other documents created or executed in connection with

the Plan. In accordance with section 1142 of the Bankruptcy Code and applicable nonbankruptcy

law, such actions may be taken without further action by stockholders, managers, or directors.

K.     CCOH Separation and the CCOH Separation Settlement.

       114.      The Debtors, the Reorganized Debtors, and CCOH are authorized to implement and

consummate the CCOH Separation and the CCOH Separation Settlement Agreement pursuant to

the Plan and the CCOH Plan and Separation Settlement, the CCOH Separation Documents, and

this Confirmation Order, and are authorized to execute and deliver all necessary documents or

agreements required to perform their obligations thereunder. The CCOH Separation pursuant to

the Plan, including the CCOH Separation Documents and the CCOH Separation Settlement

Agreement, is approved and authorized in all respects. Effective immediately, iHC shall have

waived its right to consent to CCOH’s and its subsidiaries’ ability to replace or refinance the

Series A and Series B Senior Subordinated Notes due 2020 issued by Clear Channel Worldwide

Holdings, Inc.

       115.      The Debtors and the Reorganized Debtors are authorized and directed to take all

actions necessary, appropriate, or desirable to enter into, implement, and consummate the

contracts, instruments, releases, agreements, or other documents created or executed in connection


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with the CCOH Separation Settlement Agreement. In accordance with section 1142 of the

Bankruptcy Code and applicable nonbankruptcy law, such actions may be taken without further

action by stockholders, managers, or directors of the Debtors; provided that CCOH (or its

successor) shall take any and all actions required by applicable corporate law, securities laws, and

stock exchange requirements to consummate the CCOH Separation.

L.     New Corporate Governance Documents.

       116.    On the Effective Date, the Reorganized Debtors shall enter into the New Corporate

Governance Documents, and the New Corporate Governance Documents shall, as of the Effective

Date, be valid, binding, and enforceable in accordance with their terms, and each Holder of New

iHeart Common Stock, Special Warrants, and the Radio NewCo Preferred Stock (as applicable)

shall be bound thereby, in each case without the need for execution by any party thereto other than

the Reorganized Debtors.

M.     New ABL Credit Agreement Documents.

       117.    The incurrence of the New ABL Indebtedness and entry into the New ABL Credit

Agreement Documents, in form and substance consistent with the requirements set forth in the

New ABL Credit Agreement Term Sheet, and all transactions contemplated thereby, including,

without limitation, any supplemental or additional syndication of the New ABL Indebtedness, and

all actions to be taken, undertakings to be made, and obligations to be incurred by the Reorganized

Debtors in connection therewith, including the payment of all fees, indemnities, costs, and

expenses provided for therein, are hereby approved.

       118.    The Debtors and the Reorganized Debtors, as applicable, are authorized in all

respects, without further notice to any party, or further order or other approval of the Bankruptcy

Court, or further act or action under applicable law, regulation, order, or rule, or the vote, consent,

authorization or approval of any Person except as otherwise required by the New ABL Credit


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Agreement Documents, to (a) execute and deliver, or cause to be executed and delivered the New

ABL Credit Agreement Documents, which shall be in form and substance consistent with the

requirements set forth in the New ABL Credit Agreement Term Sheet, and to perform their

obligations thereunder, including, but not limited to, any documents related to the loans and other

extensions of credit contemplated by the New ABL Indebtedness, any guarantees thereof and any

other documents executed in connection therewith, except as otherwise required by the New ABL

Credit Agreement Documents, subject to such modifications as the Reorganized Debtors and the

New ABL Credit Agreement Agent may mutually agree are necessary or appropriate to effectuate

the New ABL Indebtedness, (b) to grant Liens to secure such loans, other than extensions of credit

and guarantees, (c) incur the indebtedness under the New ABL Credit Agreement Documents and

(d) perform all obligations under the New ABL Credit Agreement Documents and the payment of

all fees, expenses, losses, damages, indemnities, and other amounts provided under the New ABL

Credit Agreement Documents, in each case consistent with the terms of the New ABL Credit

Agreement Documents or otherwise on terms and conditions acceptable to the New ABL Credit

Agreement Agent.

       119.    The obligations of the Reorganized Debtors under the New ABL Credit Agreement

Documents shall constitute legal, valid, binding and authorized obligations of the Reorganized

Debtors and the New ABL Indebtedness and the New ABL Credit Agreement Documents shall be

enforceable in accordance with their terms. The Debtors’ or the Reorganized Debtors’, as

applicable, entry on the Effective Date into the New ABL Indebtedness and the New ABL Credit

Agreement Documents is approved in all respects by virtue of this Confirmation Order, in

accordance with the Bankruptcy Code and applicable state law (including, but not limited to section

303 of the Delaware General Corporation Law and section 10.301 of the Texas Business




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Organizations Code, to the extent applicable and any analogous provision of the applicable business

organizations law or code of each other state in which the Reorganized Debtors are incorporated or

organized) and without the need for further corporate action or any further action by Holders of

Claims or Interest in the Debtors or the Reorganized Debtors or stockholders, directors, members

or partners of the Debtors or the Reorganized Debtors, and with like effect as if such actions had

been taken by unanimous actions thereof.

       120.    Each of the Reorganized Debtors, without any further action by the Bankruptcy

Court or each respective Reorganized Debtors’ officers, directors or stockholders, is hereby

authorized and directed to enter into, and take such actions as necessary to perform under, or

otherwise effectuate, the New ABL Indebtedness and the New ABL Credit Agreement Documents,

as well as any notes, documents or agreements in connection therewith, including, without

limitation, any documents required in connection with the creation, continuation or perfection of

Liens or other security interests in connection therewith.

       121.    On the Effective Date, all of the Liens and security interests to be granted pursuant

to the Plan, the New ABL Indebtedness, and the New ABL Credit Agreement Documents,

including the Continuing Liens, shall be (a) deemed approved, (b) legal, valid, binding, and

enforceable Liens on, and security interests in, the collateral granted thereunder in accordance with

the terms of the New ABL Indebtedness, the New ABL Credit Agreement Documents, and the

New ABL Credit Agreement Term Sheet and with the priorities established in respect thereof

under applicable nonbankruptcy law, and (c) deemed perfected on the Effective Date, subject only

to such Liens and security interests as may be permitted under the New ABL Indebtedness and the

New ABL Credit Agreement Documents.




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        122.     The Reorganized Debtors and the secured parties (and their designees and agents)

under the New ABL Credit Agreement Documents are hereby authorized to make all filings and

recordings, and to obtain all governmental approvals and consents to evidence, establish, continue,

and perfect such Liens, including the Continuing Liens, and other security interests under the

provisions of the applicable state, provincial, federal, or other law that would be applicable in the

absence of the Plan and this Confirmation Order (it being understood that the perfection of the Liens

and security interests granted under the New ABL Credit Agreement Documents shall occur

automatically by virtue of the entry of this Confirmation Order and the consummation of the New

ABL Indebtedness, and any such filings, recordings, approvals, and consents shall not be necessary

or required as a matter of law to perfect or continue the perfection of such Liens and other security

interests), and shall thereafter cooperate to make all other filings and recordings that otherwise

would be necessary under applicable law to give notice of such Liens and other security interests to

third parties.

        123.     Neither the execution and delivery by the Reorganized Debtors of any of the New

ABL Credit Agreement Documents nor the performance by the Reorganized Debtors of their

respective obligations thereunder constitutes a violation of or a default under any contract or

agreement to which it is a party, including those contracts or agreements assigned to the

Reorganized Debtors or reinstated under the Plan.

        124.     Notwithstanding anything to the contrary in the Plan, the Plan Documents, or this

Confirmation Order, the Bankruptcy Court’s retention of jurisdiction shall not govern the

enforcement of the New ABL Credit Agreement and the New ABL Credit Agreement Documents

or any rights or remedies related thereto, other than the effectiveness of the Debtors’ entry into the

New ABL Credit Agreement and the New ABL Credit Agreement Documents.




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N.     New Debt Agreements and New Debt Documents.

       125.    Unless otherwise replaced with cash proceeds of third-party market financing that

becomes available on or prior to the Effective Date, and subject to, and upon the occurrence of,

the Effective Date, and without further notice to any party, or further order or other approval of

the Bankruptcy Court, or further act or action under applicable law, regulation, order, or rule, or

the vote, consent, authorization or approval of any Person, the Debtors or Reorganized Debtors, as

applicable, shall be and hereby are authorized to enter into and perform under the New Debt

Agreements and execute and deliver the New Debt Agreements and the other New Debt

Documents. All Holders of Allowed Term Loan Credit Agreement Claims, Allowed PGN Claims,

Allowed 2021 Notes Claims, and Allowed Legacy Notes Claims entitled to distributions under the

Plan shall automatically be deemed to be a party to, and bound by, the New Debt Documents, in

accordance with their terms. This Confirmation Order shall constitute (a) approval of the New

Debt Agreements and the other New Debt Documents, all transactions contemplated thereby, and

all actions to be taken, undertakings to be made, and obligations to be incurred by the Reorganized

Debtors in connection therewith; and (b) authorization for the Reorganized Debtors to enter into

and execute the New Debt Agreements and the other New Debt Documents and take all actions

required thereunder.

       126.    Subject to, and upon the occurrence of, the Effective Date, the New Debt

Agreements, the New Debt Documents, and any liens and security interests in favor of the New

Debt agents or the New Debt lenders securing the obligations of the Reorganized Debtors under the

New Debt Agreements shall: (a) be deemed to be granted; (b) constitute the legal, valid, and binding

debt obligations of the Reorganized Debtors; (c) be deemed perfected on the Effective Date; (d) not

be subject to recharacterization or equitable subordination for any purposes whatsoever and shall

not constitute preferential transfers or fraudulent conveyances under the Bankruptcy Code or any


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applicable nonbankruptcy law; and (e) be enforceable in accordance with their respective terms.

The New Debt Agreements and the New Debt Documents shall be deemed to have been entered

into in good faith and for legitimate business purposes, and be reasonable. The New Debt

Agreements and the New Debt Documents shall not be subject to recharacterization, equitable

subordination, or avoidance for any purposes whatsoever and shall not constitute preferential

transfers or fraudulent conveyances under the Bankruptcy Code or any other applicable

nonbankruptcy law. On the Effective Date, all of the liens and security interests to be granted in

accordance with the New Debt Agreements and the New Debt Documents, shall be legal, valid,

binding, enforceable, and duly perfected liens on, and security interests in, the applicable property

and assets of the Reorganized Debtors granted in accordance with the terms of the New Debt

Agreements and the New Debt Documents and shall be deemed perfected on the Effective Date,

subject only to such liens and security interests as may be permitted under the terms of the New

Debt Agreements and the New Debt Documents.

        127.    The Reorganized Debtors and the Persons and Entities granted such Liens and

security interests shall be authorized to make all filings and recordings and to obtain all

governmental approvals and consents necessary to establish and perfect such Liens and security

interests under the provisions of applicable state, federal, or other law that would be applicable in

the absence of the Plan and this Confirmation Order (it being understood that perfection shall occur

automatically by virtue of this Confirmation Order and any such filings, recordings, approvals, and

consents shall not be required), and the Reorganized Debtors shall thereafter cooperate to make all

other filings and recordings that otherwise would be necessary under applicable law to give notice

of such Liens and security interests to third parties.




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        128.    Notwithstanding anything to the contrary in the Plan, the Plan Documents, or this

Confirmation Order, the Bankruptcy Court’s retention of jurisdiction shall not govern the

enforcement of the New Debt Agreements and the New Debt Documents or any rights or remedies

related thereto, other than the effectiveness of the Debtors’ entry into the New Debt Agreements

and the New Debt Documents.

        129.    Notwithstanding the foregoing, the Debtors or Reorganized Debtors, as applicable,

shall be and hereby are authorized to replace some or all of the New Debt with cash proceeds of

third-party market financing that becomes available on or prior to the Effective Date; provided

that any reduction of New Debt shall be made proportionally across all Holders of Allowed Claims

that are entitled to receive New Debt under the Plan.

O.      Issuance of Securities.

        130.    Pursuant to section 1145 of the Bankruptcy Code, the issuance of the 1145

Securities (whether issued upon the Effective Date, or later, upon the exercise of Special

Warrants), as contemplated by the Plan, shall be exempt from the registration requirements of

section 5 of the Securities Act and any other applicable United States, state, or local law requiring

registration prior to the offering, issuance, distribution, or sale of securities. In addition, the 1145

Securities contemplated by the Plan: (a) will not be “restricted securities” as defined in rule

144(a)(3) under the Securities Act; and (b) will be freely tradable and transferable in the United

States by the recipients thereof that (i) are not “affiliates” of the Debtors as defined in Rule

144(a)(1) under the Securities Act; (ii) have not been “affiliates” within 90 days of such transfer;

and (iii) are not entities that are “underwriters” as defined in section 1145(b)(1) of the Bankruptcy

Code, and subject to compliance with applicable securities laws and any rules and regulations of

the SEC, if any, applicable at the time of any future transfer of such 1145 Securities and subject to

any restrictions in the New Corporate Governance Documents and the New CCOH Corporate


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Governance Documents; provided that the transfer of the 1145 Securities may be restricted by the

Communications Act, and the rules, regulations, and orders promulgated thereunder by the FCC,

the New Corporate Governance Documents, the New CCOH Corporate Governance Documents,

and the Special Warrant Agreement. Should the Reorganized Debtors elect on or after the

Effective Date to reflect any ownership of the 1145 Securities to be issued under the Plan through

the facilities of DTC, the Reorganized Debtors need not provide any further evidence other than

the Plan or this Confirmation Order with respect to the treatment of the 1145 Securities to be issued

under the Plan under applicable securities laws. DTC shall be required to accept and conclusively

rely upon the Plan and this Confirmation Order in lieu of a legal opinion regarding whether the

1145 Securities to be issued under the Plan are exempt from registration and/or eligible for DTC

book-entry delivery, settlement, and depository services. Notwithstanding anything to the contrary

in the Plan, no Entity (including, for the avoidance of doubt, DTC) may require a legal opinion

regarding the validity of any transaction contemplated by the Plan, including, for the avoidance of

doubt, whether the 1145 Securities to be issued under the Plan are exempt from registration and/or

eligible for DTC book-entry delivery, settlement, and depository services.

       131.    The issuance of the 4(a)(2) Securities, as contemplated by the Plan, shall be exempt

from registration under the Securities Act in reliance on the exemption from the registration

requirements of the Securities Act provided by section 4(a)(2) of the Securities Act (and/or

Regulation D promulgated thereunder) or any similar registration exemption applicable outside of

the United States and will be “restricted securities” subject to resale restrictions and may be resold,

exchanged, assigned, or otherwise transferred only pursuant to registration, or an applicable

exemption from, or in a transaction not subject to, registration under the Securities Act and other

applicable law and subject to any restrictions in the New Corporate Governance Documents, the




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New CCOH Corporate Governance Documents, the Communications Act, and the rules,

regulations, and orders promulgated thereunder by the FCC.

       132.    Each Security issued and distributed pursuant to the Plan and this Confirmation

Order shall be duly authorized, validly issued, fully paid, and non-assessable (in the case of New

iHeart Common Stock issued upon exercise of Special Warrants, upon payment of the exercise

price therefor), as applicable. Each distribution and issuance of the Securities referred to in Article

IV of the Plan shall be governed by the terms and conditions set forth in the Plan applicable to

such distribution or issuance and by the terms and conditions of the instruments evidencing or

relating to such distribution or issuance, which terms and conditions shall bind each Entity

receiving such distribution or issuance. The Debtors are authorized, without further approval of

the Bankruptcy Court or any other party, to execute and deliver all agreements, documents,

instruments, and certificates related thereto and perform their obligations thereunder.

       133.    Each Person or Entity that receives Special Warrants pursuant to the Plan shall

automatically be deemed to be a party to the Special Warrant Agreement, in accordance with its

terms. Subject to, and upon the occurrence of, the Effective Date, and without further notice to

any party, or further order or other approval of the Bankruptcy Court, or further act or action under

applicable law, regulation, order, or rule, or the vote, consent, authorization, or approval of any

Person, the Special Warrant Agreement is approved and shall be valid and binding on the

Reorganized Debtors and all holders of Special Warrants issued pursuant to the Plan.

P.     Distributions.

       134.    All distributions pursuant to the Plan shall be made in accordance with Article VI

of the Plan, and such methods of distribution are approved. The Reorganized Debtors shall have

no duty or obligation to make distributions to any Holder of an Allowed Claim or Allowed Interest




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unless and until such Holder executes and delivers, in a form acceptable to the Reorganized

Debtors, all Plan Documents applicable to such distributions.

       135.    Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

any rights of the 2021 Notes Trustee, 2021 Notes Agent, and Legacy Notes Trustee to assert a

charging lien against distributions to Holders of Allowed 2021 Notes Claims and Allowed Legacy

Notes Claims are preserved by the Plan, and all distributions under the Plan to Holders of Allowed

2021 Notes Claims and Allowed Legacy Notes Claims shall be subject to any such rights to assert

a charging lien of such Notes Trustees and Agents.

       136.    Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

on and as of the Effective Date (a) the Debtors’ indemnification obligations owed to the PGN

Trustees and Agents under any applicable Notes Indentures or Security Documents (as that term

is defined in the applicable Notes Indentures) will be assumed by the Reorganized Debtors up to

an aggregate amount not to exceed $9.0 million (the “PGN Indemnity Cap”), which PGN

Indemnity Cap shall be allocated to each PGN Trustee and Agent in specific amounts disclosed to

the Debtors and the Term Loan/PGN Group and (b) any rights of any PGN Trustees and Agents

to (i) assert a charging lien against any distributions to Holders of Allowed PGN Claims under the

Plan or (ii) receive any portion of the distributions to Holders of Allowed PGN Claims that they

may otherwise be entitled to receive as Holders of Allowed PGN Claims or under any applicable

Notes Indentures, Security Documents (as that term is defined in the applicable Notes Indentures),

or other agreements shall be deemed waived. For the avoidance of doubt, the foregoing shall not

prejudice or impair any party’s rights to payments of fees and expenses, incurred through the

Effective Date, pursuant and subject to Article IV.X of the Plan.




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Q.     Retained Assets.

       137.       To the extent that the retention by the Debtors of assets held immediately prior to

emergence in accordance with the Plan is deemed, in any instance, to constitute a “transfer” of

property, such transfer of property to the Debtors (a) is or shall be a legal, valid, and effective

transfer of property; (b) vests or shall vest the Debtors with good title to such property, free and

clear of all liens, charges, Claims, encumbrances, or interests, except as expressly provided in the

Plan or this Confirmation Order; (c) does not and shall not constitute an avoidable transfer under

the Bankruptcy Code or under applicable nonbankruptcy law; and (d) does not and shall not subject

the Debtors to any liability by reason of such transfer under the Bankruptcy Code or under

applicable nonbankruptcy law, including by laws affecting successor or transferee liability.

R.     Treatment of Executory Contracts and Unexpired Leases.

       138.       Rejection of Executory Contracts and Unexpired Leases as set forth in Article V.A

is hereby authorized. Assumption (or assumption and assignment) of the Executory Contracts and

Unexpired Leases listed in the Assumed Executory Contract and Unexpired Lease List is hereby

authorized. Any provisions in any Executory Contract or Unexpired Lease that prohibit or

condition the assumption and assignment of any such Executory Contract or Unexpired Lease

(including any “change of control” provision) or allow the party to any such Executory Contract

or Unexpired Lease to terminate, recapture, impose any penalty, condition renewal or extension,

or modify any term or condition upon the assumption and assignment of any such Executory

Contract or Unexpired Lease (including any “change of control” provision), constitute

unenforceable anti-assignment provisions that are void and of no force and effect, and all other

requirements and conditions under sections 363 and 365 of the Bankruptcy Code for the

assumption and assignment of any such Executory Contract or Unexpired Lease have

been satisfied.


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       139.    Unless a party to an Executory Contract or Unexpired Lease being assumed

(or assumed and assigned) under the Plan has timely objected to the cure costs identified in the

Assumed Executory Contract and Unexpired Lease List and any amendments thereto, as

applicable, the Debtors shall pay such cure costs in accordance with the terms of the Plan. The

assumption and assignment of any Executory Contract or Unexpired Lease, pursuant to the Plan

or otherwise, shall result in the full release and satisfaction of any Claims or defaults, whether

monetary or nonmonetary, including defaults of provisions restricting the change in control or

ownership interest composition or other bankruptcy-related defaults, arising under any assumed

Executory Contract or Unexpired Lease at any time prior to the effective date of assumption and/or

assignment. Any disputed cure costs shall be determined in accordance with the procedures set

forth in Article V.D of the Plan, and applicable bankruptcy and nonbankruptcy law.

       140.    Any Executory Contract or Unexpired Lease that is subject to an unresolved

objection to the assumption (or assumption and assignment) of such Executory Contract or

Unexpired Lease that is pending as of the Effective Date will not be assumed (or assumed and

assigned) until entry of a Final Order resolving the dispute and approving the assumption (or

assumption and assignment) of such Executory Contract or Unexpired Lease or as may be agreed

upon by the Debtors or the Reorganized Debtors and the counterparty; provided that after the

Effective Date, the Reorganized Debtors may settle any dispute regarding the amount of any cure

cost without any further notice to any party or any action, order, or approval of the Bankruptcy

Court; provided, further, that notwithstanding anything to the contrary in the Plan, the Debtors or

the Reorganized Debtors, as applicable, shall have the right to either reject or nullify the

assumption (or assumption and assignment) of any Executory Contract or Unexpired Lease within

forty-five days after the entry of a Final Order resolving an objection to assumption, determining




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the cure cost under an Executory Contract or Unexpired Lease that was subject to a dispute, or

resolving any request for adequate assurance of future performance required to assume such

Executory Contract or Unexpired Lease.

       141.    With respect to each Executory Contract or Unexpired Lease to be assumed and

assigned under the Plan (if any): (a) the applicable assignee of such Executory Contract or

Unexpired Lease has provided adequate assurance of future performance under the relevant

Executory Contract or Unexpired Lease within the meaning of sections 365(b)(1)(C) and

365(f)(2)(B) of the Bankruptcy Code; and (b) the applicable assignee of such Executory Contract

or Unexpired Lease shall be deemed to be substituted for the Debtors as a party to the applicable

Executory Contract or Unexpired Lease and the Debtors and the Reorganized Debtors shall be

relieved, pursuant to section 365(k) of the Bankruptcy Code, from any further liability under such

Executory Contract or Unexpired Lease.

       142.    Pursuant to Article V.C of the Plan, Proofs of Claim with respect to Claims arising

from the rejection of Executory Contracts or Unexpired Leases, if any, must be filed with the

Bankruptcy Court within thirty days of the later of (a) the date of entry of this Confirmation Order,

or (b) the date of entry of any other order of the Bankruptcy Court approving such rejection. Any

Claims arising from the rejection of an Executory Contract or Unexpired Lease not filed within

such time will be automatically disallowed, forever barred from assertion, and shall not be

enforceable against, as applicable, the Debtors, the Reorganized Debtors, the Estates, or property

of the foregoing parties, without the need for any objection by the Debtors or the Reorganized

Debtors, as applicable, or further notice to, or action, order, or approval of this Bankruptcy Court

or any other Entity, and any Claim arising out of the rejection of the Executory Contract or




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Unexpired Lease shall be deemed fully satisfied, released, and discharged, notwithstanding

anything in the Schedules or a Proof of Claim to the contrary.

S.     Indemnification Provisions.

       143.    On and as of the Effective Date, the Indemnification Provisions will be assumed by

the Debtors, and shall be reinstated and remain intact, irrevocable, and shall survive the Effective

Date, and the New Corporate Governance Documents shall provide for indemnification, defense,

reimbursement, and limitation of liability of, and advancement of fees and expenses to, the

Debtors’ and the Reorganized Debtors’ current and former directors, equity holders, managers,

officers, members, employees, attorneys, accountants, investment bankers, and other Professionals

to the fullest extent permitted by law and at least to the same extent as provided under the

Indemnification Provisions against any Cause of Action whether direct or derivative, liquidated or

unliquidated, fixed or contingent, disputed or undisputed, matured or unmatured, known or

unknown, foreseen or unforeseen, asserted or unasserted; provided that the Reorganized Debtors

shall not indemnify any Person for any Cause of Action arising out of or related to any act or

omission that is a criminal act or constitutes actual fraud, gross negligence, bad faith, or willful

misconduct. The Reorganized Debtors shall not amend or restate their respective governance

documents before, on, or after the Effective Date to terminate or materially adversely affect any

of the Reorganized Debtors’ obligations to provide such rights to indemnification, defense,

reimbursement, limitation of liability, or advancement of fees and expenses. Entry of this

Confirmation Order constitutes the Bankruptcy Court’s approval of the Debtors’ foregoing

assumption of each of the Indemnification Provisions.




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T.     Post-Emergence Equity Incentive Program.

       144.    The Post-Emergence Equity Incentive Program is hereby approved in its entirety

and shall be adopted by the New Boards and implemented by the Reorganized Debtors as of the

Effective Date without any further action by the Bankruptcy Court.

U.     Exemption from Transfer Taxes.

       145.    To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any

transfers of property pursuant to, in contemplation of, or in connection with the Plan shall not be

subject to any stamp tax, document recording tax, conveyance fee, intangibles, mortgage tax, real

estate transfer tax, mortgage recording tax, sales or use tax, Uniform Commercial Code filing or

recording fee, regulatory filing or recording fee, or other similar tax or governmental assessment,

and this Confirmation Order hereby directs the appropriate state or local governmental officials or

agents to forgo the collection of any such tax or governmental assessment and accept for filing and

recordation any of the foregoing instruments or other documents pursuant to such transfers of

property without the payment of any such tax, recordation fee, or governmental assessment. Such

exemption specifically applies, without limitation, to: (a) the creation, modification, consolidation,

or recording of any mortgage, deed of trust, Lien, or other security interest, or the securing of

additional indebtedness by such or other means; (b) the making, assignment, or recording of any

lease or sublease; (c) any Restructuring Transaction authorized by the Plan; (d) and the making or

delivery of any deed or other instrument of transfer under, in furtherance of, or in connection with

the Plan, including (w) any merger agreements; (x) agreements of consolidation, restructuring,

disposition, liquidation, or dissolution; (y) bills of sale; or (z) assignments executed in connection

with any Restructuring Transaction occurring under the Plan.




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V.      Governmental Approvals Not Required.

        146.    Except for the FCC Approval and any SEC approvals required in connection with

the CCOH Separation and as otherwise set forth in Section GG below, this Confirmation Order

shall constitute all approvals and consents required, if any, by the laws, rules, or regulations of any

state or any other governmental authority with respect to the implementation or Consummation of

the Plan and the Plan Documents.

W.      Filing and Recording.

        147.    This Confirmation Order is and shall be binding upon and shall govern the acts of

all persons or entities including, without limitation, all filing agents, filing officers, title agents,

title companies, recorders of mortgages, recorders of deeds, registrars of deeds, administrative

agencies, governmental departments, secretaries of state, federal, state, and local officials, and all

other persons and entities who may be required, by operation of law, the duties of their office, or

contract, to accept, file, register, or otherwise record or release any document or instrument. Each

and every federal, state, and local government agency is hereby directed to accept any and all

documents and instruments necessary, useful, or appropriate (including financing statements under

the applicable uniform commercial code) to effectuate, implement, and consummate the

transactions contemplated by the Plan and this Confirmation Order without payment of any stamp

tax or similar tax imposed by state or local law.

X.      Tax Withholding.

        148.    In accordance with the provisions of the Plan and subject to Article VI.D of the

Plan, to the extent applicable, the Reorganized Debtors shall comply with all tax withholding and

reporting requirements imposed on them by any Governmental Unit, and all distributions pursuant

to the Plan shall be subject to such withholding and reporting requirements. Notwithstanding any

provision in the Plan to the contrary, the Reorganized Debtors shall be authorized to take all actions


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necessary or appropriate to comply with such withholding and reporting requirements, including

liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to

pay applicable withholding taxes, withholding distributions pending receipt of information

necessary to facilitate such distributions, or establishing any other mechanisms they believe are

reasonable and appropriate. All Persons holding Claims against any Debtor shall be required to

provide any additional information necessary for the Reorganized Debtors to comply with all tax

withholding and reporting requirements imposed on them by any Governmental Unit. The

Reorganized Debtors reserve the right to allocate any distributions made under the Plan in

compliance with applicable wage garnishments, alimony, child support and other spousal awards,

Liens, and encumbrances.

       149.    Notwithstanding any other provision of the Plan to the contrary, each Holder of an

Allowed Claim or Allowed Interest shall have the sole and exclusive responsibility for the

satisfaction and payment of any tax obligations imposed by any Governmental Unit on account of

such distribution.

Y.     Discharge of Claims and Termination of Interests; Compromise and Settlement of
       Claims, Interests, and Controversies.

       150.    Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise

specifically provided in the Plan, this Confirmation Order, or in any contract, instrument, or other

agreement or document created pursuant to the Plan, including the Plan Documents, the

distributions, rights, and treatment that are provided in the Plan shall be in complete satisfaction,

discharge, and release, effective as of the Effective Date, of Claims (including any Intercompany

Claims resolved or compromised after the Effective Date by the Reorganized Debtors), Interests,

and Causes of Action of any nature whatsoever, including any interest accrued on Claims or

Interests from and after the Petition Date, whether known or unknown, against, liabilities of, Liens



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on, obligations of, rights against, and Interests in, the Debtors or any of their assets or properties,

regardless of whether any property shall have been distributed or retained pursuant to the Plan on

account of such Claims and Interests, including demands, liabilities, and Causes of Action that

arose before the Effective Date, any contingent or non-contingent liability on account of

representations or warranties issued on or before the Effective Date, and all debts of the kind

specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or

not: (a) a Proof of Claim based upon such debt, right, or Interest is filed or deemed filed pursuant

to section 501 of the Bankruptcy Code; (b) a Claim is listed on the Debtors’ Schedules; (c) a Claim

or Interest based upon such debt, right, or Interest is Allowed pursuant to section 502 of the

Bankruptcy Code; or (d) the Holder of such a Claim or Interest has accepted the Plan. Any default

or “event of default” by the Debtors or Affiliates with respect to any Claim or Interest that existed

immediately before or on account of the Filing of the Chapter 11 Cases shall be deemed cured (and

no longer continuing) as of the Effective Date. This Confirmation Order shall be a judicial

determination of the discharge of all Claims and Interests, subject to the Effective Date occurring.

       151.    Pursuant to Bankruptcy Rule 9019 and section 1123(b)(3) of the Bankruptcy Code

and in consideration for the classification, distributions, releases, and other benefits provided

pursuant to the Plan, on the Effective Date, the provisions of the Plan shall constitute a good faith

compromise and settlement of all Claims, Causes of Action, Interests, controversies, or issues

relating to the contractual, equitable, legal, and subordination rights that a Holder of a Claim or

Interest may have with respect to any Allowed Claim or Allowed Interest, or any distribution to

be made on account of such Allowed Claim or Allowed Interest.

       152.    The Plan’s provisions for the allowance, classification, and treatment of all Allowed

Claims against and Allowed Interests in the Debtors and the respective distribution and treatments




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under the Plan shall be deemed to take into account and conform to the relative priority and rights

of the Claims and Interests in each Class in connection with any contractual, legal, and equitable

subordination rights relating thereto, whether arising under general principles of equitable

subordination, section 510(b) of the Bankruptcy Code, or otherwise.

       153.    Upon the Effective Date, the Standing Motion, the Disputed ABL Claims

Objection, the Springing Lien Adversary Proceeding, the Equitable Subordination Adversary

Proceeding, the CCOH Claim Objection, the Standing Motion Joinder, the Prepetition Springing

Lien Litigation, and the Texas Litigation shall be deemed withdrawn and/or dismissed, as

applicable, with respect to all parties thereto, with prejudice and in their entirety.

       154.    The Legacy Notes Trustee and the 2021 Notes Trustee, upon the Effective Date,

shall be deemed to waive and release any right to appeal the Springing Lien Opinion and Springing

Lien Judgment and any pending appeal of the Springing Lien Opinion and Springing Lien

Judgment as of the Effective Date shall be deemed dismissed with prejudice on the Effective Date.

       155.    The Consenting Legacy Noteholders and the Legacy Notes Trustee shall take any

and all steps, to the extent necessary, to effectuate the foregoing withdrawals and/or dismissals,

including but not limited to moving to dismiss any appeal of the Springing Lien Opinion and

Springing Lien Judgment with prejudice.

       156.    Upon the Effective Date, the Debtors, on behalf of themselves and their Estates,

shall be deemed to waive and release (a) any right to recover costs pursuant to the Springing Lien

Judgment and (b) all Claims, Causes of Action, obligations, and indemnities arising under that

certain Letter Agreement by and between Kingdon Capital Management, L.L.C. and

iHeartCommunications, Inc. dated October 20, 2014, including, for the avoidance of doubt, any

such Claims, Causes of Action, obligations, and indemnities against Kingdon Associates, Kingdon




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Credit Master Fund L.P., Kingdon Family Partnership, L.P. and M. Kingdon Offshore Master Fund

L.P.

Z.      The Releases, Injunction, Exculpation, and Related Provisions Under the Plan.

        157.   The following releases, injunctions, exculpations, and related provisions, as set

forth in Article VIII of the Plan and excerpted below and (in the second paragraph below as hereby

modified by this Order), are incorporated herein in their entirety, are hereby approved and

authorized in all respects, are so ordered, and shall be immediately effective on the Effective Date

without further order or action on the part of this Bankruptcy Court or any other party:

        a.     Releases by the Debtors. Pursuant to section 1123(b) of the Bankruptcy Code,
               on and after the Effective Date, in exchange for good and valuable
               consideration, including the obligations of the Debtors under the Plan and the
               contributions of the Released Parties to facilitate and implement the Plan, to
               the fullest extent permissible under applicable law, as such law may be
               extended or integrated after the Effective Date, each Released Party is deemed
               conclusively, absolutely, unconditionally, irrevocably, and forever released
               and discharged by each and all of the Debtors, the Reorganized Debtors, and
               their Estates, in each case on behalf of themselves and their respective
               successors, assigns, and representatives, and any and all other entities who
               may purport to assert any Cause of Action, directly or derivatively, by,
               through, for, or because of the foregoing entities, from any and all Causes of
               Action, including any derivative claims asserted or assertable on behalf of any
               of the Debtors, that the Debtors, the Reorganized Debtors, or their Estates or
               Affiliates, as applicable, would have been legally entitled to assert in its own
               right (whether individually or collectively) or on behalf of the Holder of any
               Claim against, or Interest in, a Debtor or other Entity, based on or relating to,
               or in any manner arising from, in whole or in part, the Debtors, the Debtors’
               capital structure, the assertion or enforcement of rights and remedies against
               the Debtors, the Debtors’ in- or out-of-court restructuring efforts,
               intercompany transactions between or among the Debtors and/or their
               Affiliates, the purchase, sale, or rescission of the purchase or sale of any
               Security of the Debtors or the Reorganized Debtors, the subject matter of, or
               the transactions or events giving rise to, any Claim or Interest that is treated
               in the Plan, the business or contractual arrangements between any Debtor and
               any Released Party, the Term Loan Credit Agreement Documents, the Notes
               and Notes Indentures, the Chapter 11 Cases and related adversary
               proceedings, the formulation, preparation, dissemination, negotiation, filing,
               or consummation of the Restructuring Support Agreement, the Disclosure
               Statement, the DIP Credit Agreement Documents, the New ABL Credit
               Agreement Documents, the Plan, or any Restructuring Transaction, contract,


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       instrument, release, or other agreement or document created or entered into
       in connection with the Restructuring Support Agreement, the Disclosure
       Statement, the DIP Credit Agreement Documents, the New ABL Credit
       Agreement Documents, or the Plan, the filing of the Chapter 11 Cases, the
       pursuit of Confirmation, the pursuit of Consummation, the administration
       and implementation of the Plan, including providing any legal opinion
       requested by any Entity regarding any transaction, contract, instrument,
       document, or other agreement contemplated by the Plan or the reliance by any
       Released Party on the Plan or the Confirmation Order in lieu of such legal
       opinion, the issuance or distribution of securities pursuant to the Plan, or the
       distribution of property under the Plan or any other related agreement, or
       upon any other related act or omission, transaction, agreement, event, or other
       occurrence taking place on or before the Effective Date, including the claims
       and causes of action asserted in the Texas Litigation and the CCOH Litigation.
       Notwithstanding anything to the contrary in the foregoing, the releases set
       forth above do not release any obligations of any Entity arising after the
       Effective Date under the Plan, the Confirmation Order, any Restructuring
       Transaction, or any document, instrument, or agreement (including those set
       forth in the Plan Supplement) executed to implement the Plan.

       This Article VIII.B shall not operate to waive or release any right, Claim, or
       Cause of Action (i) in favor of any Debtor or Reorganized Debtor, as
       applicable, arising in the ordinary course of business under any contractual
       obligation owed to such Debtor or Reorganized Debtor (including any such
       accounts receivables obligations carried on the Debtors’ books and records
       and any such obligations under any Executory Contract or Unexpired Lease
       assumed by a Debtor or Reorganized Debtor, as applicable) or (ii) as expressly
       set forth herein or the Plan Supplement.

       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
       approval, pursuant to section 1123(b) and Bankruptcy Rule 9019, of the
       releases described in this Article VIII.B by the Debtors, which includes by
       reference each of the related provisions and definitions contained in this Plan,
       and further, shall constitute the Bankruptcy Court’s finding that each release
       described in this Article VIII.B is: (1) in exchange for the good and valuable
       consideration provided by the Released Parties; (2) a good-faith settlement
       and compromise of such Causes of Action; (3) in the best interests of the
       Debtors and all Holders of Claims and Interests; (4) fair, equitable, and
       reasonable; (5) given and made after due notice and opportunity for hearing;
       (6) a sound exercise of the Debtors’ business judgment; and (7) a bar to any of
       the Debtors or Reorganized Debtors or their respective Estates asserting any
       Cause of Action related thereto, of any kind, against any of the Released
       Parties or their property.

 b.    Releases by Holders of Claims and Interests. On and after the Effective Date,
       in exchange for good and valuable consideration, including the obligations of
       the Debtors under the Plan and the contributions of the Released Parties to


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       facilitate and implement the Plan, to the fullest extent permissible under
       applicable law, as such law may be extended or integrated after the Effective
       Date, each of the Releasing Parties is deemed to have conclusively, absolutely,
       unconditionally, irrevocably, and forever released and discharged each
       Debtor, Reorganized Debtor, and Released Party from any and all Causes of
       Action, including any derivative claims asserted or assertable on behalf of any
       of the Debtors, the Reorganized Debtors, or their Estates or Affiliates, as
       applicable, that such Entity would have been legally entitled to assert in its
       own right (whether individually or collectively) or on behalf of the Holder of
       any Claim against, or Interest in, a Debtor or other Entity, based on or relating
       to, or in any manner arising from, in whole or in part, the Debtors, the
       Debtors’ capital structure, the assertion or enforcement of rights and remedies
       against the Debtors, the Debtors’ in- or out-of-court restructuring efforts,
       intercompany transactions between or among the Debtors and/or their
       Affiliates, the purchase, sale, or rescission of the purchase or sale of any
       Security of the Debtors or the Reorganized Debtors, the subject matter of, or
       the transactions or events giving rise to, any Claim or Interest that is treated
       in the Plan, the business or contractual arrangements between any Debtor and
       any Released Party, the Term Loan Credit Agreement Documents, the Notes
       and Notes Indentures, the Chapter 11 Cases and related adversary
       proceedings, the formulation, preparation, dissemination, negotiation, filing,
       or consummation of the Restructuring Support Agreement, the Disclosure
       Statement, the DIP Credit Agreement Documents, the New ABL Credit
       Agreement Documents, the Plan, or any Restructuring Transaction, contract,
       instrument, release, or other agreement or document created or entered into
       in connection with the Restructuring Support Agreement, the Disclosure
       Statement, the DIP Credit Agreement Documents, the New ABL Credit
       Agreement Documents, or the Plan, the filing of the Chapter 11 Cases, the
       pursuit of Confirmation, the pursuit of Consummation, the administration
       and implementation of the Plan, including providing any legal opinion
       requested by any Entity regarding any transaction, contract, instrument,
       document, or other agreement contemplated by the Plan or the reliance by any
       Released Party on the Plan or the Confirmation Order in lieu of such legal
       opinion, the issuance or distribution of securities pursuant to the Plan, or the
       distribution of property under the Plan or any other related agreement, or
       upon any other related act or omission, transaction, agreement, event, or other
       occurrence taking place on or before the Effective Date, including the claims
       and causes of action asserted in the Texas Litigation and the CCOH Litigation.
       Notwithstanding anything to the contrary in the foregoing, the releases set
       forth above do not release any obligations of any Entity arising after the
       Effective Date under the Plan, the Confirmation Order, any Restructuring
       Transaction, or any document, instrument, or agreement (including those set
       forth in the Plan Supplement) executed to implement the Plan.

       This Article VIII.C shall not release any right, Claim, or Cause of Action
       incurred by the Released Parties in the ordinary course of business that are



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       unrelated to the Debtors, the Debtors' Chapter 11 Cases, and the Debtors' in-
       and out-of-court restructuring efforts.

       Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
       approval, pursuant to Bankruptcy Rule 9019, of the releases described in this
       Article VIII.C, which includes by reference each of the related provisions and
       definitions contained in this Plan, and further, shall constitute the Bankruptcy
       Court’s finding that each release described in this Article VIII.C is: (1) in
       exchange for the good and valuable consideration provided by the Released
       Parties; (2) a good-faith settlement and compromise of such Causes of Action;
       (3) in the best interests of the Debtors and all Holders of Claims and Interests;
       (4) fair, equitable, and reasonable; (5) given and made after due notice and
       opportunity for hearing; (6) a sound exercise of the Debtors’ business
       judgment; and (7) a bar to any of the Releasing Parties or the Debtors or
       Reorganized Debtors or their respective Estates asserting any Cause of Action
       related thereto, of any kind, against any of the Released Parties or their
       property.

 c.    Exculpation. Notwithstanding anything herein to the contrary, and upon
       entry of the Confirmation Order, no Exculpated Party shall have or incur, and
       each Exculpated Party is released and exculpated from, any liability to any
       holder of a Cause of Action, Claim, or Interest for any act or omission in
       connection with, relating to, or arising out of, the Chapter 11 Cases, the
       formulation, preparation, dissemination, negotiation, filing, or consummation
       of the Restructuring Support Agreement, the Disclosure Statement, the DIP
       Credit Agreement Documents, the ABL Credit Agreement Documents, the
       Plan, or any Restructuring Transaction, contract, instrument, release, or other
       agreement or document created or entered into in connection with the
       Restructuring Support Agreement, the Disclosure Statement, the DIP Credit
       Agreement Documents, the ABL Credit Agreement Documents, the Plan, the
       filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
       Consummation, the administration and implementation of the Plan, including
       providing any legal opinion requested by any Entity regarding any
       transaction, contract, instrument, document, or other agreement
       contemplated by the Plan or the reliance by any Exculpated Party on the Plan
       or the Confirmation Order in lieu of such legal opinion, the issuance or
       distribution of securities pursuant to the Plan or the distribution of property
       under the Plan or any other agreement (whether or not such issuance or
       distribution occurs following the Effective Date), negotiations regarding or
       concerning any of the foregoing, or the administration of the Plan or property
       to be distributed hereunder, except for Causes of Action related to any act or
       omission that is determined by Final Order to have constituted actual fraud,
       willful misconduct, or gross negligence, but in all respects such Entities shall
       be entitled to reasonably rely upon the advice of counsel with respect to their
       duties and responsibilities pursuant to the Plan. The Exculpated Parties have,
       and upon Consummation of the Plan shall be deemed to have, participated in
       good faith and in compliance with the applicable laws with regard to the


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       solicitation of votes and distribution of consideration pursuant to the Plan and,
       therefore, are not, and on account of such distributions shall not be, liable at
       any time for the violation of any applicable law, rule, or regulation governing
       the solicitation of acceptances or rejections of the Plan or such distributions
       made pursuant to the Plan.

 d.    Injunction. Except as otherwise expressly provided in the Plan, the
       Confirmation Order, or for obligations issued or required to be paid pursuant
       to the Plan or the Confirmation Order, all Entities who have held, hold, or
       may hold Claims, Interests, or Causes of Action that have been released,
       discharged, or are subject to exculpation are permanently enjoined and
       precluded, from and after the Effective Date, from taking any of the following
       actions against, as applicable, the Debtors, the Reorganized Debtors, the
       Exculpated Parties, or the Released Parties: (1) commencing or continuing in
       any manner any action or other proceeding of any kind on account of or in
       connection with or with respect to any such Claims, Interests, or Causes of
       Action; (2) enforcing, attaching, collecting, or recovering by any manner or
       means any judgment, award, decree, or order against such Entities on account
       of or in connection with or with respect to any such Claims, Interests, or
       Causes of Action; (3) creating, perfecting, or enforcing any Lien, Claim, or
       encumbrance of any kind against such Entities or the property or the estates
       of such Entities on account of or in connection with or with respect to any such
       Claims, Interests, or Causes of Action; (4) asserting any right of setoff,
       subrogation, or recoupment of any kind against any obligation due from such
       Entities or against the property of such Entities on account of or in connection
       with or with respect to any such Claims, Interests, or Causes of Action, unless
       such Holder has Filed a motion requesting the right to perform such setoff on
       or before the Effective Date, and notwithstanding any indication in any Proof
       of Claim or Proof of Interest or otherwise that such Holder asserts, has, or
       intends to preserve any right of setoff pursuant to applicable law or otherwise;
       and (5) commencing or continuing in any manner any action or other
       proceeding of any kind against such Entities on account of or in connection
       with or with respect to any such Claims, Interests, or Causes of Action
       released, settled, or compromised pursuant to the Plan.

       Upon entry of the Confirmation Order, all Holders of Claims and Interests
       and their respective current and former directors, managers, officers,
       principals, predecessors, successors, employees, agents, and direct and
       indirect Affiliates shall be enjoined from taking any actions to interfere with
       the implementation or Consummation of the Plan. Each Holder of an Allowed
       Claim or Allowed Interest, as applicable, by accepting, or being eligible to
       accept, distributions under or Reinstatement of such Claim or Interest, as
       applicable, pursuant to the Plan, shall be deemed to have consented to the
       injunction provisions set forth in this Article VIII.E.

 e.    Release of Liens. Except as otherwise provided in the Plan, the Plan
       Supplement, the New Debt Documents, the New ABL Credit Agreement


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               Documents, or any contract, instrument, release, or other agreement or
               document created pursuant to the Plan or the Confirmation Order, on the
               Effective Date, and concurrently with the applicable distributions made
               pursuant to the Plan, all mortgages, deeds of trust, Liens, pledges, or other
               security interests against any property of the Estates (other than, solely in the
               event that the Allowed DIP Claims become Converted DIP Claims, the
               Continuing Liens and the Liens securing the Contingent DIP Obligations)
               shall be fully released, settled, compromised, and discharged, and all of the
               right, title, and interest of any holder of such mortgages, deeds of trust, Liens,
               pledges, or other security interests against any property of the Debtors shall
               automatically revert to the applicable Debtor or Reorganized Debtor, as
               applicable, and their successors and assigns, in each case, without any further
               approval or order of the Bankruptcy Court and without any action or Filing
               being required to be made by the Debtors. Any Holder of such Secured Claim
               (and the applicable agents for such Holder) shall be authorized and directed
               to release any collateral or other property of any Debtor (including any cash
               collateral and possessory collateral) held by such Holder (and the applicable
               agents for such Holder), and to take such actions as requested by the Debtors
               or Reorganized Debtors to evidence the release of such Lien, including the
               execution, delivery, and filing or recording of such documents evidencing such
               releases. The presentation or filing of the Confirmation Order to or with any
               local, state, federal, or foreign agency or department shall constitute good and
               sufficient evidence of, but shall not be required to effect, the termination of
               such Liens.

       158.    Notwithstanding any opt out election or objection to the releases contained in

Article VIII of the Plan, the Legacy Notes Trustee and the Consenting Legacy Noteholders are

hereby deemed Released Parties and Releasing Parties pursuant to the Legacy Notes Plan

Settlement.

       159.    The Debtors shall review whether due process notice of the Plan’s release

provisions was provided to all Releasing Parties. If, based on this review, the Debtors determine

that any Releasing Party did not receive due process notice of the Plan’s release provisions,

the Debtors shall provide due process notice of the Plan’s release provisions to those Releasing

Parties that the Debtors determined did not receive due process notice, and any such Releasing

Parties shall have 30 days from the receipt of such notice to submit an election to opt out of the

Plan’s release provisions.



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       160.    If any Releasing Party believes that it did not receive due process notice of the

Plan’s release provisions, such Releasing Party must return to the Bankruptcy Court for a

determination regarding the adequacy of notice provided before initiating any Claim or

Cause of Action in another court (and any such Releasing Party is hereby enjoined from

bringing any Claim or Cause of Action in another court) based on a Claim or Cause of Action

that would otherwise be subject to the Plan’s release provisions.

AA.    Post-Confirmation Notices, Professional Compensation, and Bar Dates.

       161.    In accordance with Bankruptcy Rules 2002 and 3020(c), no later than seven days

after the Effective Date, the Reorganized Debtors must cause notice of Confirmation and

occurrence of the Effective Date (the “Notice of Confirmation”) to be served by United States

mail, first-class postage prepaid, by hand, or by overnight courier service to all parties served with

the Confirmation Hearing Notice. To supplement the notice procedures described in the preceding

sentence, no later than fourteen days after the Effective Date, the Reorganized Debtors must cause

the Notice of Confirmation, modified for publication, to be published on one occasion in USA

Today. Mailing and publication of the Notice of Confirmation in the time and manner set forth in

this paragraph will be good, adequate, and sufficient notice under the particular circumstances and

in accordance with the requirements of Bankruptcy Rules 2002 and 3020(c). No further notice is

necessary.

       162.    The Notice of Confirmation will have the effect of an order of the Bankruptcy

Court, will constitute sufficient notice of the entry of this Confirmation Order to filing and

recording officers, and will be a recordable instrument notwithstanding any contrary provision of

applicable nonbankruptcy law.

       163.    Professionals or other Entities asserting a Professional Fee Claim for services

rendered before the Confirmation Date must file an application for final allowance of such


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Professional Fee Claim no later than sixty days after the Effective Date. The Reorganized Debtors

shall pay Professional Fee Claims in Cash in the amount this Bankruptcy Court allows, including

from the Professional Fee Escrow Account, which the Debtors will establish in trust for the

Professionals and fund with Cash equal to the Professional Fee Escrow Amount on the Effective

Date and otherwise in accordance with the Plan.

       164.   Except as otherwise provided in the Plan, requests for payment of Administrative

Claims, other than Administrative Claims arising under section 503(b)(9) of the Bankruptcy Code,

which were required to be filed by the Bar Date, must be filed no later than the Administrative

Claims Bar Date. Holders of Administrative Claims that are required to file and serve a request

for such payment of such Administrative Claims that do not file and serve such a request by the

Administrative Claims Bar Date shall be forever barred, estopped, and enjoined from asserting

such Administrative Claims against the Debtors, the Reorganized Debtors or their property, and

such Administrative Claims shall be deemed discharged as of the Effective Date without the need

for any objection from the Reorganized Debtors or any action by the Bankruptcy Court.

BB.    Reports.

       165.   After the Effective Date, the Reorganized Debtors shall have no obligation to file

with the Bankruptcy Court or serve on any parties reports that the Debtors were obligated to file

under the Bankruptcy Code or a Bankruptcy Court order, including monthly operating reports

(even for those periods for which a monthly operating report was not filed prior to the Effective

Date); provided, however, that the Reorganized Debtors will comply with the U.S. Trustee’s

quarterly reporting requirements. Through the Effective Date, the Debtors will file such reports

as are required under the Bankruptcy Local Rules.




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CC.    DIP Claims.

       166.    As of the Effective Date, all Holders of Allowed DIP Claims shall (a) to the extent

clause (b) below does not apply, receive payment in full in Cash of their Allowed DIP Claims from

the Debtors, at which time all Liens and security interests granted to secure such obligations shall

be automatically terminated and of no further force and effect without any further notice to or action,

order, or approval of the Bankruptcy Court or any other Entity or (b) solely in the event that the

conditions precedent set forth on Annex I of the New ABL Credit Agreement Term Sheet shall

have been satisfied prior to or contemporaneously with the Effective Date or validly waived, have

their Allowed DIP Claims converted into New ABL Indebtedness on a dollar-for-dollar basis in

accordance with the Plan, the terms of the New ABL Credit Agreement (under clause (i) of the

definition set forth in the Plan), the New ABL Credit Agreement Term Sheet and the DIP Credit

Agreement (including, without limitation, Section 2.18), and the Holders of such Converted DIP

Claims shall upon such conversion become New ABL Credit Agreement Lenders.

       167.    Notwithstanding anything to the contrary in the Plan or this Confirmation Order

(including, for the avoidance of doubt, Articles VIII.B and VIII.C of the Plan and Section Z of this

Confirmation Order), (a) any Contingent DIP Obligations that do not receive the treatment above

shall survive the Effective Date, shall not be discharged or released pursuant to the Plan or this

Confirmation Order, and, solely in the event that the Allowed DIP Claims become Converted DIP

Claims, shall continue to be secured by all liens and security interests granted to secure the

obligations arising under the New ABL Credit Agreement; and (b) the DIP Facilities and the DIP

Credit Agreement Documents shall continue in full force and effect after the Effective Date with

respect to any obligations thereunder governing (i) the Contingent DIP Obligations and (ii) the

relationships among the DIP Agent and the DIP Lenders, as applicable, including but not limited

to, those provisions relating to the rights of the DIP Agent and the DIP Lenders to expense


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reimbursement, indemnification and other similar amounts (either from the Debtors or the DIP

Lenders), reinstatement obligations pursuant to Section 10.28 of the DIP Credit Agreement, and

any provisions that may survive termination or maturity of the DIP Facilities in accordance with

the terms thereof. After the Effective Date, the Reorganized Debtors shall continue to reimburse

the DIP Agent and the DIP Lenders for any reasonable fees and expenses (including reasonable and

documented legal fees and expenses) incurred by the DIP Agent and the DIP Lenders after the

Effective Date that survive termination or maturity of the DIP Facilities in accordance with the

terms thereof. The Reorganized Debtors shall pay all of the amounts that may become payable to

the DIP Agent or any of the DIP Lenders under any of the foregoing provisions in accordance with

the terms of the DIP Credit Agreement Documents.

DD.    Taxing Authorities.

       168.    Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

the Debtors and the Texas Comptroller of Public Accounts (the "Comptroller") stipulate and agree

that the state franchise tax liabilities set forth in the Comptroller's Claims shall be determined in

accordance with the processes and procedures provided by Texas law in the same manner as if

these Chapter 11 Cases had not been commenced; provided that the tax penalties included in the

Comptroller’s Claims, if Allowed and not otherwise waived by the Comptroller, shall be classified

as General Unsecured Claims. Notwithstanding the foregoing, after the amount of the

Comptroller’s Claims are fixed by a Final Order of the Texas Comptroller or a Texas state court

of competent jurisdiction, or by agreement between the Comptroller and the Debtors or

Reorganized Debtors, as applicable, the Comptroller’s Claims against the Debtors for state

franchise tax liabilities (other than tax penalties) shall be deemed Allowed and classified and

treated as Priority Tax Claims in accordance with Article II.D of the Plan, and the Comptroller’s

Claims against the Debtors for tax penalties, if any, shall be deemed Allowed and classified and


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treated as General Unsecured Claims. For the avoidance of doubt, except as expressly provided

herein, neither the Plan nor this Confirmation Order shall affect or impair any rights of the

Comptroller with regards to franchise tax liabilities of the Debtors’ non-Debtor Affiliates, and the

rights and defenses of the Debtors, their non-Debtor Affiliates, and the Reorganized Debtors (as

applicable) under Texas state law and the Bankruptcy Code with respect to the foregoing are fully

preserved, except as may otherwise be expressly provided herein.

       169.    Notwithstanding anything to the contrary in the Plan or this Confirmation Order:

(a) any Administrative Claims of the Comptroller or the Mississippi Department of Revenue

(“MDOR”) (including taxes incurred by the Debtors after the Petition Date in accordance with

section 503(b)(1)(B)–(D) of the Bankruptcy Code) will be governed by Article II.A of the Plan;

(b) pursuant to sections 503(b)(1)(B)–(D) of the Bankruptcy Code, the Comptroller or MDOR are

not required to file any Proofs of Claim, request for payment, or other pleading in these Chapter

11 Cases as a condition for allowance or payment of any Administrative Claims of the Comptroller

or MDOR; (c) the Allowed Priority Tax Claims of the Comptroller and MDOR shall be governed

by Article II.D of the Plan, in accordance with sections 511 and 1129(a)(9)(C) of the Bankruptcy

Code; (d) the Comptroller’s and MDOR’s setoff and recoupment rights under section 553 of the

Bankruptcy Code and applicable nonbankruptcy law are fully preserved; (e) the rights of the

Comptroller and MDOR to pursue any Claims, rights, Causes of Action, or any other remedy

against any non-Debtor party are fully preserved, and the Comptroller and MDOR shall not be

prevented, precluded, or otherwise enjoined from collecting any such liability from any such non-

Debtor party; (f) the Comptroller and MDOR shall be allowed, but not required, to amend any

timely filed Proofs of Claim to reflect the completion of tax audits, the filing of unfiled tax returns

or any amendment of the Debtors’ or Reorganized Debtors’ previously filed tax returns; and (g)




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the failure to make a payment to the Comptroller when due under the Plan shall constitute an event

of default (“Event of Default”). If the Reorganized Debtors fail to cure an Event of Default within

twenty days after the Comptroller or MDOR sends written notice of default by mail, email, or fax

to the Debtors or Reorganized Debtors, as applicable, and their counsel, the Comptroller or MDOR

may exercise any and all rights and remedies available under applicable nonbankruptcy law or

seek such other relief as may be appropriate from the Bankruptcy Court. The Debtors’ and the

Reorganized Debtors’ (as applicable) rights and defenses under applicable nonbankruptcy law and

the Bankruptcy Code with respect to the foregoing are fully preserved.

       170.    Allowed Secured Tax Claims of Angelina County, Bexar County, Cameron

County, Cleveland ISD, Cypress-Fairbanks ISD, Dallas County, City of El Paso, Fort Bend

County, Frio Hospital District, Harris County, Hays County, Hidalgo County, Houston Liens,

Irving ISD, Jefferson County, Lewisville ISD, City of McAllen, McLennan County, Nueces

County, Pearsall ISD , Rockwall CAD, San Marcos CISD, San Patricio County, Smith County,

Tarrant County, Tom Green CAD, and Victoria County (collectively, the “Taxing Authorities”)

shall be classified in Class 1 and paid in full in Cash (a) within thirty days after the Effective Date

or as soon as reasonably practicable thereafter, or (b) when due according to their terms, whichever

occurs later. The Allowed Secured Tax Claims of the Taxing Authorities shall include all accrued

interest properly charged under applicable nonbankruptcy law through the date of payment of such

Allowed Secured Tax Claims. If the Allowed Secured Tax Claims are not paid in full within such

applicable time period, the Taxing Authorities shall receive equal quarterly Cash payments

commencing as of the Effective Date or as soon as reasonably practicable thereafter and continuing

for five years, together with interest at the applicable non-bankruptcy rate.




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       171.    The tax liens, including statutory liens and privileges, if any, of the Taxing

Authorities, to the extent that the Taxing Authorities are entitled to such liens, shall be expressly

retained in accordance with applicable nonbankruptcy law with respect to taxes payable under

applicable state law to the Taxing Authorities in the ordinary course of business. Notwithstanding

any provision in the Plan that provides otherwise, the Taxing Authorities are entitled to amend any

timely filed Proofs of Claim to reflect the actual amount of taxes for the 2018 tax year. The

Reorganized Debtors shall have 120 days from the Effective Date to object to the Taxing

Authorities’ Secured Tax Claims; otherwise, the Taxing Authorities’ Secured Tax Claims shall be

deemed Allowed Secured Tax Claims in the amount of their filed Proofs of Claim.

       172.    Should the Debtors or Reorganized Debtors, as applicable, fail to make any

payments to the Taxing Authorities as required in the Plan, the Taxing Authorities shall provide

written notice of such default by mail to the Debtors or Reorganized Debtors, as applicable, and

their counsel advising of such default, and providing the Debtors or Reorganized Debtors, as

applicable, with a period of thirty days to cure such default. In the event that the default is not

cured within thirty days, the Taxing Authorities may, without further order of this Bankruptcy

Court or notice to the Debtors or the Reorganized Debtors, as applicable, pursue all of their rights

and remedies available to them under applicable nonbankruptcy law. The Debtors’ and the

Reorganized Debtors’ (as applicable) rights and defenses under applicable nonbankruptcy law and

the Bankruptcy Code with respect to the foregoing are fully preserved.

       173.    The Debtors shall pay all obligations owing to the Travis County Tax

Assessor-Collector (“Travis County”) in the ordinary course of business. Travis County and the

Debtors and Reorganized Debtors (as applicable) retain all rights under applicable nonbankruptcy

law in connection therewith.




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EE.    Surety Contracts and Bonds.

       174.    Notwithstanding anything to the contrary in the Plan or this Confirmation Order,

nothing herein shall be deemed to alter, amend, modify, impair or impact Aspen American

Insurance Company’s (“Aspen”) rights, Claims or defenses, at law or in equity, as against CCOH

or any of its subsidiaries (collectively, the “Non-Debtor CCOH Parties”), with respect to any claim

that Aspen has or may have against the Non-Debtor Parties, irrespective of whether any such claim

shall arise prior to Confirmation or at any time thereafter. For the avoidance of doubt, Aspen shall

not be deemed a Releasing Party as defined in or construed under the Plan or this

Confirmation Order.

       175.    Notwithstanding anything to the contrary in the Disclosure Statement, the

Disclosure Statement Supplement, the Plan, the Plan Supplement, this Confirmation Order, any

cure notice, any other document related to any of the foregoing, or any other order of the

Bankruptcy Court (including, without limitation, any other provision that purports to be

preemptory or supervening, grants an injunction or release, confers Bankruptcy Court jurisdiction,

or requires a party to object to or opt out of any releases): (a) on the Effective Date, (i) the Debtors

shall be deemed to have assumed all surety bonds issued for the Debtors or their Affiliates by the

Argo Group, Berkley Surety and/or each of their Affiliates and successors (collectively, the

“Sureties”) and any agreements, documents, or instruments relating thereto (collectively, the

“Surety Agreements”) in their entirety, pursuant to sections 105 and 365 of the Bankruptcy Code;

and (ii) such Surety Agreements shall vest in the Reorganized Debtors; (b) all Surety Agreements

(including any and all letters of credit and other collateral and security provided in relation thereto)

and all debts, obligations, and liabilities of the Debtors or their Affiliates (and, after the Effective

Date, of the Reorganized Debtors) thereunder, whether arising before or after the Effective Date,

shall survive and shall not be amended, modified, cancelled, waived, released, discharged or


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impaired in any respect; (c) nothing shall alter, modify, amend, affect, impair or prejudice the

legal, equitable or contractual rights, obligations, and defenses of the Sureties, the Debtors or their

Affiliates (or, after the Effective Date, the Reorganized Debtors), or any other individual or entity,

as applicable, under any Surety Agreement (including, but not limited to, (i) any agreement to

arbitrate disputes; (ii) any provisions regarding the provision, maintenance, use, nature, and

priority of collateral/security; and (iii) any provisions regarding indemnity, premium or other

obligation of the Debtors or their Affiliates to pay or reimburse the Sureties therefor); any such

rights and obligations shall be determined under the Surety Agreements and applicable

nonbankruptcy law as if the Chapter 11 Cases had not occurred; (d) nothing alters or modifies the

duty, if any, that the Sureties have to pay claims covered by the surety bonds and the Sureties’

right to seek payment or reimbursement from the Debtors or their Affiliates (or after the Effective

Date, the Reorganized Debtors) or draw on any collateral or security therefor; (e) the claims of the

Sureties arising after the Petition Date (whether before or after the Effective Date) under the Surety

Agreements (i) shall be paid in full in the ordinary course of business by the Debtors (or after the

Effective Date, the Reorganized Debtors), regardless of when such amounts are or shall become

liquidated or due and (ii) shall not be discharged or released by the Plan or this Confirmation Order

or any other order of the Bankruptcy Court; and (f) the automatic stay of section 362(a) of the

Bankruptcy Code and the injunctions set forth in Article VIII.E of the Plan, if and to the extent

applicable, shall be deemed lifted without further order of this Bankruptcy Court, solely to permit:

(i) claimants with valid bond claims against the Sureties under applicable nonbankruptcy law to

proceed with their claims; (ii) the Sureties to administer, handle, defend, settle, and/or pay, in the

ordinary course of business and without further order of this Bankruptcy Court, surety bond claims

and all costs in relation to the foregoing; and to request, obtain and enforce the obligations of the




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Debtors or their Affiliates (or the Reorganized Debtors, as applicable) under the Surety

Agreements; (iii) the Sureties to draw against any or all of the collateral or security provided by or

on behalf of the Debtors or their Affiliates (or the Reorganized Debtors, as applicable) at any time

and to hold the proceeds thereof as security for the obligations of the Debtors or their Affiliates

(or the Reorganized Debtors, as applicable) and/or apply such proceeds to the obligations of the

Debtors or their Affiliates (or the Reorganized Debtors, as applicable) under the applicable Surety

Agreements, in such order as the Sureties may determine; and (iv) the Sureties to cancel any surety

bonds, and take other actions relating thereto, to the extent permissible under applicable

nonbankruptcy law, and in accordance with the terms of the Surety Agreements. Entry of this

Confirmation Order shall constitute the Bankruptcy Court’s approval of the foregoing.

FF.      Liabilities to the United States.

         176.   Nothing in the Plan or this Confirmation Order releases, discharges, enjoins,

impairs, or otherwise precludes: (a) any liability to the United States that is not a Claim; (b) any

Claim of the United States arising on or after the Effective Date; (c) any rights of setoff or

recoupment of the United States against any of the Debtors, Reorganized Debtors or any other

Entity; or (d) any liability to the United States on the part of any Entity other than the Debtors or

Reorganized Debtors. The United States opts out of the releases in the Plan and is not a Releasing

Party.

GG.      Federal Communications Commission Issues.

         177.   For the avoidance of doubt, nothing in the Plan or this Confirmation Order relieves

any Debtor, Reorganized Debtor, or non-Debtor from their obligations to comply with any

applicable provision of the Communications Act, and the rules, regulations, and orders

promulgated thereunder by the FCC. No Debtor, Reorganized Debtor, or non-Debtor shall transfer

or assign a federal license, permit, or authorization issued by the FCC prior to the issuance of FCC


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regulatory approval for transfer or assignment of such license, permit, or authorization pursuant to

applicable FCC regulations.

HH.    Audit Rights.

       178.    Notwithstanding anything contained in the Plan or this Confirmation Order, any

Claims and/or Administrative Claims asserted by or against the Debtors with respect to public

performance right license fees paid to Broadcast Music, Inc. (“BMI”) pursuant to (a) the BMI

Radio Station Blanket/Per Program License Agreement dated September 28, 2012, between BMI

and Clear Channel Communications, Inc. (the “License Agreement”), (b) the Group Owner Rider

to that License Agreement (the “Group Owner Rider”), as each were extended by order of the

United States District Court for the Southern District of New York, Case No. 17 Civ. 4 (LLS)

(S.D.N.Y. 2017), and (c) the Interim Fee Agreement between BMI and iHeartMedia, Inc. dated

February 14, 2018 (the “Digital Fee Agreement,” and with the License Agreement and the Group

Owner Rider, the “BMI License Agreements”), for the period beginning January 1, 2017 forward,

which fees are subject to retroactive adjustment in accordance with a final order or settlement of

the current litigation pending before Judge Louis L. Stanton in the United States District Court for

the Southern District of New York, captioned Radio Music License Committee, Inc. v. Broadcast

Music, Inc., Case No. 18 Civ. 4420 (LLS) (S.D.N.Y. 2018), shall not be discharged, impaired, or

affected in any way by the releases or discharge provisions set forth in the Plan or this

Confirmation Order, and all such Claims are expressly preserved. Such Claims, when liquidated,

shall be paid as Cure Claims on or after the Effective Date, and on the Effective Date the BMI

License Agreements shall re-vest in and be fully enforceable by the Debtors and BMI pursuant to

Article V.A of the Plan and Exhibit D of the Plan Supplement.

       179.    SoundExchange Inc. (“SoundExchange”) shall hold an Allowed Cure Claim for

amounts due and owing as of December 11, 2018 in the amount of $593,683.80


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(the “Cure Payment”). The Debtors or Reorganized Debtors, as applicable, shall pay the Cure

Payment to SoundExchange within thirty days of the Effective Date of the Plan or such other time

as agreed to by SoundExchange and the Debtors or the Reorganized Debtors. The Debtors or

Reorganized Debtors, as applicable, shall pay all amounts due and owing SoundExchange after

December 11, 2018 in the ordinary course of business and pursuant to 37 C.F.R. §§ 380.2 and

380.10. Upon clearance of the Cure Payment, claim numbers 2675, 2677- 2679, 2681, 2682, 2684,

2686, 2694, 2697- 2699, 2701, 2704 - 2707, 2726, 2740, 2742, 2744 - 2746, 2748 - 2757, 2802,

2804, 2807, 2809, 2929 and 2831 shall be deemed withdrawn by SoundExchange; provided,

however, that (a) nothing in the Plan or this Confirmation Order shall affect, modify, diminish,

enhance, or impair the auditing payments and distribution rights, defenses, and obligations of

SoundExchange, the Debtors, the Reorganized Debtors, or any third party as set forth in 74 Fed.

Reg. 9293, 9301 (Mar. 3, 2009), 37 C.F.R. § 380.15 (2015), and 37 C.F.R § 380.6 (2017) with

respect to audits (the “Audit Claims”) of calendar years 2011 to 2013 and for the period beginning

on or after January 1, 2015 (the “Audit Years”) and (b) the Audit Claims for audits of the Audit

Years shall not be discharged, impaired, or affected in any way by the releases or discharge

provisions set forth in the Plan or this Confirmation Order, and all such Audit Claims are expressly

preserved.

       180.    Notwithstanding anything in the Plan or this Confirmation Order to the contrary,

nothing in the Plan or this Confirmation Order will function to, or be deemed to, relinquish, waive,

release, extinguish, discharge, affect, or otherwise impair Sony Music Entertainment’s (“SME”)

rights under the Framework Digital Distribution Agreement, effective as of September 19, 2016,

as amended, by and between SME and iHeartCommunications, Inc., including but not limited to




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SME’s right to audit as set forth in such agreement, and its right to assert any Claim for any

underpayments or shortfalls identified in any such audit.

II.    Assumption of the SAG-AFTRA Collective Bargaining Agreements.

       181.      The Debtors agree that, pursuant to the assumption of all of their obligations under

the           collective        bargaining          agreements           with         SAG-AFTRA

(the “Collective Bargaining Agreements”), the Debtors or the Reorganized Debtors, as applicable,

shall pay in the ordinary course all obligations arising under the Collective Bargaining

Agreements, whether such obligations accrued or arose prior to the Effective Date, which shall

include processing and paying any arbitral awards entered in any grievance filed prior to the

Effective Date, and that SAG-AFTRA is not required to take any further action in relation to the

bankruptcy or Bankruptcy Court in regard to SAG-AFTRA’s Cure Claim.

JJ.    Assumption of Denver Broncos Agreements

       182.      Notwithstanding any rights granted to the Debtors under the Plan, the Debtors agree

to waive any and all rights to reject any contractual agreements between the Debtors and PDB

Sports, LTD (D/B/A Denver Broncos Football Club) (the “Broncos”) following the Effective Date.

Furthermore, and subject to the occurrence of the Effective Date, the Debtors agree to assume all

contractual agreements between the Debtors and the Broncos and to cure any outstanding defaults

to the extent required under section 365 of the Bankruptcy Code.

KK.    Cancellation of Notes, Instruments, Certificates, and Other Documents.

       183.      Except to the extent provided in this Confirmation Order, the Plan Documents, or

the Plan, including in Article IV.Q thereof, all notes, bonds, indentures, Certificates, Securities,

shares, purchase rights, options, warrants, collateral agreements, subordination agreements,

intercreditor agreements, or other instruments or documents directly or indirectly evidencing,

creating, or relating to any indebtedness or obligations of, or ownership interest in, the Debtors


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giving rise to any rights or obligations relating to Claims against or Interests in the Debtors (except

with respect to any Claim or Interest that is Reinstated pursuant to the Plan) shall be deemed

cancelled, discharged, surrendered, and of no force and effect, without any need for a Holder to

take further action with respect thereto, on the Effective Date without further act or action under

any applicable agreement, law, regulation, order, or rule and any and all obligations or liabilities

of the Debtors under such documents, agreements, or instruments evidencing such Claims and

Interests shall be discharged.

LL.    Return of Deposits.

       184.    All utilities, including any Person who received a deposit or other form of

“adequate assurance” of performance pursuant to section 366 of the Bankruptcy Code during the

Chapter 11 Cases (collectively, the “Deposits”), whether pursuant to the Order (I) Approving the

Debtors' Proposed Adequate Assurance of Payment for Future Utility Services, (II) Prohibiting

Utility Providers from Altering, Refusing, or Discontinuing Services, (III) Approving the Debtors'

Proposed Procedures for Resolving Additional Assurance Requests, and (IV) Granting Related

Relief [Docket No. 111] or otherwise, including, electricity, natural gas, water and sewage,

telecommunications, internet, cable, and other similar services, are directed to return such Deposits

to the Reorganized Debtors, either by setoff against postpetition indebtedness or by Cash refund,

within thirty days following the Effective Date, and as of the Effective Date, such Persons are not

entitled to make requests for or receive additional Deposits.

MM. Effect of Confirmation Order on Other Orders.

       185.    Unless expressly provided for herein, nothing in the Plan or this Confirmation

Order shall affect any orders entered in the Chapter 11 Cases pursuant to section 365 of the

Bankruptcy Code or Bankruptcy Rule 9019.




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NN.    Inconsistency.

       186.    In the event of any inconsistency between the Plan (including the Plan Supplement)

and this Confirmation Order, this Confirmation Order shall govern. To the extent any provision

of any final Plan Supplement document may conflict or is inconsistent with any provision in the

Plan, the terms of the final Plan Supplement document shall govern and be binding and exclusive.

OO.    Injunctions and Automatic Stay.

       187.    Unless otherwise provided in the Plan or in this Confirmation Order, all injunctions

or stays in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code

or any order of the Bankruptcy Court, and extant on this Confirmation Date (excluding any

injunctions or stays contained in the Plan or this Confirmation Order) shall remain in full force

and effect through and including the Effective Date. All injunctions or stays contained in the Plan

or this Confirmation Order shall remain in full force and effect in accordance with their terms.

PP.    Authorization to Consummate.

       188.    The Debtors are authorized to consummate the Plan and the Restructuring

Transactions at any time after the entry of this Confirmation Order subject to satisfaction or waiver

(by the required parties) of the conditions precedent to Consummation set forth in Article IX of

the Plan.

QQ.    Substantial Consummation.

       189.    On the Effective Date, the Plan shall be deemed to be substantially consummated

under sections 1101 and 1127(b) of the Bankruptcy Code.

RR.    No Waiver.

       190.    The failure to specifically include any particular Plan Document or provision of the

Plan or Plan Document in this Confirmation Order will not diminish the effectiveness of such

document or provision nor constitute a waiver thereof, it being the intent of this Bankruptcy Court


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that the Plan is confirmed in its entirety, the Plan Documents are approved in their entirety, and all

are incorporated herein by this reference.

SS.     Severability.

        191.    Each term and provision of the Plan, as it may have been altered or interpreted in

accordance with the foregoing, is (a) valid and enforceable pursuant to its terms; (b) integral to the

Plan and may not be deleted or modified without the consent of the parties thereto in accordance

with the terms set forth in the Plan; and (c) non-severable and mutually dependent.

TT.     Effect of Non-Occurrence of Conditions to Consummation.

        192.    If the Effective Date does not occur, then the Plan will be null and void in all

respects and nothing contained in the Plan, this Confirmation Order, the Disclosure Statement, or

the Disclosure Statement Supplement shall: (a) constitute a waiver or release of any Claims,

Interests, or Causes of Action held by any Debtor or any other Entity; (b) prejudice in any manner

the rights of any Debtor or any other Entity; or (c) constitute an admission, acknowledgment, offer,

or undertaking of any sort by any Debtor or any other Entity in any respect.

UU.     Debtors’ Actions Post-Confirmation Through the Effective Date.

        193.    During the period from entry of this Confirmation Order through and until the

Effective Date, each of the Debtors shall continue to operate their business as a debtor in

possession, subject to the oversight of the Bankruptcy Court as provided under the Bankruptcy

Code, the Bankruptcy Rules, and this Confirmation Order and any order of the Bankruptcy Court

that is in full force and effect.

VV.     Dissolution of the Committee.

        194.    On the Effective Date, any statutory committee appointed in the Chapter 11 Cases,

including the Committee, shall dissolve, and members thereof shall be released from all rights and

duties from or related to the Chapter 11 Cases, provided, however, that the Committee will stay in


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existence solely for the limited purpose of (a) filing and prosecuting final fee applications, and (b)

participating in any adversary proceeding commenced after the date of this Plan in which the

Committee is named as a defendant, including any appeals thereof. The Reorganized Debtors shall

not be responsible for paying any fees or expenses incurred by the members of or advisors to any

statutory committees after the Effective Date, except for the fees and expenses incurred by the

Committee’s Professionals in connection with the matters identified in clauses (a) and (b) of the

foregoing sentence.

WW. Conditions to Effective Date.

       195.    The Plan shall not become effective unless and until the conditions set forth in

Article IX.A of the Plan have been satisfied or waived pursuant to Article IX.B of the Plan.

XX.    Post-Confirmation Modification of the Plan.

       196.    The Debtors are hereby authorized to amend or modify the Plan at any time prior

to the substantial consummation of the Plan, but only in accordance with section 1127 of the

Bankruptcy Code, without further order of this Bankruptcy Court.

YY.    Final Order.

       197.    This Confirmation Order is a Final Order and the period in which an appeal must

be filed will commence upon entry of this Confirmation Order.

 Dated: _________________
  Signed: January
 Houston,  Texas 22, 2019                             MARVIN ISGUR
                                                      UNITED STATES BANKRUPTCY JUDGE
                                                         ____________________________________
                                                                       Marvin Isgur
                                                             United States Bankruptcy Judge




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                               Exhibit 1


                        Plan of Reorganization




                       [Filed at Docket No. 2521]
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                                      §
       In re:                                                         §         Chapter 11
                                                                      §
       IHEARTMEDIA, et al., 1                                         §         Case No. 18-31274 (MI)
                                                                      §
                                   Debtors.                           §         (Jointly Administered)
                                                                      §

                      MODIFIED FIFTH AMENDED JOINT CHAPTER 11 PLAN OF
                    REORGANIZATION OF IHEARTMEDIA, INC. AND ITS DEBTOR
                 AFFILIATES PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

     NOTHING CONTAINED HEREIN SHALL CONSTITUTE AN OFFER, ACCEPTANCE,
     COMMITMENT, OR LEGALLY BINDING OBLIGATION OF THE DEBTORS OR ANY
     OTHER PARTY IN INTEREST AND THIS PLAN IS SUBJECT TO APPROVAL BY THE
   BANKRUPTCY COURT AND OTHER CUSTOMARY CONDITIONS. THIS PLAN IS NOT AN
                   OFFER WITH RESPECT TO ANY SECURITIES.

                       YOU SHOULD NOT RELY ON THE INFORMATION
               CONTAINED IN, OR THE TERMS OF, THIS PLAN FOR ANY PURPOSE
           PRIOR TO THE CONFIRMATION OF THIS PLAN BY THE BANKRUPTCY COURT.


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   1      Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
          complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
          provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims,
          noticing, and solicitation agent at https://cases.primeclerk.com/iheartmedia. The location of Debtor iHeartMedia,
          Inc.’s principal place of business and the Debtors’ service address is: 20880 Stone Oak Pkwy., San Antonio,
          Texas 78258.
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                                                INTRODUCTION

            iHeartMedia, Inc. and its debtor affiliates in the above-captioned chapter 11 cases, as debtors and
   debtors in possession, propose this modified fifth amended joint chapter 11 plan of reorganization. The
   Chapter 11 Cases have been consolidated for procedural purposes only and are being jointly administered
   pursuant to an order of the Bankruptcy Court [Docket No. 76]. This Plan constitutes a separate chapter 11
   plan for each Debtor for the resolution of outstanding Claims against and Interests in each Debtor pursuant
   to the Bankruptcy Code, and unless otherwise set forth herein, the classifications and treatment of Claims
   against and Interests in the Debtors set forth in Article III of the Plan apply separately with respect to each
   Debtor. Each Debtor is a proponent of the Plan within the meaning of section 1129 of the Bankruptcy
   Code.

            Pursuant to section 1125(b) of the Bankruptcy Code, votes to accept or reject a chapter 11 plan
   cannot be solicited from holders of claims or interests entitled to vote on a chapter 11 plan until a disclosure
   statement has been approved by a bankruptcy court and distributed to such holders. On September 20, 2018,
   the Bankruptcy Court entered the Disclosure Statement Order, which, among other things, approved the
   Disclosure Statement, established procedures for voting on the Plan, and scheduled the Confirmation
   Hearing. On October 18, 2018, the Bankruptcy Court entered the Order (I) Approving the Debtors’
   Continued Solicitation of the Fifth Amended Plan and the Adequacy of the Supplemental Disclosure in
   Connection Therewith, (II) Modifying Certain Deadlines and Procedures in Connection With Plan
   Confirmation and Shortening Notice With Respect Thereto, (III) Approving the Form of Ballots in
   Connection Therewith, and (IV) Granting Related Relief, which, among other things, approved the
   supplement to the Disclosure Statement and modified Confirmation schedule. Holders of Claims against
   and Interests in the Debtors should refer to the Disclosure Statement for a discussion of the Debtors’ history,
   business, properties, operations, historical financial information, projections of future operations, and risk
   factors, as well as a summary and description of the Plan, the Restructuring Transactions that the Debtors
   seek to consummate on the Effective Date of the Plan, and various related matters.



                    DEFINED TERMS, RULES OF INTERPRETATION,
            COMPUTATION OF TIME, GOVERNING LAW, AND OTHER REFERENCES

   A.      Defined Terms

           Capitalized terms used in this Plan have the meanings ascribed to them below.

            1.      “10.625% PGN Agent” means Deutsche Bank Trust Company Americas, in its capacity as
   collateral agent under the 10.625% PGN Indenture, and any predecessors and successors in such capacity.

           2.      “10.625% PGN Claim” means any Claim against a Debtor arising under, derived from,
   secured by, based on, or related to the 10.625% PGNs or the 10.625% PGN Indenture.

           3.     “10.625% PGN Indenture” means that certain Indenture, dated as of February 26, 2015,
   among iHC, as the issuer, iHeart Capital I, as holdings, each of the Subsidiary Guarantors, the
   10.625% PGN Trustee, as trustee, paying agent, registrar, authentication agent, and transfer agent, and
   the 10.625% PGN Agent, as collateral agent, providing for the issuance of 10.625% PGNs, as amended,
   supplemented, or otherwise modified from time to time.




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           4.      “10.625% PGN Trustee” means U.S. Bank National Association, in its capacities as trustee,
   paying agent, registrar, authentication agent, and transfer agent under the 10.625% PGN Indenture, and any
   predecessors and successors in such capacities.

          5.        “10.625% PGNs” means the 10.625% priority guarantee notes due 2023, issued by iHC
   pursuant to the 10.625% PGN Indenture.

            6.      “11.25% PGN Agent” means Deutsche Bank Trust Company Americas, in its capacity as
   collateral agent under the 11.25% PGN Indenture, and any predecessors and successors in such capacity.

           7.      “11.25% PGN Claim” means any Claim against a Debtor arising under, derived from,
   secured by, based on, or related to the 11.25% PGNs or the 11.25% PGN Indenture.

           8.       “11.25% PGN Indenture” means that certain Indenture, dated as of February 28, 2013,
   among iHC, as the issuer, iHeart Capital I, as holdings, each of the Subsidiary Guarantors, the 11.25% PGN
   Trustee, as trustee, paying agent, registrar, authentication agent, and transfer agent, and the 11.25% PGN
   Agent, as collateral agent, providing for the issuance of 11.25% PGNs, as amended, supplemented, or
   otherwise modified from time to time.

           9.       “11.25% PGN Trustee” means UMB Bank, National Association, solely in its capacities
   as successor trustee, paying agent, registrar, authentication agent, and transfer agent under the 11.25% PGN
   Indenture, and any predecessors and successors in such capacities.

          10.       “11.25% PGNs” means the 11.25% priority guarantee notes due 2021, issued by iHC
   pursuant to the 11.25% PGN Indenture.

            11.      “1145 Securities” means, collectively, the New iHeart Common Stock (including New
   iHeart Common Stock issued upon exercise of the Special Warrants and New iHeart Class A Common
   Stock issued upon conversion of New iHeart Class B Common Stock), the Special Warrants, the New Debt
   (to the extent issued in the form of bonds), and the CCOH Interests distributed to Holders of Claims, as
   well as, if applicable, the beneficial interests in the FCC Trust and the shares of New iHeart Common Stock
   and/or Special Warrants to be issued to the holders of such beneficial interests after the FCC grants the FCC
   Long Form Applications.

           12.    “2021 Noteholder Group Representatives” shall have the meaning set forth in the
   Restructuring Support Agreement and shall additionally include Porter Hedges LLP, Quinn Emanuel
   Urquhart & Sullivan, LLP, and one special FCC counsel.

          13.     “2021 Notes” means the 14.000% senior notes due 2021, issued by iHC pursuant to the
   2021 Notes Indenture.

           14.     “2021 Notes Agent” means Deutsche Bank Trust Company Americas, in its capacities as
   paying agent, registrar, and transfer agent under the 2021 Notes Indenture, and any predecessors and
   successors in such capacities.

           15.     “2021 Notes Claim” means any Claim against a Debtor arising under, derived from,
   secured by, based on, or related to the 2021 Notes or the 2021 Notes Indenture.

           16.      “2021 Notes Indenture” means that certain Indenture, dated as of June 21, 2013, among
   iHC, as the issuer, iHeart Capital I, as holdings, each of the Subsidiary Guarantors, the 2021 Notes Trustee,



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   as trustee, and the 2021 Notes Agent, as paying agent, registrar, and transfer agent, providing for the
   issuance of the 2021 Notes, as amended, supplemented, or otherwise modified from time to time.

          17.     “2021 Notes Trustee” means Delaware Trust Company (as successor to Law Debenture
   Trust Company of New York), in its capacity as trustee under the 2021 Notes Indenture, and any
   predecessors and successors in such capacity.

           18.      “4(a)(2) Securities” means, collectively, the Radio NewCo Preferred Stock and the CCOH
   Preferred Stock, if issued in a Taxable Separation, and the New Debt, to the extent issued in the form of
   bonds in a third-party market financing.

           19.    “5.50% Legacy Notes” means the 5.50% senior notes due 2016, issued by iHC pursuant to
   the Legacy Notes Indenture.

           20.     “5.50% Legacy Notes Claim” means any Claim against a Debtor arising under, derived
   from, secured by, based on, or related to the 5.50% Legacy Notes.

           21.    “6.875% Legacy Notes” means the 6.875% senior notes due 2018, issued by iHC pursuant
   to the Legacy Notes Indenture.

           22.     “6.875% Legacy Notes Claim” means any Claim against a Debtor arising under, derived
   from, secured by, based on, or related to the 6.875% Legacy Notes.

          23.       “7.25% Legacy Notes” means the 7.25% debentures due October 15, 2027, issued by iHC
   pursuant to the Legacy Notes Indenture.

           24.     “7.25% Legacy Notes Claim” means any Claim against a Debtor arising under, derived
   from, secured by, based on, or related to the 7.25% Legacy Notes.

           25.      “9.0% PGN Due 2019 Agent” means Deutsche Bank Trust Company Americas, in its
   capacity as collateral agent under the 9.0% PGN Due 2019 Indenture, and any predecessors and successors
   in such capacity.

           26.     “9.0% PGN Due 2019 Claim” means any Claim against a Debtor arising under, derived
   from, secured by, based on, or related to the 9.0% PGNs Due 2019 or the 9.0% PGN Due 2019 Indenture.

          27.     “9.0% PGN Due 2019 Indenture” means that certain Indenture, dated as of October 25,
   2012, among iHC, as the issuer, iHeart Capital I, as holdings, each of the Subsidiary Guarantors, the 9.0%
   PGN Due 2019 Trustee, as trustee, paying agent, registrar, custodian, and transfer agent, and the 9.0% PGN
   Due 2019 Agent, as collateral agent, providing for the issuance of 9.0% PGNs Due 2019, as amended,
   supplemented, or otherwise modified from time to time.

           28.     “9.0% PGN Due 2019 Trustee” means, collectively, Wilmington Trust, National
   Association, in its capacities as successor trustee, paying agent, registrar, custodian, and transfer agent
   under the 9.0% PGN Due 2019 Indenture, and any predecessors and successors in such capacities.

          29.       “9.0% PGNs Due 2019” means the 9.0% priority guarantee notes due 2019, issued by iHC
   pursuant to the 9.0% PGN Due 2019 Indenture.




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           30.     “9.0% PGN Due 2021 Agent” means Deutsche Bank Trust Company Americas, in its
   capacities as collateral agent, paying agent, registrar, authentication agent, custodian, and transfer agent
   under the 9.0% PGN Due 2021 Indenture, and any predecessors and successors in such capacities.

           31.     “9.0% PGN Due 2021 Claim” means any Claim against a Debtor arising under, derived
   from, secured by, based on, or related to the 9.0% PGNs Due 2021 or the 9.0% PGN Due 2021 Indenture.

            32.     “9.0% PGN Due 2021 Indenture” means that certain Indenture, dated as of February 23,
   2011, among iHC, as the issuer, iHeart Capital I, as holdings, each of the Subsidiary Guarantors, the 9.0%
   PGN Due 2021 Trustee, as trustee, and the 9.0% PGN Due 2021 Agent, as collateral agent, paying agent,
   registrar, authentication agent, custodian, and transfer agent, providing for the issuance of 9.0% PGNs Due
   2021, as amended, supplemented, or otherwise modified from time to time.

           33.      “9.0% PGN Due 2021 Trustee” means BOKF, National Association, solely in its capacity
   as successor trustee under the 9.0% PGN Due 2021 Indenture, and any predecessors and successors in such
   capacity.

          34.       “9.0% PGNs Due 2021” means the 9.0% priority guarantee notes due 2021, issued by iHC
   pursuant to the 9.0% PGN Due 2021 Indenture.

           35.      “9.0% PGN Due 2022 Agent” means Deutsche Bank Trust Company Americas, in its
   capacity as collateral agent under the 9.0% PGN Due 2022 Indenture, and any predecessors and successors
   in such capacity.

           36.     “9.0% PGN Due 2022 Claim” means any Claim against a Debtor arising under, derived
   from, secured by, based on, or related to the 9.0% PGNs Due 2022 or the 9.0% PGN Due 2022 Indenture.

           37.     “9.0% PGN Due 2022 Indenture” means that certain Indenture, dated as of September 10,
   2014, among iHC, as the issuer, iHeart Capital I, as holdings, each of the Subsidiary Guarantors, the 9.0%
   PGN Due 2022 Trustee, as trustee, paying agent, registrar, authentication agent, custodian, and transfer
   agent, and the 9.0% PGN Due 2022 Agent, as collateral agent, providing for the issuance of 9.0% PGNs
   Due 2022, as amended supplemented, or otherwise modified from time to time.

           38.     “9.0% PGN Due 2022 Trustee” means Wilmington Trust, National Association, in its
   capacity as successor trustee, paying agent, registrar, authentication agent, custodian, and transfer agent
   under the 9.0% PGN Due 2022 Indenture, and any predecessors and successors in such capacities.

          39.       “9.0% PGNs Due 2022” means the 9.0% priority guarantee notes due 2022, issued by iHC
   pursuant to the 9.0% PGN Due 2022 Indenture.

            40.     “ABL Agent” means TPG Specialty Lending, Inc., in its capacity as administrative agent,
   for the benefit of itself and the other ABL Secured Parties that are party to the ABL Credit Agreement.

           41.     “ABL Credit Agreement” means that certain Credit Agreement, dated as of November 30,
   2017, by and between the ABL Agent, the other ABL Secured Parties, iHC as parent borrower, the several
   subsidiary borrowers thereto, and iHeart Capital I, as amended, restated, amended and restated,
   supplemented, or otherwise modified prior to the commencement of these Chapter 11 Cases.

            42.      “ABL Secured Parties” means the ABL Agent and those certain lenders and letter of credit
   issuers party to the ABL Credit Agreement.



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           43.      “Administrative Claim” means a Claim against a Debtor for the costs and expenses of
   administration of the Chapter 11 Cases arising on or prior to the Effective Date pursuant to sections 328,
   330, or 503(b) of the Bankruptcy Code and entitled to priority pursuant to sections 507(a)(2), 507(b),
   or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary costs and expenses incurred
   on or after the Petition Date until and including the Effective Date of preserving the Estates and operating
   the Debtors’ businesses; and (b) Allowed Professional Fee Claims.

          44.      “Administrative Claims Bar Date” means the deadline for Filing requests for payment of
   Administrative Claims (other than requests for payment of Professional Fee Claims and Administrative
   Claims arising under section 503(b)(9) of the Bankruptcy Code), which shall be 30 days after the Effective
   Date.

           45.      “Administrative Claims Objection Bar Date” means the deadline for filing objections to
   requests for payment of Administrative Claims (other than requests for payment of Professional Fee Claims
   and Claims arising under section 503(b)(9) of the Bankruptcy Code), which shall be the later of (a) 60 days
   after the Effective Date and (b) 60 days after the Filing of the applicable request for payment of an
   Administrative Claim; provided that the Administrative Claims Objection Bar Date may be extended by
   order of the Bankruptcy Court.

           46.     “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

            47.      “Allowed” means, with respect to any Claim against or Interest in a Debtor, except as
   otherwise provided in the Plan: (a) a Claim that is evidenced by a Proof of Claim or a request for payment
   of an Administrative Claim, as applicable, that is Filed on or before the applicable Claims Bar Date (or for
   which Claim under the Plan, the Bankruptcy Code, or pursuant to a Final Order, a Proof of Claim or request
   for payment of an Administrative Claim is not required to be Filed); (b) a Claim that is listed in the
   Schedules as not contingent, not unliquidated, and not disputed, and for which no contrary or superseding
   Proof of Claim, as applicable, has been timely Filed; or (c) a Claim or Interest allowed pursuant to the Plan
   or a Final Order of the Bankruptcy Court; provided that, with respect to a Claim described in clauses
   (a) and (b) above, such Claim shall be considered Allowed only if, and to the extent that, with respect to
   such Claim, no objection to the allowance thereof is interposed within the applicable period of time fixed
   by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or such an objection is
   so interposed and the Claim has been allowed by a Final Order. Except as otherwise specified in the Plan,
   any Final Order, or as otherwise agreed by the Debtors, and except for any Claim that is Secured by property
   of a value in excess of the principal amount of such Claims (as determined by Final Order of the Bankruptcy
   Court), the amount of an Allowed Claim shall not include interest or fees on such Claim accruing from and
   after the Petition Date. Except with respect to a Term Loan Credit Agreement Claim, a PGN Claim, a 2021
   Notes Claim, or a Legacy Notes Claim (none of which shall be subject to offset, recoupment, or reduction),
   for purposes of determining the amount of an Allowed Claim, there shall be deducted therefrom an amount
   equal to the amount of any Claim that the Debtors may hold against the Holder thereof, to the extent such
   Claim may be offset, recouped, or otherwise reduced under applicable law. Any Claim that has been or is
   hereafter listed in the Schedules as contingent, unliquidated, or disputed, and for which no Proof of Claim
   is or has been timely Filed, is not considered Allowed and shall be expunged without further action by the
   Debtors and without further notice to any party or action, approval, or order of the Bankruptcy Court.
   Except with respect to a Term Loan Credit Agreement Claim, a PGN Claim, the CCOH Due From Claim,
   a 2021 Notes Claim, or a Legacy Notes Claim (none of which shall be subject to section 502(d) of the
   Bankruptcy Code), notwithstanding anything to the contrary herein, no Claim of any Entity subject to
   section 502(d) of the Bankruptcy Code shall be deemed Allowed unless and until such Entity pays in full
   the amount that it owes the applicable Debtor or Reorganized Debtor, as applicable. For the avoidance of
   doubt: (x) any Proof of Claim or any request for payment of an Administrative Claim (other than requests
   for payment of Professional Fee Claims), that is Filed after the applicable Claims Bar Date shall not be

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   Allowed for any purposes whatsoever absent entry of a Final Order allowing such late-filed Claim and (y)
   the Debtors may affirmatively determine to deem Unimpaired Claims Allowed to the same extent such
   Claims would be allowed under applicable non-bankruptcy law. “Allow” and “Allowing” shall have
   correlative meanings.

           48.    “Assumed Executory Contract and Unexpired Lease List” means the list, as determined by
   the Debtors or the Reorganized Debtors, as applicable, of certain Executory Contracts and Unexpired
   Leases to be assumed by the Reorganized Debtors pursuant to the Plan, as the same may be amended,
   modified, or supplemented from time to time by the Debtors or Reorganized Debtors, as applicable, in
   accordance with the Plan, which list shall be included in the Plan Supplement.

            49.      “Avoidance Actions” means any and all actual or potential avoidance, recovery,
   subordination, or other Causes of Action or remedies that may be brought by or on behalf of the Debtors or
   their Estates or other authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy
   law, including Causes of Action or remedies under sections 502, 510, 542, 544, 545, 547–553, and 724(a)
   of the Bankruptcy Code or under other similar or related local, state, federal, or foreign statutes and common
   law, including fraudulent transfer laws.

            50.     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, and
   the rules and regulations promulgated thereunder, as applicable to the Chapter 11 Cases.

           51.      “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
   of Texas, Houston Division, or any other court having jurisdiction over the Chapter 11 Cases, including to
   the extent of the withdrawal of reference under section 157 of the Judicial Code, the United States District
   Court for the Southern District of Texas.

           52.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as applicable to the
   Chapter 11 Cases, promulgated by the United States Supreme Court under section 2075 of the Judicial Code
   and the general, local, and chambers rules of the Bankruptcy Court.

           53.     “Bar Date Order” means the Order (I) Setting Bar Dates for Filing Proofs of Claim,
   Including Requests for Payment Under Section 503(b)(9), (II) Establishing Amended Schedules Bar Date
   and Rejection Damages Bar Date, (III) Approving the Form and Manner for Filing Proofs of Claim,
   Including Section 503(b)(9) Requests, and (IV) Approving Notice of Bar Dates [Docket No. 743].

           54.     “Board Selection Committee” means the committee of seven Persons formed prior to the
   Effective Date, one of whom shall be appointed by the Consenting Sponsors and the remainder of whom
   shall be appointed by the Required Consenting Senior Creditors, with responsibility for interviewing and
   selecting non-management members of the Reorganized iHeart New Board and the board of directors of
   CCOH as set forth in Article IV.N of the Plan.

            55.    “Business Day” means any day, other than a Saturday, Sunday, or a “legal holiday”
   (as defined in Bankruptcy Rule 9006(a)).

           56.     “Cash” means the legal tender of the United States of America or the equivalent thereof,
   including bank deposits and checks.

           57.     “Cash Collateral Order” means the Final Order (I) Authorizing Postpetition Use of Cash
   Collateral and (II) Granting Adequate Protection to Prepetition Lenders Pursuant to 11 U.S.C. §§ 105,
   361, 362, 363, and 507, Bankruptcy Rules 2002, 4001, and 9014, and Local Bankruptcy Rules 4001-(b)
   and 4002-1 [Docket No. 452].

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            58.      “Causes of Action” means any action, claim, cross-claim, third-party claim, cause of action,
   controversy, demand, right, Lien, indemnity, interest, guaranty, suit, obligation, liability, debt, damage,
   remedy, judgment, account, defense, offset, power, privilege, license, or franchise of any kind or character
   whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, contingent
   or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed
   or undisputed, secured or unsecured, assertable directly or derivatively, whether arising before, on, or after
   the Petition Date, in contract or in tort, at law or in equity, or pursuant to any other theory of law or
   otherwise. For the avoidance of doubt, “Causes of Action” include: (a) any right of setoff, counterclaim,
   or recoupment and any claim for breach of contract or for breach of duties imposed by law or in equity;
   (b) any claim based on or relating to, or in any manner arising from, in whole or in part, tort, breach of
   contract, breach of fiduciary duty, violation of local, state, federal, or foreign law, or breach of any duty
   imposed by law or in equity, including securities laws, negligence, and gross negligence; (c) any right to
   object to or otherwise contest Claims or Interests; (d) any Claim pursuant to section 362 or chapter 5 of the
   Bankruptcy Code; (e) any claim or defense, including fraud, mistake, duress, usury, and any other defenses
   set forth in section 558 of the Bankruptcy Code; and (f) any Avoidance Action.

          59.      “CCH” means Clear Channel Holdings, Inc., a corporation incorporated under the laws of
   Nevada.

           60.     “CCOH” means Clear Channel Outdoor Holdings, Inc., a corporation incorporated under
   the laws of Delaware.

           61.     “CCOH Claim Objection” means the Objection of Wilmington Savings Fund Society, FSB,
   as Successor Indenture Trustee, to Proof of Claim No. 3833 [Docket No. 1681].

          62.     “CCOH Due From Claim” means any Claim held by CCOH against iHC, including any
   Claim arising under, derived from, secured by, based on, or related to the Intercompany Revolving
   Promissory Note.

           63.      “CCOH Interest” means any Interest in CCOH (or its successor), excluding the CCOH
   Preferred Stock.

          64.    “CCOH Litigation” means Norfolk County Retirement System v. Hendrix, C.A.
   No. 2017-0930-JRS in the Court of Chancery of the State of Delaware.

            65.      “CCOH Plan and Separation Settlement” means the settlement of potential Claims and
   Causes of Action amongst CCOH, GAMCO Asset Management, Inc., and the Debtors arising under certain
   intercompany arrangements identified in Article VII.P of the Disclosure Statement, the putative class action
   lawsuit currently pending in the Court of Chancery of the State of Delaware, captioned GAMCO Asset
   Management, Inc. v. Hendrix, et al., C.A. No. 2018-0633-JRS, and CCOH’s and GAMCO Asset
   Management, Inc.’s potential objections to Confirmation, as reflected in that certain Settlement Agreement
   among the Debtors, CCOH, the Sponsor Entities, the Delaware Individual Defendants, and the Settling
   Plaintiffs, dated as of December 16, 2018.

           66.     “CCOH Preferred Stock” means, if the Taxable Separation is effectuated pursuant to the
   terms and conditions set forth in Article IV.G, the new contingent-voting preferred stock of CCOH (or its
   successor) issued pursuant to the Preferred Stock Transactions.

           67.     “CCOH Separation” means the separation of CCOH (or its successor) and the Subsidiaries
   of CCOH (or its successor) from the Debtors in accordance with the Plan and the CCOH Plan and
   Separation Settlement.

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            68.     “CCOH Separation Documents” means all agreements, documents, and instruments
   evidencing, effectuating, or relating to the CCOH Separation and the CCOH Plan and Separation
   Settlement, to be delivered or entered into in connection therewith (including any settlement agreement,
   separation agreement, transition services agreement, tax matters agreement, merger agreement, and loan
   agreement, each of which may be included in the Plan Supplement, as well as any registration statement,
   information statement, shareholders agreement, and other documents), which shall be consistent with the
   terms of the CCOH Plan and Separation Settlement and otherwise in form and substance reasonably
   acceptable to the Required Consenting Senior Creditors, CCOH, the Debtors, and, (a) solely with respect
   to those terms and provisions that would have a material adverse effect on the value of the distributions to,
   or the releases under the Plan or the CCOH Plan and Separation Settlement in favor of (i) the Holders of
   2021 Notes Claims, the Required Consenting 2021 Noteholders and (ii) the Consenting Sponsors on
   account of their iHeart Interests, the Consenting Sponsors, and (b) solely with respect to those terms and
   provisions that would have a material adverse effect solely with respect to the consideration being
   distributed to the Holders of Legacy Notes Claims, the Consenting Legacy Noteholders.

           69.   “CCOH Transfer Agent” means Computershare Trust Company, in its capacity as transfer
   agent for CCOH’s existing Class A Common Stock and Class B Common Stock.

            70.      “Certificate” means any document, instrument, or other writing evidencing a Claim against
   or an Interest in the Debtors.

           71.     “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case
   pending for that Debtor in the Bankruptcy Court under chapter 11 of the Bankruptcy Code and (b) when
   used with reference to all Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors
   in the Bankruptcy Court under chapter 11 of the Bankruptcy Code pursuant to the Order (I) Directing Joint
   Administration of the Chapter 11 Cases and (II) Granting Related Relief [Docket No. 76].

           72.      “Claim” has the meaning set forth in section 101(5) of the Bankruptcy Code.

            73.      “Claims Bar Date” means, collectively, the applicable dates (including the Administrative
   Claims Bar Date) by which Proofs of Claim and requests for payment of Administrative Claims must be
   Filed, as established by: (a) the Bar Date Order; (b) a Final Order of the Bankruptcy Court; or (c) the Plan.

           74.     “Claims, Noticing, and Solicitation Agent” means Prime Clerk LLC, in its capacity as the
   claims, noticing, and solicitation agent in the Chapter 11 Cases for the Debtors and any successors
   appointed by an order of the Bankruptcy Court.

           75.     “Claims Register” means the official register of Claims against and Interests in the Debtors
   maintained by the Clerk of the Bankruptcy Court or the Claims, Noticing, and Solicitation Agent.

            76.     “Class” means a class of Claims against or Interests in the Debtors as set forth in Article III
   of the Plan in accordance with section 1122(a) of the Bankruptcy Code.

          77.     “Class B Election” means an affirmative election made by a Holder of an Allowed Term
   Loan Credit Agreement Claim, an Allowed PGN Claim, an Allowed iHC 2021 / Legacy Notes Claim, or
   an Allowed iHeart Interest on such Holder’s Ownership Certification to receive New iHeart Class B
   Common Stock in lieu of New iHeart Class A Common Stock.

           78.      “Committee” means the Official Committee of Unsecured Creditors appointed by the
   U.S. Trustee in the Chapter 11 Cases pursuant to section 1102(a) of the Bankruptcy Code, as it may be
   reconstituted from time to time.

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            79.    “Committee Plan Settlement” means the settlement of the Claims and Causes of Action
   identified in the Standing Motion, Disputed ABL Claims Objection, and the Committee’s potential
   objections to Confirmation.

           80.     “Communications Act” means chapter 5 of title 47 of the United States Code, 47 U.S.C.
   §§ 151–622, as now in effect or hereafter amended, or any other successor federal statute, and the rules and
   regulations promulgated thereunder.

           81.     “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the
   docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.

           82.     “Confirmation Date” means the date on which Confirmation occurs.

           83.     “Confirmation Hearing” means the hearing before the Bankruptcy Court pursuant to
   section 1128 of the Bankruptcy Code at which the Debtors will seek Confirmation of the Plan.

          84.       “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan
   pursuant to section 1129 of the Bankruptcy Code.

          85.      “Consenting Legacy Noteholders” means AG Super Fund Master, L.P.; Nutmeg Partners,
   L.P.; AG MM, L.P.; AG Centre Street Partners, L.P.; AG Capital Recovery Partners VIII, L.P.; AG
   Corporate Credit Opportunities Fund, L.P.; Angelo, Gordon & Co.; Kingdon Capital Management, L.L.C.;
   Kingdon Credit Master Fund L.P.; M. Kingdon Offshore Master Fund L.P.; KLS Diversified Asset
   Management L.P.; HG Vora Capital Management, LLC; HG Vora Special Opportunities Master Fund, Ltd.,
   and each current and former Affiliate and Related Party of each of the foregoing.

         86.       “Consenting Sponsors” shall have the meaning set forth in the Restructuring Support
   Agreement.

         87.       “Consenting Stakeholder” shall have the meaning set forth in the Restructuring Support
   Agreement.

           88.      “Consenting Stakeholder Fees” means: (a) the reasonable and documented fees and
   expenses incurred at any time on or prior to the Effective Date in connection with the Debtors by
   (i) members of the Term Loan/PGN Group, (ii) members of the Term Lender Group, (iii) the 2021
   Noteholder Group Representatives, (iv) the Consenting Sponsors, (v) the Term Loan Credit Agreement
   Agent, (vi) the PGN Trustees and Agents, (vii) the 2021 Notes Trustee, and (viii) the 2021 Notes Agent;
   and (b) $4.0 million payable to Wilmington Savings Fund Society, FSB, in its capacity as Legacy Notes
   Trustee for the issuance of the 6.875% Legacy Notes and 7.25% Legacy Notes, on account of its fees and
   expenses.

           89.     “Consummation” means the occurrence of the Effective Date.

           90.      “Contingent DIP Obligations” means all of the Debtors’ obligations under the DIP Credit
   Agreement Documents that are contingent and/or unliquidated (including, without limitation, those set forth
   in Section 10.04 and 10.05 of the DIP Credit Agreement), but excluding (i) DIP Claims that, as of or prior
   to the Effective Date, become either Repaid DIP Claims or Converted DIP Claims and (ii) DIP Claims as
   to which a claim has been asserted on or prior to the Effective Date.

           91.     “Continuing Liens” has the meaning set forth in Article II.C of the Plan.



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           92.      “Converted DIP Claims” has the meaning set forth in Article II.C of the Plan.

           93.     “Cure Claim” means a Claim (unless waived or modified by the applicable counterparty)
   based upon a Debtor’s default under an Executory Contract or an Unexpired Lease assumed by such Debtor
   under section 365 of the Bankruptcy Code, other than a default that is not required to be cured pursuant to
   section 365(b)(2) of the Bankruptcy Code.

           94.     “Debtor” means one of the Debtors, in its capacity as a debtor and debtor in possession.

             95.     “Debtors” means, collectively, (a) AMFM Broadcasting Licenses, LLC, (b) AMFM
   Broadcasting, Inc., (c) AMFM Operating, Inc., (d) AMFM Radio Licenses, LLC, (e) AMFM Texas
   Broadcasting, LP, (f) AMFM Texas Licenses, LLC, (g) AMFM Texas, LLC, (h) Capstar Radio Operating
   Company, (i) Capstar TX, LLC, (j) CC Broadcast Holdings, Inc., (k) CC Finco Holdings, LLC,
   (l) CC Licenses, LLC, (m) Christal Radio Sales, Inc., (n) Cine Guarantors II, Inc., (o) Citicasters Co.,
   (p) Citicasters Licenses, Inc., (q) Clear Channel Broadcasting Licenses, Inc., (r) Clear Channel Holdings,
   Inc., (s) Clear Channel Investments, Inc., (t) Clear Channel Metro, LLC, (u) Clear Channel Mexico
   Holdings, Inc., (v) Clear Channel Real Estate, LLC, (w) Critical Mass Media, Inc., (x) iHC,
   (y) iHeartMedia + Entertainment, Inc., (z) iHeart Capital I, (aa) iHeartMedia Capital II, LLC, (bb) iHeart,
   (cc) iHeartMedia Management Services, Inc., (dd) iHM Identity, Inc., (ee) Katz Communications, Inc.,
   (ff) Katz Media Group, Inc., (gg) Katz Millennium Sales & Marketing, Inc., (hh) Katz Net Radio Sales,
   Inc., (ii) M Street Corporation, (jj) Premiere Networks, Inc., (kk) Terrestrial RF Licensing, Inc., (ll) TTWN
   Media Networks, LLC, and (mm) TTWN Networks, LLC, each in its respective capacity as a debtor and
   debtor in possession in the Chapter 11 Cases.

           96.     “Declaratory Ruling” means a declaratory ruling adopted by the FCC granting the relief
   requested in a Petition for Declaratory Ruling.

           97.   “DIP Agent” means Citibank, N.A., in its capacity as administrative agent under the DIP
   Credit Agreement, and any successors in such capacity.

           98.     “DIP Claim” means any Claim against a Debtor arising under, derived from, secured by,
   based on, or related to the DIP Credit Agreement Documents, including, but not limited to, any and all
   principal amounts outstanding, fees, expenses, costs, other charges and accrued but unpaid interest arising
   under the DIP Credit Agreement.

           99.     “DIP Credit Agreement” means that certain Superpriority Secured Debtor-In-Possession
   Credit Agreement, dated as of June 14, 2018, among iHC, the DIP Subsidiary Borrowers, iHeart Capital I,
   the DIP Agent, as administrative agent, Citigroup Global Markets Inc., Deutsche Bank Securities Inc.,
   Goldman Sachs Bank USA, PNC Capital Markets LLC, and RBC Capital Markets, as lead arrangers, and
   the other lenders and L/C issuers party thereto, as amended, amended and restated, supplemented, or
   otherwise modified from time to time.

           100.    “DIP Credit Agreement Documents” means the DIP Credit Agreement and all other
   agreements, documents, instruments, and amendments related thereto, including the DIP Order and any
   guaranty agreements, pledge and collateral agreements, UCC financing statements or other perfection
   documents, intercreditor agreements, subordination agreements, fee letters, and other security agreements.

           101.    “DIP Facilities” means those certain debtor-in-possession financing facilities governed by
   the DIP Credit Agreement Documents.

           102.    “DIP Lenders” has the meaning set forth in the DIP Order.

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           103.    “DIP Order” means the Order (I) Authorizing Debtors to Obtain Postpetition Financing
   Pursuant to 11 U.S.C. §§ 105, 362, 363(b), 364(c)(1) and 364(e), (II) Granting Adequate Protection to
   Prepetition Secured Parties Pursuant to 11 U.S.C. §§ 361, 362, 363, 364 and 507(b) and (III) Authorizing
   Debtors to Obtain Exit Financing [Docket No. 918].

            104.    “DIP Subsidiary Borrowers” means, collectively, (a) AMFM Broadcasting, Inc.,
   (b) AMFM Texas Broadcasting, LP, (c) Capstar Radio Operating Company, (d) Christal Radio Sales, Inc.,
   (d) Citicasters Co., (e) iHeartMedia + Entertainment, Inc., (f) Katz Communications, Inc., (g) Katz
   Millennium Sales & Marketing, Inc., (h) Premiere Networks, Inc., and (i) any additional borrowers made
   party to the DIP Credit Agreement pursuant to Section 6.11 thereof or otherwise.

           105.     “Disclosure Statement” means the Disclosure Statement Relating to the Fourth Amended
   Joint Chapter 11 Plan of Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to
   Chapter 11 of the Bankruptcy Code [Docket No. 1484], approved by the Bankruptcy Court on September
   20, 2018, as supplemented by the Disclosure Statement Supplement for the Fifth Amended Joint Chapter
   11 Plan of Reorganization of iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
   Bankruptcy Code [Docket No. 1633], as may be amended, supplemented, or otherwise modified from time
   to time, including all exhibits and schedules thereto and references therein that relate to the Plan, that is
   prepared and distributed in accordance with the Bankruptcy Code, the Bankruptcy Rules, and any other
   applicable law and approved by the Bankruptcy Court pursuant to section 1125 of the Bankruptcy Code.

            106.    “Disclosure Statement Order” means the Order (I) Approving the Adequacy of the
   Disclosure Statement, (II) Approving the Solicitation and Notice Procedures With Respect to Confirmation
   of the Debtors’ Proposed Joint Plan of Reorganization, (III) Approving the Forms of Ballots and Notices
   in Connection Therewith, (IV) Scheduling Certain Dates With Respect Thereto, and (V) Granting Related
   Relief [Docket No. 1481], entered by the Bankruptcy Court on September 20, 2018, as supplemented by
   the Order (I) Approving the Debtors’ Continued Solicitation of the Fifth Amended Plan and the Adequacy
   of the Supplemental Disclosure in Connection Therewith, (II) Modifying Certain Deadlines and Procedures
   in Connection With Plan Confirmation and Shortening Notice With Respect Thereto, (III) Approving the
   Form of Ballots in Connection Therewith, and (IV) Granting Related Relief [Docket No. 1631], entered by
   the Bankruptcy Court on October 18, 2018, approving, among other things, the Disclosure Statement and
   solicitation procedures with respect to the Plan.

            107.     “Disputed” means a Claim or an Interest or any portion thereof: (a) that is not Allowed;
   and (b) that is not disallowed under the Plan, the Bankruptcy Code, or a Final Order.

          108.   “Disputed ABL Claims Objection” means the Objection of the Official Committee of
   Unsecured Creditors to the ABL Disputed Amounts [Docket No. 1056] filed by the Committee on July 6,
   2018.

            109.    “Distribution Agent” means, as applicable, the Reorganized Debtors or any Entity or
   Entities designated by the Reorganized Debtors to make or to facilitate distributions that are to be made
   pursuant to the Plan.

           110.     “Distribution Date” means, except as otherwise set forth herein, the date or dates
   determined by the Reorganized Debtors, on or after the Effective Date, upon which the Distribution Agent
   shall make distributions to Holders of Allowed Claims entitled to receive distributions under the Plan.

           111.    “Distribution Record Date” means, other than with respect to Securities of the Debtors
   deposited with DTC, the record date for purposes of determining which Holders of Allowed Claims against
   or Allowed Interests in the Debtors are eligible to receive distributions under the Plan, which date shall be

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   the Confirmation Date, or such other date as is agreed to by the Debtors and the Required Consenting Senior
   Creditors or designated in a Final Order of the Bankruptcy Court. The Distribution Record Date shall not
   apply to Securities of the Debtors deposited with DTC, the holders of which shall receive a distribution in
   accordance with Article VI of the Plan and, as applicable, the customary procedures of DTC.

            112.    “D&O Liability Insurance Policies” means all insurance policies that have been issued (or
   provide coverage) at any time to directors’, managers’, officers’, members’, and trustees’ liability
   maintained by the Debtors, the Reorganized Debtors, or the Estates as of the Effective Date (including any
   “tail policy”) and all agreements, documents, or instruments relating thereto.

           113.    “DTC” means The Depository Trust Company.

           114.     “Effective Date” means the date that is the first Business Day after the Confirmation Date
   on which (a) all conditions precedent to the occurrence of the Effective Date set forth in Article IX.A of the
   Plan have been satisfied or waived in accordance with Article IX.B of the Plan, (b) no stay of the
   Confirmation Order is in effect, and (c) the Debtors declare the Plan effective. Any action to be taken on
   the Effective Date may be taken on or as soon as reasonably practicable thereafter.

           115.    “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

           116.   “Equitable Subordination Adversary Proceeding” means the adversary proceeding
   captioned Wilmington Savings Fund Society, FSB v. Bain Capital, LP, et al., Adv. Proc. No. 18-03287.

          117.    “Equity Allocation Mechanism” means the methodology for allocating the New iHeart
   Common Stock and Special Warrants among the Holders of Allowed Term Loan Credit Agreement Claims,
   Allowed PGN Claims, Allowed iHC 2021 / Legacy Notes Claims, and Allowed iHeart Interests set forth
   on Exhibit A to the Plan.

            118.    “Estate” means, as to each Debtor, the estate created on the Petition Date for the Debtor in
   its Chapter 11 Case pursuant to sections 301 and 541 of the Bankruptcy Code and all property (as defined
   in section 541 of the Bankruptcy Code) acquired by the Debtor after the Petition Date through and including
   the Effective Date.

           119.    “Excess Cash” means all excess cash estimated after payment of, among other things, all
   Restructuring Transaction costs and, after consideration of a reserve for minimum liquidity for Reorganized
   iHeart, which reserve shall be in an amount agreed upon between the Debtors and the Required Consenting
   Senior Creditors by the date of the entry of the Disclosure Statement Order.

         120.   “Exchange 11.25% PGNs” means the 11.25% PGNs bearing CUSIP Nos. 45174HAF4,
   45174HAG2, 45174HAZ0, 45174HBA4, 45174HBB2, and U45057AC7.

          121.     “Exchange 11.25% PGNs Distribution” means, collectively, the Exchange 11.25% PGNs
   Equity Distribution and the Exchange 11.25% PGNs Non-Equity Distribution.

            122.     “Exchange 11.25% PGNs Equity Distribution” means Special Warrants, New iHeart
   Common Stock, or a combination of Special Warrants and New iHeart Common Stock, as determined in
   accordance with the Equity Allocation Mechanism, constituting, in the aggregate (and inclusive of the
   shares of New iHeart Common Stock that may be received by Holders of Exchange 11.25% PGN Claims
   upon the exercise of the Special Warrants (if any) received as part of this Exchange 11.25% PGNs Equity
   Distribution), 2.07 percent of the New iHeart Common Stock on a fully diluted basis (but excluding and
   subject to dilution on account of the Post-Emergence Equity Incentive Program).

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           123.   “Exchange 11.25% PGNs Non-Equity Distribution” means $122,169,057 in aggregate
   principal amount of the New Debt, allocated proportionally by principal amount among New Term Loans,
   New Secured Notes, and New Unsecured Notes.

            124.    “Exchange 11.25% PGN Claims” means any Claim against a Debtor arising under, derived
   from, secured by, based on, or related to the Exchange 11.25% PGNs or the 11.25% PGN Indenture as it
   relates to the Exchange 11.25% PGNs.

            125.     “Exculpated Party” means, collectively, and in each case in its capacity as such: (a) each
   of the Debtors; (b) each of the Reorganized Debtors; (c) the Committee and the members of the Committee,
   solely in their capacities as members of the Committee, (d) each current and former Affiliate of each Entity
   in clauses (a) through (c); and (e) each Related Party of each Entity in clauses (a) through (d).

            126.     “Executory Contract” means a contract to which one or more of the Debtors is a party that
   is subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

            127.    “FCC” means the Federal Communications Commission, including any official bureau or
   division thereof acting on delegated authority, and any successor Governmental Unit performing functions
   similar to those performed by the Federal Communications Commission on the Effective Date.

           128.     “FCC Applications” means, collectively, each requisite application, petition, or other
   request filed or to be filed with the FCC in connection with the Restructuring Transactions or this Plan,
   including the FCC Long Form Applications.

           129.     “FCC Approval” means the FCC’s grant of (a) the FCC Long Form Applications or
   (b) consent to the implementation of the FCC Trust pending the grant of the FCC Long Form Applications,
   whichever comes first; provided that the possibility that an appeal, request for stay, or petition for rehearing
   or review by a court or administrative agency may be filed with respect to such grant, or that the FCC may
   reconsider or review such grant on its own authority, shall not prevent such grant from constituting FCC
   Approval for purposes of the Plan.

           130.     “FCC Licenses” means broadcasting and other licenses, authorizations, waivers, and
   permits that are issued from time to time by the FCC.

           131.    “FCC Long Form Applications” means the applications filed with the FCC seeking FCC
   consent to the Transfer of Control.

          132.     “FCC Ownership Procedures Order” means the Order Establishing Procedures for
   Compliance with FCC Media and Foreign Ownership Requirements [Docket No. 1480], entered by the
   Bankruptcy Court on September 20, 2018, establishing procedures for, among other things, completion and
   submission of the Ownership Certifications.

            133.    “FCC Trust” means the trust or other entity acceptable to the FCC, which will remain
   subject to the supervision of the Bankruptcy Court, that may be created on or before the Effective Date into
   which the New iHeart Common Stock and/or Special Warrants will be issued if the FCC Trust is utilized
   as described in the Plan.

            134.    “FCC Trust Agreement” means the trust agreement that will, if the FCC Trust is to be
   utilized as described in the Plan, among other things: (a) establish and govern the FCC Trust; and (b) set
   forth the respective powers, duties, and responsibilities of the FCC Trustees, the form of which shall be
   included in the Plan Supplement, and which shall be in form and substance reasonably acceptable to the

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   Debtors, the Required Consenting Senior Creditors, and, (x) solely with respect to the those terms and
   provisions that would have a material adverse effect on the value of the distribution to (i) the Holders of
   2021 Notes Claims, the Required Consenting 2021 Noteholders and (ii) the Consenting Sponsors on
   account of their iHeart Interests, the Consenting Sponsors, and (y) solely with respect to those terms and
   provisions that would have a material adverse effect solely with respect to the consideration being
   distributed to the Holders of Legacy Notes Claims, the Consenting Legacy Noteholders.

           135.    “FCC Trustees” means those Persons, including the members of the existing board of
   directors of iHeart, and such other Persons designated to manage the FCC Trust. The FCC Trustees shall
   be the fiduciaries responsible for implementing the applicable provisions of the Plan relating to the
   FCC Trust in accordance with the FCC Trust Agreement. If the New iHeart Common Stock is issued to the
   FCC Trust, the Reorganized iHeart New Board shall consist of the same individuals as the FCC Trustees
   during the period that the New iHeart Common Stock is held by the FCC Trust.

            136.    “Federal Judgment Rate” means the federal judgment interest rate in effect as of the
   Petition Date calculated as set forth in section 1961 of the Judicial Code.

            137.     “File,” “Filed,” or “Filing” means file, filed, or filing in the Chapter 11 Cases with the
   Bankruptcy Court or its authorized designee, or, with respect to the filing of a Proof of Claim or Proof of
   Interest, the Claims, Noticing, and Solicitation Agent.

           138.     “Final Decree” means the decree contemplated under Bankruptcy Rule 3022.

            139.      “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court or other
   court of competent jurisdiction with respect to the relevant subject matter that has not been reversed, stayed,
   modified, or amended, and as to which the time to appeal, petition for certiorari, or move for a new trial,
   reargument, reconsideration, or rehearing has expired and no appeal, petition for certiorari, or motion for a
   new trial, reargument, reconsideration, or rehearing has been timely taken or filed, or as to which any appeal
   that has been or may be taken or any petition for certiorari or any motion for a new trial, reargument,
   reconsideration, or rehearing that has been or may be made or filed has been resolved by the highest court
   to which the order or judgment could be appealed or from which certiorari could be sought or the motion
   for a new trial, reargument, reconsideration, or rehearing shall have been denied, resulted in no modification
   of such order (if any such motion has been or may be granted), or have otherwise been dismissed with
   prejudice; provided that the possibility that a motion under rule 60 of the Federal Rules of Civil Procedure
   or any comparable Bankruptcy Rule may be filed relating to such order or judgment shall not cause such
   order or judgment to not be a Final Order.

            140.    “General Unsecured Claim” means any Claim against a Debtor that is not Secured and is
   not (a) an Administrative Claim, (b) a Priority Tax Claim, (c) a Priority Non-Tax Claim, (d) a DIP Claim
   (e) a Term Loan Credit Agreement Claim, (f) a PGN Claim, (g) a 2021 Notes Claim, (h) a Legacy Notes
   Claim, (i) a CCOH Due From Claim, (j) an Intercompany Claim, (k) an Intercompany Notes Claim, or
   (l) a Section 510(b) Claim.

           141.     “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

            142.   “Guarantor Debtors” means, collectively, (a) the Debtors that are Subsidiary Guarantors
   and (b) iHeart Capital I.

          143.    “Guarantor General Unsecured Claim” means any General Unsecured Claim against a
   Guarantor Debtor that is not a TTWN Debtor.


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          144.    “Guarantor General Unsecured Recovery Cash Pool” means Cash in the amount equal to
   $17,500,000, minus the Guarantor General Unsecured Recovery Cash Pool Reduction (if any), plus the
   Guarantor General Unsecured Recovery Cash Pool Supplement (if any).

           145.    “Guarantor General Unsecured Recovery Cash Pool Account” means a segregated account
   to be funded on or prior to the Effective Date in accordance with Article IV.Y.

           146.     “Guarantor General Unsecured Recovery Cash Pool Reduction” means an amount (which
   shall not be less than zero) equal to (i) the aggregate amount of (a) Allowed General Unsecured Claims
   against Non-Obligor Debtors plus (b) Allowed General Unsecured Claims against the TTWN Debtors,
   minus (ii) $2,300,000.

            147.   “Guarantor General Unsecured Recovery Cash Pool Supplement” means, in the event that
   Holders of Allowed Guarantor General Unsecured Claims would receive a recovery of less than 50 percent
   on account of such Claims (without taking into account the Guarantor Unsecured Recovery Cash Pool
   Supplement), an amount (which shall not be less than zero) equal to 50 percent of the amount that would
   otherwise be necessary to provide Holders of Allowed Guarantor General Unsecured Claims with a
   recovery of 50 percent on account of such Claims (the “Additional True-Up Cash”); provided that to the
   extent the amount of the Additional True-Up Cash is insufficient to provide Holders of Allowed Guarantor
   General Unsecured Claims with a recovery of 45 percent on account of such Claims, the Additional True-
   Up Cash shall be increased by the amount of Cash necessary to provide such Holders with a recovery of 45
   percent on account of such Claims.

            148.   “Guarantor Funded Debt Unsecured Claim” means any Claim against a Guarantor Debtor
   that is not a TTWN Debtor that is a (a) Term Loan / PGN Deficiency Claim or (b) 2021 Notes Claim.

           149.    “Holder” means an Entity holding a Claim against or an Interest in any Debtor.

           150.    “iHC” means iHeartCommunications, Inc., a corporation incorporated under the laws of
   Texas, formerly known as Clear Channel Communications, Inc.

          151.     “iHC 2021 / Legacy Notes Claim” means any Claim against iHC that is a (a) 2021 Notes
   Claim or (b) Legacy Notes Claim.

            152.     “iHC 2021 / Legacy Notes Equity Distribution” means Special Warrants, New iHeart
   Common Stock, or a combination of Special Warrants and New iHeart Common Stock, as determined in
   accordance with the Equity Allocation Mechanism, constituting, in the aggregate (and inclusive of the
   shares of New iHeart Common Stock that may be received by Holders of iHC 2021 / Legacy Notes Claims
   upon the exercise of the Special Warrants (if any) received as part of this iHC 2021 / Legacy Notes Equity
   Distribution), 5.0 percent of the New iHeart Common Stock on a fully diluted basis (but excluding and
   subject to dilution on account of the Post-Emergence Equity Incentive Program).

           153.   “iHC Unsecured Claim” means any Claim against iHC that is a (a) Term Loan / PGN
   Deficiency Claim or (b) General Unsecured Claim.

           154.  “iHeart” means iHeartMedia, Inc., a corporation incorporated under the laws of Delaware,
   formerly known as CC Media Holdings, Inc.

          155.     “iHeart Capital I” means iHeartMedia Capital I, LLC, a company organized under the laws
   of Delaware, formerly known as Clear Channel Capital I, LLC.


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           156.     “iHeart Interest” means any issued and outstanding common stock in iHeart.

           157.    “iHeart Interests Equity Distribution” means Special Warrants, New iHeart Common
   Stock, or a combination of Special Warrants and New iHeart Common Stock, as determined in accordance
   with the Equity Allocation Mechanism, constituting, in the aggregate (and inclusive of the shares of New
   iHeart Common Stock that may be received by Holders of iHeart Interests upon the exercise of the Special
   Warrants (if any) received as part of the iHeart Interests Equity Distribution), 1.0 percent of the New iHeart
   Common Stock on a fully diluted basis (but excluding and subject to dilution on account of the
   Post-Emergence Equity Incentive Program).

           158.     “iHeart Transfer Agent” means Computershare Trust Company, in its capacity as transfer
   agent for iHeart’s existing Class A Common Stock and Class B Common Stock.

            159.      “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims or
   Interests that is impaired within the meaning of section 1124 of the Bankruptcy Code.

            160.    “Indemnification Provisions” means the provisions in place before or as of the Effective
   Date, whether in a Debtor’s bylaws, certificates of incorporation, limited liability company agreement,
   partnership agreement, management agreement, other formation or organizational document, board
   resolution, indemnification agreement, contract, or otherwise providing the basis for any obligation of a
   Debtor as of the Effective Date to indemnify, defend, reimburse, or limit the liability of, or to advance fees
   and expenses to, any of the Debtors’ current and former directors, equityholders, managers, officers,
   members, employees, attorneys, accountants, investment bankers, and other professionals, and each such
   Entity’s respective affiliates, as applicable.

           161.     “Insider” has the meaning set forth in section 101(31) of the Bankruptcy Code.

            162.     “Intercompany Claim” means any Claim against a Debtor that is held by another Debtor or
   a direct or indirect subsidiary of a Debtor, other than a PGN Claim, 2021 Notes Claim, Legacy Notes Claim,
   Term Loan Credit Agreement Claim, or CCOH Due From Claim.

            163.    “Intercompany Interest” means any Interest in one Debtor held by another Debtor or an
   Affiliate of a Debtor, other than an iHeart Interest.

           164.     “Intercompany Notes Claim” means any PGN Claim, 2021 Notes Claim, or Legacy Notes
   Claim that is held by a Debtor.

            165.   “Intercompany Revolving Promissory Note” means that certain Revolving Promissory
   Note, dated November 10, 2005, between iHC, as maker, and CCOH, as payee, as amended, amended and
   restated, supplemented, or otherwise modified from time to time.

            166.     “Interest” means any equity security as such term is defined in section 101(16) of the
   Bankruptcy Code, including all issued, unissued, authorized, or outstanding shares of capital stock and any
   other common stock, preferred stock, limited liability company interests, and any other equity, ownership,
   or profit interests of an Entity, including all options, warrants, rights, stock appreciation rights, phantom
   stock rights, restricted stock units, redemption rights, repurchase rights, convertible, exercisable, or
   exchangeable securities, or other agreements, arrangements, or commitments of any character relating to,
   or whose value is related to, any such interest or other ownership interest in an Entity whether or not arising
   under or in connection with any employment agreement and whether or not certificated, transferable,
   preferred, common, voting, or denominated “stock” or a similar security.


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            167.    “Interim Compensation Order” means the Order Establishing Procedures for Interim
   Compensation and Reimbursement of Expenses for Professionals [Docket No. 442], entered by the
   Bankruptcy Court on April 12, 2018, as the same may be modified by a Bankruptcy Court order approving
   the retention of a specific Professional or otherwise.

           168.    “Issuance Date” means (a) the Effective Date or (b) if the FCC Trust is utilized as
   described in the Plan, the date of any issuance of New iHeart Common Stock or Special Warrants to the
   holders of beneficial interests in the FCC Trust.

           169.     “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001 and the
   rules and regulations promulgated thereunder, as applicable to the Chapter 11 Cases.

           170.   “Legacy Notes” means, collectively, the 6.875% Legacy Notes, the 5.50% Legacy Notes,
   and the 7.25% Legacy Notes.

          171.   “Legacy Notes Claim” means any Claim that is a (a) 5.50% Legacy Notes Claim, (b)
   6.875% Legacy Notes Claim, or (c) 7.25% Legacy Notes Claim.

           172.     “Legacy Notes Indenture” means that certain Senior Indenture, dated as of October 1, 1997,
   between iHC and the Legacy Notes Trustee, as trustee, providing for the issuance of securities in series
   (including the issuance of the 7.25% Legacy Notes), as amended, supplemented, or otherwise modified
   from time to time, including by (a) that certain Third Supplemental Indenture, dated as of June 16, 1998,
   between iHC and the Legacy Notes Trustee, as trustee, providing for the issuance of the 6.875% Legacy
   Notes and (b) that certain Nineteenth Supplemental Indenture, dated as of December 16, 2004, between
   iHC and the Legacy Notes Trustee, as trustee, providing for the issuance of the 5.50% Legacy Notes.

            173.    “Legacy Notes Plan Settlement” means the settlement of the Claims and Causes of Action
   identified in the Springing Lien Adversary Proceeding, Equitable Subordination Adversary Proceeding,
   CCOH Claim Objection, Standing Motion Joinder, and Prepetition Springing Lien Litigation and the
   Legacy Notes Trustee’s objections to the Plan and Confirmation, the terms of which settlement are reflected
   in the Legacy Notes Settlement Term Sheet annexed to the Notice of Filing of Legacy Notes Settlement
   Term Sheet [Docket No. 2476].

           174.     “Legacy Notes Trustee” means Wilmington Savings Fund Society, FSB, and The Bank of
   New York Mellon, in their capacities as trustee or as successor trustee under the Legacy Notes Indenture,
   as applicable, and any predecessors and successors in such capacity.

           175.    “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

            176.     “New ABL Credit Agreement” means either (i) the Exit Facility Agreement, as defined in
   the DIP Credit Agreement, which shall be in form and substance consistent with the requirements set forth
   in the New ABL Credit Agreement Term Sheet or (ii) a new Credit Agreement among iHC, the DIP
   Subsidiary Borrowers, iHeart Capital I, the New ABL Credit Agreement Agent, and the New ABL Credit
   Agreement Lenders party thereto, to be effective on the Effective Date, the proceeds of which shall be used
   to pay in full in Cash all DIP Claims. The form of the New ABL Credit Agreement shall be included in the
   Plan Supplement and shall be in form and substance reasonably acceptable to the Required Consenting
   Senior Creditors, the Debtors, and, solely with respect to those terms and provisions that would have a
   material adverse effect on the value of the distributions to the Holders of 2021 Notes Claims, the Required
   Consenting 2021 Noteholders, and, solely with respect to those terms and provisions that would have a
   material adverse effect solely with respect to the consideration being distributed to the Holders of Legacy
   Notes Claims, the Consenting Legacy Noteholders.

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           177.  “New ABL Credit Agreement Agent” means the administrative agent under the New ABL
   Credit Agreement, and any successors thereto in such capacity.

            178.   “New ABL Credit Agreement Documents” means, collectively, the New ABL Credit
   Agreement and all other agreements, documents, and instruments related thereto, including any guarantee
   agreements, pledge and collateral agreements, notes, UCC financing statements or other perfection
   documents, intercreditor agreements, subordination agreements, fee letters, and other security documents
   or instruments, which shall be in form and substance reasonably acceptable to the Required Consenting
   Senior Creditors, the Debtors, and, solely with respect to those terms and provisions that would have a
   material adverse effect on the value of the distributions to the Holders of 2021 Notes Claims, the Required
   Consenting 2021 Noteholders, and, solely with respect to those terms and provisions that would have a
   material adverse effect solely with respect to the consideration being distributed to the Holders of Legacy
   Notes Claims, the Consenting Legacy Noteholders. If the New ABL Credit Agreement governs Converted
   DIP Claims, the New ABL Credit Agreement Documents shall be consistent with the requirements set forth
   in the New ABL Credit Agreement Term Sheet.

           179.  “New ABL Credit Agreement Lenders” means each of the lenders under the New ABL
   Credit Agreement, solely in their capacity as such.

           180.    “New ABL Credit Agreement Term Sheet” means the Exit Facility Term Sheet, as defined
   in the DIP Credit Agreement.

           181.   “New ABL Indebtedness” means all indebtedness, guarantees, or other obligations arising
   under the New ABL Credit Agreement Documents.

            182.    “New Boards” means, collectively, the boards of directors or managers of Reorganized
   iHeart and any other Reorganized Debtor, if applicable, on and after the Issuance Date to be appointed in
   accordance with the Plan, the initial board members of which shall be identified, to the extent known, at or
   prior to the Confirmation Hearing.

           183.    “New CCOH Corporate Governance Documents” means the documents providing for
   corporate governance of CCOH upon the CCOH Separation, including charters, certificates of
   incorporation, bylaws, operating agreements, or other organizational documents, formation documents, or
   shareholders’ agreements, as applicable, which shall be consistent with the terms of the CCOH Plan and
   Separation Settlement and otherwise in form and substance reasonably acceptable to the Required
   Consenting Senior Creditors, the Debtors, and CCOH.

            184.     “New Corporate Governance Documents” means the documents providing for corporate
   governance of the Reorganized Debtors, including charters, certificates of incorporation, bylaws, operating
   agreements, or other organizational documents, formation documents, or shareholders’ agreements, as
   applicable, consistent with section 1123(a)(6) of the Bankruptcy Code (as applicable), which shall be in
   form and substance reasonably acceptable to the Required Consenting Senior Creditors, the Debtors, and,
   (a) solely with respect to those terms and provisions that would have a material adverse effect on the value
   of the distributions to (i) the Holders of 2021 Notes Claims, the Required Consenting 2021 Noteholders,
   and (ii) the Consenting Sponsors on account of their iHeart Interests, the Consenting Sponsors, and
   (b) solely with respect to those terms and provisions that would have a material adverse effect solely with
   respect to the consideration being distributed to the Holders of Legacy Notes Claims, the Consenting
   Legacy Noteholders, and forms of which may be included in the Plan Supplement.




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          185.   “New Debt” means the $5,750,000,000 in principal amount of new debt comprised of New
   Term Loans, New Secured Notes, and New Unsecured Notes to be issued pursuant to the Plan and the New
   Debt Documents.

           186.    “New Debt Agreements” means the indentures or loan agreements governing the New Debt,
   the form of which shall be included in the Plan Supplement, and which shall be in form and substance
   reasonably acceptable to the Required Consenting Senior Creditors and the Debtors, following consultation
   with the Required Consenting 2021 Noteholders; and provided further that (a) any terms and provisions
   that would have a material adverse effect on the value of the distributions to (i) the Holders of 2021 Notes
   Claims shall require the consent of the Required Consenting 2021 Noteholders and (ii) the Consenting
   Sponsors on account of their iHeart Interests shall require the consent of the Consenting Sponsors, and
   (b) any terms and provisions that would have a material adverse effect solely with respect to the
   consideration being distributed to the Holders of Legacy Notes Claims shall require the consent of the
   Consenting Legacy Noteholders.

            187.    “New Debt Documents” means, collectively, the New Debt Agreements, and all other
   agreements, documents, and instruments evidencing or securing the New Debt, to be delivered or entered
   into in connection therewith (including any guarantee agreements, pledge and collateral agreements,
   intercreditor agreements, subordination agreements, fee letters, and other security documents), which shall
   be in form and substance reasonably acceptable to the Required Consenting Senior Creditors and the
   Debtors, following consultation with the Required Consenting 2021 Noteholders; and provided further that
   (a) any terms and provisions that would have a material adverse effect on the value of the distributions to
   (i) the Holders of 2021 Notes Claims shall require the consent of the Required Consenting 2021
   Noteholders and (ii) the Consenting Sponsors on account of their iHeart Interests shall require the consent
   of the Consenting Sponsors, and (b) any terms and provisions that would have a material adverse effect
   solely with respect to the consideration being distributed to the Holders of Legacy Notes Claims shall
   require the consent of the Consenting Legacy Noteholders.

           188.   “New iHeart Class A Common Stock” means the new shares of class A common stock in
   Reorganized iHeart, par value $0.001 per share, to be issued on the Effective Date or upon exercise of the
   Special Warrants, as applicable, pursuant to the terms of the Plan, the Equity Allocation Mechanism, the
   New Corporate Governance Documents, and the Special Warrant Agreement.

            189.    “New iHeart Class B Common Stock” means the new shares of limited-voting class B
   common stock in Reorganized iHeart, par value $0.001 per share, to be issued on the Effective Date or
   upon exercise of the Special Warrants, as applicable, pursuant to the terms of the Plan, the Equity Allocation
   Mechanism, the New Corporate Governance Documents, and the Special Warrant Agreement. The terms
   of the New iHeart Class B Common Stock will provide that any share of New iHeart Class B Common
   Stock may be converted, at the election of the Holder of such share, into New iHeart Class A Common
   Stock on a one-for-one basis (subject to adjustments for stock splits, combinations, dividends, or
   distributions with respect to the New iHeart Class A Common Stock), subject to (a) a determination by
   Reorganized iHeart that such conversion would not result in a violation of the Communications Act or any
   rules or regulations promulgated by the FCC and (b) the receipt of any necessary approval from the FCC.

           190.   “New iHeart Common Stock” means, collectively, the New iHeart Class A Common Stock
   and the New iHeart Class B Common Stock.

          191.  “New Secured Notes” means secured notes to be issued pursuant to the Plan and the New
   Debt Documents in the principal amount set forth in the Plan Supplement.



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         192.   “New Term Loans” means secured term loans to be issued pursuant to the Plan and the
   New Debt Documents in the principal amount set forth in the Plan Supplement.

         193.   “New Unsecured Notes” means unsecured notes to be issued pursuant to the Plan and the
   New Debt Documents in the principal amount set forth in the Plan Supplement.

           194.    “Non-9.0% PGN Due 2019 Claim” means any Claim that is (a) a 9.0% PGN Due 2021
   Claim, (b) a 9.0% PGN Due 2022 Claim, (c) a 10.625% PGN Claim, or (d) an 11.25% PGN Claim.

           195.     “Non-Obligor    Debtors”    means,      collectively,   (a) iHeart   and   (b) iHeartMedia
   Capital II, LLC.

            196.   “Notes” means, collectively, (a) the 10.625% PGNs, (b) the 11.25% PGNs, (c) the 9.0%
   PGNs Due 2019, (d) the 9.0% PGNs Due 2021, (e) the 9.0% PGNs Due 2022, (f) the 2021 Notes, and
   (g) the Legacy Notes.

          197.   “Notes Claim” means any Claim that is (a) a PGN Claim, (b) a 2021 Notes Claim, or (c) a
   Legacy Notes Claim.

          198.   “Notes Indentures” means, collectively, (a) the 10.625% PGN Indenture, (b) the 11.25%
   PGN Indenture, (c) the 9.0% PGN Due 2019 Indenture, (d) the 9.0% PGN Due 2021 Indenture, (e) the
   9.0% PGN Due 2022 Indenture, (f) the 2021 Notes Indenture, and (g) the Legacy Notes Indenture.

            199.   “Notes Trustees and Agents” means, collectively, (a) the PGN Trustees and Agents,
   (b) the 2021 Notes Trustee, (c) the 2021 Notes Agent, and (d) the Legacy Notes Trustee.

           200.    “Other Secured Claim” means a Secured Claim against a Debtor that is not: (a) a DIP
   Claim; (b) a Secured Term Loan Credit Agreement Claim; (c) a Secured PGN Claim; or (d) a Secured Tax
   Claim.

            201.    “Ownership Certification” means a written certification, in the form attached to the
   FCC Ownership Procedures Order, which shall be sufficient to enable the Debtors or Reorganized Debtors,
   as applicable, to determine (a) the extent to which direct and indirect voting and equity interests of the
   certifying party are held by non-U.S. Persons, as determined under section 310(b) of the Communications
   Act, as interpreted and applied by the FCC and (b) whether the holding of more than 4.99 percent of the
   New iHeart Class A Common Stock by the certifying party would result in a violation of FCC ownership
   rules or be inconsistent with the FCC Approval.

          202.    “Ownership Certification Deadline” means the deadline set forth in the FCC Ownership
   Procedures Order for returning Ownership Certifications.

           203.    “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

           204.    “Petition Date” means March 14, 2018.

           205.     “Petition for Declaratory Ruling” means a filing that shall be submitted to the FCC by the
   Debtors or Reorganized Debtors pursuant to 47 C.F.R. §§ 1.5000 et seq. for Reorganized iHeart to exceed
   the 25 percent indirect foreign ownership benchmark contained in 47 U.S.C. § 310(b)(4).

          206.  “PGN Claim” means any Claim against a Debtor that is a 9.0% PGN Due 2019 Claim or a
   Non-9.0% PGN Due 2019 Claim.

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            207.  “PGN Trustees and Agents” means, collectively, (a) the 10.625% PGN Trustee,
   (b) the 10.625% PGN Agent, (c) the 11.25% PGN Trustee, (d) the 11.25% PGN Agent, (e) the 9.0% PGN
   Due 2019 Trustee, (f) the 9.0% PGN Due 2019 Agent, (g) the 9.0% PGN Due 2021 Trustee, (h) the
   9.0% PGN Due 2021 Agent, (i) the 9.0% PGN Due 2022 Trustee, and (j) the 9.0% PGN Due 2022 Agent.

           208.   “Plan” means this Modified Fifth Amended Joint Chapter 11 Plan of Reorganization of
   iHeartMedia, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code and all exhibits,
   supplements, appendices, and schedules, as may be altered, amended, supplemented, or otherwise modified
   from time to time in accordance with Article X.A hereof, including the Plan Supplement (as altered,
   amended, supplemented, or otherwise modified from time to time), which is incorporated herein by
   reference and made part of the Plan as if set forth herein.

           209.     “Plan Settlement” means the good-faith compromises and settlements provided by the
   Plan, including, but not limited to, the Committee Plan Settlement, the Legacy Notes Plan Settlement, and
   the CCOH Plan and Separation Settlement, as described in the Disclosure Statement and Article IV.A of
   the Plan.

            210.     “Plan Supplement” means the compilation of documents and forms of documents,
   agreements, schedules, and exhibits to the Plan, to be Filed by the Debtors no later than fourteen days before
   the Voting Deadline or such later date as may be approved by the Bankruptcy Court, as it may thereafter
   be amended, supplemented, or otherwise modified from time to time in accordance with the terms of the
   Plan, the Bankruptcy Code, the Bankruptcy Rules, and applicable law, which shall be in form and substance
   reasonably acceptable to the Required Consenting Senior Creditors and the Debtors, and (a) solely with
   respect to those terms and provisions that would have a material adverse effect on the value of the
   distributions to the Holders of 2021 Notes Claims, the Required Consenting 2021 Noteholders, (b) solely
   with respect to those terms and provisions that would have a material adverse effect solely with respect to
   the consideration being distributed to the Holders of Legacy Notes Claims, the Consenting Legacy
   Noteholders, (c) solely with respect to those terms and provisions that would have a material adverse effect
   on the value of the distributions to the Consenting Sponsors on account of their iHeart Interests or impair
   the releases in favor of the Consenting Sponsors provided under the Plan or the CCOH Plan and Separation
   Settlement, the Consenting Sponsors, (d) solely with respect to the provisions that impact the Committee,
   the treatment of General Unsecured Claims, the distributions of Cash to Holders of General Unsecured
   Claims, and the releases and exculpations to be granted to the Committee and its members solely in their
   capacity as members of the Committee, the Committee, and (e) solely with respect to those terms and
   provisions that impact CCOH or the CCOH Plan and Separation Settlement, or impair the releases in favor
   of CCOH, CCOH.

          211.     “Post-Emergence Equity Incentive Program” means the management incentive plan to be
   adopted by the New Board(s) on the Effective Date to be in effect on and after the Effective Date, the form
   of which shall be included in the Plan Supplement.

            212.    “Preferred Stock Term Sheet” means the term sheet governing the Radio NewCo Preferred
   Stock and the CCOH Preferred Stock, the form of which shall be included in the Plan Supplement, and
   which shall be in form and substance reasonably acceptable to the Debtors, the Required Consenting Senior
   Creditors, and, (a) solely with respect to the those terms and provisions that would have a material adverse
   effect on the value of the distribution to (x) the Holders of 2021 Notes Claims, the Required Consenting
   2021 Noteholders and (y) the Consenting Sponsors on account of their iHeart Interests, the Consenting
   Sponsors, (b) solely with respect to the CCOH Preferred Stock, CCOH, and (c) solely with respect to those
   terms and provisions that would have a material adverse effect solely with respect to the consideration being
   distributed to the Holders of Legacy Notes Claims, the Consenting Legacy Noteholders.


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            213.    “Preferred Stock Transactions” means, as part of the Taxable Separation: (a) on or before
   the Effective Date, but in all cases before the CCOH Separation, and pursuant to prearranged and binding
   agreements, (i) the issuance of the Radio NewCo Preferred Stock to CCH, and (ii) the sale of Radio NewCo
   Preferred Stock by CCH and the issuance of the CCOH Preferred Stock by CCOH (or its successor) to one
   or more third party investors in exchange for Cash or other consideration to be determined; provided,
   however, that Holders of Allowed Claims or Allowed Interests receiving Special Warrants, New iHeart
   Common Stock, or beneficial interests in the FCC Trust pursuant to the Plan shall not be permitted to
   purchase the Radio NewCo Preferred Stock and Holders of Allowed Claims receiving CCOH Interests
   pursuant to the Plan shall not be permitted to purchase the CCOH Preferred Stock; (b) if applicable, the
   distribution of Cash received in connection with the issuance of the Radio NewCo Preferred Stock to fund
   recoveries under the Plan; and (c) if applicable, the use of such Cash received in connection with the
   issuance of the CCOH Preferred Stock as a source of liquidity for CCOH (or its successor) or the
   distribution of such Cash to fund recoveries under the Plan.

           214.   “Prepetition Springing Lien Litigation” means the prepetition litigation initiated by certain
   Holders of Legacy Notes Claims and the Legacy Notes Trustee seeking specific performance of the Legacy
   Notes Indenture and emergency injunctive relief captioned Bank of New York Mellon Trust Co, et al. v.
   iHeartCommunications, Inc., Index No. 650909/2018 (N.Y. Sup. Ct. Feb. 26, 2018).

          215.   “Priority Non-Tax Claim” means any Claim against a Debtor, other than an Administrative
   Claim or a Priority Tax Claim, entitled to priority in right of payment under section 507(a) of the
   Bankruptcy Code.

           216.     “Priority Tax Claim” means any Claim of a Governmental Unit against a Debtor of the
   kind specified in section 507(a)(8) of the Bankruptcy Code.

           217.     “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a
   particular Class bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class.

           218.     “Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant to an order
   of the Bankruptcy Court in accordance with sections 327, 363, or 1103 of the Bankruptcy Code and to be
   compensated for services rendered and expenses incurred pursuant to sections 327, 328, 329, 330, 331,
   and 363 of the Bankruptcy Code; or (b) for which compensation and reimbursement has been Allowed by
   Final Order of the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

           219.    “Professional Fee Claim” means any Administrative Claim by a Professional for
   compensation for services rendered or reimbursement of expenses incurred by such Professional through
   and including the Effective Date to the extent such fees and expenses have not been paid pursuant to an
   order of the Bankruptcy Court. To the extent the Bankruptcy Court denies or reduces by a Final Order any
   amount of a Professional’s requested fees and expenses, then the amount by which such fees or expenses
   are reduced or denied shall reduce the applicable Professional Fee Claim.

           220.    “Professional Fee Escrow Amount” means the aggregate amount of Professional Fee
   Claims and other unpaid fees and expenses the Professionals have incurred or will incur in rendering
   services in connection with the Chapter 11 Cases prior to and as of the Confirmation Date, which shall be
   estimated pursuant to the method set forth in Article II.B of the Plan.

           221.    “Professional Fee Escrow Account” means an interest-bearing account funded by the
   Debtors with Cash as soon as is reasonably practicable after the Confirmation Date and no later than the
   Effective Date in an amount equal to the Professional Fee Escrow Amount.


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          222.    “Proof of Claim” means a written proof of Claim Filed against any of the Debtors in the
   Chapter 11 Cases.

          223.    “Proof of Interest” means a written proof of Interest Filed against any of the Debtors in the
   Chapter 11 Cases.

           224.    “Radio NewCo” means the new holding company organized by CCH in connection with
   the consummation of the Restructuring Transactions to hold the equity interests of certain entities that
   conduct certain operations, as set forth in the Restructuring Transactions Memorandum.

            225.   “Radio NewCo Preferred Stock” means, if the Taxable Separation is effectuated pursuant
   to the terms and conditions set forth in Article IV.G, the new contingent-voting preferred stock of Radio
   NewCo issued pursuant to the Preferred Stock Transactions.

          226.     “Regulations” means the United States Treasury regulations promulgated pursuant to the
   Tax Code.

            227.   “Reinstate,” “Reinstated,” or “Reinstatement” means, with respect to Claims and Interests,
   that the Claim or Interest shall be rendered unimpaired in accordance with section 1124 of the Bankruptcy
   Code.

           228.    “Rejected Executory Contract and Unexpired Lease List” means the list, as determined by
   the Debtors or the Reorganized Debtors, as applicable, of certain Executory Contracts and Unexpired
   Leases to be rejected by the Reorganized Debtors pursuant to the Plan, as the same may be amended,
   modified, or supplemented from time by the Debtors or Reorganized Debtors, as applicable, in accordance
   with the Plan, which list shall be included in the Plan Supplement.

           229.    “Related Party” means, collectively, current and former directors, managers, officers,
   equity holders (regardless of whether such interests are held directly or indirectly), affiliated investment
   funds or investment vehicles, predecessors, participants, successors, assigns, subsidiaries, affiliates,
   managed accounts or funds, partners, limited partners, general partners, principals, members, management
   companies, fund advisors, employees, agents, advisory board members, financial advisors, attorneys,
   accountants, investment bankers, consultants, representatives, and other professionals.

            230.    “Released Party” means, collectively, and in each case in its capacity as such: (a) each of
   the Debtors; (b) each of the Reorganized Debtors; (c) each Holder of a DIP Claim; (d) the DIP Agent;
   (e) the New ABL Credit Agreement Lenders; (f) the New ABL Credit Agreement Agent; (g) each
   Consenting Stakeholder; (h) the Term Loan Credit Agreement Agent; (i) each of the PGN Trustees and
   Agents; (j) the 2021 Notes Agent; (k) the 2021 Notes Trustee; (l) the Committee and each member of the
   Committee (solely in its capacity as a member of the Committee); (m) each of the ABL Secured Parties;
   (n) CCOH; (o) each Consenting Legacy Noteholder; (p) the Legacy Notes Trustee; (q) each current and
   former Affiliate of each Entity in clauses (a) through (p); (r) each Related Party of each Entity in clauses
   (a) through (q); and (s) DTC; provided that any Holder of a Claim against or Interest in the Debtors that is
   not a Releasing Party shall not be a “Released Party.”

           231.     “Releasing Parties” means, collectively, and in each case in its capacity as such: (a) each
   of the Debtors; (b) each of the Reorganized Debtors; (c) each Holder of a DIP Claim; (d) the DIP Agent;
   (e) the New ABL Credit Agreement Lenders; (f) the New ABL Credit Agreement Agent; (g) each
   Consenting Stakeholder; (h) the Term Loan Credit Agreement Agent; (i) each of the PGN Trustees and
   Agents; (j) the 2021 Notes Agent; (k) the 2021 Notes Trustee; (l) all Holders of Claims against the Debtors;
   (m) all Holders of Interests in the Debtors; (n) the Committee and each member of the Committee (solely

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   in its capacity as a member of the Committee); (o) each of the ABL Secured Parties; (p) CCOH; (q) each
   Consenting Legacy Noteholder; (r) the Legacy Notes Trustee; (s) each current and former Affiliate of each
   Entity in clauses (a) through (r); and (t) each Related Party of each Entity in clauses (a) through (s);
   provided that any Entity that opts out of or otherwise objects to the releases in the Plan (other than the
   Legacy Notes Trustee and any Consenting Legacy Noteholder in accordance with the Legacy Notes Plan
   Settlement) shall not be a “Releasing Party.”

          232.   “Remaining Distribution” means, collectively, the Remaining Equity Distribution and the
   Remaining Non-Equity Distribution.

           233.    “Remaining Equity Distribution” means Special Warrants, New iHeart Common Stock, or
   a combination of Special Warrants and New iHeart Common Stock, as determined in accordance with the
   Equity Allocation Mechanism, constituting, in the aggregate (and inclusive of the shares of New iHeart
   Common Stock that may be received by Holders of Allowed Secured Term Loan Credit Agreement Claims,
   Allowed Secured PGN Claims, or Allowed Guarantor Funded Debt Unsecured Claims upon the exercise
   of the Special Warrants (if any) received as part of this Remaining Equity Distribution), 89.72 percent of
   the New iHeart Common Stock on a fully diluted basis (but excluding and subject to dilution on account of
   the Post-Emergence Equity Incentive Program).

          234.     “Remaining Non-Equity Distribution” means $5,296,830,943 in aggregate principal
   amount of the New Debt, allocated proportionally by principal amount among New Term Loans, New
   Secured Notes, and New Unsecured Notes.

           235.     “Reorganized Debtor” means a Debtor, or any successor or assign thereto, by merger,
   consolidation, amalgamation, arrangement, continuance, restructuring, conversion, spinoff, or otherwise,
   on and after the Effective Date.

           236.     “Reorganized iHeart” means iHeart, or any successor or assign thereto, by merger,
   consolidation, amalgamation, arrangement, continuance, restructuring, conversion, spinoff, or otherwise,
   on and after the Effective Date.

           237.     “Reorganized iHeart Equity” means the New iHeart Common Stock and Special Warrants
   issued pursuant to the terms of the Plan, the Equity Allocation Mechanism, the New Corporate Governance
   Documents, and the Special Warrant Agreement.

           238.    “Repaid DIP Claims” has the meaning set forth in Article II.C of the Plan.

           239.    “Required Consenting 2021 Noteholders” shall have the meaning set forth in the
   Restructuring Support Agreement.

           240.    “Required Consenting Senior Creditors” shall have the meaning set forth in the
   Restructuring Support Agreement.

            241.    “Restructuring Support Agreement” means that certain Restructuring Support Agreement,
   made and entered into as of March 16, 2018, by and among the Debtors, the Consenting Creditors
   (as defined therein) party thereto from time to time, and the Consenting Sponsors (as defined therein) party
   thereto from time to time, as such may be amended from time to time in accordance with its terms.

           242.    “Restructuring Transactions” means the transactions described in Article IV.B of the Plan.




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            243.    “Restructuring Transactions Memorandum” means that certain memorandum describing
   the steps to be carried out to effectuate the Restructuring Transactions, the form of which shall be included
   in the Plan Supplement.

           244.    “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action
   of the Debtors that are not released, waived, or transferred pursuant to the Plan, as the same may be
   amended, modified, or supplemented from time to time by the Debtors, which shall be included in the Plan
   Supplement, provided that such schedule shall not include any Causes of Action against any Released Party,
   and any such inclusion will be deemed void ab initio.

          245.      “Schedules” means, collectively, the schedules of assets and liabilities, schedules of
   Executory Contracts and Unexpired Leases, and statements of financial affairs Filed by each of the Debtors
   pursuant to section 521 of the Bankruptcy Code, as such schedules and statements may have been or may
   be amended, modified, or supplemented from time to time.

           246.     “SEC” means the United States Securities and Exchange Commission.

           247.    “Section 510(b) Claim” means any Claim against a Debtor subject to subordination under
   section 510(b) of the Bankruptcy Code.

            248.    “Secured” means, when referring to a Claim: (a) secured by a Lien on property in which
   the applicable Estate has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable
   law or by reason of a Final Order of the Bankruptcy Court, or that is subject to a valid right of setoff pursuant
   to section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s interest in such Estate’s
   interest in such property or to the extent of the amount subject to setoff, as applicable, as determined in
   accordance with section 506(a) of the Bankruptcy Code; or (b) Allowed pursuant to the Plan as a Secured
   Claim.

          249.  “Secured 9.0% Due 2019 PGN Claim” means any Secured Claim against a Debtor that is
   a 9.0% PGN Due 2019 Claim.

             250.   “Secured Non-9.0% Due 2019 PGN Claim” means any Secured Claim against a Debtor
   that is a Non-9.0% PGN Due 2019 Claim.

          251.    “Secured PGN Claim” means any Claim against a Debtor that is a Secured 9.0% PGN Due
   2019 Claim or a Secured Non-9.0% PGN Due 2019 Claim.

            252.   “Secured Tax Claim” means any Secured Claim against a Debtor that, absent its secured
   status, would be entitled to priority in right of payment under section 507(a)(8) of the Bankruptcy Code
   (determined irrespective of time limitations), including any related Secured Claim for penalties.

          253.   “Secured Term Loan / 2019 PGN Claim” means any Claim against a Debtor that is a
   Secured Term Loan Credit Agreement Claim or a Secured 9.0% Due 2019 PGN Claim.

           254.    “Secured Term Loan / 2019 PGN Supplemental Equity Distribution” means Special
   Warrants, New iHeart Common Stock, or a combination of Special Warrants and New iHeart Common
   Stock, as determined in accordance with the Equity Allocation Mechanism, constituting, in the aggregate
   (and inclusive of the shares of New iHeart Common Stock that may be received by Holders of Allowed
   Term Loan / 2019 PGN Claims upon the exercise of the Special Warrants (if any) received as part of this
   Secured Term Loan / 2019 PGN Supplemental Equity Distribution), 2.21 percent of the New iHeart


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   Common Stock on a fully diluted basis (but excluding and subject to dilution on account of the
   Post-Emergence Equity Incentive Program).

          255.    “Secured Term Loan / 2019 PGN Supplemental Non-Equity Distribution” means
   $131,000,000 aggregate principal amount of the New Debt, allocated proportionally by principal amount
   of New Term Loans, New Secured Notes, and New Unsecured Notes.

         256.     “Secured Term Loan / 2019 PGN Supplemental Distribution” means, collectively, the
   Term Loan / 2019 PGN Supplemental Equity Distribution and the Term Loan / 2019 PGN Supplemental
   Non-Equity Distribution.

             257.  “Secured Term Loan Credit Agreement Claim” means any Secured Claim against a Debtor
   that is a Term Loan Credit Agreement Claim.

            258.    “Securities Act” means the U.S. Securities Act of 1933, 15 U.S.C. §§ 77a–77aa, as now in
   effect or hereafter amended, and the rules and regulations promulgated thereunder.

           259.    “Security” has the meaning set forth in section 2(a)(1) of the Securities Act.

            260.     “Special Warrant” means a warrant, issued by Reorganized iHeart pursuant to the Plan, the
   Equity Allocation Mechanism, and the Special Warrant Agreement, to purchase New iHeart Common
   Stock, the terms of which will provide that it will not be exercisable unless such exercise complies with
   applicable law, which shall be in form and substance reasonably acceptable to the Debtors, the Required
   Consenting Senior Creditors, solely with respect to those terms and provisions that would have a material
   adverse effect on the value of the distributions to the Holders of 2021 Notes Claims, the Required
   Consenting 2021 Noteholders, solely with respect to those terms and provisions that would have a material
   adverse effect solely with respect to the consideration being distributed to the Holders of Legacy Notes
   Claims, the Consenting Legacy Noteholders, and, solely with respect to those terms and provisions that
   would have a material adverse effect on the value of the distributions to the Consenting Sponsors on account
   of their iHeart Interests, the Consenting Sponsors.

           261.    “Special Warrant Agreement” means the warrant agreement, to be effective on the
   Effective Date, governing any Special Warrants that may be issued by Reorganized iHeart, the form of
   which shall be included in the Plan Supplement.

          262.     “Sponsor Unsecured Claims” means any General Unsecured Claim held by the Consenting
   Sponsors other than those under or related to any Indemnification Provision.

           263.   “Springing Lien Adversary Proceeding” means the adversary proceeding captioned
   Wilmington Savings Fund Society, FSB, as Plaintiff, and Delaware Trust Company, as Intervenor Plaintiff
   v. iHeartCommunications, Inc., et al., Adv. Proc. No. 18-03052.

           264.    “Standing Motion” means, collectively, the Motion of the Official Committee of Unsecured
   Creditors of iHeartMedia, Inc., et al. for Standing to Prosecute Causes of Action on Behalf of the Debtors’
   Estates [Docket No. 1089] and the Amended Motion of the Official Committee of Unsecured Creditors of
   iHeartMedia, Inc., et al. for Standing to Prosecute Causes of Action on Behalf of the Debtors’ Estates
   [Docket No. 1095] filed by the Committee on July 9, 2018, and July 10, 2018, respectively.

          265.    “Standing Motion Joinder” means the Joinder of Wilmington Savings Fund Society, FSB,
   as Successor Indenture Trustee, to Amended Motion of the Official Committee of Unsecured Creditors of


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   iHeartMedia, Inc., et al. for Standing to Prosecute Certain Causes of Action on Behalf of the Debtors’
   Estates [Docket No. 1104] filed by the Legacy Notes Trustee on July 10, 2018.

            266.    “Subsidiary Guarantors” means, collectively, (a) AMFM Broadcasting Licenses, LLC,
   (b) AMFM Broadcasting, Inc., (c) AMFM Operating, Inc., (d) AMFM Radio Licenses, LLC, (e) AMFM
   Texas Broadcasting, LP, (f) AMFM Texas Licenses, LLC, (g) AMFM Texas, LLC, (h) Capstar Radio
   Operating Company, (i) Capstar TX, LLC, (j) CC Broadcast Holdings, Inc., (k) CC Finco Holdings, LLC,
   (l) CC Licenses, LLC, (m) Christal Radio Sales, Inc., (n) Cine Guarantors II, Inc., (o) Citicasters Co.,
   (p) Citicasters Licenses, Inc., (q) Clear Channel Broadcasting Licenses, Inc., (r) Clear Channel Holdings,
   Inc., (s) Clear Channel Investments, Inc., (t) Clear Channel Metro, LLC, (u) Clear Channel Mexico
   Holdings, Inc., (v) Clear Channel Real Estate, LLC, (w) Critical Mass Media, Inc., (x) iHeartMedia +
   Entertainment, Inc., (y) iHeartMedia Management Services, Inc., (z) iHM Identity, Inc., (aa) Katz
   Communications, Inc., (bb) Katz Media Group, Inc., (cc) Katz Millennium Sales & Marketing, Inc.,
   (dd) Katz Net Radio Sales, Inc., (ee) M Street Corporation, (ff) Premiere Networks, Inc., (gg) Terrestrial
   RF Licensing, Inc., (hh) TTWN Media Networks, LLC, and (ii) TTWN Networks, LLC.

           267.   “Tax Code” means the United States Internal Revenue Code of 1986, as now in effect or
   hereafter amended, and the rules and regulations promulgated thereunder.

           268.     “Taxable Separation” means the CCOH Separation (and any related transactions), if
   structured with the intent of the Debtors realizing and recognizing any gains or losses in connection with
   such transactions for U.S. federal income tax purposes.

            269.    “Tax-Free Separation” means the CCOH Separation (and any related transactions), if
   structured with the intent of the Debtors avoiding the recognition of any gain or loss realized with respect
   to such transactions for U.S. federal income tax purposes.

         270.      “Term Lender Group” shall have the meaning set forth in the Restructuring Support
   Agreement.

          271.    “Term Loan / 2019 PGN Claim” means any Claim that is a Term Loan Credit Agreement
   Claim or a 9.0% PGN Due 2019 Claim.

         272.      “Term Loan / PGN Group” shall have the meaning set forth in the Restructuring Support
   Agreement.

           273.     “Term Loan / PGN Deficiency Claim” means any Claim against a Debtor that is (a) a Term
   Loan Credit Agreement Claim that is not a Secured Term Loan Credit Agreement Claim or (b) a PGN
   Claim that is not a Secured PGN Claim.

           274.    “Term Loan Credit Agreement” means that certain Amended and Restated Credit
   Agreement, dated as of May 13, 2008, as amended and restated as of February 23, 2011, among iHC, as
   parent borrower, the certain subsidiary co-borrowers party thereto, certain foreign subsidiary revolving
   borrowers party thereto, iHeart Capital I, as holdings, the Term Loan Credit Agreement Agent, as
   administrative agent, swing line lender, and L/C issuer, and the other lenders party thereto, as amended,
   amended and restated, supplemented, or otherwise modified from time to time.

           275.    “Term Loan Credit Agreement Agent” means Citibank, N.A., in its capacity as
   administrative agent under the Term Loan Credit Agreement Documents, and any predecessors and
   successors in such capacity.


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           276.    “Term Loan Credit Agreement Claim” means any Claim against a Debtor arising under,
   derived from, secured by, based on, or related to the Term Loan Credit Agreement Documents.

             277.    “Term Loan Credit Agreement Documents” means, collectively, the Term Loan Credit
   Agreement and all other agreements, documents, and instruments related thereto, including any guarantee
   agreements, pledge and collateral agreements, intercreditor agreements, subordination agreements, fee
   letters, and other security documents.

           278.    “Texas Litigation” means the following proceedings: (a) iHeartCommunications, Inc. v.
   Benefit Street Partners LLC et al., No. 2016 CI 04006 in the District Court of Bexar County, Texas;
   (b) iHeartCommunications, Inc. v. Canyon Capital Advisors LLC et al., No. 2016 CI 07857 in the District
   Court of Bexar County, Texas; (c) iHeartCommunications, Inc. et al. v. Benefit Street Partners LLC et al.,
   Cause No. 2016 CI 12468 in the District Court of Bexar County, Texas; (d) Franklin Advisers, Inc., et al.
   v. iHeart Communications, Inc., Case No. 04-16-00532-CV, in the Fourth Court of Appeals District, San
   Antonio, Texas; (e) iHeartCommunications, Inc. et al. v. U.S. Bank National Association, Case No. 2016
   CI 21286 in the District Court of Bexar County, Texas; and (f) all appellate proceedings related to any of
   the foregoing.

           279.     “Transfer of Control” means the transfer of control of the FCC Licenses held by any of the
   subsidiaries of iHeartMedia, Inc. as a result of the issuance of the New iHeart Common Stock and/or Special
   Warrants to Holders of Allowed Term Loan Credit Agreement Claims, Allowed PGN Claims, Allowed
   iHC 2021 / Legacy Notes Claims, and Allowed iHeart Interests, or to holders of beneficial interests in the
   FCC Trust after the FCC grants the FCC Long Form Applications.

         280.  “TTWN Debtors” means, collectively, Clear Channel Metro LLC, TTWN Networks, LLC,
   and TTWN Media Networks, LLC.

            281.     “Unclaimed Distribution” means any distribution under the Plan on account of an Allowed
   Claim or Allowed Interest to a Holder that has not: (a) accepted a particular distribution or, in the case of
   distributions made by check, negotiated such check; (b) given notice to the Reorganized Debtors of an
   intent to accept a particular distribution; (c) responded to the Debtors’ or Reorganized Debtors’ requests
   for information necessary to facilitate a particular distribution; or (d) taken any other action necessary to
   facilitate such distribution.

            282.   “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is
   subject to assumption or rejection under section 365 or section 1123 of the Bankruptcy Code.

            283.     “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of Claims or
   Interests that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

           284.    “U.S. Trustee” means the United States Trustee for the Southern District of Texas.

           285.     “Voting Deadline” means November 16, 2018 at 5:00 p.m. prevailing Central Time, or
   such later date and time as agreed to by the Debtors and CCOH as to the CCOH Due From Claim.

   B.      Rules of Interpretation

            For purposes of the Plan: (1) in the appropriate context, each term, whether stated in the singular
   or the plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine,
   or neuter gender shall include the masculine, feminine, and the neuter gender; (2) unless otherwise
   specified, any reference herein to a contract, lease, instrument, release, indenture, or other agreement or

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   document being in a particular form or on particular terms and conditions means that the referenced
   document shall be substantially in that form or substantially on those terms and conditions; (3) unless
   otherwise specified, any reference herein to an existing document, schedule, or exhibit, whether or not
   Filed, having been Filed, or to be Filed, shall mean that document, schedule, or exhibit, as it may thereafter
   have been or may thereafter be validly amended, amended and restated, supplemented, or otherwise
   modified; (4) unless otherwise specified, any reference to an Entity as a Holder of a Claim or Interest,
   Consenting Stakeholder, or Consenting Legacy Noteholder includes that Entity’s authorized successors and
   assigns; (5) unless otherwise specified, all references herein to “Articles” are references to Articles hereof
   or hereto; (6) unless otherwise specified, all references herein to exhibits are references to exhibits in the
   Plan Supplement; (7) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the
   Plan in its entirety rather than to any particular portion of the Plan; (8) captions and headings to Articles
   are inserted for convenience of reference only and are not intended to be a part of or to affect the
   interpretation of the Plan; (9) unless otherwise specified, the rules of construction set forth in section 102
   of the Bankruptcy Code shall apply; (10) any term used in capitalized form herein that is not otherwise
   defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned
   to that term in the Bankruptcy Code or the Bankruptcy Rules, as applicable; (11) references to docket
   numbers of documents Filed in the Chapter 11 Cases are references to the docket numbers under the
   Bankruptcy Court’s CM/ECF system; (12); unless otherwise specified, all references to statutes,
   regulations, orders, rules of courts, and the like shall mean as amended from time to time, to the extent
   applicable to the Chapter 11 Cases; (13) any effectuating provisions may be interpreted by the Debtors or
   the Reorganized Debtors in such a manner that is consistent with the overall purpose and intent of the Plan
   all without further notice to or action, order, or approval of the Bankruptcy Court or any other Entity;
   (14) any references herein to the Effective Date shall mean the Effective Date or as soon as reasonably
   practicable thereafter; and (15) all references herein to consent, acceptance, or approval shall (unless
   otherwise specified) be deemed to include the requirement that such consent, acceptance, or approval be
   evidenced by a writing, which (unless otherwise specified) may be conveyed by counsel for the respective
   parties that have such consent, acceptance, or approval rights, including by electronic mail.

   C.      Computation of Time

           Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply
   in computing any period of time prescribed or allowed herein. If the date on which a transaction may occur
   pursuant to the Plan shall occur on a day that is not a Business Day, then such transaction shall instead
   occur on the next succeeding Business Day.

   D.      Governing Law

             Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
   Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving
   effect to the principles of conflict of laws, shall govern the rights, obligations, construction, and
   implementation of the Plan, any agreements, documents, instruments, or contracts executed or entered into
   in connection with the Plan (except as otherwise set forth in those agreements, documents, instruments, or
   contracts, in which case the governing law of such agreement shall control); provided that corporate, limited
   liability company, or partnership governance matters relating to the Debtors or the Reorganized Debtors,
   as applicable, shall be governed by the laws of the jurisdiction of incorporation or formation of the relevant
   Debtor or Reorganized Debtor, as applicable.

   E.      Reference to Monetary Figures

           All references in the Plan to monetary figures refer to currency of the United States of America,
   unless otherwise expressly provided.

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   F.      Nonconsolidated Plan

            Although for purposes of administrative convenience and efficiency the Plan has been filed as a
   joint plan for each of the Debtors and presents together Classes of Claims against and Interests in the
   Debtors, the Plan does not provide for the substantive consolidation of any of the Debtors.



                              ADMINISTRATIVE AND PRIORITY CLAIMS

           In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,
   Professional Fee Claims, DIP Claims, and Priority Tax Claims have not been classified and thus are
   excluded from the Classes of Claims and Interests set forth in Article III of the Plan.

   A.      Administrative Claims

            Except as otherwise specifically provided in the Plan, and except to the extent that a Holder of an
   Allowed Administrative Claim agrees to a less favorable treatment with respect to such Holder, to the extent
   an Allowed Administrative Claim has not already been paid in full or otherwise satisfied during the
   Chapter 11 Cases, each Holder of an Allowed Administrative Claim (other than Holders of Professional
   Fee Claims and Holders of DIP Claims) will receive in full and final satisfaction, compromise, settlement,
   release, and discharge of, and in exchange for, such Administrative Claim, an amount of Cash equal to the
   amount of the unpaid or unsatisfied portion of such Allowed Administrative Claim in accordance with the
   following: (1) if such Administrative Claim is Allowed on or prior to the Effective Date, no later than
   30 days after the Effective Date or as soon as reasonably practicable thereafter (or, if not then due, when
   such Allowed Administrative Claim is due or as soon as reasonably practicable thereafter); (2) if such
   Administrative Claim is not Allowed as of the Effective Date, no later than 30 days after the date on which
   an order Allowing such Administrative Claim becomes a Final Order, or as soon as reasonably practicable
   thereafter; (3) if such Allowed Administrative Claim is based on liabilities incurred by the Debtors in the
   ordinary course of their business after the Petition Date, in accordance with the terms and conditions of the
   particular transaction or course of business giving rise to such Allowed Administrative Claim, without any
   further action by the Holder of such Allowed Administrative Claim; (4) at such time and upon such terms
   as may be agreed upon by the Holder of such Allowed Administrative Claim and the Debtors or the
   Reorganized Debtors, as applicable; or (5) at such time and upon such terms as set forth in a Final Order of
   the Bankruptcy Court.

           A notice setting forth the Administrative Claims Bar Date will be (a) Filed on the Bankruptcy
   Court’s docket and served with the notice of entry of the Confirmation Order, and (b) posted on the Claims,
   Noticing, and Solicitation Agent’s website. Except as otherwise provided in this Article II.A, and except
   for Professional Fee Claims, DIP Claims, Administrative Claims of CCOH, and Claims for Consenting
   Stakeholder Fees, and unless previously Filed, requests for payment of Administrative Claims (other than
   Administrative Claims arising under section 503(b)(9) of the Bankruptcy Code) must be Filed and served
   on the Reorganized Debtors pursuant to the procedures specified in the Confirmation Order and the notice
   of entry of the Confirmation Order no later than the Administrative Claims Bar Date. Holders of
   Administrative Claims that are required to, but do not, File and serve a request for payment of such
   Administrative Claims by the Administrative Claims Bar Date shall be forever barred, estopped, and
   enjoined from asserting such Administrative Claims against the Debtors, the Reorganized Debtors, or their
   property, and such Administrative Claims shall be deemed discharged as of the Effective Date without the
   need for any objection from the Reorganized Debtors or any notice to or action, order, or approval of the
   Bankruptcy Court or any other Entity. Notwithstanding the foregoing, no request for payment of an


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   Administrative Claim need be Filed with respect to an Administrative Claim previously Allowed by Final
   Order of the Bankruptcy Court.

            Objections to requests for payment of such Administrative Claims, if any, must be Filed with the
   Bankruptcy Court and served on the Reorganized Debtors and the requesting Holder no later than the
   Administrative Claims Objection Bar Date. After notice and a hearing in accordance with the procedures
   established by the Bankruptcy Code, the Bankruptcy Rules, and prior Bankruptcy Court orders, the Allowed
   amounts, if any, of Administrative Claims shall be determined by, and satisfied in accordance with, an order
   that becomes a Final Order of the Bankruptcy Court.

   B.      Professional Fee Claims

                    Final Fee Applications and Payment of Professional Fee Claims

           All final requests for payment of Professional Fee Claims for services rendered and reimbursement
   of expenses incurred prior to the Confirmation Date must be Filed no later than 60 days after the Effective
   Date. The Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after
   notice and a hearing in accordance with the procedures established by the Bankruptcy Code, Bankruptcy
   Rules, and prior Bankruptcy Court orders. The Reorganized Debtors shall pay Professional Fee Claims
   owing to the Professionals in Cash to such Professionals in the amount the Bankruptcy Court Allows,
   including from funds held in the Professional Fee Escrow Account as soon as reasonably practicable after
   such Professional Fee Claims are Allowed by entry of an order of the Bankruptcy Court; provided that the
   Debtors’ and the Reorganized Debtors’ obligations to pay Allowed Professional Fee Claims shall not be
   limited or deemed limited to funds held in the Professional Fee Escrow Account.

                    Professional Fee Escrow Account

            As soon as is reasonably practicable after the Confirmation Date and no later than the Effective
   Date, the Reorganized Debtors shall establish and fund the Professional Fee Escrow Account with Cash
   equal to the Professional Fee Escrow Amount. The Professional Fee Escrow Account shall be maintained
   in trust solely for the Professionals and for no other Entities until all Professional Fee Claims Allowed by
   the Bankruptcy Court have been irrevocably paid in full to the Professionals pursuant to one or more Final
   Orders of the Bankruptcy Court. No Liens, claims, or interests shall encumber the Professional Fee Escrow
   Account or Cash held in the Professional Fee Escrow Account in any way. No funds held in the Professional
   Fee Escrow Account shall be property of the Estates of the Debtors or the Reorganized Debtors. When all
   Professional Fee Claims Allowed by the Bankruptcy Court have been irrevocably paid in full to the
   Professionals pursuant to one or more Final Orders of the Bankruptcy Court, any remaining funds held in
   the Professional Fee Escrow Account shall be turned over to the Reorganized Debtors without any further
   notice to or action, order, or approval of the Bankruptcy Court or any other Entity.

                    Professional Fee Escrow Amount

            The Professionals shall deliver to the Debtors a reasonable and good-faith estimate of their unpaid
   fees and expenses incurred in rendering services to the Debtors before and as of the Confirmation Date
   projected to be outstanding as of the anticipated Effective Date, and shall deliver such estimate no later than
   five Business Days prior to the anticipated Effective Date. For the avoidance of doubt, no such estimate
   shall be considered or deemed an admission or limitation with respect to the amount of the fees and expenses
   that are the subject of a Professional’s final request for payment of Professional Fee Claims Filed with the
   Bankruptcy Court, and such Professionals are not bound to any extent by the estimates. If a Professional
   does not provide an estimate, the Debtors may estimate the unpaid and unbilled fees and expenses of such
   Professional. The total aggregate amount so estimated to be outstanding as of the anticipated Effective

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   Date shall be utilized by the Debtors to determine the amount to be funded to the Professional Fee Escrow
   Account; provided that the Reorganized Debtors shall use Cash on hand to increase the amount of the
   Professional Fee Escrow Account to the extent fee applications are Filed after the Effective Date in excess
   of the amount held in the Professional Fee Escrow Account based on such estimates.

                   Post-Confirmation Fees and Expenses

            Except as otherwise specifically provided in the Plan, for any fees and expenses incurred from and
   after the Confirmation Date, the Debtors shall, in the ordinary course of business and without any further
   notice to or action, order, or approval of the Bankruptcy Court, pay in Cash the reasonable and documented
   legal, professional, or other fees and expenses related to implementation of the Plan and Consummation
   incurred by the Debtors, the Reorganized Debtors, or the Committee. For any fees and expenses incurred
   from and after the Confirmation Date, the Debtors and Reorganized Debtors, as applicable, shall pay, within
   ten Business Days after submission of a detailed invoice to the Debtors or Reorganized Debtors, as
   applicable, such reasonable claims for compensation or reimbursement of expenses incurred by the
   Professionals of the Debtors, Reorganized Debtors, and the Committee, as applicable. If the Debtors or
   Reorganized Debtors, as applicable, dispute the reasonableness of any such invoice, the Debtors or
   Reorganized Debtors, as applicable, or the affected Professional may submit such dispute to the Bankruptcy
   Court for a determination of the reasonableness of any such invoice, and the disputed portion of such invoice
   shall not be paid until the dispute is resolved. From and after the Confirmation Date, any requirement that
   Professionals comply with sections 327 through 331 and 1103 of the Bankruptcy Code or the Interim
   Compensation Order in seeking retention or compensation for services rendered after such date shall
   terminate, and the Reorganized Debtors may employ and pay any Professional in the ordinary course of
   business without any further notice to or action, order, or approval of the Bankruptcy Court.

   C.      DIP Claims

           The DIP Claims shall be Allowed as of the Effective Date in an amount equal to (a) the principal
   amount outstanding under the DIP Facilities on such date, (b) all interest accrued and unpaid thereon to the
   date of payment and (c) any and all accrued and unpaid fees, expenses and indemnification or other
   obligations of any kind payable under the DIP Credit Agreement Documents.

            Except to the extent that a Holder of an Allowed DIP Claim agrees to a less favorable treatment, in
   full and final satisfaction, compromise, settlement, release, and discharge of, and in exchange for, each
   Allowed DIP Claim, on the Effective Date, all Holders of Allowed DIP Claims shall (a) to the extent clause
   (b) below does not apply, receive payment in full in Cash of their Allowed DIP Claims from the Debtors
   (the “Repaid DIP Claims”), at which time all Liens and security interests granted to secure such obligations
   shall be automatically terminated and of no further force and effect without any further notice to or action,
   order, or approval of the Bankruptcy Court or any other Entity or (b) solely in the event that the conditions
   precedent set forth on Annex I of the New ABL Credit Agreement Term Sheet shall have been satisfied
   prior to or contemporaneously with the Effective Date or validly waived, have their Allowed DIP Claims
   converted into New ABL Indebtedness on a dollar-for-dollar basis (such converted DIP Claims the
   “Converted DIP Claims”) in accordance with the terms of the New ABL Credit Agreement (under clause
   (i) of the definition thereof), the New ABL Credit Agreement Term Sheet and the DIP Credit Agreement
   (including, without limitation, Section 2.18), and the Holders of such Converted DIP Claims shall upon
   such conversion become New ABL Credit Agreement Lenders. If the Allowed DIP Claims become
   Converted DIP Claims, contemporaneously with such conversion, all liens and security interests granted to
   secure the obligations arising under the DIP Credit Agreement shall continue, remain in effect and be
   deemed to secure the obligations under the New ABL Credit Agreement Documents (the “Continuing
   Liens”).


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            Notwithstanding anything to the contrary in the Plan or the Confirmation Order (including, for the
   avoidance of doubt, Articles VIII.B and VIII.C of the Plan), (i) any Contingent DIP Obligations that do not
   receive the treatment above shall survive the Effective Date, shall not be discharged or released pursuant to
   the Plan or the Confirmation Order, and, solely in the event that the Allowed DIP Claims become Converted
   DIP Claims, shall continue to be secured by all liens and security interests granted to secure the obligations
   arising under the New ABL Credit Agreement, and (ii) the DIP Facilities and the DIP Credit Agreement
   Documents shall continue in full force and effect after the Effective Date with respect to any obligations
   thereunder governing (A) the Contingent DIP Obligations and (B) the relationships among the DIP Agent
   and the DIP Lenders, as applicable, including but not limited to, those provisions relating to the rights of
   the DIP Agent and the DIP Lenders to expense reimbursement, indemnification and other similar amounts
   (either from the Debtors or the DIP Lenders), reinstatement obligations pursuant to Section 10.28 of the
   DIP Credit Agreement and any provisions that may survive termination or maturity of the DIP Facilities in
   accordance with the terms thereof. After the Effective Date, the Reorganized Debtors shall continue to
   reimburse the DIP Agent and the DIP Lenders for any reasonable fees and expenses (including reasonable
   and documented legal fees and expenses) incurred by the DIP Agent and the DIP Lenders after the Effective
   Date that survive termination or maturity of the DIP Facilities in accordance with the terms thereof. The
   Reorganized Debtors shall pay all of the amounts that may become payable to the DIP Agent or any of the
   DIP Lenders under any of the foregoing provisions in accordance with the terms of the DIP Credit
   Agreement Documents.

           Notwithstanding anything to the contrary in the Plan or the Confirmation Order, requests for
   payment and expenses of professionals compensated pursuant to the DIP Order are not required to be filed
   and served other than in compliance with the procedures set forth in the DIP Order.

   D.      Priority Tax Claims

           Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to a less favorable
   treatment, in full and final satisfaction, compromise, settlement, release, and discharge of, and in exchange
   for, each Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim shall be treated in
   accordance with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code.



                                    CLASSIFICATION, TREATMENT,
                                AND VOTING OF CLAIMS AND INTERESTS

   A.      Classification of Claims and Interests

            Except for the Claims addressed in Article II of the Plan, all Claims against and Interests in the
   Debtors are classified in the Classes set forth in this Article III for all purposes, including voting,
   Confirmation, and distributions pursuant to the Plan and in accordance with section 1122 and 1123(a)(1)
   of the Bankruptcy Code. A Claim or an Interest is classified in a particular Class only to the extent that the
   Claim or Interest qualifies within the description of that Class and is classified in other Classes to the extent
   that any portion of the Claim or Interest qualifies within the description of such other Classes. A Claim or
   an Interest also is classified in a particular Class for the purpose of receiving distributions under the Plan
   only to the extent that such Claim or Interest is an Allowed Claim or Allowed Interest in that Class and has
   not been paid, released, or otherwise satisfied prior to the Effective Date.




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   B.           Summary of Classification

            A summary of the classification of Claims against and Interests in each Debtor pursuant to the Plan
   is summarized in the following chart. The Plan constitutes a separate chapter 11 plan for each of the
   Debtors, and accordingly, the classification of Claims and Interests set forth below apply separately to each
   of the Debtors. All of the potential Classes for the Debtors are set forth herein. Certain of the Debtors may
   not have Holders of Claims or Interests in a particular Class or Classes, and such Claims or Interests shall
   be treated as set forth in Article III.E hereof. Voting tabulations for recording acceptances or rejections of
   the Plan shall be conducted on a Debtor-by-Debtor basis as set forth above.1

       Class        Claim or Interest                        Status              Voting Rights

       1            Secured Tax Claims                       Unimpaired          Not Entitled to Vote (Deemed to Accept)

       2            Other Secured Claims                     Unimpaired          Not Entitled to Vote (Deemed to Accept)

       3            Priority Non-Tax Claims                  Unimpaired          Not Entitled to Vote (Deemed to Accept)

                    Secured Term Loan / 2019 PGN
       4                                                     Impaired            Entitled to Vote
                    Claims

                    Secured Non-9.0% PGN Due 2019
       5A           Claims Other Than Exchange               Impaired            Entitled to Vote
                    11.25% PGN Claims

                    Secured Exchange 11.25% PGN
       5B                                                    Impaired            Entitled to Vote
                    Claims

       6            iHC 2021 / Legacy Notes Claims           Impaired            Entitled to Vote

                    General Unsecured Claims Against
       7A                                                    Unimpaired          Not Entitled to Vote (Deemed to Accept)
                    Non-Obligor Debtors

                    General Unsecured Claims Against
       7B                                                    Unimpaired          Not Entitled to Vote (Deemed to Accept)
                    TTWN Debtors

                    Term Loan/PGN Deficiency Claims
       7C                                                    Impaired            Entitled to Vote
                    Against the TTWN Debtors

       7D           iHC Unsecured Claims                     Impaired            Entitled to Vote

                    Guarantor Funded Debt Unsecured
                    Claims (Other Than Exchange
       7E           11.25% PGN Claims) Against               Impaired            Entitled to Vote
                    Guarantor Debtors Other Than CCH
                    and the TTWN Debtors




   1        The Debtors reserve the right to separately classify Claims or Interests to the extent necessary to comply with any
            requirements under the Bankruptcy Code or applicable law.


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    Class      Claim or Interest                       Status            Voting Rights

               Guarantor Funded Debt Unsecured
    7F                                                 Impaired          Entitled to Vote
               Claims Against CCH

    7G         Guarantor General Unsecured Claims      Impaired          Entitled to Vote

    8          CCOH Due From Claims                    Impaired          Entitled to Vote


    9          iHeart Interests                        Impaired          Entitled to Vote


    10         Section 510(b) Claims                   Impaired          Not Entitled to Vote (Deemed to Reject)

                                                       Unimpaired /      Not Entitled to Vote (Presumed to Accept
    11         Intercompany Claims
                                                       Impaired          or Deemed to Reject)

                                                       Unimpaired /      Not Entitled to Vote (Presumed to Accept
    12         Intercompany Interests
                                                       Impaired          or Deemed to Reject)


   C.       Treatment of Classes of Claims and Interests

            Subject to Article VI hereof, each Holder of an Allowed Claim or Allowed Interest, as applicable,
   shall receive under the Plan the treatment described below in full and final satisfaction, compromise,
   settlement, release, and discharge of, and in exchange for, such Holder’s Allowed Claim or Allowed
   Interest, except to the extent different treatment is agreed to by the Debtors or Reorganized Debtors, as
   applicable, and the Holder of such Allowed Claim or Allowed Interest, as applicable.

                    Class 1 — Secured Tax Claims

                    (a)       Classification: Class 1 consists of all Secured Tax Claims.

                    (b)       Treatment: Each Holder of an Allowed Secured Tax Claim shall receive, at the
                              option of the applicable Reorganized Debtor:

                              (i)       payment in full in Cash of such Holder’s Allowed Secured Tax Claim; or

                              (ii)      equal semi-annual Cash payments commencing as of the Effective Date or
                                        as soon as reasonably practicable thereafter and continuing for five years,
                                        in an aggregate amount equal to such Allowed Secured Tax Claim,
                                        together with interest at the applicable non-default rate under applicable
                                        non-bankruptcy law, subject to the option of the applicable Reorganized
                                        Debtor to prepay the entire amount of such Allowed Secured Tax Claim
                                        during such time period.

                    (c)       Voting: Class 1 is Unimpaired under the Plan. Holders of Allowed Secured Tax
                              Claims are conclusively presumed to have accepted the Plan pursuant to
                              section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                              to vote to accept or reject the Plan.



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               Class 2 — Other Secured Claims

               (a)    Classification: Class 2 consists of all Other Secured Claims.

               (b)    Treatment: Each Holder of an Allowed Other Secured Claim shall receive, at the
                      option of the applicable Reorganized Debtor:

                      (i)     payment in full in Cash of such Holder’s Allowed Other Secured Claim;

                      (ii)    Reinstatement of such Holder’s Allowed Other Secured Claim;

                      (iii)   delivery of the collateral securing such Holder’s Allowed Other Secured
                              Claim; or

                      (iv)    such other treatment rendering such Holder’s Allowed Other Secured
                              Claim Unimpaired.

               (c)    Voting: Class 2 is Unimpaired under the Plan. Holders of Allowed Other Secured
                      Claims are conclusively presumed to have accepted the Plan pursuant to
                      section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                      to vote to accept or reject the Plan.

               Class 3 — Priority Non-Tax Claims

               (a)    Classification: Class 3 consists of all Priority Non-Tax Claims.

               (b)    Treatment: Each Holder of an Allowed Priority Non-Tax Claim shall receive, at
                      the option of the applicable Reorganized Debtor, payment in full in Cash of such
                      Holder’s Allowed Priority Non-Tax Claim or such other treatment rendering
                      such Holder’s Allowed Priority Non-Tax Claim Unimpaired.

               (c)    Voting: Class 3 is Unimpaired under the Plan. Holders of Allowed Priority
                      Non-Tax Claims are conclusively presumed to have accepted the Plan pursuant to
                      section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                      to vote to accept or reject the Plan.

               Class 4 — Secured Term Loan / 2019 PGN Claims

               (a)    Classification: Class 4 consists of all Secured Term Loan / 2019 PGN Claims.

               (b)    Allowance: The Secured Term Loan / 2019 PGN Claims shall be Allowed,
                      without offset, recoupment, reductions, or deduction of any kind, in an aggregate
                      amount equal to $1,306,230,566, comprised of: (i) $990,479,068 on account of
                      the Term Loan Credit Agreement Claims; and (ii) $315,751,498 on account of the
                      9.0% PGN Due 2019 Claims.

               (c)    Treatment: Each Holder of an Allowed Secured Term Loan / 2019 PGN Claim
                      shall receive its Pro Rata share (calculated based on the total aggregate amount of
                      Allowed Claims in Class 4 that are not Intercompany Notes Claims) of:

                      (i)     either (x) the Secured Term Loan / 2019 PGN Supplemental Distribution
                              or (y) if the FCC Trust is utilized as described in the Plan, the Secured
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                             Term Loan / 2019 PGN Supplemental Non-Equity Distribution and
                             2.21 percent of the beneficial interests in the FCC Trust;

                     (ii)    either (x) 13.99 percent of the Remaining Distribution or (y) if the FCC
                             Trust is utilized as described in the Plan, 13.99 percent of the Remaining
                             Non-Equity Distribution and 12.55 percent of the beneficial interests in
                             the FCC Trust; and

                     (iii)   Class 4’s Pro Rata share (calculated based on the total aggregate amount
                             of Allowed Claims in Class 4, Class 5A, and Class 5B that are not
                             Intercompany Notes Claims) of the Excess Cash.

                     Pursuant to the Plan Settlement, each Secured Term Loan / 2019 PGN Claim that
                     is an Intercompany Notes Claim will be cancelled and there shall be no
                     distributions made on account of any such Secured Term Loan / 2019 PGN Claim.

               (d)   Voting: Class 4 is Impaired under the Plan. Therefore, Holders of Allowed
                     Secured Term Loan / 2019 PGN Claims are entitled to vote to accept or reject the
                     Plan.

               Class 5A — Secured Non-9.0% PGN Due 2019 Claims Other Than Exchange 11.25%
               PGN Claims

               (a)   Classification: Class 5A consists of all Secured Non-9.0% PGN Due 2019 Claims
                     other than Exchange 11.25% PGN Claims.

               (b)   Allowance: The Secured Non-9.0% PGN Due 2019 Claims shall be Allowed,
                     without offset, recoupment, reductions, or deduction of any kind, in an aggregate
                     amount equal to $589,302,043, comprised of: (i) $240,812,176 on account of the
                     9.0% PGN Due 2021 Claims; (ii) $137,147,612 on account of the 9.0% PGN Due
                     2022 Claims; (iii) $131,303,253 on account of the 10.625% PGN Claims; and
                     (iv) $80,039,002 on account of the 11.25% PGN Claims that are not Exchange
                     11.25% PGN Claims.

               (c)   Treatment: Each Holder of an Allowed Secured Non-9.0% PGN Due 2019 Claim
                     other than Exchange 11.25% PGN Claims shall receive its Pro Rata share
                     (calculated based on the total aggregate amount of Allowed Claims in Class 5A
                     that are not Intercompany Notes Claims) of:

                     (i)     either (x) 7.42 percent of the Remaining Distribution or (y) if the FCC
                             Trust is utilized as described in the Plan, 7.42 percent of the Remaining
                             Non-Equity Distribution and 6.66 percent of the beneficial interests in the
                             FCC Trust; and

                     (ii)    Class 5A’s Pro Rata share (calculated based on the total aggregate amount
                             of Allowed Claims in Class 4, Class 5A, and Class 5B that are not
                             Intercompany Notes Claims) of the Excess Cash.

                     Pursuant to the Plan Settlement, each Secured Non-9.0% PGN Due 2019 Claim
                     other than an Exchange 11.25% PGN Claim that is an Intercompany Notes Claim
                     will be cancelled and there shall be no distributions made on account of any such

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                      Secured Non-9.0% PGN Due 2019 Claim other than an Exchange 11.25% PGN
                      Claim.

               (d)    Voting: Class 5A is Impaired under the Plan. Therefore, Holders of Allowed
                      Secured Non-9.0% PGN Due 2019 Claims are entitled to vote to accept or reject
                      the Plan.

               Class 5B — Secured Exchange 11.25% PGN Claims

               (a)    Classification: Class 5B consists of all Secured Exchange 11.25% PGN Claims.

               (b)    Allowance: The Secured Exchange 11.25% PGN Claims in Class 5B shall be
                      Allowed, without offset, recoupment, reductions, or deduction of any kind, in an
                      aggregate amount equal to $374,864,583.

               (c)    Treatment: Each Holder of an Allowed Secured Exchange 11.25% PGN Claim
                      shall receive its Pro Rata share of:

                      (i)     either (x) the Exchange 11.25% PGNs Distribution or (y) if the FCC Trust
                              is utilized as described in the Plan, the Exchange 11.25% PGNs
                              Non-Equity Distribution and 2.07 percent of the beneficial interests in the
                              FCC Trust; and

                      (ii)    Class 5B’s Pro Rata share (calculated based on the total aggregate amount
                              of Allowed Claims in Class 4, Class 5A, and Class 5B that are not
                              Intercompany Notes Claims) of the Excess Cash.

                      Pursuant to the Plan Settlement, each Secured Exchange 11.25% PGN Claim that
                      is an Intercompany Notes Claim will be cancelled and there shall be no
                      distributions made on account of any such Secured Exchange 11.25% PGN Claim.

               (d)    Voting: Class 5B is Impaired under the Plan. Therefore, Holders of Allowed
                      Secured Exchange 11.25% PGN Claims are entitled to vote to accept or reject the
                      Plan.

               Class 6 — iHC 2021 / Legacy Notes Claims

               (a)    Classification: Class 6 consists of all iHC 2021 / Legacy Notes Claims.

               (b)    Allowance: The iHC 2021 / Legacy Notes Claims shall be Allowed against iHC,
                      without offset, recoupment, reductions, or deduction of any kind, in an aggregate
                      amount equal to $2,953,751,499, comprised of: (i) $2,408,796,061 on account of
                      the 2021 Notes Claims; (ii) $57,885,125 on account of the 5.50% Legacy Notes
                      Claims; (iii) $178,007,813 on account of the 6.875% Legacy Notes Claims; and
                      (iv) $309,062,500 on account of the 7.25% Legacy Notes Claims.

               (c)    Treatment: Each Holder of an Allowed iHC 2021 / Legacy Notes Claim shall
                      receive its Pro Rata share (calculated based on the total aggregate amount of
                      Allowed Claims in Class 6 that are not Intercompany Notes Claims) of:




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                      (i)     $200,000,000 aggregate principal amount of the New Debt, allocated
                              proportionally by principal amount among New Term Loans, New
                              Secured Notes, and New Unsecured Notes; and

                      (ii)    either (x) the iHC 2021 / Legacy Notes Equity Distribution or (y) if the
                              FCC Trust is utilized as described in the Plan, 5.0 percent of the beneficial
                              interests in the FCC Trust, subject to the Legacy Notes Plan Settlement.

                      Pursuant to the Plan Settlement, each iHC 2021 / Legacy Notes Claim that is an
                      Intercompany Notes Claim will be cancelled without any distribution on account
                      of such iHC 2021 / Legacy Notes Claim, and (i) the distribution that otherwise
                      would have been made on account of such Intercompany Notes Claims that are
                      2021 Notes Claims shall be allocated, Pro Rata, to Holders of Allowed 2021 Notes
                      Claims that are not Intercompany Notes Claims, and (ii) the distribution that
                      otherwise would have been made on account of such Intercompany Notes Claims
                      that are Legacy Notes Claims shall be allocated, Pro Rata, to Holders of Allowed
                      Legacy Notes Claims that are not Intercompany Notes Claims. Pursuant to the
                      Legacy Notes Plan Settlement, (i) either (A) an amount of the iHC 2021 / Legacy
                      Notes Equity Distribution equal to 0.1 percent of the Reorganized iHeart Equity
                      on a fully diluted basis (but excluding and subject to dilution on account of the
                      Post-Emergence Equity Incentive Program) or (B) if the FCC Trust is utilized as
                      described in the Plan, 0.1 percent of the beneficial interests in the FCC Trust, that
                      otherwise would have been distributed to Holders of Allowed 2021 Notes Claims
                      on account of their Class 6 Allowed 2021 Notes Claims, shall be allocated, Pro
                      Rata, to Holders of Allowed Legacy Notes Claims that are not Intercompany Notes
                      Claims, and (ii) either (A) an amount of the iHeart Interests Equity Distribution
                      equal to 0.1 percent of the Reorganized iHeart Equity on a fully diluted basis (but
                      excluding and subject to dilution on account of the Post-Emergence Equity
                      Incentive Program) or (B) if the FCC Trust is utilized as described in the Plan, 0.1
                      percent of the beneficial interests in the FCC Trust, that otherwise would have been
                      distributed to the Consenting Sponsors on account of their Class 9 Allowed iHeart
                      Interests, shall be allocated, Pro Rata, to Holders of Allowed Legacy Notes Claims
                      that are not Intercompany Notes Claims.

               (d)    Voting: Class 6 is Impaired under the Plan. Therefore, Holders of Allowed iHC
                      2021 / Legacy Notes Claims are entitled to vote to accept or reject the Plan.

               Class 7A — General Unsecured Claims Against Non-Obligor Debtors

               (a)    Classification: Class 7A consists of all General Unsecured Claims against the
                      Non-Obligor Debtors.

               (b)    Treatment: Each Holder of an Allowed General Unsecured Claim against the
                      Non-Obligor Debtors shall receive, at the option of the applicable Reorganized
                      Non-Obligor Debtor, payment in full in Cash of such Holder’s Allowed General
                      Unsecured Claim against such Non-Obligor Debtor or such other treatment
                      rendering such Holder’s Allowed General Unsecured Claim against such Non-
                      Obligor Debtor Unimpaired.

               (c)    Voting: Class 7A is Unimpaired under the Plan. Holders of Allowed General
                      Unsecured Claims against the Non-Obligor Debtors are conclusively presumed to

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                      have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
                      Therefore, such Holders are not entitled to vote to accept or reject the Plan.

               Class 7B — General Unsecured Claims Against TTWN Debtors

               (a)    Classification: Class 7B consists of all General Unsecured Claims against the
                      TTWN Debtors.

               (b)    Treatment: Each Holder of an Allowed General Unsecured Claim against the
                      TTWN Debtors shall receive, at the option of the applicable Reorganized TTWN
                      Debtor, payment in full in Cash of such Holder’s Allowed General Unsecured
                      Claim against a TTWN Debtor or such other treatment rendering such Holder’s
                      Allowed General Unsecured Claim against a TTWN Debtor Unimpaired.

               (c)    Voting: Class 7B is Unimpaired under the Plan. Holders of Allowed General
                      Unsecured Claims against the TTWN Debtors are conclusively presumed to have
                      accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
                      such Holders are not entitled to vote to accept or reject the Plan.

               Class 7C — Term Loan/PGN Deficiency Claims Against the TTWN Debtors

               (a)    Classification: Class 7C consists of all Term Loan / PGN Deficiency Claims
                      against the TTWN Debtors.

               (b)    Allowance: The Term Loan / PGN Deficiency Claims in Class 7C shall be
                      Allowed against the TTWN Debtors, without offset, recoupment, reductions, or
                      deduction of any kind, in an aggregate amount equal to $10,949,779,638,
                      comprised of: (i) $5,423,876,352 on account of the Term Loan Credit Agreement
                      Claims; (ii) $1,729,059,339 on account of the 9.0% PGN Due 2019 Claims;
                      (iii) $1,551,540,953 on account of the 9.0% PGN Due 2021 Claims;
                      (iv) $883,635,286 on account of the 9.0% PGN Due 2022 Claims;
                      (v) $845,980,374 on account of the 10.625% PGN Claims; and (vi) $515,687,333
                      on account of the 11.25% PGN Claims.

               (c)    Treatment: Pursuant to the Plan Settlement, the distributions on account of each
                      Term Loan / PGN Deficiency Claim in this class shall be deemed satisfied by the
                      distributions provided in Class 7E and the distributions to other parties provided
                      in Class 6, Class 7D, Class 7G, and Class 8.

               (d)    Voting: Class 7C is Impaired under the Plan. Holders of Allowed Term Loan /
                      PGN Deficiency Claims against the TTWN Debtors are entitled to vote to accept
                      or reject the Plan.

               Class 7D — iHC Unsecured Claims

               (a)    Classification: Class 7D consists of all iHC Unsecured Claims.

               (b)    Allowance: The Term Loan / PGN Deficiency Claims in Class 7D shall be
                      Allowed against iHC, without offset, recoupment, reductions, or deduction of any
                      kind, in an aggregate amount equal to $13,454,622,496, comprised of:
                      (i) $6,414,355,420 on account of the Term Loan Credit Agreement Claims;

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                     (ii) $2,044,810,838 on account of the 9.0% PGN Due 2019 Claims;
                     (iii) $1,834,875,000 on account of the 9.0% PGN Due 2021 Claims;
                     (iv) $1,045,000,000 on account of the 9.0% PGN Due 2022 Claims;
                     (v) $1,000,468,750 on account of the 10.625% PGN Claims; and
                     (vi) $1,115,112,488 on account of the 11.25% PGN Claims.

               (c)   Treatment: Each Holder of an Allowed iHC Unsecured Claim shall receive
                     payment of Cash equal to the greater of (i) 14.44 percent of the Allowed amount
                     of such Allowed iHC Unsecured Claim and (ii) the percentage recovery provided
                     to the Holders of iHC Unsecured Claims, CCOH Due From Claims, and/or iHC
                     2021 / Legacy Notes Claims. For the avoidance of doubt, any determination of
                     whether any other Allowed unsecured Claim against iHC receives a greater
                     recovery shall not consider or include (a) any consideration included in the
                     transactions contemplated by the Plan in connection with the CCOH Separation,
                     (b) recoveries for Claims against Debtors other than iHC, and (c) recoveries for
                     Claims or Interests that are subordinate to Allowed General Unsecured Claims
                     against iHC. Pursuant to the Plan Settlement, each Term Loan / PGN Deficiency
                     Claim against iHC will be cancelled without any distribution on account of such
                     Term Loan / PGN Deficiency Claim against iHC.

               (d)   Voting: Class 7D is Impaired under the Plan. Therefore, Holders of Allowed iHC
                     Unsecured Claims are entitled to vote to accept or reject the Plan.

               Class 7E — Guarantor Funded Debt Unsecured Claims (Other Than Exchange 11.25%
               PGN Claims) Against Guarantor Debtors Other Than CCH and the TTWN Debtors

               (a)    Classification: Class 7E consists of all Guarantor Funded Debt Unsecured Claims,
                      other than Exchange 11.25% PGN Claims, against Guarantor Debtors other than
                      CCH and the TTWN Debtors.

               (b)    Allowance: The Term Loan / PGN Deficiency Claims in Class 7E shall be
                      Allowed against each Guarantor Debtor other than CCH and the TTWN Debtors,
                      without offset, recoupment, reductions, or deduction of any kind, in an aggregate
                      amount equal to $10,949,779,638, comprised of: (i) $5,423,876,352 on account of
                      the Term Loan Credit Agreement Claims; (ii) $1,729,059,339 on account of the
                      9.0% PGN Due 2019 Claims; (iii) $1,551,540,953 on account of the 9.0% PGN
                      Due 2021 Claims; (iv) $883,635,286 on account of the 9.0% PGN Due 2022
                      Claims; (v) $845,980,374 on account of the 10.625% PGN Claims; and
                      (vi) $515,687,333 on account of the 11.25% PGN Claims that are not Exchange
                      11.25% PGN Claims. The 2021 Notes Claims in Class 7E shall be Allowed against
                      each Guarantor Debtor other than CCH and the TTWN Debtors, without offset,
                      recoupment, reductions, or deduction of any kind, in an aggregate amount equal to
                      $2,408,796,061.

               (c)   Treatment: Each Holder of an Allowed Guarantor Funded Debt Unsecured Claim,
                     excluding Allowed Exchange 11.25% PGN Claims, against a Guarantor Debtor
                     other than CCH and the TTWN Debtors shall receive its Pro Rata share of (a) 78.59
                     percent of the Remaining Distribution or (b) if the FCC Trust is utilized as
                     described in the Plan, 70.51 percent of the beneficial interests in the FCC Trust
                     and 78.59 percent of the Remaining Non-Equity Distribution; provided that all
                     distributions on account of the 2021 Notes Claims in Class 7E shall be distributed

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                      to the Holders of the Allowed Term Loan / PGN Deficiency Claims that are not
                      Intercompany Notes Claims pursuant to the 2021 Notes Indenture; provided
                      further that the distributions that otherwise would have been made on account of
                      Intercompany Notes Claims that are Term Loan / PGN Deficiency Claims
                      (excluding Exchange 11.25% PGN Claims) shall be allocated, Pro Rata, to Holders
                      of Allowed Term Loan / PGN Deficiency Claims (excluding Exchange 11.25%
                      PGN Claims) that are not Intercompany Notes Claims.

               (d)    Voting: Class 7E is Impaired under the Plan. Therefore, Holders of Allowed
                      Guarantor Funded Debt Unsecured Claims (other than Exchange 11.25% PGN
                      Claims) against Guarantor Debtors other than CCH and the TTWN Debtors are
                      entitled to vote to accept or reject the Plan.

               Class 7F — Guarantor Funded Debt Unsecured Claims Against CCH

               (a)    Classification: Class 7F consists of all Guarantor Funded Debt Unsecured Claims
                      against CCH.

               (b)    Allowance: The Term Loan / PGN Deficiency Claims in Class 7F shall be Allowed
                      against CCH, without offset, recoupment, reductions, or deduction of any kind, in
                      an aggregate amount equal to $13,454,622,496, comprised of: (i) $6,414,355,420
                      on account of the Term Loan Credit Agreement Claims; (ii) $2,044,810,838 on
                      account of the 9.0% PGN Due 2019 Claims; (iii) $1,834,875,000 on account of the
                      9.0% PGN Due 2021 Claims; (iv) $1,045,000,000 on account of the 9.0% PGN
                      Due 2022 Claims; (v) $1,000,468,750 on account of the 10.625% PGN Claims;
                      and (vi) $1,115,112,488 on account of the 11.25% PGN Claims. The 2021 Notes
                      Claims in Class 7F shall be Allowed against CCH, without offset, recoupment,
                      reductions, or deduction of any kind, in an aggregate amount equal to
                      $2,408,796,061.

               (c)    Treatment: Each Holder of an Allowed Guarantor Funded Debt Unsecured Claim
                      against CCH shall receive its Pro Rata share of 100 percent of the CCOH Interests
                      held by the Debtors and CC Finco, LLC and Broader Media, LLC, which are non-
                      Debtor affiliates of the Debtors (which is estimated to be approximately 89.5
                      percent of all outstanding CCOH Interests); provided that all distributions on
                      account of the 2021 Notes claims in Class 7F shall be distributed to the Holders of
                      Allowed Term Loan / PGN Deficiency Claims that are not Intercompany Notes
                      Claims pursuant to the 2021 Notes Indenture; provided further that the
                      distributions that otherwise would have been made on account of Intercompany
                      Notes Claims that are Term Loan / PGN Deficiency Claims shall be allocated, Pro
                      Rata, to Holders of Allowed Term Loan / PGN Deficiency Claims that are not
                      Holders of Intercompany Notes Claims.

               (d)    Voting: Class 7F is Impaired under the Plan. Therefore, Holders of Allowed
                      Guarantor Funded Debt Unsecured Claims against CCH are entitled to vote to
                      accept or reject the Plan.

               Class 7G — Guarantor General Unsecured Claims

               (a)    Classification: Class 7G consists of all Guarantor General Unsecured Claims.


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               (b)     Treatment: Each Holder of an Allowed Guarantor General Unsecured Claim shall
                       receive its Pro Rata share of the Guarantor General Unsecured Recovery Cash
                       Pool; provided that no Holder of an Allowed Guarantor General Unsecured Claim
                       shall receive a recovery (i) less than 45 percent of such Holder’s Allowed Claim
                       or (ii) greater than 55 percent of such Holder’s Allowed Claim.

               (c)     Voting: Class 7G is Impaired under the Plan. Therefore, Holders of Allowed
                       Guarantor General Unsecured Claims are entitled to vote to accept or reject the
                       Plan.

               Class 8 — CCOH Due From Claims

               (a)     Classification: Class 8 consists of all CCOH Due From Claims.

               (b)     Allowance: The CCOH Due From Claims in Class 8 shall be Allowed, without
                       offset, recoupment, reductions, or deduction of any kind, in an aggregate amount
                       equal to $1,031,721,306.

               (c)     Treatment: Each Holder of an Allowed CCOH Due From Claim shall receive
                       payment of Cash equal to 14.44 percent of the Allowed amount of such Allowed
                       CCOH Due From Claim.

               (d)     Voting: Class 8 is Impaired under the Plan. Therefore, Holders of Allowed CCOH
                       Due From Claims are entitled to vote to accept or reject the Plan.

               Class 9 — iHeart Interests

               (a)     Classification: Class 9 consists of all iHeart Interests.

               (b)     Allowance: iHeart Interests held by the Consenting Sponsors shall be deemed
                       Allowed as of the Effective Date.

               (c)     Treatment: Each Holder of an Allowed iHeart Interest shall receive its share of
                       either (x) the iHeart Interests Equity Distribution or (y) if the FCC Trust is utilized
                       as described in the Plan, 1.0 percent of the beneficial interests in the FCC Trust,
                       and such distributions shall be made in accordance with the terms of the documents
                       providing for corporate governance of iHeart; provided that, (i) an amount of the
                       iHeart Interests Equity Distribution equal to 0.1 percent of the Reorganized iHeart
                       Equity on a fully diluted basis (but excluding and subject to dilution on account of
                       the Post-Emergence Equity Incentive Program) or (ii) if the FCC Trust is utilized
                       as described in the Plan, 0.1 percent of the beneficial interests in the FCC Trust,
                       that otherwise would have been distributed to the Consenting Sponsors on account
                       of their Class 9 Allowed iHeart Interests, will instead be deemed satisfied by the
                       distributions provided to Holders of Allowed Legacy Notes Claims that are not
                       Intercompany Notes Claims in Class 6 in accordance with the Legacy Notes Plan
                       Settlement.

               (d)     Voting: Class 9 is Impaired under the Plan. Therefore, Holders of Allowed iHeart
                       Interests are entitled to vote to accept or reject the Plan.




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               Class 10 — Section 510(b) Claims

               (a)    Classification: Class 10 consists of all Section 510(b) Claims.

               (b)    Allowance: Notwithstanding anything to the contrary herein, a Section 510(b)
                      Claim may only become Allowed by Final Order of the Bankruptcy Court. The
                      Debtors are not aware of any valid Section 510(b) Claim and believe that no such
                      Section 510(b) Claim exists. Accordingly, the Debtors believe that Class 10 shall
                      be deemed eliminated from the Plan in accordance with Article III.E of the Plan.

               (c)    Treatment: All Section 510(b) Claims, if any, shall be discharged, cancelled,
                      released, and extinguished as of the Effective Date, and will be of no further force
                      or effect, and Holders of Allowed Section 510(b) Claims will not receive any
                      distribution on account of such Allowed Section 510(b) Claims.

               (d)    Voting: Class 10 is Impaired under the Plan. Holders of Section 510(b) Claims, if
                      any, are conclusively presumed to have rejected the Plan pursuant to
                      section 1126(g) of the Bankruptcy Code. Therefore, such Holders are not entitled
                      to vote to accept or reject the Plan.

               Class 11 — Intercompany Claims

               (a)    Classification: Class 11 consists of all Intercompany Claims.

               (b)    Treatment: All Intercompany Claims shall be, at the option of the Reorganized
                      Debtors with the consent of the Required Consenting Senior Creditors, either
                      (a) Reinstated or (b) cancelled without any distribution on account of such
                      interests.

               (c)    Voting: Holders of Intercompany Claims are either Unimpaired, and such Holders
                      of Intercompany Claims are conclusively presumed to have accepted the Plan
                      under section 1126(f) of the Bankruptcy Code, or Impaired, and such Holders of
                      Intercompany Claims are conclusively presumed to have rejected the Plan pursuant
                      to section 1126(g) of the Bankruptcy Code. Therefore, such Holders are not
                      entitled to vote to accept or reject the Plan.

               Class 12 — Intercompany Interests

               (a)    Classification: Class 12 consists of all Intercompany Interests.

               (b)    Treatment: All Intercompany Interests shall be, at the option of the Reorganized
                      Debtors, either (a) Reinstated in accordance with Article III.G of the Plan or
                      (b) cancelled without any distribution on account of such Intercompany Interests.

               (c)    Voting: Holders of Intercompany Interests are either Unimpaired, and such
                      Holders of Intercompany Interests are conclusively presumed to have accepted the
                      Plan under section 1126(f) of the Bankruptcy Code, or Impaired, and such Holders
                      of Intercompany Interests are conclusively presumed to have rejected the Plan
                      pursuant to section 1126(g) of the Bankruptcy Code. Therefore, such Holders are
                      not entitled to vote to accept or reject the Plan.



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   D.      Special Provision Governing Unimpaired Claims

           Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the
   Reorganized Debtors’ rights in respect of any Unimpaired Claim, including all rights in respect of legal and
   equitable defenses to or setoffs or recoupments against any such Unimpaired Claim. Unless otherwise
   Allowed, Claims that are Unimpaired shall remain Disputed Claims under the Plan.

   E.      Elimination of Vacant Classes; Presumed Acceptance by Non-Voting Classes

            Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed
   Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court in an amount greater than zero
   as of the date of the Confirmation Hearing shall be considered vacant and deemed eliminated from the Plan
   for purposes of voting to accept or reject the Plan and for purposes of determining acceptance or rejection
   of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code. If a Class contains Claims
   or Interests eligible to vote and no Holders of Claims or Interests eligible to vote in such Class vote to
   accept or reject the Plan, the Holders of such Claims or Interests in such Class shall be presumed to have
   accepted the Plan.

   F.      Subordinated Claims

           Except as expressly provided herein, the allowance, classification, and treatment of all Allowed
   Claims against and Allowed Interests in the Debtors and the respective distributions and treatments under
   the Plan take into account and conform to the relative priority and rights of the Claims and Interests in each
   Class in connection with any contractual, legal, and equitable subordination rights relating thereto, whether
   arising under general principles of equitable subordination, section 510(b) of the Bankruptcy Code, or
   otherwise. Except with respect to a Term Loan Credit Agreement Claim, a PGN Claim, the CCOH Due
   From Claim, a 2021 Notes Claim, or a Legacy Notes Claim (which are to be Allowed as set forth in this
   Plan and shall not be subject to offset, recoupment, or reduction), pursuant to section 510 of the Bankruptcy
   Code, the Debtors and the Reorganized Debtors reserve the right to reclassify any Allowed Claim or
   Allowed Interest in accordance with any contractual, legal, or equitable subordination relating thereto.

   G.      Intercompany Interests

           To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not
   being received by Holders of such Intercompany Interests on account of their Intercompany Interests but
   for the purposes of administrative convenience and in exchange for the Debtors’ and the Reorganized
   Debtors’ agreement under the Plan to provide management services to certain other Debtors and
   Reorganized Debtors, and to use certain funds and assets to make certain distributions and satisfy certain
   obligations as set forth in the Plan of certain other Debtors and Reorganized Debtors to the Holders of
   certain Allowed Claims and Allowed Interests.

   H.      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code

           Section 1129(a)(10) of the Bankruptcy Code is satisfied for purposes of Confirmation by
   acceptance of the Plan by at least one Impaired Class of Claims or Interests. The Debtors shall seek
   Confirmation of the Plan pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting
   Class of Claims or Interests. The Debtors reserve the right to modify the Plan in accordance with Article X
   of the Plan to the extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy Code
   requires modification, including by modifying the treatment applicable to a Class of Claims or Interests to
   render such Class of Claims or Interests Unimpaired to the extent permitted by the Bankruptcy Code and
   the Bankruptcy Rules.

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                         PROVISIONS FOR IMPLEMENTATION OF THE PLAN

   A.      General Settlement of Claims and Interests

            As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to
   section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification,
   distributions, releases, and other benefits provided under the Plan, on the Effective Date, the provisions of
   the Plan shall constitute a good-faith compromise and settlement of all Claims, Interests, Causes of Action,
   and controversies released, settled, compromised, discharged, or otherwise resolved pursuant to the Plan.
   The Plan shall be deemed a motion to approve the good-faith compromise and settlement of all such Claims,
   Interests, Causes of Action, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the
   Confirmation Order shall constitute the Bankruptcy Court’s approval of such compromise and settlement,
   including the Committee Plan Settlement, Legacy Notes Plan Settlement, and CCOH Plan and Separation
   Settlement, under section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 of all such Claims,
   Interests, Causes of Action, and controversies, as well as a finding by the Bankruptcy Court that such
   compromise and settlement is fair, equitable, reasonable, and in the best interests of the Debtors, their
   Estates, Holders of Claims and Interests, and CCOH (as to the CCOH Plan and Separation Settlement). As
   part of and in consideration of the Committee Plan Settlement and in exchange for the Committee’s support
   of, among other things, the releases and treatment of Claims and Interests held by the Consenting Sponsors
   and their Affiliates under the Plan, the Confirmation Order shall provide that the Sponsor Unsecured Claims
   shall be deemed withdrawn with prejudice as of the Effective Date. Subject to Article VI of the Plan, all
   distributions made to Holders of Allowed Claims and Allowed Interests in any Class are intended to be and
   shall be final.

   B.      Restructuring Transactions

            On or before the Effective Date, the applicable Debtors or Reorganized Debtors will, among other
   things, enter into any transaction, including those transactions set forth in the Restructuring Transactions
   Memorandum, and will take any action as may be necessary or advisable to effect the transactions described
   in the Plan, including, as applicable, the issuance, transfer, or cancellation of any assets, securities, notes,
   instruments, certificates, and other documents required to be issued, transferred, or cancelled pursuant to
   the Plan, one or more intercompany mergers, consolidations, amalgamations, arrangements, continuances,
   restructurings, conversions, dispositions, dissolutions, transfers, liquidations, spinoffs, intercompany sales,
   purchases, or other corporate transactions (collectively, the “Restructuring Transactions”). The actions to
   implement the Restructuring Transactions may include: (1) the execution and delivery of appropriate
   agreements or other documents of merger, consolidation, amalgamation, arrangement, continuance,
   restructuring, conversion, disposition, dissolution, transfer, liquidation, spinoff, sale, or purchase containing
   terms that are consistent with the terms of the Plan and that satisfy the requirements of applicable law and
   any other terms to which the applicable Entities may agree; (2) the execution and delivery of appropriate
   instruments of transfer, assignment, assumption, or delegation of any asset, property, right, liability, debt,
   or obligation on terms consistent with the terms of the Plan and having other terms for which the applicable
   parties agree; (3) the filing of appropriate certificates or articles of incorporation, reincorporation,
   formation, merger, consolidation, conversion, amalgamation, arrangement, continuance, dissolution, or
   other organizational documents pursuant to applicable law; (4) the execution and delivery of the New Debt
   Documents, and any filing related thereto; (5) the execution and delivery of the New ABL Credit
   Agreement Documents, and any filing related thereto; (6) the execution and delivery of the CCOH
   Separation Documents, and any filing related thereto; (7) if the FCC Trust is utilized as described in the
   Plan, the execution of the FCC Trust Agreement; (8) the filing of any required FCC Applications;
   (9) consummation of the Preferred Stock Transactions; and (10) all other actions that the applicable


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   Reorganized Debtors determine to be necessary or advisable, including making filings or recordings that
   may be required by applicable law in connection with the Plan.

           The Confirmation Order shall and shall be deemed to, pursuant to sections 1123 and 363 of the
   Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to effect
   any transaction described in, approved by, contemplated by, or necessary to effectuate the Plan, including
   the Restructuring Transactions.

   C.      Sources of Consideration for Plan Distributions

            Distributions under the Plan will be funded with, or effectuated by, as applicable, (1) Cash held on
   the Effective Date by or for the benefit of the Debtors, (2) the issuance of the New iHeart Common Stock,
   the Special Warrants, and, if applicable, the beneficial interests in the FCC Trust, (3) the issuance of or
   borrowings under the New Debt, (4) the issuance of or borrowings under the New ABL Credit Agreement,
   (5) the CCOH Interests currently held by the Debtors and non-Debtors CC Finco, LLC and Broader Media,
   LLC as they exist after the CCOH/CCH Merger, (6) if applicable, the Cash proceeds of the Preferred Stock
   Transactions, if any, (7) the waiver by Holders of certain Term Loan / PGN Deficiency Claims of such
   Holders’ recoveries from certain Debtors on account of such Claims, (8) the Guarantor General Unsecured
   Recovery Cash Pool, and (9) the waiver by each Debtor that is a Holder of an Intercompany Notes Claim
   of its recoveries on account of such Claims. In accordance with and upon consummation of the
   Restructuring Transactions, iHC (or the applicable entity as provided by the Restructuring Transactions
   Memorandum) shall make all distributions under the Plan with respect to all Allowed Claims against and
   Allowed Interests in all of the Debtors. No right of subrogation or contribution shall ever arise in favor of
   any Guarantor Debtor against iHC with respect to or on account of any distribution under the Plan, unless
   otherwise provided by the Restructuring Transactions Memorandum.

   D.     Issuance and Distribution of New iHeart Common Stock, Special Warrants, and/or the
   Beneficial Interests in the FCC Trust

           On the Effective Date, the Interests in iHeart shall be cancelled, and Reorganized iHeart shall issue
   the New iHeart Common Stock and the Special Warrants, or, if applicable, the beneficial interests in the
   FCC Trust to applicable Holders of Claims and Interests in exchange for such Holders’ respective Claims
   against or Interests in the Debtors as set forth in Article III.C hereof; provided that the iHeart Interests may
   instead be Reinstated as New iHeart Common Stock with respect to the distributions of New iHeart
   Common Stock to Holders of Allowed iHeart Interests. If the FCC Trust is utilized as described in the
   Plan, then after the FCC grants the FCC Long Form Applications, the New iHeart Common Stock and/or
   Special Warrants will be issued to the holders of the beneficial interests in the FCC Trust as set forth in the
   Plan. The issuance of the New iHeart Common Stock and/or the Special Warrants is authorized without
   the need for any further corporate action and without the need for any further action by Holders of any
   Claims or Interests.

            All of the New iHeart Common Stock issued pursuant to the Plan shall be duly authorized, validly
   issued, fully paid, and non-assessable, and the Special Warrants issued pursuant to the Plan shall be duly
   authorized and validly issued. Each distribution and issuance of the New iHeart Common Stock and/or
   Special Warrants under the Plan shall be governed by the terms and conditions set forth in the Plan
   applicable to such distribution or issuance and by the terms and conditions of the instruments evidencing
   or relating to such distribution or issuance, which terms and conditions shall bind each Entity receiving
   such distribution or issuance. For the avoidance of doubt, the acceptance of New iHeart Common Stock
   and/or Special Warrants by any Holder of any Claim or Interest shall be deemed as such Holder’s agreement
   to the New Corporate Governance Documents and/or the Special Warrant Agreement, as applicable, as


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   each may be amended or modified from time to time following the Effective Date in accordance with its
   terms.

            Subject to meeting the applicable listing standards of a U.S. stock exchange, Reorganized iHeart
   will use its reasonable best efforts to obtain a listing for the New iHeart Class A Common Stock on a
   recognized U.S. stock exchange as promptly as reasonably practicable on or after the Issuance Date.
   Subject to meeting the applicable requirements for pink sheet trading and cooperation from a market maker,
   in the event that listing on a recognized U.S. stock exchange has not occurred by or on the Issuance Date,
   Reorganized iHeart will use its reasonable best efforts to qualify the New iHeart Class A Common Stock
   for trading in the pink sheets until such time as the New iHeart Class A Common Stock is listed on a
   recognized U.S. stock exchange.

   E.      Issuance of New Debt

            On the Effective Date, to the extent the New Debt has not been replaced with Cash proceeds of
   third-party market financing that becomes available on or prior to the Effective Date, iHC and its applicable
   Debtor Affiliates will execute the New Debt Documents, pursuant to which iHC will issue the New Debt
   to applicable Holders of Claims in partial exchange for such Holders’ respective Claims as set forth in
   Article III.C hereof. The issuance of the New Debt is authorized without the need for any further corporate
   action and without the need for any further action by Holders of any Claims or Interests. All Holders of
   Allowed Term Loan Credit Agreement Claims, Allowed PGN Claims, and Allowed iHC 2021 / Legacy
   Notes Claims entitled to distributions of New Debt hereunder shall be deemed to be a party to, and bound
   by, the applicable New Debt Documents, regardless of whether such Holder has executed a signature page.
   On the Effective Date, all of the Liens and security interests to be granted in accordance with the New Debt
   Documents (1) shall be deemed to be granted, (2) shall be legal, binding, and enforceable Liens on, and
   security interests in, the collateral granted thereunder in accordance with the terms of the New Debt
   Documents, (3) shall be deemed perfected on the Effective Date and (4) shall not be subject to
   recharacterization or equitable subordination for any purposes whatsoever and shall not constitute
   preferential transfers or fraudulent conveyances under the Bankruptcy Code or any applicable
   nonbankruptcy law.

            Subject to the occurrence of the Effective Date, the New Debt Documents shall constitute legal,
   valid, and binding obligations of iHC and its applicable Debtor Affiliates party thereto and shall be
   enforceable in accordance with their respective terms. Each distribution and issuance of the New Debt
   under the Plan shall be governed by the terms and conditions set forth in the Plan applicable to such
   distribution or issuance and by the terms and conditions of the instruments evidencing or relating to such
   distribution or issuance, which terms and conditions shall bind each Entity receiving such distribution or
   issuance. For the avoidance of doubt, the acceptance of New Debt by any Holder of any Claim shall be
   deemed as such Holder’s agreement to the New Debt Documents, as each may be amended or modified
   from time to time following the Effective Date in accordance with its terms.

            The Reorganized Debtors and the Holders that are granted such Liens and security interests shall
   be authorized to make all filings and recordings, and to obtain all governmental approvals and consents
   necessary to establish and perfect such Liens and security interests under the provisions of the applicable
   state, federal, or other law that would be applicable in the absence of the Plan and the Confirmation Order
   (it being understood that perfection shall occur automatically by virtue of entry of the Confirmation Order,
   and any such filings, recordings, approvals, and consents shall not be required), and the Reorganized
   Debtors shall thereafter cooperate to make all other filings and recordings that otherwise would be necessary
   under applicable law to give notice of such Liens and security interests to third parties.



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           Some or all of the New Debt may be replaced with cash proceeds of third-party market financing
   that becomes available on or prior to the Effective Date. Any reduction of New Debt shall be made
   proportionally across all Holders of Claims and Interests that are entitled to receive New Debt under the
   Plan.

   F.      The New ABL Credit Agreement Documents

           On the Effective Date, iHC, the DIP Subsidiary Borrowers, and the other applicable Debtors will
   execute and deliver, file, record and/or issue, as applicable, the New ABL Credit Agreement Documents.
   On the Effective Date, all of the Liens and security interests to be granted in accordance with the New ABL
   Credit Agreement Documents, and solely in the event that the Allowed DIP Claims become Converted DIP
   Claims, the Continuing Liens (1) shall be deemed to be granted, (2) shall be legal, binding, and enforceable
   Liens on, and security interests in, the collateral granted thereunder in accordance with the terms of the
   New ABL Credit Agreement Documents, (3) shall be deemed perfected, and (4) shall be deemed granted
   in good faith as an inducement to the lenders thereunder to extend credit under the New ABL Credit
   Agreement and shall be deemed not to constitute a fraudulent conveyance or fraudulent transfer, shall not
   otherwise be subject to avoidance or subordination, and the priorities of such Liens shall be as set forth in
   the New ABL Credit Agreement Documents. Subject to the occurrence of the Effective Date,
   notwithstanding anything to the contrary in the Plan or the Confirmation Order (including, for the avoidance
   of doubt, Articles VIII.B and VIII.C of the Plan), the New ABL Credit Agreement Documents shall
   constitute legal, valid, and binding obligations of reorganized iHC, the reorganized DIP Subsidiary
   Borrowers, and the other applicable Reorganized Debtors party thereto and shall be enforceable in
   accordance with their respective terms.

            Entering into the New ABL Credit Agreement Documents, and the incurrence of obligations
   thereunder, is authorized pursuant to the Confirmation Order without the need for (x) (i) any further act or
   action under applicable law, regulation, order or rule or the vote, consent, authorization or approval of any
   Entity, including the need for any further action by Holders of any Claims or Interests or (ii) further notice
   to the Bankruptcy Court, and (y) entry of the Confirmation Order shall be deemed approval of the New
   ABL Credit Agreement Documents (including the transactions contemplated thereby, and all actions to be
   taken, undertakings to be made, and obligations and guarantees to be incurred and fees paid in connection
   therewith), to the extent not previously approved by the Bankruptcy Court, and shall constitute an Approval
   Order, as such term is defined in the New ABL Credit Agreement Term Sheet.

   G.      The CCOH Separation

           On or before the Effective Date, and pursuant to the CCOH Plan and Separation Settlement, the
   applicable Debtors will execute the CCOH Separation Documents, and on the Effective Date, the CCOH
   Separation will occur, pursuant to a Taxable Separation or a Tax-Free Separation.

            To effectuate the CCOH Separation as a Taxable Separation, CCOH will merge with and into CCH,
   with CCH surviving the merger (the “CCOH/CCH Merger”) on the Effective Date. Prior to the
   CCOH/CCH Merger, (i) CCH will be released from its guarantee of all of the Debtors’ prepetition and
   postpetition indebtedness, including the DIP Facility, (ii) CCH will transfer its radio subsidiaries and certain
   other assets to iHC, and (iii) Broader Media, LLC and CC Finco, LLC will distribute their CCOH stock to
   CCH. CCH will file a Form S-4 registration statement with the SEC to register the CCOH Interests that
   will be issued to the CCOH Class A common stockholders in the CCOH/CCH Merger in exchange for their
   CCOH Class A common stock. The CCOH Interests cannot be issued to the CCOH stockholders until
   (i) the SEC declares the Form S-4 registration statement effective, and (ii) 20 calendar days have passed
   from the mailing of an Information Statement on Schedule 14C to CCOH’s Class A common stockholders.
   On the Effective Date, the Reorganized Debtors will transfer the CCOH Interests held by the Debtors upon

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   completion of the CCOH/CCH Merger to Holders of Allowed Guarantor Funded Debt Unsecured Claims
   against CCH in exchange for such Holders’ respective Claims as set forth in Article III.C of the Plan.

            To effectuate the CCOH Separation as a Tax-Free Separation, on the Effective Date, the
   Reorganized Debtors will transfer the CCOH Interests held by the Debtors and by CC Finco, LLC and
   Broader Media, LLC (which are non-Debtor affiliates of the Debtors) to applicable Holders of Allowed
   Guarantor Funded Debt Unsecured Claims against CCH in exchange for such Holders’ respective Claims
   as set forth in Article III.C hereof.

            The Confirmation Order shall constitute the Bankruptcy Court’s approval of the CCOH Plan and
   Separation Settlement and the CCOH Separation Documents, and the CCOH Plan and Separation
   Settlement and the CCOH Separation shall be authorized without the need for any further action by Holders
   of any Claims or Interests; provided that CCOH (or its successor) shall have taken any and all actions
   required by applicable corporate law, securities laws, and stock exchange requirements. Subject to the
   occurrence of the Effective Date, the CCOH Separation Documents shall constitute legal, valid, and binding
   obligations of the Debtors and shall be enforceable in accordance with their respective terms. The
   distribution of CCOH Interests under the Plan shall be governed by the terms and conditions set forth in the
   Plan applicable to such distribution and by the terms and conditions of the instruments evidencing or
   relating to such distribution, which terms and conditions shall bind each Entity receiving such distribution,
   and shall be subject to compliance with applicable corporate law, securities laws, and stock exchange
   requirements. For the avoidance of doubt, the acceptance of the CCOH Interests by any Holder of any
   Claim shall be deemed as such Holder’s agreement to the CCOH Separation Documents, as each may be
   amended or modified from time to time following the Effective Date in accordance with its terms.

           Subject to meeting the applicable listing standards of a U.S. stock exchange, the Debtors or the
   Reorganized Debtors, as applicable, shall use commercially reasonable efforts to cause CCOH (or its
   successor) to use its reasonable best efforts to obtain or maintain a listing for the CCOH Interests on a
   recognized U.S. stock exchange upon the effective date of the CCOH Separation.

   H.      Preferred Stock Transactions

            If the Taxable Separation is effectuated pursuant to the terms and conditions set forth in Article
   IV.G, Radio NewCo, CCH, and CCOH (or its successor) shall enter into the Preferred Stock Transactions.
   Under the Preferred Stock Transactions, Radio NewCo and CCOH (or its successor) will be authorized to
   issue a certain number of shares of Radio NewCo Preferred Stock and CCOH Preferred Stock, respectively,
   on terms to be disclosed in the Preferred Stock Term Sheet. The Radio NewCo Preferred Stock will initially
   be issued to CCH and will be sold by CCH to one or more third party investors in exchange for Cash. Radio
   NewCo, CCH, and CCOH (or its successor) shall issue and execute all securities, instruments, certificates,
   and other documents required to effectuate the Preferred Stock Transactions. All of the shares of Radio
   NewCo Preferred Stock and CCOH Preferred Stock issued pursuant to the Plan shall be duly authorized,
   validly issued, fully paid, and non-assessable. The Preferred Stock Transactions are authorized without the
   need for any further corporate action. If CCOH issues the CCOH Preferred Stock and CCOH subsequently
   merges with another entity pursuant to the Restructuring Transactions, such CCOH Preferred Stock will be
   exchanged for new CCOH Preferred Stock issued by the surviving entity in such merger.

            CCH will distribute the Cash proceeds from the sale of the Radio NewCo Preferred Stock to iHC
   prior to the CCOH Separation, and iHC shall use such proceeds to fund distributions to certain Holders of
   Allowed Claims against the Debtors in accordance with the Plan. CCOH (or its successor) shall be entitled
   to retain the Cash proceeds from the sale of the CCOH Preferred Stock and use such proceeds at its
   discretion.


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   I.      Waiver of Turnover Rights

           Solely to the extent provided in Article III.C hereof and pursuant to the Plan Settlement, on the
   Effective Date, the Holders of Term Loan Credit Agreement Claims and PGN Claims, the Term Loan Credit
   Agreement Agent, and the PGN Trustees and Agents shall be deemed to have waived their turnover rights
   under the 2021 Notes Indenture.

   J.      FCC Licenses

           The required FCC Long Form Applications shall be filed, as promptly as practicable. In addition,
   the Debtors shall file a Petition for Declaratory Ruling; provided that the Debtors may file such Petition for
   Declaratory Ruling after the Effective Date and, if such Petition for Declaratory Ruling is filed prior to the
   Effective Date, its grant shall not be a condition to Consummation. After the FCC Long Form Applications
   are filed, any Entity that thereafter acquires a Term Loan Credit Agreement Claim, PGN Claim,
   iHC 2021 / Legacy Notes Claim, or an iHeart Interest may be issued Special Warrants in lieu of any New
   iHeart Common Stock that would otherwise be issued to such Entity under the Plan. In addition, the Debtors
   may request that the Bankruptcy Court implement restrictions on trading of Claims and Interests that might
   adversely affect the FCC Approval process. The Debtors shall diligently prosecute the FCC Applications,
   including the Petition for Declaratory Ruling that the Debtors or Reorganized Debtors file, and shall
   promptly provide such additional documents or information requested by the FCC in connection with its
   review of the foregoing.

   K.      FCC Trust

                   Generally

            In the event that the Debtors and the Required Consenting Senior Creditors determine that approval
   of the FCC Long Form Applications is causing or may cause unwanted delay in Consummation of the Plan,
   the Debtors shall, subject to the consent of the Required Consenting Senior Creditors, promptly seek FCC
   consent to establish, for the benefit of the Holders of Allowed Claims and Allowed Interests that may be
   entitled to distributions from the FCC Trust under the Plan, the FCC Trust; provided that in the event the
   CCOH Separation is to be consummated in a Tax-Free Separation, the use of the FCC Trust shall be subject
   to concluding that the use of such trust will not cause the Tax-Free Separation to fail to be tax-free or
   otherwise prevent the implementation of the Tax-Free Separation. The powers, authority, responsibilities,
   and duties of the FCC Trust and the FCC Trustees shall be set forth in and shall be governed by the FCC
   Trust Agreement. The FCC Trust Agreement shall contain provisions customary to trust agreements
   utilized in comparable circumstances, including, without limitation, provisions necessary to ensure the
   continued treatment of the FCC Trust as a “grantor trust” and a “liquidation trust,” and the beneficiaries of
   the FCC Trust as the grantors and owners thereof, for United States federal income tax purposes; provided
   that to the extent any assets of the FCC Trust are subject to uncertain distribution because of any
   unliquidated, disputed, or contingent claims, such assets shall be held in a sub-account subject to treatment
   as a disputed ownership fund for United States federal income tax purposes. The FCC Trust and the FCC
   Trustees, including any successors, shall be bound by the Plan and shall not challenge any provision of the
   Plan.

                   Creation and Funding of the FCC Trust

           On or before the Effective Date, if the FCC Trust is implemented, the FCC Trust Agreement shall
   be executed in a manner consistent with the Plan. In that event, and subject to the required FCC Approval,
   iHeart will establish the FCC Trust in accordance with the FCC Trust Agreement for the benefit of the
   Holders of Allowed Claims and Allowed Interests that may be entitled to distributions from the FCC Trust

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   under the Plan, and iHeart will deposit with the FCC Trust the minimum amount necessary for the
   recognition of the FCC Trust for United States federal income tax purposes.

                    Appointment of the FCC Trustees

          On the Effective Date, and in compliance with the provisions of the Plan and the FCC Trust
   Agreement, if the FCC Trust is implemented, the Debtors will appoint the FCC Trustees in accordance with
   the FCC Trust Agreement and, thereafter, any successor FCC Trustees shall be appointed and serve in
   accordance with the FCC Trust Agreement. The FCC Trustees or any successor thereto will administer the
   FCC Trust in accordance with the Plan and the FCC Trust Agreement.

                    Contributions to the FCC Trust

            If the FCC Trust is utilized as described in the Plan, Reorganized iHeart shall issue the New iHeart
   Common Stock and/or Special Warrants to the FCC Trust on the Effective Date for the benefit of the
   Holders of Allowed Term Loan Credit Agreement Claims, Allowed PGN Claims, Allowed iHC
   2021 / Legacy Notes Claims, and Allowed iHeart Interests that otherwise would have been entitled to
   receive a distribution of such New iHeart Common Stock and/or Special Warrants pursuant to Article III.C
   of the Plan.

                    Treatment of the FCC Trust

            For all federal income tax purposes, the Debtors intend that, other than with respect to any assets
   of the FCC Trust that are subject to potential disputed claims of ownership or uncertain distributions, (a) the
   FCC Trust be classified as a “liquidating trust” under Section 301.7701-4(d) of the Regulations and qualify
   as a “grantor trust” under Section 671 of the Tax Code and (b) any beneficiaries of the FCC Trust will be
   treated as grantors and deemed owners thereof. Accordingly, for all United States federal income tax
   purposes, it is intended that any beneficiaries of the FCC Trust be treated as if they had received a
   distribution of an undivided interest in the assets of the FCC Trust (i.e., the New iHeart Common Stock
   and/or Special Warrants) and then contributed such undivided interest to the FCC Trust. In the event the
   FCC Trust is implemented, the FCC Trustees shall, in an expeditious but orderly manner, make timely
   distributions to beneficiaries of the FCC Trust pursuant to the Plan and the FCC Trust Agreement and not
   unduly prolong its duration. The FCC Trust shall not be deemed a successor in interest of the Debtors for
   any purpose other than as specifically set forth herein or in the FCC Trust Agreement.

            With respect to any of the assets of the FCC Trust that are subject to potential disputed claims of
   ownership or uncertain distributions, the Debtors intend that such assets will be subject to disputed
   ownership fund treatment under Section 1.468B-9 of the Regulations. Any such disputed ownership fund
   will be subject to separate entity taxation.

                    Transferability of Beneficial Interests

            Ownership of a beneficial interest in the FCC Trust shall be uncertificated and shall be in book
   entry form. The beneficial interests in the FCC Trust will not be registered pursuant to the Securities Act,
   as amended, or any state securities law. If the beneficial interests in the FCC Trust constitute Securities,
   the parties hereto intend that the exemption provisions of section 1145 of the Bankruptcy Code will apply
   to the beneficial interests. The beneficial interests will be transferable, subject to the terms of the FCC Trust
   Agreement.




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                    Distributions; Withholding

            In the event the FCC Trust is implemented, the FCC Trustees or the Distribution Agent shall make
   distributions to the beneficiaries of the FCC Trust when and as authorized pursuant to the FCC Trust
   Agreement in compliance with the Plan and the FCC Approval, provided that distributions to Holders of
   Allowed Notes Claims may be made to or at the direction of the applicable Notes Trustees and Agents and
   the iHeart Transfer Agent, each of which may act (but is not required to) as Distribution Agent for
   distributions from the FCC Trust to the respective Holders of such Claims in accordance with the Plan
   (including as provided in, and subject to the limitations set forth in, Article VI.C.1 of the Plan) and the
   applicable indentures in the case of the Allowed Notes Claims, subject to implementing a mechanism with
   respect to the beneficial interests in the FCC Trust to be held by Holders of Allowed Notes Claims and
   Allowed iHeart Interests. The FCC Trustees may withhold from amounts otherwise distributable from the
   FCC Trust to any Entity any and all amounts required to be withheld by the FCC Trust Agreement or any
   law, regulation, rule, ruling, directive, treaty, or other governmental requirement, including the FCC
   Approval, and in accordance with Article VI.D of the Plan.

                    Termination of the FCC Trust

            To the extent created, the FCC Trust shall terminate as soon as practicable, but in no event later
   than the third anniversary of the Effective Date; provided that, on or after the date that is less than 30 days
   before such termination date, the Bankruptcy Court, upon motion by a party in interest, may extend the
   term of the FCC Trust for a finite period if such an extension is necessary to complete any pending matters
   required under the FCC Trust Agreement; provided further that the aggregate of all extensions shall not
   exceed two years unless the FCC Trustees receive an opinion of counsel or a favorable ruling from the
   Internal Revenue Service to the effect that any such extension would not adversely affect the status of the
   FCC Trust as a liquidating trust within the meaning of Section 301.7701-4(d) of the Regulations.
   Notwithstanding the foregoing, multiple extensions may be obtained so long as the conditions in the
   preceding sentence are met no more than six months prior to the expiration of the then-current termination
   date of the FCC Trust.

   L.      Corporate Existence

           Except as otherwise provided in the Plan, each Debtor shall continue to exist after the Effective
   Date as a separate corporate entity, limited liability company, partnership, or other form, as the case may
   be, with all the powers of a corporation, limited liability company, partnership, or other form, as the case
   may be, pursuant to the applicable law in the jurisdiction in which each applicable Debtor is incorporated
   or formed and pursuant to the respective certificate of incorporation and bylaws (or other formation
   documents) in effect prior to the Effective Date, except to the extent such certificate of incorporation and
   bylaws (or other formation documents) are amended pursuant to the Plan or otherwise, and to the extent
   such documents are amended, such documents are deemed to be amended pursuant to the Plan and require
   no further action or approval.

   M.      New Corporate Governance Documents

            To the extent advisable or required under the Plan or applicable non-bankruptcy law, on the
   Effective Date, except as otherwise provided in the Plan or the Restructuring Transactions Memorandum,
   the Reorganized Debtors will file their respective New Corporate Governance Documents with the
   applicable Secretary of State and/or other applicable authorities in the state, province, or country of
   incorporation or formation in accordance with the applicable corporate or formational laws of the respective
   state, province, or country of incorporation. Pursuant to section 1123(a)(6) of the Bankruptcy Code, the
   New Corporate Governance Documents will prohibit the issuance of non-voting equity securities. After

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   the Effective Date, the Reorganized Debtors may amend, amend and restate, supplement, or modify the
   New Corporate Governance Documents, and the Reorganized Debtors may file their respective certificates
   or articles of incorporation, bylaws, or such other applicable formation documents, and other constituent
   documents as permitted by the laws of the respective states, provinces, or countries of incorporation or
   formation and the New Corporate Governance Documents.

   N.      New Boards

           Pursuant to section 1129(a)(5) of the Bankruptcy Code, to the extent known, the Debtors will
   disclose at or prior to the Confirmation Hearing the identity and affiliations of any Person proposed to serve
   on the New Boards. To the extent any such Person is an Insider, the Debtors also will disclose the nature
   of any compensation to be paid to such Person. Each such Person shall serve from and after taking office
   pursuant to the terms of the applicable New Corporate Governance Documents.

                    Reorganized iHeart

           On the Issuance Date, the members of the New Board of Reorganized iHeart shall take office and
   replace the then-existing Board of Directors of iHeart. All directors, managers, and other members of
   existing boards or governance bodies of the Debtors, as applicable, shall cease to hold office or have any
   authority from and after such time to the extent not expressly included in the roster of the applicable New
   Board. The New Board of Reorganized iHeart shall consist of nine voting members. The Board Selection
   Committee shall be responsible for interviewing and selecting the remaining members. The Chief
   Executive Officer and President/Chief Operating Officer/Chief Financial Officer of iHeart shall have the
   right to consult with the Board Selection Committee regarding such candidates. The Board Selection
   Committee may take recommendations for potential directors from the Chief Executive Officer and
   President/Chief Operating Officer/Chief Financial Officer of iHeart, a qualified search firm, or any of the
   Consenting Stakeholders. The Board Selection Committee shall consult with the Chief Executive Officer
   and President/Chief Operating Officer/Chief Financial Officer of iHeart to determine an appropriate
   number of independent directors.

          If the New iHeart Common Stock is issued to the FCC Trust, during the period of time that the
   New iHeart Common Stock is held by the FCC Trust (pending the FCC’s grant of the FCC Long Form
   Applications), then the board of directors of Reorganized iHeart shall consist of the same individuals as the
   FCC Trustees.

                    CCOH (Or Its Successor)

            The Board Selection Committee shall interview and select individuals to be nominated and elected
   by the CCOH board of directors to serve on the board of CCOH or its successor with terms commencing
   prior to the distribution of CCOH Interests on the Effective Date to applicable Holders of Allowed
   Guarantor Funded Debt Unsecured Claims against CCH. The election process shall be done in compliance
   with applicable corporate law and securities law requirements, and the composition of the board of CCOH
   or its successor shall be in compliance with applicable requirements of any stock exchange on which the
   CCOH Interests will be listed.

   O.      Corporate Action

            Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and
   approved in all respects, and, to the extent taken prior to the Effective Date, ratified without any requirement
   for further action by Holders of Claims or Interests, directors, managers, or officers of the Debtors, the
   Reorganized Debtors, or any other Entity, including: (1) selection of the directors, managers, members,

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   and officers for the Reorganized Debtors; (2) the distribution of the New iHeart Common Stock and Special
   Warrants or, if applicable, the beneficial interests in the FCC Trust; (3) the applicable Reorganized Debtors’
   entry into, delivery, and performance under the New Debt Documents; (4) the applicable Reorganized
   Debtors’ entry into, delivery, and performance under the New ABL Credit Agreement Documents; (5) the
   Preferred Stock Transactions (if any); (6) implementation of the Restructuring Transactions and
   performance of all actions and transactions contemplated hereby and thereby; (7) adoption of the New
   Corporate Governance Documents; (8) the rejection, assumption, or assumption and assignment, as
   applicable, of Executory Contracts and Unexpired Leases; (9) implementation of the CCOH Plan and
   Separation Settlement and the transactions contemplated thereby; and (10) all other acts or actions
   contemplated by the Plan or reasonably necessary or appropriate to promptly consummate the Restructuring
   Transactions (whether to occur before, on, or after the Effective Date). All matters provided for in the Plan
   involving the corporate structure of the Debtors or the Reorganized Debtors, as applicable, and any
   corporate action required by the Debtors or the Reorganized Debtors, as applicable, in connection with the
   Plan shall be deemed to have occurred on, and shall be in effect as of, the Effective Date, without any
   requirement of further action by the security holders, directors, managers, or officers of the Debtors or the
   Reorganized Debtors, as applicable. On or, as applicable, prior to the Effective Date, the appropriate
   officers of the Debtors or the Reorganized Debtors, as applicable, shall be authorized and, as applicable,
   directed to issue, execute, and deliver the agreements, documents, securities, certificates of incorporation,
   certificates of formation, bylaws, operating agreements, and instruments contemplated under the Plan (or
   necessary or desirable to effect the transactions contemplated under the Plan) in the name of and on behalf
   of the Reorganized Debtors, including the New iHeart Common Stock, the Special Warrants, the New Debt
   Documents, the New ABL Credit Agreement Documents, the Radio NewCo Preferred Stock, the CCOH
   Preferred Stock, the New Corporate Governance Documents, and, if applicable, the FCC Trust Agreement,
   and any and all other agreements, documents, securities, and instruments relating to the foregoing. The
   authorizations and approvals contemplated by this Article IV.O shall be effective notwithstanding any
   requirements under non-bankruptcy law.

   P.      Vesting of Assets in the Reorganized Debtors

           Except as otherwise provided in the Plan (including, for the avoidance of doubt, the Restructuring
   Transactions), or in any agreement, instrument, or other document incorporated in the Plan, notwithstanding
   any prohibition of assignability under applicable non-bankruptcy law and in accordance with section 1141
   of the Bankruptcy Code, on the Effective Date, all property in each Debtor’s Estate, all Causes of Action
   of the Debtors (unless otherwise released or discharged pursuant to the Plan or the CCOH Plan and
   Separation Settlement), and any property acquired by any of the Debtors under the Plan shall vest in each
   respective Reorganized Debtor, free and clear of all Liens, Claims, charges, or other encumbrances (except
   for Liens securing obligations under the New Debt Documents, Liens securing obligations under the New
   ABL Credit Agreement Documents (including the Contingent DIP Obligations secured by the New ABL
   Credit Agreement Documents, if applicable), and Liens securing obligations on account of any Other
   Secured Claims that are Reinstated pursuant to the Plan). On and after the Effective Date, except as
   otherwise provided herein, and subject to compliance with the applicable provisions of the Communications
   Act, each Reorganized Debtor may operate its business and may use, acquire, or dispose of property and
   compromise or settle any Claims, Interests, or Causes of Action without supervision or approval by the
   Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules; provided that
   the Bankruptcy Court shall retain jurisdiction with respect to the FCC Trust, if established, as set forth in
   Article XI of the Plan.

   Q.      Cancellation of Notes, Instruments, Certificates, and Other Documents

           On the Effective Date, except as otherwise specifically provided in the Plan, the Confirmation
   Order, or any agreement, instrument, or other document entered into in connection with or pursuant to the

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   Plan or the Restructuring Transactions, all notes, bonds, indentures, Certificates, Securities, shares,
   purchase rights, options, warrants, collateral agreements, subordination agreements, intercreditor
   agreements, or other instruments or documents directly or indirectly evidencing, creating, or relating to any
   indebtedness or obligations of, or ownership interest in, the Debtors giving rise to any rights or obligations
   relating to Claims against or Interests in the Debtors (except with respect to any Claim or Interest that is
   Reinstated pursuant to the Plan) shall be deemed cancelled and surrendered without any need for a Holder
   to take further action with respect thereto, and the obligations of the Debtors or the Reorganized Debtors,
   as applicable, and any non-Debtor Affiliates thereunder or in any way related thereto shall be deemed
   satisfied in full, released, and discharged; provided that, notwithstanding such cancellation, satisfaction,
   release, and discharge, anything to the contrary contained in the Plan or Confirmation Order, Confirmation,
   or the occurrence of the Effective Date, any such document or instrument that governs the rights, claims,
   or remedies of the Holder of a Claim or Interest shall continue in effect solely for purposes of: (1) allowing
   Holders to receive distributions as specified under the Plan; and (2) allowing and preserving the rights of
   the Term Loan Credit Agreement Agent and Notes Trustees and Agents, as applicable, to make distributions
   as specified under the Plan on account of Allowed Claims and Allowed Interests, as applicable, including
   allowing the Notes Trustees and Agents to submit invoices for any amount and enforce any obligation owed
   to them under the Plan to the extent authorized or allowed by the applicable Notes Indenture (including, for
   the avoidance of doubt, pursuant to Article VI.C.1 of the Plan).

   R.      Effectuating Documents; Further Transactions

           On and after the Effective Date, the Reorganized Debtors, and the directors, managers, officers,
   authorized persons, and members thereof, are authorized to and may issue, execute, deliver, file, or record
   such contracts, Securities, instruments, releases, and other agreements or documents and take such actions
   as may be necessary or appropriate to effectuate, implement, and further evidence the terms and conditions
   of the Plan, the Restructuring Transactions, the New Debt Documents, the New ABL Credit Agreement
   Documents, the New iHeart Common Stock, the Special Warrants, the CCOH Plan and Separation
   Settlement, the New Corporate Governance Documents, and the Securities issued pursuant to the Plan in
   the name of and on behalf of the Reorganized Debtors, without the need for any approvals, authorizations,
   or consents except for those expressly required under the Plan.

   S.      Section 1145 Exemption

            Pursuant to section 1145 of the Bankruptcy Code, the offering, issuance, and distribution of the
   1145 Securities shall be exempt from, among other things, the registration requirements of section 5 of the
   Securities Act and any other applicable law requiring registration prior to the offering, issuance,
   distribution, or sale of Securities. The 1145 Securities to be issued under the Plan (1) will not be “restricted
   securities” as defined in rule 144(a)(3) under the Securities Act and (2) will be freely tradable and
   transferable in the United States by the recipients thereof that (a) are not “affiliates” of the Debtors as
   defined in Rule 144(a)(1) under the Securities Act, (b) have not been “affiliates” within 90 days of such
   transfer, and (c) are not entities that are “underwriters” as defined in section 1145(b)(1) of the Bankruptcy
   Code, and subject to compliance with applicable securities laws and any rules and regulations of the SEC,
   if any, applicable at the time of any future transfer of such 1145 Securities and subject to any restrictions
   in the New Corporate Governance Documents; provided that transfer of the 1145 Securities may be
   restricted by the Communications Act and the rules of the FCC, the New Corporate Governance
   Documents, the Special Warrant Agreement, and, if the FCC Trust is implemented, the FCC Trust
   Agreement. Should the Reorganized Debtors elect on or after the Effective Date to reflect any ownership
   of the 1145 Securities to be issued under the Plan through the facilities of DTC, the Reorganized Debtors
   need not provide any further evidence other than the Plan or the Confirmation Order with respect to the
   treatment of the 1145 Securities to be issued under the Plan under applicable securities laws. DTC shall be
   required to accept and conclusively rely upon the Plan and Confirmation Order in lieu of a legal opinion

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   regarding whether the 1145 Securities to be issued under the Plan are exempt from registration and/or
   eligible for DTC book-entry delivery, settlement, and depository services. Notwithstanding anything to the
   contrary in the Plan, no Entity (including, for the avoidance of doubt, DTC) may require a legal opinion
   regarding the validity of any transaction contemplated by the Plan, including, for the avoidance of doubt,
   whether the 1145 Securities to be issued under the Plan are exempt from registration and/or eligible for
   DTC book-entry delivery, settlement, and depository services.

            The 4(a)(2) Securities will be issued without registration in reliance upon the exemption set forth
   in Section 4(a)(2) of the Securities Act and/or Regulation D promulgated thereunder, or any similar
   registration exemption applicable outside of the United States or, to the extent permitted by law,
   section 1145 of the Bankruptcy Code. Any securities issued in reliance on Section 4(a)(2) and/or
   Regulation D or any similar registration exemption applicable outside of the United States will be
   “restricted securities” subject to resale restrictions and may be resold, exchanged, assigned, or otherwise
   transferred only pursuant to registration, or an applicable exemption from registration under the Securities
   Act and other applicable law and subject to any restrictions in the New Corporate Governance Documents,
   the Communications Act and the rules of the FCC.

   T.      Section 1146(a) Exemption

            To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether
   from a Debtor to a Reorganized Debtor or to any other Entity) of property under the Plan or pursuant to:
   (1) the issuance, distribution, transfer, or exchange of any debt, equity security, or other interest in the
   Debtors or the Reorganized Debtors; (2) the Restructuring Transactions; (3) the creation, modification,
   consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other security
   interest, or the securing of additional indebtedness by such or other means; (4) the making, assignment, or
   recording of any lease or sublease; or (5) the making, delivery, or recording of any deed or other instrument
   of transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale,
   assignments, or other instrument of transfer executed in connection with any transaction arising out of,
   contemplated by, or in any way related to the Plan, shall not be subject to any document recording tax,
   stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax, mortgage
   recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other
   similar tax or governmental assessment, and upon entry of the Confirmation Order, the appropriate state or
   local governmental officials or agents shall forgo the collection of any such tax or governmental assessment
   and accept for filing and recordation any of the foregoing instruments or other documents without the
   payment of any such tax, recordation fee, or governmental assessment. All filing or recording officers (or
   any other Person with authority over any of the foregoing), wherever located and by whomever appointed,
   shall comply with the requirements of section 1146(c) of the Bankruptcy Code, shall forgo the collection
   of any such tax or governmental assessment, and shall accept for filing and recordation any of the foregoing
   instruments or other documents without the payment of any such tax or governmental assessment.

   U.      Post-Emergence Equity Incentive Program

           On the Effective Date, the New Board(s) will adopt and implement the Post-Emergence Equity
   Incentive Program, to be in effect on and after the Effective Date, pursuant to which certain directors,
   managers, officers, and employees of the Reorganized Debtors will be granted awards on terms to be
   disclosed in the Plan Supplement. The Post-Emergence Equity Incentive Program shall reserve up to eight
   percent of the New iHeart Common Stock on a fully diluted basis for certain managers, officers, and
   employees of the Reorganized Debtors in the form of options, restricted stock units, and/or other equity-
   based awards.



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   V.      Employee Matters

           Unless otherwise provided herein or otherwise amended or modified as set forth in the Assumed
   Executory Contract and Unexpired Lease List, all employee wages, compensation, benefit, and incentive
   programs in place as of the Effective Date with the Debtors shall be assumed by the Reorganized Debtors
   and shall remain in place as of the Effective Date, and the Reorganized Debtors will continue to honor such
   agreements, arrangements, programs, and plans.              Notwithstanding the foregoing, pursuant to
   section 1129(a)(13) of the Bankruptcy Code, from and after the Effective Date, all retiree benefits (as such
   term is defined in section 1114 of the Bankruptcy Code), if any, shall continue to be paid in accordance
   with applicable law.

   W.      Preservation of Rights of Action

            In accordance with section 1123(b) of the Bankruptcy Code, the Reorganized Debtors shall retain
   and may enforce all rights to commence and pursue any and all Causes of Action of the Debtors, whether
   arising before or after the Petition Date, including any actions specifically enumerated in the Schedule of
   Retained Causes of Action, and the Reorganized Debtors’ rights to commence, prosecute, or settle such
   Causes of Action shall be preserved notwithstanding the occurrence of the Effective Date, other than the
   Causes of Action released by the Debtors pursuant to the releases and exculpations contained in the Plan,
   including in Article VIII of the Plan, which shall be deemed released and waived by the Debtors and
   Reorganized Debtors as of the Effective Date.

            The Reorganized Debtors may pursue such Causes of Action, as appropriate, in accordance with
   the best interests of the Reorganized Debtors. No Entity may rely on the absence of a specific reference
   in the Plan, the Plan Supplement, the Disclosure Statement, or the Schedule of Retained Causes of
   Action to any Cause of Action against it as any indication that the Debtors or the Reorganized
   Debtors, as applicable, will not pursue any and all available Causes of Action of the Debtors against
   it. The Debtors and the Reorganized Debtors expressly reserve all rights to prosecute any and all
   Causes of Action against any Entity, except as otherwise provided in the Plan, including Article VIII
   of the Plan. Unless any Cause of Action of the Debtors against an Entity is expressly waived, relinquished,
   exculpated, released, compromised, or settled in the Plan or pursuant to a Final Order, the Reorganized
   Debtors expressly reserve all such Causes of Action for later adjudication, and, therefore, no preclusion
   doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
   estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Causes of Action upon, after, or
   as a consequence of Confirmation or Consummation. Notwithstanding the foregoing, the Texas Litigation
   shall be dismissed with prejudice on the Effective Date.

            The Reorganized Debtors reserve and shall retain such Causes of Action of the Debtors
   notwithstanding the rejection or repudiation of any Executory Contract or Unexpired Lease during the
   Chapter 11 Cases or pursuant to the Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code,
   any Cause of Action that a Debtor may hold against any Entity shall vest in the applicable Reorganized
   Debtor, except as otherwise provided in the Plan, including Article VIII of the Plan. The applicable
   Reorganized Debtors, through their authorized agents or representatives, shall retain and may exclusively
   enforce any and all such Causes of Action. The Reorganized Debtors shall have the exclusive right,
   authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise,
   release, withdraw, or litigate to judgment any such Causes of Action, or to decline to do any of the
   foregoing, without the consent or approval of any third party or any further notice to or action, order, or
   approval of the Bankruptcy Court.




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   X.      Consenting Stakeholder Fees

           On the Effective Date, the Reorganized Debtors shall pay all Consenting Stakeholder Fees to the
   extent not already paid by the Debtors, including in the amount of $4.0 million to Wilmington Savings
   Fund Society, FSB, in its capacity as Legacy Notes Trustee for the issuance of the 6.875% Legacy Notes
   and 7.25% Legacy Notes. After the Effective Date, the Reorganized Debtors shall pay all Consenting
   Stakeholder Fees in Cash, to the extent not already paid by the Debtors, in each case, within ten Business
   Days of receipt by the Reorganized Debtors of an invoice from any Entity entitled to a Consenting
   Stakeholder Fee for any unpaid Consenting Stakeholder Fees.

           Pursuant to the Legacy Notes Plan Settlement, other than the Consenting Stakeholder Fees paid to
   Wilmington Savings Fund Society, FSB, in its capacity as Legacy Notes Trustee for the issuance of the
   6.875% Legacy Notes and 7.25% Legacy Notes, the Debtors or Reorganized Debtors, as applicable, shall
   not be responsible for any fees or expenses of the Legacy Notes Trustee or any Consenting Legacy
   Noteholders, and, on the Effective Date, the Consenting Legacy Noteholders and the Legacy Notes Trustee
   shall be deemed to have waived any potential right to seek payment of such fees or expenses from the
   Debtors or the Reorganized Debtors, as applicable, including, without limitation, any Claim for making a
   substantial contribution in these Chapter 11 Cases under section 503(b)(3)(D) of the Bankruptcy Code;
   provided, however, that such waiver shall not waive the Legacy Notes Trustee’s Claims, if any, under
   section 503(b)(3)(F) of the Bankruptcy Code.

   Y.      Guarantor General Unsecured Recovery Cash Pool

           On the Effective Date, the Debtors shall establish and fund the Guarantor General Unsecured
   Recovery Cash Pool Account with Cash in an amount equal to the Guarantor General Unsecured Recovery
   Cash Pool, which shall be held in trust for distributions to Holders of Allowed Guarantor General Unsecured
   Claims as provided herein. The Guarantor General Unsecured Recovery Cash Pool Account (1) shall not
   be and shall not be deemed property of the Debtors or the Reorganized Debtors, (2) shall be held in trust to
   fund distributions as provided herein, and (3) no Liens, Claims, or Interests shall encumber the Guarantor
   General Unsecured Recovery Cash Pool Account in any way (whether on account of the New ABL
   Indebtedness, the New Debt, or otherwise).

           Following the Effective Date, if necessary to comply with the requirements set forth in this Plan,
   the Reorganized Debtors shall contribute Cash to the Guarantor General Unsecured Recovery Cash Pool
   Account to account for the Guarantor General Unsecured Recovery Cash Pool Supplement. In the event
   that Cash remains in the Guarantor General Unsecured Recovery Cash Pool after (a) the reconciliation of
   all General Unsecured Claims against Non-Obligor Debtors and Guarantor Debtors, and (b) all distributions
   have been made to Holders of Allowed General Unsecured Claims against Non-Obligor Debtors and
   Allowed General Unsecured Claims against Guarantor Debtors as provided herein, such Cash shall be
   remitted to the Reorganized Debtors.

   Z.      Dismissal of Litigation and Waiver of Related Rights

            The Confirmation Order shall provide that on the Effective Date, (1) the Standing Motion,
   (2) the Disputed ABL Claims Objection, (3) the Springing Lien Adversary Proceeding, (4) the Equitable
   Subordination Adversary Proceeding, (5) the CCOH Claim Objection, (6) the Standing Motion Joinder,
   and (7) the Prepetition Springing Lien Litigation shall be deemed withdrawn and/or dismissed, as
   applicable, with prejudice.

          As of the Effective Date, the Legacy Notes Trustee and the 2021 Notes Trustee shall be deemed to
   waive and release any right to appeal the opinion and judgment entered by the Bankruptcy Court in the

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   Springing Lien Adversary Proceeding, and the Confirmation Order shall provide that any pending appeal
   of the opinion and judgment entered by the Bankruptcy Court in the Springing Lien Adversary Proceeding
   shall be deemed dismissed with prejudice on the Effective Date.

           Further, the Confirmation Order shall provide that the Consenting Legacy Noteholders and the
   Legacy Notes Trustee shall take any and all steps, to the extent necessary, to effectuate the foregoing
   withdrawals and/or dismissals, including but not limited to moving to dismiss any appeal of the opinion
   and judgment entered by the Bankruptcy Court in the Springing Lien Adversary Proceeding with prejudice.

           As of the Effective Date, the Debtors, on behalf of themselves and their Estates, shall be deemed
   to waive and release (1) any right to recover costs pursuant to the Judgment entered in the Springing Lien
   Adversary Proceeding [Docket No. 264] and (2) all Claims, Causes of Action, obligations, and indemnities
   arising under that certain Letter Agreement by and between Kingdon Capital Management, L.L.C. and
   iHeartCommunications, Inc. dated October 20, 2014, including, for the avoidance of doubt, any such
   Claims, Causes of Action, obligations, and indemnities against Kingdon Associates, Kingdon Credit Master
   Fund L.P., Kingdon Family Partnership, L.P. and M. Kingdon Offshore Master Fund L.P.


              TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

   A.      Assumption and Rejection of Executory Contracts and Unexpired Leases

            On the Effective Date, except as otherwise provided herein, each Executory Contract and
   Unexpired Lease (including those set forth in the Assumed Executory Contract and Unexpired Lease List)
   shall be deemed assumed as of the Effective Date by the applicable Debtor pursuant to sections 365
   and 1123 of the Bankruptcy Code, unless such Executory Contract or Unexpired Lease: (1) was previously
   assumed, assumed and assigned, or rejected by the Debtors; (2) previously expired or terminated pursuant
   to its own terms; (3) is identified on the Rejected Executory Contract and Unexpired Lease List; or (4) is
   the subject of a motion to reject that is pending on the Effective Date. On the Effective Date, except as
   otherwise provided herein, each Executory Contract and Unexpired Lease that is identified on the Rejected
   Executory Contract and Unexpired Lease List shall be deemed rejected as of the Effective Date by the
   applicable Debtor pursuant to sections 365 and 1123 of the Bankruptcy Code.

            Entry of the Confirmation Order by the Bankruptcy Court shall, subject to and upon the occurrence
   of the Effective Date, constitute a Final Order approving the assumptions, assumptions and assignments,
   and rejections, as applicable, of the Executory Contracts and Unexpired Leases as set forth in the Plan, the
   Assumed Executory Contract and Unexpired Lease List, and the Rejected Executory Contract and
   Unexpired Lease List, as applicable, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Any
   motions to assume, assume and assign, or reject Executory Contracts or Unexpired Leases pending on the
   Effective Date shall be subject to approval by the Bankruptcy Court on or after the Effective Date by a
   Final Order. Unless otherwise indicated, assumptions, assumptions and assignments, or rejections of
   Executory Contracts and Unexpired Leases pursuant to the Plan are effective as of the Effective Date. Each
   Executory Contract and Unexpired Lease assumed pursuant to the Plan or by any order of the Bankruptcy
   Court, which has not been assigned to a third party prior to the Confirmation Date, shall re-vest in and be
   fully enforceable by the applicable contracting Reorganized Debtor in accordance with its terms, except as
   such terms may be modified by the provisions of the Plan or any order of the Bankruptcy Court authorizing
   and providing for its assumption under applicable federal law. Notwithstanding anything to the contrary in
   the Plan, the Debtors or the Reorganized Debtors, as applicable, shall have the right to alter, amend, modify,
   or supplement the Rejected Executory Contract and Unexpired Lease List or the Assumed Executory



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   Contract and Unexpired Lease List identified in this Article V.A of the Plan and in the Plan Supplement at
   any time through and including 45 days after the Effective Date.

           To the extent that any provision in any Executory Contract or Unexpired Lease assumed or assumed
   and assigned pursuant to the Plan restricts or prevents, or purports to restrict or prevent, or is breached or
   deemed breached by, the assumption or assumption and assignment of such Executory Contract or
   Unexpired Lease (including any “change of control” provision), then such provision shall be deemed
   modified such that the transactions contemplated by the Plan shall not entitle the non-Debtor party or parties
   to such Executory Contract or Unexpired Lease to terminate such Executory Contract or Unexpired Lease
   or to exercise any other default-related rights with respect thereto.

   B.      Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases

           Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall
   not constitute a termination of preexisting obligations owed to the Debtors or the Reorganized Debtors, as
   applicable, under such Executory Contract or Unexpired Lease. Without limiting the general nature of the
   foregoing, and notwithstanding any non-bankruptcy law to the contrary, the Debtors and Reorganized
   Debtors expressly reserve and do not waive any right to receive, or any continuing obligation of a
   counterparty to provide, warranties or continued maintenance obligations on goods previously purchased
   by the Debtors contracting from non-Debtor counterparties to any rejected Executory Contract or Unexpired
   Lease.

   C.      Claims Based on Rejection of Executory Contracts or Unexpired Leases

            Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with
   respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the
   Plan or the Confirmation Order, if any, must be Filed with the Claims, Noticing, and Solicitation Agent and
   served on the Debtors or Reorganized Debtors, as applicable, no later than 30 days after the date of entry
   of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection. Any
   Claims arising from the rejection of an Executory Contract or Unexpired Lease not Filed with the
   Bankruptcy Court within such time will be automatically disallowed, forever barred from assertion,
   and shall not be enforceable against the Debtors or the Reorganized Debtors, the Estates, or their
   property without the need for any objection by the Reorganized Debtors or further notice to, or
   action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim arising out
   of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied,
   released, and discharged, and be subject to the permanent injunction set forth in Article VIII.E of
   the Plan, including any Claims against any Debtor listed on the Schedules as unliquidated,
   contingent, or disputed. All Allowed Claims arising from the rejection by any Debtor of any Executory
   Contract or Unexpired Lease shall be treated as a General Unsecured Claim in accordance with Article III.C
   of the Plan.

   D.      Cure of Defaults for Executory Contracts and Unexpired Leases Assumed

            Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
   pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment
   of the default amount in Cash on the Effective Date, subject to the limitation described below, or on such
   other terms as the parties to such Executory Contracts or Unexpired Leases may otherwise agree. In the
   event of a dispute regarding (1) the amount of any payments to cure such a default, (2) the ability of the
   Reorganized Debtors or any assignee to provide “adequate assurance of future performance” (within the
   meaning of section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be
   assumed, or (3) any other matter pertaining to assumption, the cure payments required by section 365(b)(1)

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   of the Bankruptcy Code shall be made following the entry of a Final Order or orders resolving the dispute
   and approving the assumption; provided that the Reorganized Debtors may settle any such dispute without
   any further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity; provided,
   further, that notwithstanding anything to the contrary herein, prior to the entry of a Final Order resolving
   any such dispute and approving the assumption of any such Executory Contract or Unexpired Lease, the
   Reorganized Debtors shall have the right to reject any such Executory Contract or Unexpired Lease that is
   subject to dispute, whether by amending the Rejected Executory Contract and Unexpired Lease List in
   accordance with Article V.A of the Plan or otherwise.

            At least twenty-one days prior to the first day of the Confirmation Hearing, the Debtors shall
   provide for notices of proposed assumption or assumption and assignment and proposed cure amounts to
   be sent to applicable third parties, which notices will include procedures for objecting thereto and resolution
   of disputes by the Bankruptcy Court. Any objection by a counterparty to an Executory Contract or
   Unexpired Lease to a proposed assumption or assumption and assignment or related cure amount must be
   Filed, served, and actually received by the Debtors no later than seven days prior to the first day of the
   Confirmation Hearing. Any counterparty to an Executory Contract or Unexpired Lease that fails to timely
   object to the proposed assumption or cure amount will be deemed to have assented to such assumption or
   assumption and assignment and cure amount.

            Assumption or assumption and assignment of any Executory Contract or Unexpired Lease pursuant
   to the Plan or otherwise shall result in the full release and satisfaction of any Claims or defaults, whether
   monetary or nonmonetary, including defaults of provisions restricting the change in control or ownership
   interest composition or other bankruptcy-related defaults, arising under any assumed Executory Contract
   or Unexpired Lease at any time prior to the effective date of assumption or assumption and assignment.
   Any Proofs of Claim Filed with respect to an Executory Contract or Unexpired Lease that has been
   assumed in the Chapter 11 Cases, including pursuant to the Confirmation Order, shall be deemed
   disallowed and expunged as of the Effective Date, without further notice to or action, order, or
   approval of the Bankruptcy Court or any other Entity.

   E.      Modifications, Amendments, Supplements, Restatements, or Other Agreements

           Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed
   or assumed and assigned shall include all modifications, amendments, supplements, restatements, or other
   agreements that in any manner affect such Executory Contract or Unexpired Lease, and all Executory
   Contracts and Unexpired Leases related thereto, if any, including all easements, licenses, permits, rights,
   privileges, immunities, options, rights of first refusal, and any other interests, unless any of the foregoing
   agreements has been previously rejected or repudiated or is rejected or repudiated under the Plan.

            Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
   Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed
   to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or
   amount of any Claims that may arise in connection therewith.

   F.      Indemnification Provisions

           On and as of the Effective Date, the Indemnification Provisions will be assumed by the Debtors,
   and shall be reinstated and remain intact, irrevocable, and shall survive the Effective Date, and the
   Reorganized Debtors’ governance documents shall provide for indemnification, defense, reimbursement,
   and limitation of liability of, and advancement of fees and expenses to, the Debtors’ and the Reorganized
   Debtors’ current and former directors, equityholders, managers, officers, members, employees, attorneys,
   accountants, investment bankers, and other professionals to the fullest extent permitted by law and at least

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   to the same extent as provided under the Indemnification Provisions against any Cause of Action whether
   direct or derivative, liquidated or unliquidated, fixed or contingent, disputed or undisputed, matured or
   unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted; provided that the
   Reorganized Debtors shall not indemnify any Person for any Cause of Action arising out of or related to
   any act or omission that is a criminal act or constitutes actual fraud, gross negligence, bad faith, or willful
   misconduct. None of the Reorganized Debtors will amend or restate their respective governance documents
   before, on, or after the Effective Date to terminate or materially adversely affect any of the Reorganized
   Debtors’ obligations to provide such rights to indemnification, defense, reimbursement, limitation of
   liability, or advancement of fees and expenses. Entry of the Confirmation Order shall constitute the
   Bankruptcy Court’s approval of the Debtors’ foregoing assumption of each of the Indemnification
   Provisions.

   G.      Insurance Policies

            Each of the Debtors’ insurance policies, including each of the D&O Liability Insurance Policies,
   and any agreements, documents, or instruments relating thereto, are treated as and deemed to be Executory
   Contracts under the Plan. Unless otherwise provided in the Plan, on the Effective Date, each of the Debtors
   shall be deemed to have assumed all insurance policies and all agreements, documents, and instruments
   relating thereto, and such insurance policies and such agreements, documents, or instruments relating
   thereto shall re-vest in the applicable Reorganized Debtor, including each of the D&O Liability Insurance
   Policies, and any agreements, documents, or instruments relating thereto. Entry of the Confirmation Order
   shall constitute the Bankruptcy Court’s approval of the Debtors’ foregoing assumption of each of the
   insurance policies and any agreements, documents, or instruments relating thereto. In addition, on and after
   the Effective Date, none of the Reorganized Debtors shall terminate or otherwise reduce, limit, or restrict
   the coverage under any of the D&O Liability Insurance Policies with respect to conduct occurring prior
   thereto, and all directors, managers, officers, members, and trustees of the Debtors who served in such
   capacity at any time prior to the Effective Date, subject to the terms and conditions of the D&O Liability
   Insurance Policies, shall be entitled to the full benefits of any such D&O Liability Insurance Policy for the
   full term of such policy regardless of whether such directors, managers, officers, members, or trustees
   remain in such positions after the Effective Date. Notwithstanding anything to the contrary in Article VIII,
   all of the Debtors’ current and former directors’, managers’, officers’, members’, and trustees’ rights as
   beneficiaries of the D&O Liability Insurance Policies are preserved to the extent set forth herein.

                    Chubb and AIG Insurance Contracts

            Notwithstanding anything to the contrary in the Disclosure Statement, the Plan, the Plan
   Supplement, the CCOH Separation Documents, the Confirmation Order, any cure notice, any other
   document related to any of the foregoing, or any other order of the Bankruptcy Court (including, without
   limitation, any other provision that purports to be preemptory or supervening, grants an injunction or
   release, confers Bankruptcy Court jurisdiction, or requires a party to object to or opt out of any releases):
   (a) on the Effective Date (1) the Debtors shall be deemed to have assumed all insurance policies that have
   been issued at any time by ACE American Insurance Company, Federal Insurance Company, and/or each
   of their affiliates and successors (together with ESIS, Inc., the “Chubb Companies”) or National Union Fire
   Insurance Company of Pittsburgh, Pa. and/or each of their affiliates and successors (collectively, the “AIG
   Companies,” and together with the Chubb Companies, collectively, the “Insurers”) to any of the Debtors
   (or any of their predecessors), and any agreements, endorsements, addenda, schedules, documents, or
   instruments relating thereto (collectively, the “Insurance Contracts”) in their entirety pursuant to sections
   105 and 365 of the Bankruptcy Code and (2) such Insurance Contracts shall vest in the Reorganized Debtors
   and may only be assigned, sold, or otherwise transferred in accordance with applicable non-bankruptcy law
   and/or the terms of the Insurance Contracts, including any requirement of consent of the Chubb Companies
   or the AIG Companies, as applicable, to such assignment, sale, or transfer; (b) all Insurance Contracts

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   (including any and all letters of credit and other collateral and security provided in relation thereto) and all
   debts, obligations, and liabilities of the Debtors (and, after the Effective Date, of the Reorganized Debtors)
   thereunder, whether arising before or after the Effective Date, shall survive and shall not be amended,
   modified, waived, released, discharged or impaired in any respect; (c) nothing shall alter, modify, amend,
   affect, impair or prejudice the legal, equitable or contractual rights, obligations, and defenses of the Insurers,
   the Debtors (or, after the Effective Date, the Reorganized Debtors), or any other individual or entity, as
   applicable, under any Insurance Contracts (including, but not limited to, (i) any agreement to arbitrate
   disputes, (ii) any provisions regarding the application, provision, maintenance, use, nature and priority of
   collateral/security, and (iii) any provisions regarding the payment of any retention by the Debtors or
   Reorganized Debtors, as applicable, or any amounts within any deductible by the Insurers, and the
   obligation of the Debtors to pay or reimburse the Insurers therefor); any such rights and obligations shall
   be determined under the Insurance Contracts and applicable non-bankruptcy law as if the Chapter 11 Cases
   had not occurred; (d) nothing alters or modifies the duty, if any, that the Insurers have to pay claims covered
   by the Insurance Contracts and the Insurers’ right to seek payment or reimbursement from the Debtors (or
   after the Effective Date, the Reorganized Debtors) or draw on any collateral or security therefor subject to
   the Insurance Contracts and applicable non-bankruptcy law as if the Chapter 11 Cases had not occurred;
   (e) the claims of the Insurers (whether arising before or after the Effective Date) under the Insurance
   Contracts (i) shall be paid in full in the ordinary course of business by the Debtors (or after the Effective
   Date, the Reorganized Debtors) and the Insurers shall not need to or be required to file or serve an
   Administrative Claim, a Cure Claim, or an objection to a proposed cure amount, and (ii) shall not be
   discharged or released by the Plan or the Confirmation Order or any other order of the Bankruptcy Court;
   and (f) the automatic stay of Bankruptcy Code section 362(a) and the injunctions set forth in Article VIII.E
   of the Plan, if and to the extent applicable, shall be deemed lifted without further order of the Bankruptcy
   Court, solely to permit: (I) claimants with valid workers’ compensation claims or direct action claims
   against the Insurers under applicable non-bankruptcy law to proceed with their claims; (II) the Insurers to
   administer, handle, defend, settle, and/or pay, in the ordinary course of business and without further order
   of the Bankruptcy Court, (A) workers’ compensation claims, (B) claims where a claimant asserts a direct
   claim against any of the Insurers under applicable non-bankruptcy law, or an order has been entered by the
   Bankruptcy Court granting a claimant relief from the automatic stay to proceed with its claim, and (C) all
   fees, costs, and expenses in relation to each of the foregoing; (III) the Insurers to draw against any or all of
   the collateral or security provided by or on behalf of the Debtors (or the Reorganized Debtors, as applicable)
   at any time and to hold the proceeds thereof as security for the obligations of the Debtors (and the
   Reorganized Debtors, as applicable) and/or apply such proceeds to the obligations of the Debtors (and the
   Reorganized Debtors, as applicable) under the applicable Insurance Contracts, in such order as the Insurers
   may determine; and (IV) the Insurers to cancel any Insurance Contracts, and take other actions relating
   thereto, to the extent permissible under applicable non-bankruptcy law, and in accordance with the terms
   of the Insurance Contracts. Entry of the Confirmation Order shall constitute the Bankruptcy Court’s
   approval of the foregoing. For the avoidance of doubt, the Insurance Contracts shall include D&O Liability
   Insurance Policies to the extent such policies are issued by the Insurers.

   H.      Reservation of Rights

           Neither the exclusion nor the inclusion of any Executory Contract or Unexpired Lease on the
   Assumed Executory Contract and Unexpired Lease List or the Rejected Executory Contract and Unexpired
   Lease List, nor anything contained in the Plan, shall constitute an admission by the Debtors that any such
   contract or lease is in fact an Executory Contract or Unexpired Lease or that any of the Reorganized Debtors
   has any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory
   or unexpired at the time of assumption or rejection, the Debtors or the Reorganized Debtors, as applicable,
   shall have 30 days following entry of a Final Order resolving such dispute to alter the treatment of such
   contract or lease under the Plan, including by rejecting such contract or lease nunc pro tunc to the
   Confirmation Date.

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   I.      Nonoccurrence of Effective Date

           In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction
   with respect to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to
   section 365(d)(4) of the Bankruptcy Code.

   J.      Contracts and Leases Entered into After the Petition Date

           Contracts and leases entered into after the Petition Date by any Debtor, including any Executory
   Contracts and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or
   Reorganized Debtor liable thereunder in the ordinary course of its business. Accordingly, such contracts
   and leases (including any assumed Executory Contracts and Unexpired Leases) will survive and remain
   unaffected by the entry of the Confirmation Order.



                               PROVISIONS GOVERNING DISTRIBUTIONS

   A.      Timing and Calculation of Amounts to Be Distributed

            Except (1) as otherwise provided herein, (2) upon a Final Order, or (3) as otherwise agreed to by
   the Debtors or the Reorganized Debtors, as the case may be, and the Holder of the applicable Claim or
   Interest, on the Effective Date or as soon as reasonably practicable thereafter (or if a Claim or Interest is
   not an Allowed Claim or Interest on the Effective Date, on the next Distribution Date after such Claim or
   Interest becomes, as applicable, an Allowed Claim or Interest, or as soon as reasonably practicable
   thereafter), each Holder of an Allowed Claim or Interest shall receive the full amount of distributions that
   the Plan provides for Allowed Claims or Allowed Interests in the applicable Class from the Distribution
   Agent. Specifically with respect to Holders of Allowed Guarantor General Unsecured Claims, each such
   Holder shall receive from the Guarantor General Unsecured Claims Pool Account (1) an initial distribution
   in Cash equal to 45 percent of such Holder’s Allowed Guarantor General Unsecured Claim on the Effective
   Date or as soon as reasonably practicable thereafter (or if such Claim is not an Allowed Claim on the
   Effective Date, on the next Distribution Date after such Claim becomes an Allowed Claim) and (2) upon
   completion of the Claims reconciliation process, its Pro Rata share of a potential supplemental Cash
   distribution (i.e., the Guarantor General Unsecured Recovery Cash Pool Supplement) in accordance with
   Article III.C.14 of the Plan. In the event that any payment or distribution under the Plan is required to be
   made or performed on a date that is not a Business Day, then the making of such payment or distribution
   may be completed on the next succeeding Business Day, but shall be deemed to have been completed as of
   the required date. Except as specifically provided in the Plan, Holders of Claims or Interests shall not be
   entitled to interest, dividends, or accruals on the distributions provided for in the Plan, regardless of whether
   such distributions are delivered on or at any time after the Effective Date.

   B.      Rights and Powers of Distribution Agent

                    Powers of the Distribution Agent

             The Distribution Agent shall be empowered to: (a) effect all actions and execute all agreements,
   instruments, and other documents necessary to perform its duties and exercise its rights under the Plan;
   (b) make all distributions contemplated under the Plan; (c) employ professionals to represent it with respect
   to its responsibilities and powers; and (d) exercise such other powers as may be vested in the Distribution
   Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Distribution Agent to
   be necessary and proper to implement the provisions of the Plan.

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                    Expenses Incurred on or after the Effective Date

           Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and
   expenses incurred by the Distribution Agent (including any of the Notes Trustees and Agents acting as a
   Distribution Agent) on or after the Effective Date (including taxes) and any reasonable compensation and
   expense reimbursement claims (including reasonable attorney and/or other professional fees and expenses)
   made by such Distribution Agent shall be paid in Cash by the Reorganized Debtors, in each case, within
   ten Business Days of receipt by the Reorganized Debtors of an invoice from such Distribution Agent for
   any such amounts.

   C.      Delivery of Distributions and Undeliverable or Unclaimed Distributions

                    Distributions Generally

            Except as otherwise provided herein, the Distribution Agent shall make all distributions required
   under the Plan. The Distribution Agent shall not be required to give any bond or surety or other security
   for the performance of its duties unless otherwise ordered by the Bankruptcy Court. Additionally, in the
   event that the Distribution Agent is so otherwise ordered, all costs and expenses of procuring any such bond
   or surety shall be borne by the Reorganized Debtors.

             Notwithstanding any provision of the Plan to the contrary, distributions to Holders of Allowed
   Notes Claims and Allowed iHeart Interests may be made to or at the direction of the applicable Notes
   Trustees and Agents, the iHeart Transfer Agent, or the CCOH Transfer Agent, as applicable, each of which
   may act as Distribution Agent (or direct the Distribution Agent) for distributions to the respective Holders
   of such Claims or Interests in accordance with the Plan and the applicable indentures in the case of Allowed
   Notes Claims. As applicable, the Notes Trustees and Agents, the iHeart Transfer Agent, and the CCOH
   Transfer Agent may transfer or direct the transfer of such distributions directly through the facilities of DTC
   (whether by means of book-entry exchange, free delivery, or otherwise) and will be entitled to recognize
   and deal for all purposes under the Plan with the respective Holders of such Claims to the extent consistent
   with the customary practices of DTC. Notwithstanding anything to the contrary herein, such distributions
   shall be subject in all respects to any rights of the Notes Trustees and Agents, the iHeart Transfer Agent,
   and the CCOH Transfer Agent to assert a charging lien against such distributions. For the avoidance of
   doubt, The Bank of New York Mellon, in its capacity as Legacy Notes Trustee for the issuance of the 5.50%
   Legacy Notes, shall have the right to assert a charging lien against distributions that would have been made
   to the 5.50% Legacy Notes but are instead being distributed to Holders of the non-5.50% Legacy Notes
   pursuant to the Plan, and the Debtors shall direct such portion of such distributions to such Legacy Notes
   Trustee sufficient to satisfy such charging lien. All distributions to be made to Holders of Allowed Notes
   Claims and Allowed iHeart Interests through DTC shall be made eligible for distribution through the
   facilities of DTC and, for the avoidance of doubt, under no circumstances will any of the Notes Trustees
   and Agents be responsible for making or required to make any distribution under the Plan to Holders of
   Allowed Notes Claims if such distribution is not eligible to be distributed through the facilities of DTC.

            Except as otherwise provided herein, and notwithstanding any authority to the contrary,
   distributions to Holders of Allowed Claims and Allowed Interests, including Claims and Interests that
   become Allowed Claims or Allowed Interests after the Effective Date, shall be made to Holders by the
   Distribution Agent: (a) to the address of each such Holder as set forth in the Debtors’ books and records
   (or if the Debtors have been notified in writing, on or before the date that is 10 Business Days before the
   Effective Date, of a change of address, to the changed address) or in the Claims Register as of the
   Distribution Record Date; or (b) on any counsel that has appeared in the Chapter 11 Cases on the Holder’s
   behalf; provided that the address for each Holder of an Allowed Claim or Allowed Interest shall be deemed
   to be the address set forth in, as applicable, any Proof of Claim or Proof of Interest Filed by such Holder,

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   or, if no Proof of Claim or Proof of Interest has been Filed, the address set forth in the Schedules. If a
   Holder holds more than one Claim in any one Class, all Claims of the Holder may be aggregated into one
   Claim, and one distribution may be made with respect to the aggregated Claim. Notwithstanding anything
   to the contrary in the Plan, including this Article VI.C, the Debtors, the Reorganized Debtors, any
   Distribution Agent, the Notes Trustees and Agents, the iHeart Transfer Agent, or the CCOH Transfer Agent,
   as applicable, shall not incur any liability whatsoever on account of any distributions under the Plan.

                    Distributions on Account of Obligations of Multiple Debtors

           Holders of Allowed Claims (other than Secured Term Loan / PGN Claims and Guarantor Funded
   Debt Unsecured Claims) may assert such Claims against each Debtor obligated with respect to such Claims,
   and such Claims shall be entitled to share in the recovery provided for the applicable Class of Claims against
   each obligated Debtor based upon the full Allowed amount of such Claims. Notwithstanding the foregoing,
   in no case shall the aggregate value of all property received or retained under the Plan on account of any
   Allowed Claim exceed 100 percent of the underlying Allowed claim plus applicable interest, if any.

           For all purposes associated with distributions under the Plan on account of any Secured Term
   Loan / PGN Claim, all guarantees by any Debtor of the obligations of any other Debtor, as well as any joint
   and several liability of any Debtor with respect to any other Debtor, shall be deemed eliminated so that any
   obligation that could otherwise be asserted against more than one Debtor shall result in a single distribution
   under the Plan. Any such Claims shall be released and discharged pursuant to Article VIII of the Plan and
   shall be subject to all potential objections, defenses, and counterclaims, and to estimation pursuant to
   section 502(c) of the Bankruptcy Code.

                    Record Date of Distributions

            On the Distribution Record Date, the Claims Register shall be closed and any party responsible for
   making distributions shall instead be authorized and entitled to recognize only those record Holders listed
   on the Claims Register as of the close of business on the Distribution Record Date. Notwithstanding the
   foregoing, distributions to Holders of Allowed Term Loan Credit Agreement Claims and Allowed iHeart
   Interests that are not deposited in DTC shall be made to such Holders that are listed on the register or related
   document maintained by the Term Loan Credit Agreement Agent or the iHeart Transfer Agent, as
   applicable, as of the Distribution Record Date. The Distribution Record Date shall not apply to Notes
   Claims and iHeart Interests deposited with DTC, the Holders of which shall receive distributions in
   accordance with the customary procedures of DTC. In addition, distributions to Holders of Allowed Term
   Loan Credit Agreement Claims and Allowed iHeart Interests (whether or not deposited in DTC) are subject
   to the Equity Allocation Mechanism.

                    Special Rules for Distributions to Holders of Disputed Claims and Interests

            Notwithstanding any provision otherwise in the Plan and except as otherwise agreed to by the
   Reorganized Debtors, on the one hand, and the Holder of a Disputed Claim or Disputed Interest, on the
   other hand, or as set forth in a Final Order, no partial payments and no partial distributions shall be made
   with respect to a Disputed Claim or Disputed Interest until all of the Disputed Claim or Disputed Interest
   has become an Allowed Claim or Allowed Interest, as applicable, or has otherwise been resolved by
   settlement or Final Order; provided that, if the Reorganized Debtors do not dispute a portion of an amount
   asserted pursuant to an otherwise Disputed Claim or Disputed Interest, the Distribution Agent may make a
   partial distribution on account of that portion of such Claim or Interest that is not Disputed at the time and
   in the manner that the Distribution Agent makes distributions to similarly situated Holders of Allowed
   Claims and Allowed Interests pursuant to the Plan. Any dividends or other distributions arising from
   property distributed to Holders of Allowed Claims or Interests, as applicable, in a Class and paid to such

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   Holders under the Plan shall also be paid, in the applicable amounts, to any Holder of a Disputed Claim or
   Interest, as applicable, in such Class that becomes an Allowed Claim or Interest after the date or dates that
   such dividends or other distributions were earlier paid to Holders of Allowed Claims or Interests in such
   Class.

                    De Minimis Distributions; Minimum Distributions

            No fractional units or amounts of New iHeart Common Stock, Special Warrants, New Debt, CCOH
   Interests, or beneficial interests in the FCC Trust, if applicable, shall be distributed, and no Cash shall be
   distributed in lieu of such fractional amounts, and such fractional amount shall be deemed to be zero. When
   any distribution pursuant to the Plan on account of an Allowed Claim or Interest would otherwise result in
   the issuance of a number of units or amounts of New iHeart Common Stock, Special Warrants, New Debt,
   CCOH Interests, or beneficial interests in the FCC Trust, if applicable, that is not a whole number, the
   actual distribution of units or amounts of New iHeart Common Stock, Special Warrants, New Debt, CCOH
   Interests, or beneficial interests in the FCC Trust, if applicable, shall be rounded as follows: (a) fractions
   of greater than one-half shall be rounded to the next higher whole number; and (b) fractions of one-half or
   less shall be rounded to the next lower whole number with no further payment thereto. The total number of
   authorized units or amounts of New iHeart Common Stock, Special Warrants, New Debt, CCOH Interests,
   or beneficial interests in the FCC Trust, if applicable, to be distributed to Holders of Allowed Claims and
   Interests shall be adjusted as necessary to account for the foregoing rounding; provided that DTC shall be
   considered a single holder for purposes of distributions; and provided further that with respect to CCOH
   Interests, the foregoing rounding principles may be adjusted to the extent necessary to prevent the total
   number of authorized units or amounts of CCOH Interests to be distributed to Holders of Allowed Claims
   and Interests from increasing.

           The Distribution Agent shall not make any distributions to a Holder of an Allowed Claim or an
   Allowed Interest on account of such Allowed Claim or Allowed Interest of New iHeart Common Stock,
   Special Warrants, New Debt, CCOH Interests, beneficial interests in the FCC Trust, if applicable, or Cash
   where such distribution is valued, in the reasonable discretion of the Distribution Agent, at less than
   $100.00, and each Claim or Interest to which this limitation applies shall be discharged pursuant to
   Article VIII of the Plan and its Holder shall be forever barred pursuant to Article VIII of the Plan from
   asserting that Claim against or Interest in the Reorganized Debtors or their property.

                    Undeliverable Distributions and Unclaimed Property

            In the event that either (a) a distribution to any Holder is returned as undeliverable or (b) the Holder
   of an Allowed Claim or Allowed Interest does not respond to a request by the Debtors or the Distribution
   Agent for information necessary to facilitate a particular distribution, no distribution to such Holder shall
   be made unless and until the Distribution Agent has determined the then-current address of such Holder or
   received the necessary information to facilitate a particular distribution, at which time such distribution
   shall be made to such Holder without interest, dividends, or other accruals of any kind; provided that such
   distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code on the date
   that is six months after the later of (x) the Effective Date and (y) the date of the distribution. After such
   date, all unclaimed property or interests in property shall revert to the Reorganized Debtors automatically
   and without need for a further order by the Bankruptcy Court (notwithstanding any applicable local, state,
   federal, or foreign escheat, abandoned, or unclaimed property laws to the contrary), and the Claim or
   Interest of any Holder to such property or interest in property shall be discharged and forever barred.
   Notwithstanding the foregoing, subject to Article IV.Y of the Plan, any such distribution described herein
   which is intended for a Holder of an Allowed Guarantor General Unsecured Claim shall be remitted to the
   Guarantor General Unsecured Recovery Cash Pool.


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                    Manner of Payment Pursuant to the Plan

          At the option of the Distribution Agent, any Cash payment to be made hereunder may be made by
   check, wire transfer, Automated Clearing House, or credit card, or as otherwise provided in applicable
   agreements; provided, however, that distributions of Cash to Holders of Allowed Notes Claims shall be
   made through the facilities of DTC.

                    No Distributions to Holders of Intercompany Notes Claims

            In accordance with the waiver by each Debtor that is a Holder of an Intercompany Notes Claim of
   its recoveries on account of such Intercompany Notes Claim and Article III.C of the Plan, the Debtors shall
   implement procedures to ensure that there shall be no distributions made to any Holders of Intercompany
   Notes Claims on account of such Intercompany Notes Claims.

   D.      Compliance Matters

           In connection with the Plan, to the extent applicable, the Reorganized Debtors and any Distribution
   Agent shall comply with all tax withholding and reporting requirements imposed on them by any
   Governmental Unit, and all distributions pursuant to the Plan shall be subject to such withholding and
   reporting requirements. Notwithstanding any provision in the Plan to the contrary, the Reorganized Debtors
   and the Distribution Agent shall be authorized to take all actions necessary or appropriate to comply with
   such withholding and reporting requirements, including liquidating a portion of the distribution to be made
   under the Plan to generate sufficient funds to pay applicable withholding taxes, withholding distributions
   pending receipt of information necessary to facilitate such distributions, or establishing any other
   mechanisms they believe are reasonable and appropriate. The Reorganized Debtors reserve the right to
   allocate all distributions made under the Plan in compliance with all applicable wage garnishments,
   alimony, child support, and other spousal awards, liens, and encumbrances.

   E.      Foreign Currency Exchange Rate

           Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim
   asserted in currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S.
   dollar value using the exchange rate for the applicable currency as published in The Wall Street Journal,
   National Edition, on the Petition Date.

   F.      Claims Paid or Payable by Third Parties

                    Claims Paid by Third Parties

            The Debtors or the Reorganized Debtors, as applicable, shall reduce a Claim, and such Claim (or
   portion thereof) shall be disallowed without an objection to such Claim having to be Filed and without any
   further notice to or action, order, or approval of the Bankruptcy Court, to the extent that the Holder of such
   Claim receives a payment on account of such Claim from a party that is not a Debtor or Reorganized Debtor
   (or other Distribution Agent), as applicable. To the extent a Holder of a Claim receives a distribution on
   account of such Claim and receives payment from a party that is not a Debtor or a Reorganized Debtor (or
   other Distribution Agent), as applicable, on account of such Claim, such Holder shall, within 10 Business
   Days of receipt thereof, repay, return, or deliver any distribution held by or transferred to the Holder to the
   applicable Reorganized Debtor to the extent the Holder’s total recovery on account of such Claim from the
   third party and under the Plan exceeds the amount of such Claim as of the date of any such distribution
   under the Plan. The failure of such Holder to timely repay, return, or deliver such distribution shall result
   in the Holder owing the applicable Reorganized Debtor annualized interest at the Federal Judgment Rate

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   on such amount owed for each Business Day after the 10-Business Day grace period specified above until
   the amount is repaid.

                   Claims Payable by Third Parties

            No distributions under the Plan shall be made on account of an Allowed Claim that is payable
   pursuant to one of the Debtors’ insurance policies, including the Chubb Insurance Contracts, until the
   Holder of such Allowed Claim has exhausted all remedies with respect to such insurance policy. To the
   extent that one or more of the Debtors’ insurers agrees to satisfy in full or in part a Claim (if and to the
   extent adjudicated by a court of competent jurisdiction), then immediately upon such satisfaction, such
   Claim may be expunged to the extent of any such satisfaction on the Claims Register by the Claims,
   Noticing, and Solicitation Agent without an objection to such Claim having to be Filed and without any
   further notice to or action, order, or approval of the Bankruptcy Court.

                   Applicability of Insurance Policies

           Except as otherwise provided herein, distributions to Holders of Allowed Claims shall be in
   accordance with the provisions of any applicable insurance policy, including the Chubb Insurance
   Contracts. Nothing contained in the Plan shall constitute or be deemed a release, settlement, satisfaction,
   compromise, or waiver of any rights, defenses, or Cause of Action that the Debtors or any other Entity may
   hold against any other Entity, including insurers, under any policies of insurance (including the Chubb
   Insurance Contracts), agreements related thereto, or applicable indemnity, nor shall anything contained
   herein constitute or be deemed a waiver by such insurers of any rights or defenses, including coverage
   defenses, held by such insurers under the applicable insurance policies (including the Chubb Insurance
   Contracts), agreements related thereto, and applicable non-bankruptcy law.

   G.      Setoffs and Recoupment

           Except as otherwise expressly provided for herein and except with respect to a Term Loan Credit
   Agreement Claim, a PGN Claim, the CCOH Due From Claim, a 2021 Notes Claim, or a Legacy Notes
   Claim (none of which shall be subject to setoff, recoupment, reduction, or deduction), each Debtor,
   Reorganized Debtor, or such Entity’s designee as instructed by such Debtor or Reorganized Debtor, as
   applicable, may, pursuant to the Bankruptcy Code (including section 553 of the Bankruptcy Code),
   applicable non-bankruptcy law, or as may be agreed to by the Holder of a Claim, setoff against or recoup
   from an Allowed Claim and any distributions to be made pursuant to the Plan on account of such Allowed
   Claim, any Cause of Action of any nature whatsoever that the Debtor or Reorganized Debtor, as applicable,
   may have against the Holder of such Allowed Claim, to the extent such Causes of Action have not been
   otherwise compromised, settled, or released on or prior to the Effective Date (whether pursuant to the Plan
   or otherwise); provided that neither the failure to effect such a setoff or recoupment nor the allowance of
   any Claim pursuant to the Plan shall constitute a waiver or release by the Debtors or the Reorganized
   Debtors of any such Causes of Action the Debtors or Reorganized Debtors may possess against such Holder.

   H.      Allocation between Principal and Accrued Interest

            Except as otherwise provided herein, the aggregate consideration paid to Holders with respect to
   their Allowed Claims shall be treated pursuant to the Plan as allocated first to the principal amount of such
   Allowed Claims (to the extent thereof and as determined for federal income tax purposes) and second, to
   the extent the consideration exceeds the principal amount of the Allowed Claims, to the remaining portion
   of such Allowed Claim, if any.



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                 PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED,
                                AND DISPUTED CLAIMS

   A.      Resolution of Disputed Claims

                   Allowance of Claims and Interests

             On and after the Effective Date, each of the Reorganized Debtors shall have and shall retain any
   and all rights and defenses the applicable Debtor had with respect to any Claim or Interest immediately
   before the Effective Date, including any Cause of Action retained pursuant to Article IV.W of the Plan.
   Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases before the Effective
   Date (including the Confirmation Order), no Claim against or Interest in any Debtor shall become an
   Allowed Claim or Allowed Interest unless and until such Claim or Interest is deemed Allowed under the
   Plan or the Bankruptcy Code, or the Bankruptcy Court has entered a Final Order, including the
   Confirmation Order (when it becomes a Final Order), in the Chapter 11 Cases allowing such Claim or
   Interest.

                   Claims and Interests Administration Responsibilities

            Except as otherwise specifically provided in the Plan, and notwithstanding any requirements that
   may be imposed pursuant to Bankruptcy Rule 9019, on and after the Effective Date, the Reorganized
   Debtors (or any authorized agent or assignee thereof) shall have the sole authority: (a) to File, withdraw,
   or litigate to judgment, objections to Disputed Claims against or Disputed Interests in any of the Debtors;
   (b) to settle or compromise any Disputed Claim or Disputed Interest without any further notice to or action,
   order, or approval by the Bankruptcy Court; and (c) to administer and adjust the Claims Register to reflect
   any such settlements or compromises without any further notice to or action, order, or approval by the
   Bankruptcy Court.

                   Estimation of Claims

             Before or after the Effective Date, the Debtors or the Reorganized Debtors may (but are not required
   to), at any time, request that the Bankruptcy Court estimate any Disputed Claim pursuant to applicable law,
   including pursuant to section 502(c) of the Bankruptcy Code, for any reason, regardless of whether any
   party previously has objected to such Disputed Claim or whether the Bankruptcy Court has ruled on any
   such objection, and the Bankruptcy Court shall retain jurisdiction under sections 157 and 1334 of the
   Judicial Code to estimate any such Disputed Claim, including during the litigation of any objection to any
   Disputed Claim or during the pendency of any appeal relating to such objection. Notwithstanding any
   provision otherwise in the Plan, a Disputed Claim that has been expunged from the Claims Register, but
   that either is subject to appeal or has not been the subject of a Final Order, shall be deemed to be estimated
   at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy Court
   estimates any Disputed Claim, that estimated amount shall constitute a maximum limitation on such
   Disputed Claim for all purposes under the Plan (including for purposes of distributions and discharge) and
   may be used as evidence in any supplemental proceedings, and the Debtors or the Reorganized Debtors
   may elect to pursue any supplemental proceedings to object to any ultimate distribution on such Disputed
   Claim; provided that such limitation shall not apply to Disputed Claims against any of the Debtors requested
   by the Debtors to be estimated for voting purposes only. Notwithstanding section 502(j) of the Bankruptcy
   Code, in no event shall any Holder of a Disputed Claim that has been estimated pursuant to section 502(c)
   of the Bankruptcy Code or otherwise be entitled to seek reconsideration of such estimation unless such
   Holder has Filed a motion requesting the right to seek such reconsideration on or before 14 days after the
   date on which such Disputed Claim is estimated.

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          Each of the foregoing Disputed Claims and objection, estimation, and resolution procedures are
   cumulative and not exclusive of one another. Disputed Claims may be estimated and subsequently
   compromised, settled, withdrawn, or resolved by any mechanism approved by the Bankruptcy Court.

   B.      Time to File Objections to Disputed Claims and Disputed Interests.

            Any objections to Disputed Claims and Disputed Interests shall be Filed on or before the later of
   (1) the first Business Day following the date that is 180 days after the Effective Date and (2) such later date
   as may be specifically fixed by the Bankruptcy Court. For the avoidance of doubt, the Bankruptcy Court
   may extend the time period to object to Disputed Claims and Disputed Interests.

   C.      Disputed Claims Reserve

           On the Effective Date, the Debtors shall establish one or more reserves of New Debt for any
   Disputed Claim or Disputed Interest entitled to receive New Debt to the extent such Claim or Interest is
   ultimately Allowed existing as of the Effective Date, which reserve(s) shall be administered by the
   Reorganized Debtors or the Distribution Agent, as applicable. After the Effective Date, the Reorganized
   Debtors or the Distribution Agent shall hold such New Debt in such reserve(s) in trust for the benefit of the
   Holders of Claims and Interests ultimately determined to be Allowed after the Effective Date. The
   Reorganized Debtors or the Distribution Agent shall distribute such amounts (net of any expenses, including
   any taxes relating thereto), as provided herein, as such Claims and Interests are resolved by a Final Order
   or agreed to by settlement, and such amounts will be distributable on account of such Claims and Interests
   as such amounts would have been distributable had such Claims and Interests been Allowed Claims and
   Allowed Interests as of the Effective Date under Article III of the Plan solely to the extent of the amounts
   available in the applicable reserve(s).

            The Debtors, the Reorganized Debtors, and CCH will distribute to Holders of Allowed Claims and
   Interests any New iHeart Common Stock, Special Warrants, beneficial interests in the FCC Trust (if the
   FCC Trust is utilized as described in the Plan), or CCOH Interests (as applicable) when such Disputed
   Claims or Disputed Interests are Allowed pursuant to Article VII of the Plan.

   D.      Adjustment to Claims and Interests without Objection

            Any Claim or Interest that has been paid, satisfied, amended, superseded, cancelled, or otherwise
   expunged (including pursuant to the Plan) may be adjusted or expunged on the Claims Register at the
   direction of the Reorganized Debtors without the Reorganized Debtors having to File an application,
   motion, complaint, objection, or any other legal proceeding seeking to object to such Claim or Interest and
   without any further notice to or action, order, or approval of the Bankruptcy Court. Additionally, any Claim
   or Interest that is duplicative or redundant with another Claim or Interest against the same Debtor may be
   adjusted or expunged on the Claims Register at the direction of the Reorganized Debtors without the
   Reorganized Debtors having to File an application, motion, complaint, objection, or any other legal
   proceeding seeking to object to such Claim or Interest and without any further notice to or action, order, or
   approval of the Bankruptcy Court.

   E.      No Interest

           Unless otherwise specifically provided for herein or by Final Order of the Bankruptcy Court,
   postpetition interest shall not accrue or be paid on Claims against or Interests in the Debtors, and no Holder
   of a Claim against or Interest in the Debtors shall be entitled to interest accruing on or after the Petition
   Date on any such Claim or Interest. Additionally, and without limiting the foregoing, interest shall not
   accrue or be paid on any Disputed Claim with respect to the period from the Effective Date to the date a

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   final distribution is made on account of such Disputed Claim, if and when such Disputed Claim becomes
   an Allowed Claim.

   F.      Disallowance of Claims

            Except as otherwise expressly provided for herein, all Claims of any Entity from which property is
   recoverable, based on an order from the Bankruptcy Court, under section 542, 543, 550, or 553 of the
   Bankruptcy Code or that is a transferee of a transfer that is avoidable, based on an order from the Bankruptcy
   Court, under section 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code, shall be
   deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and Holders of such Claims may
   not receive any distributions on account of such Claims until such time as such Causes of Action against
   that Entity have been settled or a Final Order with respect thereto has been entered by the Bankruptcy Court
   and all sums due, if any, to the Debtors by that Entity have been turned over or paid to the Debtors or the
   Reorganized Debtors, as applicable.

           Subject in all respects to Article V.F, all Proofs of Claim Filed on account of an indemnification
   obligation to a director, officer, or employee shall be deemed satisfied and expunged from the Claims
   Register as of the Effective Date to the extent such indemnification obligation is assumed (or honored or
   reaffirmed, as the case may be) pursuant to the Plan, without any further notice to, action, order, or approval
   of the Bankruptcy Court.

           Except as otherwise provided herein, agreed to by the Reorganized Debtors or otherwise
   pursuant to an order of the Bankruptcy Court, all Proofs of Claim Filed after the applicable Claims
   Bar Date shall be deemed disallowed in full and expunged as of the Effective Date, forever barred,
   estopped, and enjoined from assertion, and shall not be enforceable against any Reorganized Debtor,
   without the need for any objection by the Reorganized Debtors or any further notice to or action,
   order, or approval of the Bankruptcy Court.

   G.      Amendments to Proofs of Claim

            A Proof of Claim against or Proof of Interest in any Debtor may be amended before the
   Confirmation Date only as agreed upon by the Debtors and the Holder of such Claim or Interest or as
   otherwise permitted by the Bankruptcy Court, the Bankruptcy Rules, or applicable nonbankruptcy law. On
   or after the Effective Date, except as provided in the Plan or the Confirmation Order, a Proof of Claim or
   Proof of Interest may not be Filed or amended without the prior authorization of the Bankruptcy Court or
   the Reorganized Debtors, and any such new or amended Proof of Claim or Proof of Interest Filed shall be
   deemed disallowed in full and expunged without any further action, order, or approval of the Bankruptcy
   Court absent prior Bankruptcy Court approval or agreement by the Debtors or Reorganized Debtors, as
   applicable; provided that the foregoing shall not apply to Administrative Claims other than 503(b)(9)
   Claims.

   H.      Distributions after Allowance

            To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any)
   shall be made to the Holder of such Allowed Claim in accordance with the provisions of the Plan. As soon
   as practicable after the date that the order or judgment of the Bankruptcy Court allowing any Disputed
   Claim becomes a Final Order, the Distribution Agent shall provide to the Holder of such Allowed Claim
   the distribution (if any) to which such Holder is entitled under the Plan as of the Effective Date, less any
   previous distribution (if any) that was made on account of the undisputed portion of such Allowed Claim,
   without any interest, dividends, or accruals to be paid on account of such Allowed Claim unless required
   under applicable bankruptcy law or as otherwise provided in Article III.B

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                               EFFECT OF CONFIRMATION OF THE PLAN

   A.      Discharge of Claims and Termination of Interests

             To the maximum extent provided by section 1141(d) of the Bankruptcy Code, and except as
   otherwise specifically provided in the Plan or in any contract, instrument, or other agreement or document
   created pursuant to the Plan, the distributions, rights, and treatment that are provided in the Plan shall be in
   complete satisfaction, discharge, and release, effective as of the Effective Date, of Claims (including any
   Intercompany Claims resolved or compromised after the Effective Date by the Reorganized Debtors),
   Interests, and Causes of Action of any nature whatsoever, including any interest accrued on Claims or
   Interests from and after the Petition Date, whether known or unknown, against, liabilities of, Liens on,
   obligations of, rights against, and Interests in, the Debtors or any of their assets or properties, regardless of
   whether any property shall have been distributed or retained pursuant to the Plan on account of such Claims
   and Interests, including demands, liabilities, and Causes of Action that arose before the Effective Date, any
   liability (including withdrawal liability) to the extent such Claims or Interests relate to services performed
   by current or former employees of the Debtors prior to the Effective Date and that arise from a termination
   of employment, any contingent or non-contingent liability on account of representations or warranties
   issued on or before the Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or
   502(i) of the Bankruptcy Code, in each case whether or not: (1) a Proof of Claim or Proof of Interest based
   upon such debt, right, or Interest is Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code;
   (2) a Claim or Interest based upon such debt, right, or Interest is Allowed pursuant to section 502 of the
   Bankruptcy Code; or (3) the Holder of such a Claim or Interest has accepted the Plan. Any default by the
   Debtors or their Affiliates with respect to any Claim or Interest that existed immediately prior to or on
   account of filing of the Chapter 11 Cases shall be deemed cured (and no longer continuing) on the Effective
   Date. The Confirmation Order shall be a judicial determination of the discharge of all Claims and Interests
   subject to the occurrence of the Effective Date.

   B.      Releases by the Debtors

           Pursuant to section 1123(b) of the Bankruptcy Code, on and after the Effective Date, in
   exchange for good and valuable consideration, including the obligations of the Debtors under the
   Plan and the contributions of the Released Parties to facilitate and implement the Plan, to the fullest
   extent permissible under applicable law, as such law may be extended or integrated after the Effective
   Date, each Released Party is deemed conclusively, absolutely, unconditionally, irrevocably, and
   forever released and discharged by each and all of the Debtors, the Reorganized Debtors, and their
   Estates, in each case on behalf of themselves and their respective successors, assigns, and
   representatives, and any and all other entities who may purport to assert any Cause of Action,
   directly or derivatively, by, through, for, or because of the foregoing entities, from any and all Causes
   of Action, including any derivative claims asserted or assertable on behalf of any of the Debtors, that
   the Debtors, the Reorganized Debtors, or their Estates or Affiliates, as applicable, would have been
   legally entitled to assert in its own right (whether individually or collectively) or on behalf of the
   Holder of any Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in
   any manner arising from, in whole or in part, the Debtors, the Debtors’ capital structure, the
   assertion or enforcement of rights and remedies against the Debtors, the Debtors’ in- or out-of-court
   restructuring efforts, intercompany transactions between or among the Debtors and/or their
   Affiliates, the purchase, sale, or rescission of the purchase or sale of any Security of the Debtors or
   the Reorganized Debtors, the subject matter of, or the transactions or events giving rise to, any Claim
   or Interest that is treated in the Plan, the business or contractual arrangements between any Debtor
   and any Released Party, the Term Loan Credit Agreement Documents, the Notes and Notes
   Indentures, the Chapter 11 Cases and related adversary proceedings, the formulation, preparation,
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   dissemination, negotiation, filing, or consummation of the Restructuring Support Agreement, the
   Disclosure Statement, the DIP Credit Agreement Documents, the New ABL Credit Agreement
   Documents, the Plan, or any Restructuring Transaction, contract, instrument, release, or other
   agreement or document created or entered into in connection with the Restructuring Support
   Agreement, the Disclosure Statement, the DIP Credit Agreement Documents, the New ABL Credit
   Agreement Documents, or the Plan, the filing of the Chapter 11 Cases, the pursuit of Confirmation,
   the pursuit of Consummation, the administration and implementation of the Plan, including
   providing any legal opinion requested by any Entity regarding any transaction, contract, instrument,
   document, or other agreement contemplated by the Plan or the reliance by any Released Party on
   the Plan or the Confirmation Order in lieu of such legal opinion, the issuance or distribution of
   securities pursuant to the Plan, or the distribution of property under the Plan or any other related
   agreement, or upon any other related act or omission, transaction, agreement, event, or other
   occurrence taking place on or before the Effective Date, including the claims and causes of action
   asserted in the Texas Litigation and the CCOH Litigation. Notwithstanding anything to the contrary
   in the foregoing, the releases set forth above do not release any obligations of any Entity arising after
   the Effective Date under the Plan, the Confirmation Order, any Restructuring Transaction, or any
   document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
   implement the Plan.

            This Article VIII.B shall not operate to waive or release any right, Claim, or Cause of Action
   (i) in favor of any Debtor or Reorganized Debtor, as applicable, arising in the ordinary course of
   business under any contractual obligation owed to such Debtor or Reorganized Debtor (including
   any such accounts receivables obligations carried on the Debtors’ books and records and any such
   obligations under any Executory Contract or Unexpired Lease assumed by a Debtor or Reorganized
   Debtor, as applicable) that is not satisfied or discharged under the Plan or (ii) as expressly set forth
   herein or the Plan Supplement.

            Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
   to section 1123(b) and Bankruptcy Rule 9019, of the releases described in this Article VIII.B by the
   Debtors, which includes by reference each of the related provisions and definitions contained in this
   Plan, and further, shall constitute the Bankruptcy Court’s finding that each release described in this
   Article VIII.B is: (1) in exchange for the good and valuable consideration provided by the Released
   Parties; (2) a good-faith settlement and compromise of such Causes of Action; (3) in the best interests
   of the Debtors and all Holders of Claims and Interests; (4) fair, equitable, and reasonable; (5) given
   and made after due notice and opportunity for hearing; (6) a sound exercise of the Debtors’ business
   judgment; and (7) a bar to any of the Debtors or Reorganized Debtors or their respective Estates
   asserting any Cause of Action related thereto, of any kind, against any of the Released Parties or
   their property.

   C.      Releases by Holders of Claims and Interests

            On and after the Effective Date, in exchange for good and valuable consideration, including
   the obligations of the Debtors under the Plan and the contributions of the Released Parties to
   facilitate and implement the Plan, to the fullest extent permissible under applicable law, as such law
   may be extended or integrated after the Effective Date, each of the Releasing Parties is deemed to
   have conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged each
   Debtor, Reorganized Debtor, and Released Party from any and all Causes of Action, including any
   derivative claims asserted or assertable on behalf of any of the Debtors, the Reorganized Debtors, or
   their Estates or Affiliates, as applicable, that such Entity would have been legally entitled to assert in
   its own right (whether individually or collectively) or on behalf of the Holder of any Claim against,
   or Interest in, a Debtor or other Entity, based on or relating to, or in any manner arising from, in

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   whole or in part, the Debtors, the Debtors’ capital structure, the assertion or enforcement of rights
   and remedies against the Debtors, the Debtors’ in- or out-of-court restructuring efforts,
   intercompany transactions between or among the Debtors and/or their Affiliates, the purchase, sale,
   or rescission of the purchase or sale of any Security of the Debtors or the Reorganized Debtors, the
   subject matter of, or the transactions or events giving rise to, any Claim or Interest that is treated in
   the Plan, the business or contractual arrangements between any Debtor and any Released Party, the
   Term Loan Credit Agreement Documents, the Notes and Notes Indentures, the Chapter 11 Cases
   and related adversary proceedings, the formulation, preparation, dissemination, negotiation, filing,
   or consummation of the Restructuring Support Agreement, the Disclosure Statement, the DIP Credit
   Agreement Documents, the New ABL Credit Agreement Documents, the Plan, or any Restructuring
   Transaction, contract, instrument, release, or other agreement or document created or entered into
   in connection with the Restructuring Support Agreement, the Disclosure Statement, the DIP Credit
   Agreement Documents, the New ABL Credit Agreement Documents, or the Plan, the filing of the
   Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration
   and implementation of the Plan, including providing any legal opinion requested by any Entity
   regarding any transaction, contract, instrument, document, or other agreement contemplated by the
   Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu of such
   legal opinion, the issuance or distribution of securities pursuant to the Plan, or the distribution of
   property under the Plan or any other related agreement, or upon any other related act or omission,
   transaction, agreement, event, or other occurrence taking place on or before the Effective Date,
   including the claims and causes of action asserted in the Texas Litigation and the CCOH Litigation.
   Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
   any obligations of any Entity arising after the Effective Date under the Plan, the Confirmation Order,
   any Restructuring Transaction, or any document, instrument, or agreement (including those set forth
   in the Plan Supplement) executed to implement the Plan.

          This Article VIII.C shall not release any right, Claim, or Cause of Action incurred by the
   Released Parties in the ordinary course of business that are unrelated to the Debtors, the Debtors'
   Chapter 11 Cases, and the Debtors' in- and out-of-court restructuring efforts.

           Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
   to Bankruptcy Rule 9019, of the releases described in this Article VIII.C, which includes by reference
   each of the related provisions and definitions contained in this Plan, and further, shall constitute the
   Bankruptcy Court’s finding that each release described in this Article VIII.C is: (1) in exchange for
   the good and valuable consideration provided by the Released Parties; (2) a good-faith settlement
   and compromise of such Causes of Action; (3) in the best interests of the Debtors and all Holders of
   Claims and Interests; (4) fair, equitable, and reasonable; (5) given and made after due notice and
   opportunity for hearing; (6) a sound exercise of the Debtors’ business judgment; and (7) a bar to any
   of the Releasing Parties or the Debtors or Reorganized Debtors or their respective Estates asserting
   any Cause of Action related thereto, of any kind, against any of the Released Parties or their property.

   D.      Exculpation

          Notwithstanding anything herein to the contrary, and upon entry of the Confirmation Order,
   no Exculpated Party shall have or incur, and each Exculpated Party is released and exculpated from,
   any liability to any holder of a Cause of Action, Claim, or Interest for any act or omission in
   connection with, relating to, or arising out of, the Chapter 11 Cases, the formulation, preparation,
   dissemination, negotiation, filing, or consummation of the Restructuring Support Agreement, the
   Disclosure Statement, the DIP Credit Agreement Documents, the ABL Credit Agreement
   Documents, the Plan, or any Restructuring Transaction, contract, instrument, release, or other
   agreement or document created or entered into in connection with the Restructuring Support

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   Agreement, the Disclosure Statement, the DIP Credit Agreement Documents, the ABL Credit
   Agreement Documents, the Plan, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the
   pursuit of Consummation, the administration and implementation of the Plan, including providing
   any legal opinion requested by any Entity regarding any transaction, contract, instrument,
   document, or other agreement contemplated by the Plan or the reliance by any Exculpated Party on
   the Plan or the Confirmation Order in lieu of such legal opinion, the issuance or distribution of
   securities pursuant to the Plan or the distribution of property under the Plan or any other agreement
   (whether or not such issuance or distribution occurs following the Effective Date), negotiations
   regarding or concerning any of the foregoing, or the administration of the Plan or property to be
   distributed hereunder, except for Causes of Action related to any act or omission that is determined
   by Final Order to have constituted actual fraud, willful misconduct, or gross negligence, but in all
   respects such Entities shall be entitled to reasonably rely upon the advice of counsel with respect to
   their duties and responsibilities pursuant to the Plan. The Exculpated Parties have, and upon
   Consummation of the Plan shall be deemed to have, participated in good faith and in compliance
   with the applicable laws with regard to the solicitation of votes and distribution of consideration
   pursuant to the Plan and, therefore, are not, and on account of such distributions shall not be, liable
   at any time for the violation of any applicable law, rule, or regulation governing the solicitation of
   acceptances or rejections of the Plan or such distributions made pursuant to the Plan.

   E.     Injunction

           Except as otherwise expressly provided in the Plan, the Confirmation Order, or for
   obligations issued or required to be paid pursuant to the Plan or the Confirmation Order, all Entities
   who have held, hold, or may hold Claims, Interests, or Causes of Action that have been released,
   discharged, or are subject to exculpation are permanently enjoined and precluded, from and after
   the Effective Date, from taking any of the following actions against, as applicable, the Debtors, the
   Reorganized Debtors, the Exculpated Parties, or the Released Parties: (1) commencing or continuing
   in any manner any action or other proceeding of any kind on account of or in connection with or with
   respect to any such Claims, Interests, or Causes of Action; (2) enforcing, attaching, collecting, or
   recovering by any manner or means any judgment, award, decree, or order against such Entities on
   account of or in connection with or with respect to any such Claims, Interests, or Causes of Action;
   (3) creating, perfecting, or enforcing any Lien, Claim, or encumbrance of any kind against such
   Entities or the property or the estates of such Entities on account of or in connection with or with
   respect to any such Claims, Interests, or Causes of Action; (4) asserting any right of setoff,
   subrogation, or recoupment of any kind against any obligation due from such Entities or against the
   property of such Entities on account of or in connection with or with respect to any such Claims,
   Interests, or Causes of Action, unless such Holder has Filed a motion requesting the right to perform
   such setoff on or before the Effective Date, and notwithstanding any indication in any Proof of Claim
   or Proof of Interest or otherwise that such Holder asserts, has, or intends to preserve any right of
   setoff pursuant to applicable law or otherwise; and (5) commencing or continuing in any manner any
   action or other proceeding of any kind against such Entities on account of or in connection with or
   with respect to any such Claims, Interests, or Causes of Action released, settled, or compromised
   pursuant to the Plan.

           Upon entry of the Confirmation Order, all Holders of Claims and Interests and their
   respective current and former directors, managers, officers, principals, predecessors, successors,
   employees, agents, and direct and indirect Affiliates shall be enjoined from taking any actions to
   interfere with the implementation or Consummation of the Plan. Each Holder of an Allowed Claim
   or Allowed Interest, as applicable, by accepting, or being eligible to accept, distributions under or
   Reinstatement of such Claim or Interest, as applicable, pursuant to the Plan, shall be deemed to have
   consented to the injunction provisions set forth in this Article VIII.E.

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   F.      Release of Liens

            Except as otherwise provided in the Plan, the Plan Supplement, the New Debt Documents,
   the New ABL Credit Agreement Documents, or any contract, instrument, release, or other agreement
   or document created pursuant to the Plan or the Confirmation Order, on the Effective Date, and
   concurrently with the applicable distributions made pursuant to the Plan, all mortgages, deeds of
   trust, Liens, pledges, or other security interests against any property of the Estates (other than, solely
   in the event that the Allowed DIP Claims become Converted DIP Claims, the Continuing Liens and
   the Liens securing the Contingent DIP Obligations) shall be fully released, settled, compromised, and
   discharged, and all of the right, title, and interest of any holder of such mortgages, deeds of trust,
   Liens, pledges, or other security interests against any property of the Debtors shall automatically
   revert to the applicable Debtor or Reorganized Debtor, as applicable, and their successors and
   assigns, in each case, without any further approval or order of the Bankruptcy Court and without
   any action or Filing being required to be made by the Debtors. Any Holder of such Secured Claim
   (and the applicable agents for such Holder) shall be authorized and directed to release any collateral
   or other property of any Debtor (including any cash collateral and possessory collateral) held by such
   Holder (and the applicable agents for such Holder), and to take such actions as requested by the
   Debtors or Reorganized Debtors to evidence the release of such Lien, including the execution,
   delivery, and filing or recording of such documents evidencing such releases. The presentation or
   filing of the Confirmation Order to or with any local, state, federal, or foreign agency or department
   shall constitute good and sufficient evidence of, but shall not be required to effect, the termination of
   such Liens.

   G.      Protection against Discriminatory Treatment

            To the maximum extent provided by section 525 of the Bankruptcy Code, and consistent with
   paragraph 2 of Article VI of the United States Constitution, no Entity, including no Governmental Unit,
   shall discriminate against any Reorganized Debtor or deny, revoke, suspend, or refuse to renew a license,
   permit, charter, franchise, or other similar grant to, condition such a grant to, discriminate with respect to
   such a grant against, any Reorganized Debtor, or any Entity with which a Reorganized Debtor has been or
   is associated, solely because such Reorganized Debtor was a debtor under chapter 11 of the Bankruptcy
   Code, may have been insolvent before the commencement of the Chapter 11 Cases (or during the
   Chapter 11 Cases but before such Debtor was granted or denied a discharge), or has not paid a debt that is
   dischargeable in the Chapter 11 Cases.

   H.      Recoupment

           In no event shall any Holder of a Claim or Interest be entitled to recoup any Claim or Interest
   against any Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless such Holder
   actually has performed such recoupment and provided notice thereof in writing to the Debtors on or before
   the Confirmation Date, notwithstanding any indication in any Proof of Claim or Proof of Interest or
   otherwise that such Holder asserts, has, or intends to preserve any right of recoupment.

   I.      Document Retention

           On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance
   with their standard document retention policy, as may be altered, amended, modified, or supplemented by
   the Reorganized Debtors.




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   J.      Reimbursement or Contribution

            If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant
   to section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the
   time of allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding
   section 502(j) of the Bankruptcy Code, unless prior to the Confirmation Date: (1) such Claim has been
   adjudicated as non-contingent; or (2) the relevant Holder of a Claim has Filed a non-contingent Proof of
   Claim on account of such Claim and a Final Order has been entered prior to the Confirmation Date
   determining such Claim as no longer contingent.

   K.      Term of Injunctions or Stays

            Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect
   in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the
   Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or stays contained in
   the Plan or the Confirmation Order), shall remain in full force and effect until the Effective Date. All
   injunctions or stays contained in the Plan or the Confirmation Order shall remain in full force and
   effect in accordance with their terms.

   L.      SEC Rights Reserved

           Notwithstanding any provision herein to the contrary or an abstention from voting on the Plan, no
   provision of the Plan, or any order confirming the Plan: (i) releases any non-Debtor Person or Entity
   (including any Released Party) from any Claim or Cause of Action of the SEC; or (ii) enjoins, limits, impairs
   or delays the SEC from commencing or continuing any Claims, Causes of Action, proceedings or
   investigations against any non-Debtor Person or Entity (including any Released Party) in any forum.

   M.      Release of Preference Actions

            As of the Effective Date, the Debtors, on behalf of themselves and their Estates, shall be deemed
   to waive and release all Avoidance Actions arising under section 547 of the Bankruptcy Code or any
   comparable “preference” action arising under applicable non-bankruptcy law; provided that, except as
   expressly provided in this Article VIII.M or the Confirmation Order, the Reorganized Debtors shall retain
   the right to assert any Claims assertable in any Avoidance Action as defenses or counterclaims in any Cause
   of Action brought by any Entity.



                        CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

   A.      Conditions Precedent to the Effective Date.

           It shall be a condition to the Effective Date that the following conditions shall have been satisfied
   or waived pursuant to Article IX.B of the Plan:

           1.       The Bankruptcy Court shall have entered the Disclosure Statement Order, which order shall
                    be in form and substance reasonably acceptable to the Required Consenting Senior
                    Creditors, the Debtors, and, solely with respect to those terms and provisions that would
                    have a material adverse effect on the value of the distributions to (a) the Holders of 2021
                    Notes Claims, the Required Consenting 2021 Noteholders, (b) the Consenting Sponsors on



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               account of their iHeart Interests, the Consenting Sponsors, and (c) CCOH, CCOH, and
               such order shall be a Final Order and in full force and effect.

         2.    The Bankruptcy Court shall have entered the Confirmation Order, which order shall be in
               form and substance reasonably acceptable to the Required Consenting Senior Creditors,
               the Debtors, the DIP Agent, and, solely with respect to those terms and provisions that
               (a) would have a material adverse effect on the value of the distributions to (i) the Holders
               of 2021 Notes Claims, the Required Consenting 2021 Noteholders and (ii) the Consenting
               Sponsors on account of their iHeart Interests, the Consenting Sponsors, (b) impact the
               Committee, the treatment of General Unsecured Claims, the distribution of Cash to Holders
               of Allowed General Unsecured Claims, and the releases and exculpation to be granted to
               the Committee and its members, the Committee, (c) impact the ABL Secured Parties, the
               ABL Agent, (d) impact CCOH or the CCOH Plan and Separation Settlement, or impair the
               releases in favor of CCOH, CCOH, and (e) would have a material adverse effect solely
               with respect to the consideration being distributed to the Holders of Legacy Notes Claims,
               the Consenting Legacy Noteholders, and such order shall not have been stayed, modified,
               or vacated on appeal.

         3.    The Plan Supplement, including any amendments, modifications, or supplements to the
               documents, schedules, or exhibits included therein shall have been Filed with the
               Bankruptcy Court pursuant to the terms of the Plan.

         4.    The Internal Revenue Service shall have issued a private letter ruling to iHeart or iHeart
               shall have received an opinion of counsel or accounting firm chosen by the Debtors, in
               each case in form and substance reasonably acceptable to the Debtors and the Required
               Consenting Senior Creditors, with respect to any and all matter(s) that such parties have
               reasonably determined that the receipt of a private letter ruling or an opinion of counsel or
               accounting firm is advisable with respect to the Restructuring Transactions.

         5.    The Reorganized Debtors shall have executed and delivered the New ABL Credit
               Agreement Documents and shall have issued the New ABL Credit Agreement
               Indebtedness in connection therewith.

         6.    All DIP Claims (other than Contingent DIP Obligations that continue Unimpaired) shall
               have become either Repaid DIP Claims or Converted DIP Claims.

         7.    The New Debt shall have been issued by Reorganized iHC.

         8.    The New iHeart Common Stock and, if necessary, the Special Warrants shall have been
               issued by Reorganized iHeart.

         9.    If the Taxable Separation is effectuated pursuant to the terms and conditions set forth in
               Article IV.G, the Preferred Stock Transactions shall have occurred.

         10.   The FCC Approval and any other authorizations, consents, regulatory approvals, rulings,
               or documents required to implement and effectuate the Plan shall have been obtained.

         11.   If the FCC Trust is utilized as described in the Plan, the FCC Trust shall have been
               established in accordance with the provisions of the Plan and the FCC Trust Agreement.




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           12.     The Professional Fee Escrow Account shall have been established and funded with Cash
                   in accordance with Article II.B.2 of the Plan.

           13.     The Reorganized Debtors shall have entered into all documents effectuating the separation
                   of CCOH from the Debtors, including all such documents attached to the CCOH Plan and
                   Separation Settlement.

           14.     The Restructuring Support Agreement shall not have been terminated.

           15.     The Reorganized Debtors shall have paid, to the extent unpaid and invoiced at least five
                   Business Days prior to the Effective Date, all Consenting Stakeholder Fees.

           16.     All actions, documents, certificates, and agreements necessary to implement this Plan shall
                   have been effectuated or executed and delivered to the required parties and, to the extent
                   required, filed with the applicable Governmental Units as provided for in the Plan.

           17.     Each of the New Corporate Governance Documents will be in full force and effect as of
                   the Effective Date.

           18.     (a) The Required Consenting Senior Creditors shall have determined in their reasonable
                   judgment, with the assistance of their financial and legal advisors, that (i) the aggregate
                   amount of Allowed General Unsecured Claims against Non-Obligor Debtors classified into
                   Class 7A is reasonably expected to be equal to or less than $4.75 million; (ii) the aggregate
                   amount of Allowed General Unsecured Claims against the TTWN Debtors classified into
                   Class 7B is reasonably expected to be equal to or less than $3.0 million, and (iii) the
                   aggregate amount of Allowed iHC Unsecured Claims classified into Class 7D, excluding
                   Term Loan / PGN Deficiency Claims, is reasonably expected to be equal to or less than
                   $2.0 million or (b) the Bankruptcy Court shall have entered a Final Order estimating (i) the
                   aggregate amount of Allowed General Unsecured Claims against Non-Obligor Debtors
                   classified into Class 7A to be equal to or less than $4.75 million; (ii) the aggregate amount
                   of Allowed General Unsecured Claims against the TTWN Debtors classified into Class 7B
                   to be equal to or less than $3.0 million, and (iii) the aggregate amount of Allowed iHC
                   Unsecured Claims classified into Class 7D, excluding Term Loan / PGN Deficiency
                   Claims, to be equal to or less than $2.0 million.

           19.     The Guarantor General Unsecured Recovery Cash Pool Account shall have been
                   established and funded in Cash in accordance with Article IV.Y.

           20.     The Sponsor Unsecured Claims shall have been deemed withdrawn with prejudice.

   B.      Waiver of Conditions Precedent

            The Debtors may, with the prior written consent of (a) the Required Consenting Senior Creditors,
   (b) solely with respect to Articles IX.A.2 and IX.A.6, the DIP Agent, (c) solely with respect to Article IX.A
   6, the DIP Lenders (d) solely with respect to those terms and provisions that would have a material adverse
   effect on the value of the distributions to the Holders of 2021 Notes Claims, the Required Consenting 2021
   Noteholders, (e) solely with respect to those terms and provisions that would have a material adverse effect
   solely with respect to the consideration being distributed to the Holders of Legacy Notes Claims, the
   Consenting Legacy Noteholders, (f) solely with respect to those terms and provisions that would have a
   material adverse effect on the value of the distributions to the Consenting Sponsors on account of their
   iHeart Interests, the Consenting Sponsors, (g) solely with respect to those terms and provisions that impact

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   CCOH or the CCOH Plan and Separation Settlement, and the releases to be granted to CCOH, CCOH and
   (h) solely with respect to Articles IX.A.19 and IX.A.20, the Committee (in each case for (a) through (h),
   such consents not to be unreasonably withheld) waive any of the conditions to the Effective Date set forth
   in Article IX.A of the Plan, other than the conditions set forth in (i) Article IX.A.10–11 and (ii) Article
   IX.A.16 (which condition may only be waived by the party entitled to payment in accordance with such
   condition) at any time without any notice to any other parties in interest and without any further notice to
   or action, order, or approval of the Bankruptcy Court, and without any formal action other than proceeding
   to confirm and consummate the Plan.

   C.      Effect of Non-Occurrence of Conditions to Consummation

            If the Effective Date does not occur, then the Plan will be null and void in all respects and nothing
   contained in the Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any Claims,
   Interests, or Causes of Action held by any Debtor or any other Entity; (2) prejudice in any manner the rights
   of any Debtor or any other Entity; or (3) constitute an admission, acknowledgment, offer, or undertaking
   of any sort by any Debtor or any other Entity in any respect.



                MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

   A.      Modification of Plan

            Subject to the limitations and terms contained in the Plan, the Debtors reserve the right to (1) amend
   or modify the Plan before the entry of the Confirmation Order, in accordance with the Bankruptcy Code
   and the Bankruptcy Rules and with the consent of (a) the Required Consenting Senior Creditors, (b) solely
   with respect to those terms and provisions that would have a material adverse effect on the value of the
   distributions to the Holders of 2021 Notes Claims, the Required Consenting 2021 Noteholders, (c) solely
   with respect to those terms and provisions that would have a material adverse effect solely with respect to
   the consideration being distributed to the Holders of Legacy Notes Claims, the Consenting Legacy
   Noteholders, (d) solely with respect to those terms and provisions that would have a material adverse effect
   on the value of the distributions to the Consenting Sponsors on account of their iHeart Interests or impair
   the releases in favor of the Consenting Sponsors provided in the Plan, the Consenting Sponsors, (e) solely
   with respect to those terms and provisions that impact the Committee, the treatment of General Unsecured
   Claims, the distribution of Cash to Holders of Allowed General Unsecured Claims, and the releases or
   exculpation to be granted to the Committee and its members, the Committee, (g) solely with respect to those
   terms and provisions that impact the ABL Secured Parties, the ABL Agent, and (h) solely with respect to
   those terms and provisions that impact CCOH or the CCOH Plan and Separation Settlement, or impair the
   releases in favor of CCOH, CCOH and (2) after the entry of the Confirmation Order (with the consent of
   (a) the Required Consenting Senior Creditors, (b) solely with respect to those terms and provisions that
   would have a material adverse effect on the value of the distributions to the Holders of 2021 Notes Claims,
   the Required Consenting 2021 Noteholders, (c) solely with respect to those terms and provisions that would
   have a material adverse effect solely with respect to the consideration being distributed to the Holders of
   Legacy Notes Claims, the Consenting Legacy Noteholders, (d) solely with respect to those terms and
   provisions that would have a material adverse effect on the value of the distributions to the Consenting
   Sponsors on account of their iHeart Interests or impair the releases in favor of the Consenting Sponsors
   provided in the Plan or the CCOH Plan and Separation Settlement, the Consenting Sponsors, (e) solely with
   respect to those terms and provisions that impact the Committee, the treatment of General Unsecured
   Claims, the distribution of Cash to Holders of Allowed General Unsecured Claims, and the releases and
   exculpation to be granted to the Committee and its members, the Committee, (f) solely with respect to those
   terms and provisions that impact the ABL Secured Parties, the ABL Agent, and (g) solely with respect to

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   those terms and provisions that impact CCOH or the CCOH Plan and Separation Settlement, or impair the
   releases in favor of CCOH, CCOH, the Debtors or the Reorganized Debtors, as applicable, may, upon order
   of the Bankruptcy Court, amend or modify the Plan, in accordance with section 1127(b) of the Bankruptcy
   Code, remedy any defect or omission, or reconcile any inconsistency in the Plan in such manner as may be
   necessary to carry out the purpose and intent of the Plan consistent with the terms set forth herein.

            For the avoidance of doubt, any amendment or modification to the Plan after the entry of the
   Confirmation Order shall require the consent of the Consenting Legacy Noteholders if such amendment or
   modification reduces (1) the aggregate principal amount of the New Debt received by Holders of Class 6
   iHC 2021 / Legacy Notes Claims below $200,000,000, (2) the aggregate amount of Special Warrants, New
   iHeart Common Stock, or combination of Special Warrants and New iHeart Common Stock (as determined
   in accordance with the Equity Allocation Mechanism and inclusive of the shares of New iHeart Common
   Stock that may be received by Holders of iHC 2021 / Legacy Notes Claims upon the exercise of the Special
   Warrants (if any) received as part of the iHC 2021 / Legacy Notes Equity Distribution) received by Holders
   of Class 6 iHC 2021 / Legacy Notes Claims below 5.0 percent of the New iHeart Common Stock on a fully
   diluted basis (but excluding and subject to dilution on account of the Post-Emergence Equity Incentive
   Program), (3) the aggregate amount of beneficial interests in the FCC Trust received by Holders of Class 6
   iHC 2021 / Legacy Notes Claims below 5.0 percent if the FCC Trust is utilized as described in the Plan, or
   (4) the aggregate amount of Consenting Stakeholder Fees payable to Wilmington Savings Fund Society,
   FSB, in its capacity as Legacy Notes Trustee for the issuance of the 6.875% Legacy Notes and 7.25%
   Legacy Notes, below $4.0 million.

   B.      Effect of Confirmation on Modifications

           Entry of the Confirmation Order shall constitute approval of all modifications or amendments to
   the Plan occurring after the solicitation thereof pursuant to section 1127(a) of the Bankruptcy Code and a
   finding that such modifications to the Plan do not require additional disclosure or resolicitation under
   Bankruptcy Rule 3019.


   C.      Withdrawal of Plan

             The Debtors reserve the right to revoke or withdraw the Plan with respect to any or all Debtors
   before the Confirmation Date and to File subsequent chapter 11 plans. If the Debtors revoke or withdraw
   the Plan, or if Confirmation or the Effective Date does not occur, then: (1) the Plan will be null and void
   in all respects; (2) any settlement or compromise not previously approved by Final Order of the Bankruptcy
   Court embodied in the Plan (including the fixing or limiting to an amount certain of the Claims or Interests
   or Classes of Claims or Interests), assumption or rejection of Executory Contracts or Unexpired Leases
   effectuated by the Plan, and any document or agreement executed pursuant to the Plan will be null and void
   in all respects; and (3) nothing contained in the Plan shall (a) constitute a waiver or release of any Claims,
   Interests, or Causes of Action by any Entity, (b) prejudice in any manner the rights of any Debtor or any
   other Entity, or (c) constitute an admission, acknowledgement, offer, or undertaking of any sort by any
   Debtor or any other Entity.



                                      RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, the
   Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or related to, the


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   Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
   jurisdiction to:

            1.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured
   or unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment
   of any Claim or Interest and the resolution of any and all objections to the secured or unsecured status,
   priority, amount, or allowance of Claims or Interests;

           2.       decide and resolve all matters related to the granting and denying, in whole or in part, any
   applications for allowance of compensation or reimbursement of expenses to Professionals authorized
   pursuant to the Bankruptcy Code or the Plan;

            3.      resolve any matters related to Executory Contracts or Unexpired Leases, including: (a) the
   assumption, assumption and assignment, or rejection of any Executory Contract or Unexpired Lease to
   which a Debtor is party or with respect to which a Debtor may be liable and to hear, determine, and, if
   necessary, liquidate, any cure claims or other Claims arising therefrom, including pursuant to section 365
   of the Bankruptcy Code; (b) any potential contractual obligation under any Executory Contract or
   Unexpired Lease that is assumed or assumed and assigned; and (c) any dispute regarding whether a contract
   or lease is or was executory, expired, or terminated;

            4.       ensure that distributions to Holders of Allowed Claims and Allowed Interests are
   accomplished pursuant to the provisions of the Plan and adjudicate any and all disputes arising from or
   relating to distributions under the Plan;

           5.      adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated
   matters, and any other matters, and grant or deny any applications involving a Debtor or the Estates that
   may be pending on the Effective Date;

            6.      enter and implement such orders as may be necessary or appropriate to execute, implement,
   or consummate the provisions of (a) contracts, instruments, releases, indentures, and other agreements or
   documents approved by Final Order in the Chapter 11 Cases and (b) the Plan, the Confirmation Order, and
   contracts, instruments, releases, indentures, and other agreements or documents created in connection with
   the Plan; provided that the Bankruptcy Court shall not retain jurisdiction over disputes concerning
   documents contained in the Plan Supplement that have a jurisdictional, forum selection, or dispute
   resolution clause that refers disputes to a different court;

           7.      enter and enforce any order for the sale of property pursuant to sections 363, 1123, or
   1146(a) of the Bankruptcy Code;

           8.     grant any consensual request to extend the deadline for assuming or rejecting Unexpired
   Leases pursuant to section 365(d)(4) of the Bankruptcy Code;

           9.      issue injunctions, enter and implement other orders, or take such other actions as may be
   necessary or appropriate to restrain interference by any Entity with Consummation or enforcement of the
   Plan;

           10.      hear, determine, and resolve any cases, matters, controversies, suits, disputes, or Causes of
   Action in connection with or in any way related to the Chapter 11 Cases, including: (a) with respect to the
   repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim
   or an Interest for amounts not timely repaid pursuant to Article VI of the Plan; (b) with respect to the
   releases, injunctions, and other provisions contained in Article VIII of the Plan, including entry of such

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   orders as may be necessary or appropriate to implement such releases, injunctions, and other provisions;
   (c) that may arise in connection with the Consummation, interpretation, implementation, or enforcement of
   the Plan and the Confirmation Order; or (d) related to section 1141 of the Bankruptcy Code;

        11.     decide and resolve all matters related to the issuance of the New Debt, the New iHeart
   Common Stock, and the Special Warrants;

           12.    enter and implement such orders as are necessary or appropriate regarding the actions of
   the FCC Trust pursuant to the terms of the Plan and the FCC Trust Agreement, including orders regarding
   the FCC Trustees’ operating decisions and exercise of control over the New iHeart Common Stock and
   Special Warrants;

            13.     enter and implement such orders as are necessary or appropriate if the Confirmation Order
   is for any reason modified, stayed, reversed, revoked, or vacated;

           14.     adjudicate any and all disputes arising from or relating to distributions under the Plan or
   any transactions contemplated therein;

           15.     consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
   inconsistency in any Bankruptcy Court order, including the Confirmation Order;

            16.     enforce all orders, judgments, injunctions, releases, exculpations, indemnifications, and
   rulings entered in connection with the Chapter 11 Cases with respect to any Entity, and resolve any cases,
   controversies, suits, or disputes that may arise in connection with any Entity’s rights arising from or
   obligations incurred in connection with the Plan;

           17.     hear and determine matters concerning local, state, federal, and foreign taxes in accordance
   with sections 346, 505, and 1146 of the Bankruptcy Code;

           18.     enter an order or Final Decree concluding or closing the Chapter 11 Cases;

           19.     enforce all orders previously entered by the Bankruptcy Court; and

           20.    hear and determine any other matters related to the Chapter 11 Cases and not inconsistent
   with the Bankruptcy Code or the Judicial Code.

            Nothing herein limits the jurisdiction of the Bankruptcy Court to interpret and enforce the Plan and
   all contracts, instruments, releases, indentures, and other agreements or documents created in connection
   with the Plan, or the Disclosure Statement, without regard to whether the controversy with respect to which
   such interpretation or enforcement relates may be pending in any state or other federal court of competent
   jurisdiction.

            If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
   otherwise without jurisdiction over any matter arising in, arising under, or related to the Chapter 11 Cases,
   including the matters set forth in this Article XI, the provisions of this Article XI shall have no effect on
   and shall not control, limit, or prohibit the exercise of jurisdiction by any other court having competent
   jurisdiction with respect to such matter.

           Unless otherwise specifically provided herein or in a prior order of the Bankruptcy Court, the
   Bankruptcy Court shall have exclusive jurisdiction to hear and determine disputes concerning Claims
   against or Interests in the Debtors that arose prior to the Effective Date.

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                                      MISCELLANEOUS PROVISIONS

   A.      Immediate Binding Effect

            Notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise, upon the occurrence of
   the Effective Date, the terms of the Plan shall be immediately effective and enforceable and deemed binding
   upon the Debtors, the Reorganized Debtors, and any and all Holders of Claims or Interests (irrespective of
   whether such Claims or Interests are deemed to have accepted the Plan), all Entities that are parties to or
   are subject to the settlements, compromises, releases, discharges, exculpations, and injunctions described
   in the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor parties to Executory
   Contracts and Unexpired Leases with the Debtors. All Claims against and Interests in the Debtors shall be
   as fixed, adjusted, or compromised, as applicable, pursuant to the Plan regardless of whether any Holder of
   a Claim or Interest has voted on the Plan.

   B.      Additional Documents

            On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements
   and other documents as may be necessary or appropriate to effectuate and further evidence the terms and
   conditions of the Plan; provided that such agreements and other documents shall be in form and substance
   reasonably acceptable to the Required Consenting Senior Creditors and, (1) solely with respect to those
   terms and provisions that would have a material adverse effect on the value of the distributions to (A) the
   Holders of 2021 Notes Claims, the Required Consenting 2021 Noteholders, and (B) the Consenting
   Sponsors on account of their iHeart Interests, the Consenting Sponsors, and (2) solely with respect to those
   terms and provisions that would have a material adverse effect solely with respect to the consideration being
   distributed to the Holders of Legacy Notes Claims, the Consenting Legacy Noteholders. The Debtors or
   the Reorganized Debtors, as applicable, and all Holders of Claims and Interests receiving distributions
   pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute, and deliver
   any agreements or documents and take any other actions as may be necessary or advisable to effectuate the
   provisions and intent of the Plan.

   C.      Payment of Statutory Fees

           All fees and applicable interest payable pursuant to section 1930 of the Judicial Code and 31 U.S.C.
   § 3717, as applicable, as determined by the Bankruptcy Court at a hearing pursuant to section 1128 of the
   Bankruptcy Code, shall be paid by each of the Reorganized Debtors (or the Distribution Agent on behalf
   of the Reorganized Debtors) for each quarter (including any fraction thereof) until the Chapter 11 Cases are
   converted, dismissed, or a Final Decree is issued, whichever occurs first.

   D.      Statutory Committee and Cessation of Fee and Expense Payment.

            On the Effective Date, any statutory committee appointed in the Chapter 11 Cases, including the
   Committee, shall dissolve, and members thereof shall be released from all rights and duties from or related
   to the Chapter 11 Cases, provided, however, that the Committee will stay in existence solely for the limited
   purpose of (a) filing and prosecuting final fee applications, and (b) participating in any adversary
   proceeding commenced after the date of this Plan in which the Committee is named as a defendant,
   including any appeals thereof. The Reorganized Debtors shall not be responsible for paying any fees or
   expenses incurred by the members of or advisors to any statutory committees after the Effective Date,
   except for the fees and expenses incurred by the Committee’s professionals in connection with the matters
   identified in clauses (a) and (b) of the foregoing sentence.


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   E.      Reservation of Rights

            Except as expressly set forth herein, the Plan shall have no force or effect unless the Bankruptcy
   Court shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the
   Effective Date does not occur. None of the Filing of the Plan, any statement or provision contained in the
   Plan, or the taking of any action by any Debtor with respect to the Plan, the Disclosure Statement, or the
   Plan Supplement shall be or shall be deemed to be an admission or waiver of any rights of any Debtor with
   respect to the Holders of Claims or Interests, unless and until the Effective Date has occurred.

   F.      Successors and Assigns

            The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding
   on, and shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer,
   director, agent, representative, attorney, beneficiary, or guardian, if any, of each such Entity.

   G.      Service of Documents

           After the Effective Date, any pleading, notice, or other document required by the Plan to be served
   on or delivered to the Reorganized Debtors shall be served on:

            Reorganized Debtors                   iHeartMedia, Inc.
                                                  20880 Stone Oak Parkway
                                                  San Antonio, Texas, 78258
                                                  Attention: Robert Walls, General Counsel

                                                  with copies for information only (which shall not
                                                  constitute notice) to:

            Counsel to the Debtors                Kirkland & Ellis LLP
                                                  Kirkland & Ellis International LLP
                                                  300 North LaSalle Street
                                                  Chicago, Illinois 60654
                                                  Attention: Anup Sathy, P.C., William A.
                                                  Guerrieri, Brian D. Wolfe, and Benjamin M.
                                                  Rhode

                                                  Kirkland & Ellis LLP
                                                  Kirkland & Ellis International LLP
                                                  601 Lexington Avenue
                                                  New York, New York 10022
                                                  Attention: Christopher J. Marcus, P.C.
            Counsel to the Term Loan /            Jones Day
            PGN Group                             555 South Flower Street
                                                  Fiftieth Floor
                                                  Los Angeles, California 90071
                                                  Attention: Bruce Bennett, Joshua M. Mester,
                                                  and James Johnston




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          Counsel to the Term Lender       Arnold & Porter Kaye Scholer LLP
          Group                            70 W. Madison Street, Suite 4200
                                           Chicago, Illinois 60602
                                           Attention: Michael D. Messersmith

                                           Arnold & Porter Kaye Scholer LLP
                                           250 W. 55th Street
                                           New York, New York 10019
                                           Attention: Alan Glantz

          Counsel to the 2021 Noteholder   Gibson, Dunn & Crutcher LLP
          Group                            333 South Grand Avenue
                                           Los Angeles, California 90071
                                           Attention: Robert Klyman and Matthew J.
                                           Williams


          Counsel to the Consenting        Weil, Gotshal & Manges LLP
          Sponsors                         767 Fifth Avenue
                                           New York, New York 10153
                                           Attention: Matthew S. Barr and Gabriel A.
                                           Morgan


          Counsel to the DIP Agent         Davis Polk & Wardwell LLP
                                           450 Lexington Avenue
                                           New York, New York 10017
                                           Attention: Eli J. Vonnegut and Stephen D.
                                           Piraino


          Counsel to the Committee         Akin Gump Strauss Hauer & Feld LLP
                                           One Bryant Park
                                           New York, New York 10036
                                           Attention: Ira S. Dizengoff, Philip C. Dublin,
                                           and Naomi Moss


          Counsel to the CCOH Special      Willkie Farr & Gallagher LLP
          Committee                        787 Seventh Avenue
                                           New York, New York 10019
                                           Attention: Matthew A. Feldman and Paul V.
                                           Shalhoub




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            Counsel to CCOH                       Wilson Sonsini Goodrich & Rosati, P.C.
                                                  1301 Avenue of the Americas
                                                  New York, New York 10019
                                                  Attention: Benjamin Hoch



            Counsel to GAMCO Asset                Entwistle & Cappucci, LLP
            Management, Inc.                      299 Park Avenue, 20th Floor
                                                  New York, New York 10171
                                                  Attention: Andrew J. Entwistle



            Counsel to the Legacy Notes           White & Case LLP
            Trustee                               Southeast Financial Center, Suite 4900
                                                  200 South Biscayne Blvd.
                                                  Miami, Florida 33131
                                                  Attention: Thomas E Lauria

                                                  White & Case LLP
                                                  227 West Monroe Street, Suite 3900
                                                  Chicago, Illinois 60606
                                                  Attention: Jason N. Zakia

                                                  White & Case LLP
                                                  1221 Avenue of the Americas
                                                  New York, New York 10020
                                                  Attention: Harrison Denman, Michele J. Meises,
                                                  and Mark Franke

   H.      Entire Agreement; Controlling Document

            Except as otherwise indicated, on the Effective Date, the Plan supersedes all previous and
   contemporaneous negotiations, promises, covenants, agreements, understandings, and representations with
   respect to the subject matter of the Plan, all of which will have become merged and integrated into the Plan.
   Except as set forth in the Plan, in the event that any provision of the Restructuring Support Agreement, the
   Disclosure Statement, the Plan Supplement, or any order (other than the Confirmation Order) referenced in
   the Plan (or any exhibits, schedules, appendices, supplements, or amendments to any of the foregoing),
   conflict with or are in any way inconsistent with any provision of the Plan, the Plan shall govern and control.
   In the event of any inconsistency between the Plan and the Confirmation Order, the Confirmation Order
   shall control.

   I.      Plan Supplement

            All exhibits and documents included in the Plan Supplement are incorporated into and are a part of
   the Plan as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits
   and documents shall be made available upon written request to the Debtors’ counsel at the address above
   or by downloading such exhibits and documents from the website of the Claims, Noticing, and
   Solicitation Agent at https://cases.primeclerk.com/iheartmedia or the Bankruptcy Court’s website at
   http://www.txs.uscourts.gov/bankruptcy. Unless otherwise ordered by the Bankruptcy Court, to the extent

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   any exhibit or document in the Plan Supplement is inconsistent with the terms of any part of the Plan that
   does not constitute the Plan Supplement, such part of the Plan that does not constitute the Plan Supplement
   shall control.

   J.      Non-Severability

            If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be
   invalid, void, or unenforceable, the Bankruptcy Court, at the request of the Debtors in consultation with the
   Required Consenting Senior Creditors, the Required Consenting 2021 Noteholders, and the Consenting
   Legacy Noteholders, shall have the power to alter and interpret such term or provision to make it valid or
   enforceable to the maximum extent practicable, consistent with the original purpose of the term or provision
   held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
   interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
   provisions of the Plan will remain in full force and effect and will in no way be affected, impaired, or
   invalidated by such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
   determination and shall provide that each term and provision of the Plan, the New Corporate Governance
   Documents, the New Debt Documents, the New ABL Credit Agreement Documents, as any of such
   documents may have been altered or interpreted in accordance with the foregoing, is: (1) valid and
   enforceable pursuant to their terms; (2) integral to the Plan and may not be deleted or modified without the
   consent of the parties thereto; and (3) non-severable and mutually dependent.

   K.      Votes Solicited in Good Faith

           Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the
   Plan in good faith and in compliance with the Bankruptcy Code, and pursuant to section 1125(e) of the
   Bankruptcy Code, the Debtors, the Consenting Stakeholders, the Consenting Legacy Noteholders, and each
   of their respective Affiliates, and each of their and their Affiliates’ agents, representatives, members,
   principals, shareholders, officers, directors, employees, advisors, and attorneys, in each case solely in their
   respective capacities as such, will be deemed to have participated in good faith and in compliance with the
   Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and sold under the Plan
   and any previous plan, and, therefore, neither any of such parties nor individuals or the Reorganized Debtors
   will have any liability for the violation of any applicable law, rule, or regulation governing the solicitation
   of votes on the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under the
   Plan or any previous plan.

   L.      Closing of Chapter 11 Cases

           The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File
   all documents required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close
   the Chapter 11 Cases.

   M.      Waiver or Estoppel

            Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert any
   argument, including the right to argue that its Claim or Interest should be Allowed in a certain amount, in
   a certain priority, Secured or not subordinated by virtue of an agreement made with the Debtors or their
   counsel, or any other Entity, if such agreement was not disclosed in the Plan, the Disclosure Statement, or
   papers Filed prior to the Confirmation Date.




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   N.     Substantial Consummation

           On the Effective Date, the Plan shall be deemed to be substantially consummated under
   sections 1101 and 1127(b) of the Bankruptcy Code.




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    Dated: January 22, 2019               IHEARTMEDIA, INC.
                                          on behalf of itself and all other Debtors

                                             /s/ Scott Hamilton
                                             Scott Hamilton
                                             Chief Accounting Officer
                                             iHeartMedia, Inc.




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                                       Exhibit A

                              Equity Allocation Mechanism
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                                     EQUITY ALLOCATION MECHANISM

            On the Issuance Date, the allocation of Plan 1 consideration to Holders of Allowed Term Loan
   Credit Agreement Claims, Allowed PGN Claims, Allowed iHC 2021 / Legacy Notes Claims, and Allowed
   iHeart Interests will include distributing New iHeart Class A Common Stock and New iHeart Class B
   Common Stock (collectively, the “Stock”), as well as Special Warrants, in accordance with the mechanism
   set forth below. This mechanism also provides certain information regarding how the exercise of Special
   Warrants and the exchange of Stock will be treated after the Issuance Date.2

   A.       GENERAL:

   1. Ownership Certification. Each eligible Holder shall provide an Ownership Certification by the
      Ownership Certification Deadline.

   2. Attributable Interests and FCC Media Ownership Rules. Subject to the foreign ownership limitations
      discussed below and certain exceptions, FCC rules provide that an owner of equity in a corporation that
      controls FCC broadcast licenses may be deemed “attributable” if it owns, directly or indirectly,
      5.00 percent or more of the voting equity of such corporation. Accordingly, a Holder of an Allowed
      Term Loan Credit Agreement Claim, Allowed PGN Claim, Allowed iHC 2021 / Legacy Notes Claim,
      or Allowed iHeart Interest may only receive a distribution of more than 4.99 percent of the issued and
      outstanding New iHeart Class A Common Stock on the Issuance Date if (a) iHeart or Reorganized
      iHeart, as applicable, determines that the Holder’s receipt of more than 4.99 percent of such shares of
      New iHeart Class A Common Stock would comply with the FCC media ownership rules and the FCC
      Approval, and (b) the Holder is identified as an attributable interest holder in the FCC Long Form
      Applications (as the same may be amended from time to time), to the extent necessary. If such Holder
      elects not to be deemed to hold an “attributable” interest in Reorganized iHeart, and is thus not
      identified in the FCC Long Form Applications, then such Holder shall be issued up to 4.99 percent of
      the issued and outstanding New iHeart Class A Common Stock, with any remaining distribution in the
      form of New iHeart Class B Common Stock; provided that such Holder shall be issued up to 19.99
      percent of the issued and outstanding New iHeart Class A Common Stock, with any remaining
      distribution in the form of New iHeart Class B Common Stock, if iHeart or Reorganized iHeart, as
      applicable, determines that such Holder qualifies for an exception in the FCC rules allowing such
      Holder to own, directly or indirectly, 5.00 percent or more, but less than 20.00 percent, of the issued
      and outstanding New iHeart Class A Common Stock without being deemed to hold an “attributable”
      interest in Reorganized iHeart (the previous two sentences, collectively, the “4.99 Percent Rule”). Any
      distribution in contravention of the preceding two sentences shall be deemed automatically adjusted to
      the minimum extent necessary to comply with those limitations.

   3. FCC Foreign Ownership Rules.

            (a) The Communications Act and FCC foreign ownership rules generally prohibit foreign
                individuals and foreign entities from having direct or indirect ownership or voting rights
                totaling more than 25.00 percent in a corporation that controls the licensee of a radio broadcast
                station. However, the FCC has discretion to authorize such a corporation to have foreign
                ownership or voting in excess of 25.00 percent by granting a declaratory ruling following the

   1    Capitalized terms used herein but not otherwise defined have the meanings ascribed to them in the Plan.
   2    For the avoidance of doubt, the procedures set forth in this Equity Allocation Mechanism shall not affect the
        issuance of securities or other instruments under the Post-Emergence Equity Incentive Program, which issuance
        shall be governed by the terms of the Post-Emergence Equity Incentive Program.
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               filing of a petition for declaratory ruling. In addition, if the parent company of a radio broadcast
               station licensee has or proposes to exceed the 25.00 percent foreign ownership limitation, any
               entity that would receive in excess of either 4.99 percent or 9.99 percent of the ownership or
               voting rights in the licensee’s parent company must receive specific approval from the FCC
               (the “Specific Approval”). The determination of whether the 4.99 percent or 9.99 percent
               Specific Approval threshold applies to a Holder is determined pursuant to the FCC foreign
               ownership rules (with the applicable threshold referred to herein as the “Applicable Foreign
               Ownership Limitation”).

           (b) To ensure compliance with these limitations, the distribution of Stock to Holders of Allowed
               Term Loan Credit Agreement Claims, Allowed PGN Claims, Allowed iHC 2021 / Legacy
               Notes Claims, or Allowed iHeart Interests shall not (i) cause Reorganized iHeart to exceed an
               aggregate foreign ownership or aggregate foreign voting percentage of 22.50 percent unless
               the FCC has granted a Declaratory Ruling (the “22.5 Percent Rule”), or (ii) if the FCC has
               granted a Declaratory Ruling, cause (x) any violation of that Declaratory Ruling, any other
               applicable declaratory ruling, or any Specific Approval (the “Declaratory Ruling Compliance
               Rule”), or (y) any Non-U.S. Holder to exceed the Applicable Foreign Ownership Limitation,
               unless the Non-U.S. Holder has received Specific Approval (the “Specific Approval Rule”).
               Any distribution in contravention of the preceding sentence shall be deemed automatically
               adjusted to the minimum extent necessary to comply with those limitations.

           (c) In determining foreign ownership for distributions on the Issuance Date, iHeart or Reorganized
               iHeart, as applicable, will treat any Holder that does not (i) timely deliver an Ownership
               Certification by the Ownership Certification Deadline or (ii) deliver an Ownership Certification
               that allows iHeart or Reorganized iHeart, as applicable, to determine such Holder’s foreign
               ownership and otherwise comply with any limitations on Stock ownership set forth in the New
               Corporate Governance Documents or the Special Warrant Agreement, as a 100 percent
               foreign-owned Non-U.S. Holder; provided that iHeart shall have discretion to treat any
               Ownership Certification delivered after the Ownership Certification Deadline but prior to the
               Effective Date as if such Ownership Certification had been delivered prior to the Ownership
               Certification Deadline if iHeart reasonably believes that doing so will not delay the receipt of
               FCC Approval or the occurrence of the Effective Date.

   4. Aggregation of Interests. In determining whether any Holder would exceed or cause iHeart to exceed
      any applicable threshold under the Communications Act or FCC rules (including but not limited to the
      4.99 Percent Rule, the 22.5 Percent Rule, the Declaratory Ruling Compliance Rule, the Applicable
      Foreign Ownership Limitation, and the Specific Approval Rule), a Holder will be attributed with any
      Stock held by another Holder under common management or whose interests otherwise would be
      aggregated under the FCC’s ownership attribution rules or foreign ownership rules, as applicable.

   5. FCC Compliance. For the avoidance of doubt, all distributions made on the Issuance Date and,
      thereafter, all exercises of Special Warrants and all exchanges of Stock, shall be subject, as applicable,
      to the 4.99 Percent Rule, the 22.5 Percent Rule, the Declaratory Ruling Compliance Rule, the Specific
      Approval Rule, the FCC’s media and foreign ownership rules, and any limitations on Stock ownership
      set forth in the New Corporate Governance Documents or the Special Warrant Agreement.




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   B.      ALLOCATION OF THE STOCK AND SPECIAL WARRANTS:

   The distribution of Stock and Special Warrants made on and as of the Issuance Date shall be as
   follows:

   1. First, the Secured Term Loan / 2019 PGN Supplemental Equity Distribution, the Remaining Equity
      Distribution, the iHC 2021 / Legacy Notes Equity Distribution, and the iHeart Interests Equity
      Distribution shall each be deemed made to Holders of Allowed Term Loan Credit Agreement Claims,
      Allowed PGN Claims, Allowed iHC 2021 / Legacy Notes Claims, and Allowed iHeart Interests as
      specified in Article III.C of the Plan; provided that each of the Secured Term Loan / 2019 PGN
      Supplemental Equity Distribution, the Remaining Equity Distribution, the iHC 2021 / Legacy Notes
      Equity Distribution, and the iHeart Interests Equity Distribution shall be deemed to have been made
      initially in the form of Special Warrants.

   2. Second, subject to Section B.3, Holders of the Special Warrants shall be deemed to have exercised their
      Special Warrants as follows:

           (a) U.S. Holders

               (i) Each deemed Holder of Special Warrants that (i) has timely delivered an Ownership
                   Certification by the Ownership Certification Deadline (or has delivered an Ownership
                   Certification that iHeart or Reorganized iHeart, as applicable, has determined in its
                   discretion to treat as timely pursuant to Section A.3(c) above), (ii) has certified therein that
                   its foreign ownership, as calculated in accordance with FCC rules, is zero percent (and is
                   thus a “U.S. Holder”), and (iii) has not made an election on its Ownership Certification to
                   retain Special Warrants in lieu of receiving Stock (a “Warrant Election”), shall be deemed
                   to have exercised all of its Special Warrants to receive New iHeart Class B Common Stock;
                   and

               (ii) Each U.S. Holder that received New iHeart Class B Common Stock pursuant to Section
                    B.2.(a)(i) above and has not made a Class B Election by the Ownership Certification
                    Deadline (or in an Ownership Certification that iHeart or Reorganized iHeart, as
                    applicable, has determined in its discretion to treat as timely pursuant to Section A.3(c)
                    above) shall be further deemed to have immediately exchanged all of its shares of
                    New iHeart Class B Common Stock for a like number of shares of New iHeart Class A
                    Common Stock, subject to the 4.99 Percent Rule and the further requirement that the U.S.
                    Holder is identified as an attributable interest holder on the FCC Long Form Applications,
                    to the extent necessary. (For the sake of clarity, to the extent that a Holder is not identified
                    as an attributable interest holder on the FCC Long Form Applications and the conversion
                    of New iHeart Class B Common Stock to New iHeart Class A Common Stock would
                    exceed the amount permitted under the 4.99 Percent Rule, then such excess New iHeart
                    Class B Common Stock shall not be converted into New iHeart Class A Common Stock).

           (b) Non-U.S. Holders

               (i) Each deemed Holder of Special Warrants that (A) (i) has timely delivered an Ownership
                   Certification by the Ownership Certification Deadline (or has delivered an Ownership
                   Certification that iHeart or Reorganized iHeart, as applicable, has determined in its
                   discretion to treat as timely pursuant to Section A.3(c) above) and (ii) has certified therein
                   that its foreign ownership, calculated in accordance with FCC rules, is greater than
                   zero percent, (B) has not timely delivered, and iHeart or Reorganized iHeart, as applicable,

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                  is not treating as having timely delivered pursuant to Section A.3(c) above, an Ownership
                  Certification by the Ownership Certification Deadline, or (C) has delivered an Ownership
                  Certification that does not allow iHeart to determine such Holder’s foreign ownership
                  ((A)–(C) each a “Non-U.S. Holder,” and collectively, the “Non-U.S. Holders”), and has
                  not made a Warrant Election, shall be deemed to have exercised all or a portion of its
                  Special Warrants for shares of New iHeart Class B Common Stock, which shall be
                  apportioned as follows: each Non-U.S. Holder will have (X) the portion of its Special
                  Warrants corresponding to its domestic equity percentage and/or domestic voting
                  percentage, as determined by iHeart or Reorganized iHeart, as applicable, exchanged into
                  New iHeart Class B Common Stock; and (Y) all or a portion of its remaining Special
                  Warrants exchanged into New iHeart Class B Common Stock in a number of shares of
                  New iHeart Class B Common Stock that complies with the 22.5 Percent Rule, allocated
                  pro rata among all such Non-U.S. Holders (determined based upon the aggregate number
                  of Special Warrants held by all such Non-U.S. Holders after giving effect to Section
                  B.2(b)(i)(X));

              (ii) Each Non-U.S. Holder that received New iHeart Class B Common Stock pursuant to
                   Section B.2(b)(i) above and has not made a Class B Election by the Ownership
                   Certification Deadline (or in an Ownership Certification that iHeart or Reorganized iHeart,
                   as applicable, has determined in its discretion to treat as timely pursuant to Section A.3(c)
                   above) shall be further deemed to have immediately exchanged all of its shares of
                   New iHeart Class B Common Stock for a like number of shares of New iHeart Class A
                   Common Stock, subject to the 4.99 Percent Rule, the 22.5 Percent Rule, and the further
                   requirement that the Non-U.S. Holder is identified as an attributable interest holder on the
                   FCC Long Form Applications, to the extent necessary, provided that, if the 22.5 Percent
                   Rule limits the number of shares of New iHeart Class A Common Stock that may be issued
                   to Non-U.S. Holders in such exchange, the shares of New iHeart Class A Common Stock
                   shall be allocated pro rata among all such Non-U.S. Holders (determined based upon the
                   aggregate number of shares of New iHeart Class B Common Stock issued to all such Non-
                   U.S. Holders pursuant to Section B.2(b)(i)(Y)). (For the sake of clarity, to the extent that
                   a Holder is not identified as an attributable interest holder on the FCC Long Form
                   Applications and the conversion of New iHeart Class B Common Stock to New iHeart
                   Class A Common Stock would exceed the amount permitted under the 4.99 Percent Rule,
                   then such excess New Class B Common Stock shall not be converted into New iHeart Class
                   A Common Stock); and

              (iii) iHeart shall file a Petition for Declaratory Ruling before or after the Effective Date,
                    although there can be no assurance that the FCC will grant such a petition. If the FCC
                    issues a Declaratory Ruling prior to the Issuance Date, then, notwithstanding anything to
                    the contrary herein, the distribution of Stock and Special Warrants made on and as of the
                    Issuance Date shall be made in a manner consistent with the Declaratory Ruling including,
                    to the extent permitted therein, the distribution of New iHeart Class A Common Stock or
                    New iHeart Class B Common Stock to Non-U.S. Holders in amounts exceeding 22.50
                    percent of the ownership or voting rights in Reorganized iHeart and consistent with any
                    Specific Approval granted therein.

   3. Non-Exercise of Special Warrants. Notwithstanding anything to the contrary herein, the exercise of
      Special Warrants on the Issuance Date shall be subject to any Warrant Election or New iHeart Class A
      Common Stock and Special Warrants Election (as defined in the Ownership Certification) made by a
      Holder of an Allowed Term Loan Credit Agreement Claim, Allowed PGN Claim, Allowed iHC 2021
      / Legacy Notes Claim, or Allowed iHeart Interest. Such Holders may, by making the appropriate

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       election on the Ownership Certification, elect to receive their share of the Secured Term Loan / 2019
       PGN Supplemental Equity Distribution, the Remaining Equity Distribution, the iHC 2021 / Legacy
       Notes Equity Distribution, and the iHeart Interests Equity Distribution, as the case may be, either (i) in
       the case of a Warrant Election, entirely in the form of Special Warrants (in which case a Holder shall
       not be deemed to have exercised any Special Warrants), or (ii) in the case of a New iHeart Class A
       Common Stock and Special Warrants Election, in the form of New iHeart Class A Common Stock up
       to an amount that complies with the 4.99 Percent Rule (in which case a Holder shall not be deemed to
       have exercised its remaining Special Warrants).

   4. Trading Deadlines and Tendering of Notes and iHeart Interests. Holders of Notes Claims and iHeart
      Interests deposited with DTC prior to the Effective Date shall be required to tender their Notes and
      iHeart Interests into the Automated Tender Offer Program (“ATOP”) system of DTC as set forth in the
      FCC Ownership Procedures Order. The positions of such Holders in the Notes and iHeart Interests will
      be segregated through ATOP and such Holders thereafter will be unable to trade their Notes Claims
      and iHeart Interests as well as their beneficial interests in the FCC Trust (if the FCC Trust is utilized as
      described in the Plan). Holders of Term Loan Credit Agreement Claims and iHeart Interests, which
      are not deposited in DTC, will also be unable to trade their Term Loan Credit Agreement Claims and
      iHeart Interests after the Distribution Record Date, and will also be unable to trade their beneficial
      interests in the FCC Trust (if the FCC Trust is utilized as described in the Plan) after such date, other
      than pursuant to the FCC Trust Agreement.

   5. Holders that do not Submit an Ownership Certification by the Ownership Certification Deadline.

           (a) Each deemed Holder of Special Warrants that (i) does not timely deliver an Ownership
               Certification by the Ownership Certification Deadline, or (ii) delivers an Ownership
               Certification that does not allow iHeart to determine such Holder’s foreign ownership shall be
               treated as a 100 percent foreign-owned Non-U.S. Holder and shall have its equity allocation
               distributed in the manner set forth in Section B.2(b) above; provided that iHeart or Reorganized
               iHeart, as applicable shall have discretion to treat as timely any Ownership Certification
               delivered after the Ownership Certification Deadline but prior to the Effective Date if iHeart
               reasonably believes that doing so will not delay the receipt of FCC Approval or the occurrence
               of the Effective Date;

           (b) Except as otherwise provided in the New Corporate Governance Documents or the Special
               Warrant Agreement, if any such Holder that is a U.S. Holder completes and delivers an
               ownership certification that is satisfactory to Reorganized iHeart in connection with an exercise
               of Special Warrants at any time after the Issuance Date, then such Holder shall have its Stock
               issued upon such exercise allocated in the manner set forth in Section B.2(a) above except that
               such Holder does not need to have been identified as an attributable interest holder on the FCC
               Long Form Applications, provided that such issuance would not trigger a requirement to file
               additional FCC applications; and

           (c) Any such Holder that is a Non-U.S. Holder shall not be permitted to exercise Special Warrants
               prior to the Exchange Date (as defined in the Special Warrant Agreement).




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   C.      POST-DECLARATORY RULING DECISION:

   Subject to the terms of the Special Warrant Agreement, if the FCC grants a Declaratory Ruling, any exercise
   or deemed exercise of the Special Warrants by a Non-U.S. Holder thereafter shall be made as follows:

   6.    100 Percent Foreign Ownership. If the FCC adopts a Declaratory Ruling allowing 100.00 percent
         foreign ownership of Reorganized iHeart (the “100 Percent Declaratory Ruling”), then, subject to
         Section C.3:

           (a) Non-U.S. Holders that complete and deliver an ownership certification that is satisfactory to
               Reorganized iHeart and have not made a Warrant Election shall be deemed to have exercised
               all of their Special Warrants for a like number of shares of New iHeart Class B Common Stock,
               subject to the Declaratory Ruling Compliance Rule and the Specific Approval Rule; and

           (b) Any such Non-U.S. Holder that has not made a Class B Election shall be further deemed to
               have immediately exchanged such shares of New iHeart Class B Common Stock for a like
               number of shares of New iHeart Class A Common Stock, subject to the 4.99 Percent Rule, the
               Declaratory Ruling Compliance Rule, and the Specific Approval Rule. (For the sake of clarity,
               to the extent that a Holder is not identified as an attributable interest holder on any FCC
               applications required in connection with the implementation of a Declaratory Ruling and the
               conversion of New iHeart Class B Common Stock to New iHeart Class A Common Stock
               would exceed the amount permitted under the 4.99 Percent Rule, then such excess New iHeart
               Class B Common Stock shall not be converted into New iHeart Class A Common Stock).

   7.    Foreign Ownership Between 25 Percent and 100 Percent. If the FCC adopts a Declaratory Ruling
         allowing foreign ownership of Reorganized iHeart between 25 percent and 100 percent (the “Partial
         Declaratory Ruling Percentage” and the “Partial Declaratory Ruling”), then, subject to Section C.3:

           (a) Each Non-U.S. Holder of Special Warrants that completes and delivers an ownership
               certification that is satisfactory to Reorganized iHeart and has not made a Warrant Election will
               have all or a portion of its Special Warrants exchanged into New iHeart Class B Common Stock
               in the manner set forth in the Special Warrant Agreement, subject to the Declaratory Ruling
               Compliance Rule and the Specific Approval Rule, and consistent with the principles that:

               (i) each such Non-U.S. Holder’s Stock ownership, after giving effect to this Section C.2(a)(i),
                   shall be maximized to the extent possible taking into account such Non-U.S. Holder’s
                   foreign equity percentage and the Company’s aggregate foreign equity percentage upon
                   completion of such exchange;

               (ii) each such Non-U.S. Holder shall be entitled to receive New iHeart Class B Common Stock
                    corresponding to its domestic equity percentage and/or domestic voting percentage, as
                    determined by iHeart or Reorganized iHeart, as applicable; and

               (iii) after taking into account the exchange of Special Warrants pursuant to the principle set
                     forth in Section C.2(a)(ii), remaining Special Warrants held by each such Non-U.S. Holder
                     shall be exchanged on a pro rata basis (based upon the aggregate number of Special
                     Warrants held by all such Non-U.S. Holders after giving effect to the exchange of Warrants
                     pursuant to the principle set forth in Section C.2.(a)(ii)) into New iHeart Class B Common
                     Stock).




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          (b) Any Non-U.S. Holder that has not made a Class B Election shall be further deemed to have
              immediately exchanged the shares of New iHeart Class B Common Stock received pursuant to
              Section C.2(a) for a like number of shares of New iHeart Class A Common Stock, subject to
              the 4.99 Percent Rule, the Declaratory Ruling Compliance Rule, and the Specific Approval
              Rule; provided that, if the Declaratory Ruling Compliance Rule limits the number of shares of
              New iHeart Class A Common Stock that may be issued to Non-U.S. Holders in such exchange,
              the shares of New iHeart Class A Common Stock shall be allocated pro rata among all such
              Non-U.S. Holders (determined based upon the aggregate number of shares of New iHeart Class
              B Common Stock issued to all such Non-U.S. Holders pursuant to Section C.2(a)). (For the
              sake of clarity, to the extent that a Holder is not identified as an attributable interest holder on
              any FCC applications required in connection with the implementation of a Declaratory Ruling
              and the conversion of New iHeart Class B Common Stock to New iHeart Class A Common
              Stock would exceed the amount permitted under the 4.99 Percent Rule, then such excess New
              Class B Common Stock shall not be converted into New iHeart Class A Common Stock).

   8.   Non-Exercise of Special Warrants. Notwithstanding anything to the contrary herein, the exercise of
        Special Warrants shall be subject to any Warrant Election or New iHeart Class A Common Stock and
        Special Warrants Election made by a Holder of Special Warrants. Such Holders may, by making the
        appropriate election on an ownership certification, elect to either (i) in the case of a Warrant Election,
        retain all of their Special Warrants, or (ii) in the case of a New iHeart Class A Common Stock and
        Special Warrants Election, be deemed to have exercised a sufficient number of Special Warrants to
        cause such Holder to receive up to an amount that complies with the 4.99 Percent Rule in New iHeart
        Class A Common Stock, and not be deemed to have exercised its remaining Special Warrants.

   9.   Foreign Ownership Under 25 Percent. If the FCC does not adopt a Declaratory Ruling, then
        Non-U.S. Holders cannot elect to exercise their Special Warrants for Stock and must either hold such
        Special Warrants or transfer them, except to the extent that iHeart or Reorganized iHeart, as
        applicable, reasonably determines that such exercise will not cause a violation of the 22.5 Percent
        Rule, the FCC’s media and foreign ownership rules, or any limitations on Stock ownership set forth
        in the New Corporate Governance Documents or the Special Warrant Agreement.

                                       *        *        *       *        *




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                               Exhibit 2

                 Confirmation and Effective Date Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                        §
    In re:                                                              § Chapter 11
                                                                        §
    IHEARTMEDIA, INC., et al.,1                                         § Case No. 18-31274 (MI)
                                                                        §
                               Debtors.                                 § (Jointly Administered)
                                                                        §

           NOTICE OF (I) ENTRY OF ORDER CONFIRMING THE
    FIFTH AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION OF
IHEARTMEDIA, INC. AND ITS DEBTOR AFFILIATES PURSUANT TO CHAPTER 11
OF THE BANKRUPTCY CODE AND (II) OCCURRENCE OF THE EFFECTIVE DATE

TO ALL CREDITORS, INTEREST HOLDERS, AND OTHER PARTIES IN INTEREST:

        PLEASE TAKE NOTICE that an order [Docket No. ____] (the “Confirmation Order”)
confirming the Modified Fifth Amended Joint Chapter 11 Plan of Reorganization of iHeartMedia,
Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (as may be modified,
the “Plan”), was entered by the Honorable Marvin Isgur, United States Bankruptcy Judge, and
docketed by the Clerk of the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Court”) on [____], 2019. Unless otherwise defined in this notice, capitalized
terms used in this notice shall have the meanings ascribed to them in the Plan and the Confirmation
Order, as applicable.

        PLEASE TAKE FURTHER NOTICE that copies of the Confirmation Order, the Plan,
and the related documents, are available free of charge at https://cases.primeclerk.com/iheartmedia
or by calling 877-756-7779 (toll-free in North America) or 347-505-7142 (outside North America).
You may also obtain copies of any pleadings by visiting the Bankruptcy Court’s website at
https://ecf.txsb.uscourts.gov. To access the Bankruptcy Court’s website, you will need a PACER
password and login, which can be obtained at http://www.pacer.psc.uscourts.gov.

             PLEASE TAKE FURTHER NOTICE that the Effective Date occurred on [____], 2019.

      PLEASE TAKE FURTHER NOTICE that, unless otherwise provided by the Plan, the
Confirmation Order, any other applicable order of the Bankruptcy Court, or agreed to by the
Holder of an Allowed Administrative Claim and the Debtors, all requests for payment of


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      Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
      complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims,
      noticing, and solicitation agent at https://cases.primeclerk.com/iheartmedia. The location of Debtor iHeartMedia,
      Inc.’s principal place of business and the Debtors’ service address is: 20880 Stone Oak Parkway, San Antonio,
      Texas 78258.
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Administrative Claims, other than Administrative Claims arising under section 503(b)(9) of the
Bankruptcy Code, which were required to be filed by the Claims Bar Date, must be filed and served
on the Debtors no later than [____], 2019 (the “Administrative Claims Bar Date”). Holders of
Administrative Claims that are required to file and serve a request for payment of such
Administrative Claims that do not file and serve such a request by the Administrative Claims Bar
Date shall be forever barred, estopped, and enjoined from asserting such Administrative Claims
against the Debtors, or their property and such Administrative Claims shall be deemed discharged
as of the Effective Date.

       PLEASE TAKE FURTHER NOTICE that, unless otherwise provided by an order of the
Bankruptcy Court, any Proofs of Claim based upon the rejection of the Debtors’ Executory
Contracts or Unexpired Leases pursuant to the Plan or otherwise, must be filed with the Claims,
Noticing, and Solicitation Agent within thirty days of the later of (1) the date of entry of the
Confirmation Order, or (2) any other order of the Bankruptcy Court approving
such rejection.



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         PLEASE TAKE FURTHER NOTICE that the Plan and its provisions are binding on the
  Debtors, the Reorganized Debtors, any Holder of a Claim against, or Interest in, the Debtors and
  such Holder’s respective successors and assigns, whether or not the Claim or Interest of such
  Holder is Impaired under the Plan and whether or not such Holder or Entity voted to accept the
  Plan.

Houston, Texas
[____], 2019


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